                                                           DJA0133




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                                                           DJA0134




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                                                           DJA0135




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                                                           DJA0136




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                                                           DJA0137




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                                                           DJA0140




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         DJA0141
TAB 10




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TAB 11                                                      DJA0142




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                                                            DJA0143




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                                                            DJA0144




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     TAB 12                                                                                                                                   DJA0145




                                              www.diminishedvaluecheck.com
                        9716-B Rea Rd. #130 | Charlotte, NC 28277 | 704-464-2065 | jim@dvcheck.com



                                    Umpire Report – Appraisal Clause
 Date                                                                                08/26/2020
 Vehicle Owner:                                                                      Elizabeth Fortson
 Appraiser 1:                                                                        Brian Manning
 Appraiser 2:                                                                        David Lucas
 Vehicle:                                                                            2004 Cadillac CTS
 VIN:                                                                                1G6DM577440177648
 Date of Loss:                                                                       10/02/2016

Purpose of Appraisal
In accordance with your request, I have agreed to act as umpire in the determination of fair market value for the
subject vehicle as of the 10/02/2016 loss.

The fair market value appraised by Brian Manning was $8,300
The fair market value appraised by David Lucas was $6,951

My findings are as follows:

This award does not include tax, title, license fees etc.

It is my determination as umpire that the 2004 Cadillac CTS owned by Elizabeth Fortson had a fair market value
of $7,800 on the 10/02/2016 date of loss.




___________________________________                                               08/26/2020
Jim Marshall CPCU, AIC, ASE
Owner, DVCHECK LLC




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         TAB 13                                                                                            DJA0146
               Garrison Property and Casualty Insurance
               Company                                          YOUR UNCASHED USAA
                                                                            CHECK

 ELIZABETH V FORTSON
 201 S ELLIOTT RD APT 734
 CHAPEL HILL NC 27514-5981




          Please Cash Your Settlement Check

January 4, 2021

Dear Ms. Fortson,

The claim settlement check below hasn't cleared our bank. Please cash the check as soon as possible, or contact us
within 60 days if you need a replacement check.

         Payee:                   ELIZABETH V FORTSON
         USAA policyholder:       Elizabeth V Fortson
         Claim number:            016743005-003
         Check number:            029300600
         Amount:                  $1,490.61
         Date of issue:           September 2, 2020
         Date of loss:            October 2, 2016
         Loss location:           Raleigh

If you don’t cash the check or contact us within 60 days from the date of this letter, we’ll consider these funds unclaimed
and begin the process to turn the funds over to the state as required by law.

For Questions or Help With Your Claim
If you have questions or need help with your claim, you can contact us quickly and easily:

    x    On usaa.com
    x    Using USAA's Mobile App
    x    By calling 210-531-8722 x35377

As always, we appreciate the opportunity to serve all your financial needs.

You may submit correspondence or questions to me. My contact information is:

                     Address:                             USAA Claims Dept.
                                                          P.O. Box 33490
                                                          San Antonio, TX 78265

                     Fax:                                 1-800-531-8669

016743005 - 003 - 9034 - 61                                                                                     127160-0818


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               Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 14 of 598
                                                                                                                              DJA0147

                      Phone:                                  210-531-8722 x35377



Sincerely,



Alexandra Sammon
Theft / Fire 8
Garrison Property and Casualty Insurance Company

Garrison Property and Casualty Insurance Company, a subsidiary of USAA Casualty Insurance Company, is authorized to use the USAA logo, a
registered trademark of United Services Automobile Association.




016743005 - 003 - 9034 - 61                                                                                                           127160-0818



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                Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 15 of 598
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TAB 16                                                                                         DJA0169




                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Civil Action No. 1:19-CV-00294-CCE-JLW

ELIZABETH V. FORTSON.       )
                            )
              Plaintiff,    )
                            )
    v.                      )
                              Judge Catherine C. Eagles
                            )
                              Magistrate Judge Joe L. Webster
GARRISON PROPERTY AND       )
CASUALTY INSURANCE COMPANY, )
                            )
              Defendant.    )
                            )

                 DECLARATION OF GREGORY GOEBEL
     IN SUPPORT OF GARRISON’S MOTION FOR SUMMARY JUDGMENT


         1.        I, Gregory Goebel, am over 21 years of age, of sound mind, and otherwise

competent to make this declaration.

         2.        I make this declaration as to matters of my own personal knowledge.

         3.        I have been retained by counsel for Garrison in this matter to provide opinions

based on my experience in the automotive sales and service industry.

         4.        I offer this declaration in support of Garrison’s Motion for Summary Judgment.

Many of the issues addressed in this declaration will also be addressed in detail in a forthcoming

expert report, to be served by the deadline for expert disclosures in this matter.

         5.        I am a dealership consultant, trainer, publisher, and author in the retail auto

industry – specializing in used vehicles and auto finance – and former owner and operator of

three separate franchise auto dealership locations as well as four separate independent used

vehicles sales locations.



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                                                                                               DJA0170



         6.        I have over 40 years of experience in auto dealership sales and service operations,

used vehicle remarketing, reconditioning, sales, valuation, and pricing.

         7.        My curriculum vitae, including a list of professional publications, and a

description of my qualifications are appended to this declaration as Exhibit 1.

         8.        In my opinion, CCC’s two-step condition adjustment methodlogoy is directly in-

line with auto industry practices.

         9.        It is consistently recognized in every facet of the auto industry that the condition

of a motor vehicle plays a significant factor in determining its value and that a vehicle’s value

increases as its condition improves.

         10.       Vehicles advertised for sale at auto dealerships are generally in better condition

than those being driven by private parties.

         11.       This is due both to the dealer’s selection of better-than-average vehicles for retail

sale and reconditioning steps dealers take to make those vehicles as desirable as possible.

         12.       Therefore, it is valid and appropriate to assume that vehicles listed for sale by

dealerships are in “Dealer Ready” or “Very Good” condition.

         13.       Vehicles in everyday use by private parties suffer from wear and tear, requiring

reconditing before being listed for retail sale by dealers. Despite the extreme cosmetic care taken

by a small percentage of motor vehicle owners, and the regular maintenance that is required to be

(but not always) performed, normal wear takes place on every vehicle driven by private parties.

         14.       However, dealers are selective in choosing which used vehicles to retail.

         15.       The retail business of selling motor vehicles, whether at a franchise dealership or

an independent pre-owned dealership, is extremely competitive. Often, consumers choose to

purchase a vehicle from one dealer or another based on as little as a $100 difference in sales



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price. Similarly, the closer a used vehicle seems to being new – both in appearance and

performance – often drives consumer decision making. Hence, dealers are extremely sensitive to

the condition of the vehicles that sit for sale on their lots.

         16.       Dealers are selective in choosing which vehicles to remarket for retail sale,

choosing those vehicles that tend to be in better condition than the broader population of vehicles

in everyday use. According to vAuto,1 one of the keys to success for dealers retailing used

vehicles is to be selective in the vehicles they choose to retail. (See Exhibit 2.)

         17.       As a result, only approximately 25% of all vehicles traded into a motor vehicle

dealer are retained for retail sale, as dealers are looking for only the best-of-the-best. Dealers use

a very discerning eye when they appraise trade-ins or purchase vehicles at auctions or from

private parties.

         18.       If dealers are not highly selective, they risk that the delta between (1) the cost to

acquire the vehicle plus the cost of necessary reconditioning and (2) the ultimate sale price (after

negotiation) will be insufficient to provide an adequate profit. As a result, dealers only sell at

retail vehicles that are the highest quality of all those traded in or purchased.

         19.       Dealers also recondition used vehicles before retailing them. In my opinion,

based on decades of experience and as confirmed by used vehicle industry data and sources,

motor vehicle dealers go to great lengths to present the vehicles they offer for retail sale in the

best condition possible, both cosmetically and mechanically. Consequently, the condition of

vehicles at the time a dealer lists them for retail sale is a significant improvement over the

condition that they were in at the time of trade in.



1
 vAuto is the largest and most authoritative resource used by auto dealers to stock and source retail inventory for
sale. It offers education for retail dealers in both sourcing and making vehicles ready for sale. It is used by over
10,000 retail auto dealers.

                                                           3
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         20.       The practice in the industry is for dealers to go through a specific process to

inspect, service, and repair vehicles prior to offering them for retail sale. This is often referred to

as “reconditioning.” The vehicle inspection and steps taken to recondition vehicles for retail

resale are extensive, even on newer model vehicles with lower milage. This was also noted by

vAuto. (See Exhibit 2.)

         21.       Dealers go through this process, despite that it takes effort and costs money,

because it improves the value of the vehicles and enables them to compete against other dealers.

         22.       Even vehicles that have been lightly used, properly serviced, and are nearly new

go through this process so that it looks brand new and is in new or like-new mechanical

condition.

         23.       Notably, dealers list their motor vehicles for sale on their websites, generally with

a large number of photos. These photos show the physical condition of the vehicles inside and

out and give dealers further incentive to ensure that the vehicles they list for retail sale are in

better condition than otherwise similar vehicles in everyday use.

         24.       According to Patrick Manzi, the Chief Economist for NADA, at the end of 2020,

the average cost to recondition a pre-owned automobile was $951, while the average cost to

recondition a truck was $818, making the overall weighted average $900. (See Exhibit 3.) This

represents the amount of money that a dealer spends to make their vehicles “Very Good” or

“Dealer Ready” before ever offering them for sale. This cost results in a retail value higher than

the reconditioning and acquisition costs of the vehicle.

         25.       Consistent with this data, my extensive experience consulting for and training

used motor vehicle dealers around the country further confirm that dealers spend significant time

and money reconditing used vehicles to improve their appearance and mechanical condition.



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         26.       Dealers also sell Certified Pre-Owned (“CPO”) vehicles which are in like-new or

“Excellent” condition. Approximately 7% of used vehicles sold in 2019 were manufacturer-

supported CPO. (See Exhibit 4.) Approximately an additional 4% were third-party CPO, where

the third parties are companies other than manufactures that manage their own CPO programs.

These vehicles require extensive program-mandated mechanical and cosmetic reconditioning

that ultimately extends the vehicle warranty to a term and milage that is sometimes much longer

than the manufacture’s original new vehicle warranty.

         27.       Dealers also sell vehicles that are not CPO, but that are nonetheless in exceptional

condition. Vehicles may also have one or more component groups in like-new or “Exceptional”

condition, even while the rest of the vehicle is otherwise in Dealer Ready or Very Good

condition. For example, a vehicle may have a brand-new set of tires put on it, or a new

windshield installed, during the reconditioning process.

         28.




         29.       It is standard within the used car industry for dealers to look at the retail price

other dealers are asking for a car of the same make, model, and year, with similar mileage and

options, to assist in valuing a car for trade in and to determine at what retail price to list a

vehicle. In doing so, it is customary in the industry for a dealer to assume that vehicles listed for

retail sale at other used car dealers have been fully reconditioned, and that such reconditioning is



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                                       EXHIBIT 1

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      '@-50.? ';0.4,7 49,9.0

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                                                                          DJA0179



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?0+H9;=+H')?A'7H?19+HE;AB+H/;?H?;H9'5+H?0+H                                 
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+D'91:+H?0+H=+);:*2?1;:2:/H<=;)+>>+>H'?H01>H
*+'7+=>02<H#01>H+D'92:'?2;:H)'9+H+B+:H?0;A/0H
E:)0H':*H01>H?+'9HC+=+H':E?01:/H(A?H>6;A)0+>H
C0+:H1?H );9+>H?;H=+);:*2?2;:2:/H':*H=+?'262:/HA>+*H
)'=>H:H?0+H<'>?HE+'= H?0+EB+H>A))+>>,A76EH?=299+*H
?0+H=+);: ?; ,=;:? 61:+H?29+>H?;H':H'B+='/+H;,H?0=++H
*'E> HC026+H*;A(72:/H?0+H*+'7+=>01<>H9;:?07EHA>+*H
B+02)6+H>'7+>HB;7A9+>H?;HHA:1?>H'H9;:?0H

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=+);:*1?2;:2:/H+B+:H9;=+H);>? +,.+)?1B+H':*H
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&07=70=!$=!8<)/&=&00#=" 35=      - 6$=.0#$- =,0:=
.),$ &$= /#=&00#="0/#)7(0/=       70=0%%5$6=7'$=0-#$3=
" 35=:)6'=')&'$3=.(-$5=6' 7=:(--=/$$#=.03$=3$"0/=
:03*=


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183"' 5$#=9$')",$ = /#=(6=/$$#5=5(&/(%)" /6,<=.03$=
6' /=:$=$;1$"7$#=03=$56). 6$# =:$=.856=/06=. *$=
 =5$"0/#=.)57 +$= /#= 11309$= =.8"'= ')&'$3=3$"0/=
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(/)6) ,=5 ,$=130%)7 ='$=5 (#='$/=6')5=' 11$/5 =7'$=
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  =4"9M="0(M,;?M$LMC/*MFA*(MH*/1&3*M"8(MA*?H0&*M
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  ,ML;FM2**=M=FA/08.MC/*M*9H*3;=*M18M*H*?LMA09.4*M
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                                                               DJA0187




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                                                               DJA0188




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                                                               DJA0189




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                                                               DJA0190




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               TAB 17                                                                                                                                                             /11%&1:
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               Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 40 of 598
  TAB 18
                                                                    DJA0192




July 12, 2019




Steve Leface
1050 Connecticut Ave NW #1100
Washington, DC 20036




Thank you for your Kelley Blue Book Certified Value request.

Per your request, included is a certified copy of the relevant pages of the
September – December 2016 Eastern Edition Kelley Blue Book Official Guide for
Older Cars for a 2004 Cadillac CTS.

Please contact me with any questions you may have regarding this certified value.

Thank you.



Regards,



Chris Beckelman
(800) 258 - 2005




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                                                                                   DJA0193




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                  DJA0194




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                    DJA0195




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                    DJA0196




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                     DJA0197




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                     DJA0198




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                     DJA0199




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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                                                                                     DJA0200




To Whom It May Concern:

I certify that this is a true and correct copy of the pages from the September – December 2016
Eastern Edition, Kelley Blue Book Official Guide for Older Cars for a 2004 Cadillac CTS, per your
request.

Sincerely,
Chris Beckelman
KELLEY BLUE BOOK


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TAB 19                                                                       DJA0201



                     UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Civil Action No. 1:19-cv-294-CCE-JLW

ELIZABETH V. FORTSON.                            )
                                                 )
              Plaintiff,                         )
                                                 )
         v.                                      )    Judge Catherine C. Eagles
                                                 )    Magistrate Judge Joe L.
GARRISON PROPERTY AND CASUALTY                   )    Webster
INSURANCE COMPANY,                               )
                                                 )
              Defendant.                         )
                                                 )

PLAINTIFF’S RESPONSES TO DEFENDANT GARRISON PROPERTY AND
CASUALTY INSURANCE COMPANY’S FIRST SET OF INTERROGATORIES,
 REQUESTS FOR ADMISSION, AND REQUESTS FOR PRODUCTION OF
                        DOCUMENTS

                             GENERAL OBJECTIONS



      Plaintiff incorporates the following General Objections into each Answer below:
      Plaintiff objects to the “Instructions” and “Definitions” contained in Garrison’s

First Set of Interrogatories, Requests for Admission, and Requests for Production of

Documents to Plaintiff to the extent they attempt to impose on Plaintiff requirements
beyond those set forth in the Federal Rules of Civil Procedure. Plaintiff interpreted

Defendant’s words and phrases in accordance with their usual definitions and usages

when responding to Defendant’s requests. If Defendant intended any word or phrase

to have a different meaning other than the generally accepted one, Plaintiff objects on

the grounds that the request is vague and ambiguous.

      Plaintiff’s responses as set forth herein are based upon information presently

known. Plaintiff reserves the right to rely on facts, documents, or other evidence that

may develop or subsequently come to the attention of Plaintiff, in order to assert




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                                                                                DJA0202



additional objections or supplement responses if additional information or grounds for

objections are discovered. Plaintiff reserves the right to supplement or amend these

responses at any time in accordance with the applicable rules and orders of the Court.

      Finally, Plaintiff reserves all objections to the admissibility at trial of any

documents or information produced to Defendant.


                         I.     REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1: Admit that Garrison provided You with a copy

of the CCC Report on October 17, 2016.

      ANSWER:

      Admitted.


REQUEST FOR ADMISSION NO. 2: Admit that Garrison provided your father with

a copy of the CCC Report on October 17, 2016.

      ANSWER:

      Admitted.



REQUEST FOR ADMISSION NO. 3: Admit that a Garrison representative discussed

the CCC Report with your father.

      ANSWER:

      Plaintiff lacks sufficient information to admit or deny this Request,

therefore, this Request is denied.



REQUEST FOR ADMISSION NO. 4: Admit that the CCC Report explained that the

valuation for your Vehicle was calculated using comparable vehicles, which included

applying a condition adjustment to those comparable vehicles.



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                                                                            DJA0203



         ANSWER:
         Plaintiff admits that the CCC Report reflects the use of “comparable”

vehicles to value Plaintiff’s loss Vehicle. Plaintiff further admits that the CCC

Report reflects the application of a uniform and unitemized condition

adjustment to each “comparable” vehicle. Plaintiff otherwise denies this

Request.



REQUEST FOR ADMISSION NO. 5: Admit that your father accepted the valuation

contained in the CCC Report.

         ANSWER:

         Plaintiff objects to the word “accepted” as used in this Request.

Plaintiff does not accept the valuation contained in the CCC Report as an

accurate reflection of the value of Plaintiff’s loss vehicle. For these reasons,

the request is denied.



REQUEST FOR ADMISSION NO. 6: Admit that your father requested payment for

your total loss settlement to be made via FedEx.

         ANSWER:

         Plaintiff objects to the word “settlement” as used in Request for

Admission No. 6. Plaintiff has not settled her claims against Defendant. This

request is denied.



REQUEST FOR ADMISSION NO. 7: Admit that your counsel, Michael Malone,

spoke with Garrison, on your behalf, regarding the adjustment of your total loss vehicle

claim.

         ANSWER:

         Admitted.

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                                                                           DJA0204



REQUEST FOR ADMISSION NO. 8: Admit that your counsel, Michael Malone,
accepted the settlement of the property damage to your total loss vehicle under Part D

of the insurance policy.

      ANSWER:

      Plaintiff objects to the word “settlement” as used in Request for

Admission No. 8. Plaintiff has not settled her claims against Defendant. This

request is denied.



REQUEST FOR ADMISSION NO. 9: Admit that as of October 17, 2016, the Vehicle

had not been fully reconditioned.

      ANSWER:

      Admitted.



REQUEST FOR ADMISSION NO. 10:                   Admit that as of October 17, 2016, the

Vehicle’s paint had fading and surface scratches.

      ANSWER:

      Plaintiff admits that as of October 17, 2016, the Vehicle had severe

scratches due to the collision on October 2, 2016. Plaintiff denies that the paint

had faded.

      Plaintiff otherwise objects to this Request as compound. Plaintiff

objects to the phrase “fading and surface scratches” as vague and ambiguous.



REQUEST FOR ADMISSION NO. 11:                   Admit that as of October 17, 2016, the

Vehicle’s interior had tearing and the leather was worn.




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                                                                         DJA0205
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        ANSWER:

        Plaintiff admits that there was one small crack in one of the leather

seats inside the Loss vehicle. Plaintiff denies that any of the leather was torn

or that the leather was worn out.

        Plaintiff objects to the phrases “tearing” and “worn” as vague and

ambiguous.



REQUEST FOR ADMISSION NO. 12: Admit that values offered by Kelley Blue Book

are based on regional data.

        ANSWER:

        Plaintiff lacks sufficient information to admit or deny the manner by

which Kelley Blue Book determines values of vehicles. Therefore, this Request

is denied.

        Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 13: Admit that Kelley Blue Book defines “Typical

Listing Price” (formerly known as “Suggested Retail Price”) on its website as

“representative of dealers’ asking prices.” See https://www.kbb.com/company/faq/used-

cars/

        ANSWER:

        Plaintiff admits that as of the date of this response, the current website

for Kelley Blue Book states that the Kelley Blue Book Typical Listing Price is

representative of dealers’ asking prices.




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                                                                                DJA0206
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      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 14: Admit that Kelley Blue Book explains on its

website that “Typical Listing Price” (formerly known as “Suggested Retail Price”)

“assumes      that     the    vehicle     has     been     fully     reconditioned.”     See

https://www.kbb.com/company/faq/used-cars/

      ANSWER:

      Plaintiff admits that as of the date of this response, the current website

for Kelley Blue Book states that the Kelley Blue Book Typical Listing Price

assumes that the vehicle has been fully reconditioned.

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 15: Admit that Kelley Blue Book explains on its

website that for Typical Listing Price: “[t]he final sale price will likely be less depending

on the vehicle’s actual condition, popularity, type of warranty offered and local market

conditions. In other words, it’s the price you should expect a dealer to ask – not the

price you should pay.” See https://www.kbb.com/company/faq/used-cars/

      ANSWER:

      Plaintiff admits that as of the date of this response, the current website

for Kelley Blue Book states for the Kelley Blue Book Typical Listing Price as

follows: “This price also takes into account the dealer's profit, costs for

advertising, sales commissions and other costs of doing business. The final

sale price will likely be less depending on the vehicle's actual condition,

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popularity, type of warranty offered and local market conditions. In other

words, it's the price you should expect a dealer to ask - not always the price

you should pay.”

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 16: Admit that NADA defines “clean retail value”

on its website as a price reflecting “a vehicle in clean condition”.         See

https://www.nadaguides.com/FAQ/values-and-pricing)

      ANSWER:

      Denied. As of the date of this Response, the definition from the NADA

website provides the following definition of “clean retail”: “Clean Retail

values reflect a vehicle in clean condition. This means a vehicle with no

mechanical defects and passes all necessary inspections with ease. Paint, body

and wheels have minor surface scratching with a high gloss finish and shine.

Interior reflects minimal soiling and wear with all equipment in complete

working order. Vehicle has a clean title history. Because individual vehicle

condition varies greatly, users of NADAguides.com may need to make

independent adjustments for actual vehicle condition.”

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation.



REQUEST FOR ADMISSION NO. 17: Admit that NADA does not perform a physical

inspection of each vehicle prior to calculating its suggested price.




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      ANSWER:
      Plaintiff lacks sufficient information to admit or deny this Request.

Therefore, this Request is denied.

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 18: Admit that Kelley Blue Book does not perform

a physical inspection of each vehicle prior to calculating its suggested price.

      ANSWER:

      Plaintiff lacks sufficient information to admit or deny this Request.

Therefore, this Request is denied.

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence.



REQUEST FOR ADMISSION NO. 19: Admit that your Vehicle was not in “clean

retail condition” as that term is used by NADA.

      ANSWER:

      Denied.



                             II.    INTERROGATORIES

INTERROGATORY NO. 1: Identify all persons who provided information that was

used in answering these Interrogatories, and for each person identified, briefly state the

information provided.




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                                                                          DJA0209



      ANSWER:
      Plaintiff    provided    the    information     used    in   answering   these

interrogatories.

      Plaintiff otherwise objects to this Interrogatory to the extent it seeks

information protected by attorney-client or work product privilege.



INTERROGATORY NO. 2: Identify all persons who have knowledge or information

pertaining to your claims in this case or to the matters alleged in the Amended

Complaint, including but not limited to your claims for damages; and for each person

identified, describe the nature of his or her knowledge or information.

      ANSWER:

      Plaintiff and her counsel have knowledge pertaining to her claim.

Plaintiff otherwise asserts that representatives of Defendant who are readily

ascertainable by Defendant but are presently unknown to Plaintiff have

knowledge relating to Plaintiff’s claim, as well as representatives of CCC who

are presently unknown to Plaintiff who have knowledge of the use of

condition adjustments as part of the valuation of total loss vehicles. Finally,

Plaintiff incorporates all disclosure statements served in this case by any

party as though fully set forth herein.

      Plaintiff otherwise objects to this Interrogatory as a premature

contention interrogatory that cannot be fully answered until discovery is

complete. Plaintiff reserves the right to supplement her response in due

course. Plaintiff further objects to this Interrogatory because it seeks

information that is not relevant to any claim or defense in this litigation and

is not reasonably calculated to lead to the discovery of admissible evidence.

Plaintiff further objects because this Interrogatory seeks information more

readily available to Defendant. For example, Garrison knows which of its

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                                                                               DJA0210



representatives have knowledge of certain aspects of Plaintiff’s claim.

Plaintiff further objects to this Request as vague and ambiguous. Finally,

Plaintiff objects to this Interrogatory as vague and overbroad and unduly

burdensome as it is not limited in time or scope.



INTERROGATORY NO. 3: Identify all individuals, including attorneys but excluding
members of the alleged class, who have a pecuniary interest in the outcome of this

lawsuit or who have paid or agreed to pay a portion of your attorney fees and/or

expenditures in connection with this lawsuit, including but not limited to the name and

address of such individuals, the nature of the pecuniary interest, and the nature and

amount of any payment.

      ANSWER:

      Plaintiff, members of the putative class, and Defendant have a

pecuniary interest in the outcome of this lawsuit. Plaintiff additionally

incorporates Plaintiff’s Rights and Responsibilities agreement produced at

Bates No. FORTSON_000111-000114 as though fully set forth herein and as

permitted under Rule of Federal Civil Procedure 33.

      Plaintiff otherwise objects to this Interrogatory as seeking information

relating to attorney-client privilege. Plaintiff further objects to this Request

as unduly burdensome and oppressive in that it seeks information that is not

known or reasonably accessible to Plaintiff such as requiring Plaintiff to

determine every individual who has a pecuniary interest in the outcome of

this lawsuit without any limitation in scope. Finally, Plaintiff objects to this

Interrogatory as compound.



INTERROGATORY NO. 4: Identify any other lawsuits You have been or are a party

to including (a) caption, style, and case number of the lawsuit, (b) the court in which the

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                                                                                DJA0211



lawsuit(s) was or is pending, (c) the nature of the claims made by or against You, (d) the

date You either instituted the lawsuit(s) or were served with process in the lawsuit(s)

or intervened in the lawsuit(s), and (e) the status of the lawsuit(s) at the present time.

      ANSWER:
      Plaintiff has not been a party to any other lawsuits.

      Plaintiff otherwise objects to this Interrogatory because it seeks

information, in part, that is not relevant to any claim or defense in this

litigation. Plaintiff objects to this Request as oppressive and unduly

burdensome as it is not limited in time and seeks information that is available

in the public record. Plaintiff further objects because this question is

compound.



INTERROGATORY NO. 5: Identify each expert witness whom You intend to call to

testify at any class certification hearing or at the trial of this matter, or whose testimony

You intend to submit via affidavit or declaration; and for each expert, identify the

subjects upon which such expert will opine.

      ANSWER:

      Plaintiff will disclose experts in accordance with the court’s scheduling

order and incorporates those disclosures as though fully set forth herein.

      Plaintiff otherwise objects to this Interrogatory to the extent is seeks

information that is protected by the attorney-client and/or work product

privilege.



INTERROGATORY NO. 6: Identify each non-expert witness whom You intend to call

to testify at any class certification hearing or at the trial of this matter, or whose

testimony You intend to submit via affidavit or declaration; and for each non-expert,

identify the subjects upon which such witness is expected to testify.

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                                                                        DJA0212



        ANSWER:
        Plaintiff incorporates all disclosure statements served in this case by

any party as though fully set forth herein.

        Plaintiff objects to this Request because it seeks information that is

outside the scope of discoverable information pursuant to Rule 26 of the

Federal Rules of Civil Procedure. Plaintiff further objects to this Request as

premature and oppressive in that it requires Plaintiff to be able to identify

every witness she plans to call, the method by which she intends to present

each witness’ testimony, and the scope of their testimony, well before the close

of discovery. Furthermore, this Request seeks information relating to

litigation strategy and thus are protected by attorney-client and attorney-

work product privilege. Plaintiff further objects to this Request as vague and

ambiguous. Plaintiff further Plaintiff reserves the right to supplement her

response.



INTERROGATORY NO. 7: Describe your relationship with Your counsel prior to this

case, including the name and case numbers of any other cases for which your counsel

represented You.

        ANSWER:

        Hendren, Redwine, and Malone represented Plaintiff in association with

insurance claims relating to her October 2, 2016 collision. Plaintiff had no

relationship with Hagens Berman Sobol Shapiro LLP preceding the instant

case.

        Plaintiff otherwise objects to this Request as irrelevant to any claim or

defense in this litigation.




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                                                                       DJA0213



INTERROGATORY NO. 8: Identify all forms of social media You used from April
2017 to the present, and include your user names.

      ANSWER:

      Plaintiff has an Instagram account (username: Vail.Fortson), a

Facebook account (username: Vail Fortson), a Snapchat account (username:

evfortson) and a LinkedIn account (username: Vail Fortson).

      Plaintiff otherwise objects to this Interrogatory because it seeks

information that is not relevant to any claim or defense in this litigation.

Plaintiff further objects to this Request as overbroad. Seeking information to

all social media which the Plaintiff broadly may have had access to over the

past three years is patently overbroad.



INTERROGATORY NO. 9: Identify any valuations, calculations or studies relating

to the value of the Vehicle and when such valuations, calculations or studies were

performed.

      ANSWER:

      At the request of Defendant, CCC performed a market valuation report

for Plaintiff’s total loss Vehicle in or around October of 2016.

      Plaintiff otherwise objects to this Request as vague and ambiguous. The

word “relating,” for example, is facially overbroad, vague, and ambiguous.

Plaintiff further objects to this Request as oppressive and unduly burdensome

as it is not limited in time or scope and seeks information that is not known

or reasonably accessible to Plaintiff or is otherwise more readily available to

Defendant. For instance, Plaintiff cannot determine whether Defendant

performed additional valuation studies pertaining to Plaintiff’s total loss

Vehicle   without    receiving   discovery     from   Defendant.   However,   this

information is readily available to Defendant. Plaintiff further objects to this

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                                                                                  DJA0214



Interrogatory because it seeks information protected by attorney-client

privilege or the work-product doctrine.



INTERROGATORY NO. 10: Identify every vehicle (truck or automobile) You have
purchased in the past 10 years. For each vehicle please include (a) make of vehicle; (b)

model of vehicle; (c) year of vehicle; (d) who sold You the vehicle; (e) advertised price for

the vehicle; (f) the original price offered for sale of the vehicle; (g) the date you purchased

the vehicle, (h) the price ultimately paid for the vehicle; (i) any valuation sources You

consulted in connection with the purchase of the vehicle; and (j) any documents relating

to the purchase of such vehicle.

       ANSWER:

       Plaintiff states that in approximately June or July of 2016, Plaintiff was

gifted the loss Vehicle by her grandfather Robert Malcolm Fortson.

       In 2019, Plaintiff bought a 2019 Subaru Ascent from Hendrick Subaru

located at Southpoint in Durham, North Carolina. Additionally Plaintiff

expressly incorporates the vehicle sticker produced at FORTSON_000115-

000117 as though fully set forth herein.

       Plaintiff will produce additional documents relating to the purchase of

her replacement vehicle in her possession, custody, or control. Plaintiff

expressly incorporates those documents herein by reference.

       Plaintiff otherwise objects to this Interrogatory because it seeks

information that is not relevant to any claim or defense in this litigation.

Plaintiff otherwise objects to this Request as vague and ambiguous.



INTERROGATORY NO. 11: Identify all maintenance performed on the Vehicle,

including (a) type of service performed; (b) who performed maintenance of the vehicle;

(c) date of maintenance service.

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                                                                              DJA0215



      ANSWER:
      Plaintiff states that she had the loss Vehicle for about three months

before the collision and that she does not recall any maintenance performed

on the Vehicle during that time. Plaintiff states that prior to gifting her the

loss Vehicle in the summer of 2016, her grandfather had the Vehicle fully

serviced, and this service included installation of new tires at an auto repair

shop in Jacksonville, Florida.

      Plaintiff further objects to this Request as vague and overly broad as it

is not limited in time or scope. Specifically, the request does not specify

whether it seeks information for the period preceding or following the

incident which caused the vehicle to become a total loss. Plaintiff reserves the

right to supplement her response.



INTERROGATORY NO. 12: Identify whether you claim that Garrison acknowledged

Plaintiff’s right to recover the damage to Plaintiff’s Vehicle under the uninsured

motorists coverage, and if so, please identify all facts supporting this contention.

      ANSWER:

      Plaintiff does not contend that Garrison ever agreed to Plaintiff’s

request to recover for the total loss of her vehicle under the uninsured

motorists coverage.

      Plaintiff otherwise objects on the grounds that requiring her to identify

“all facts supporting this contention” is overly burdensome. See Steil v.

Humana Kansas City, Inc., 1197 F.R.D. 445, 447 (D. Kan. 2000). Plaintiff further

objects to Interrogatory No. 12 as a premature contention interrogatory that




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                                                                           DJA0216



cannot be answered until discovery is completed. Plaintiff reserves the right

to supplement her response in due course.



INTERROGATORY NO. 13: Identify all facts in Your possession that support or
establish a good-faith basis for Your allegation in paragraph 44 of the Amended

Complaint that “Garrison does not ever attempt to establish the condition of comparable

vehicles identified in market valuation reports obtained from CCC.”

      ANSWER:

      Plaintiff has reviewed her claim file and there is no indication that

Garrison inspected the condition of the comparable vehicles contained in the

CCC report for her total loss vehicle. Plaintiff is informed and believes that

Garrison does not ever attempt to establish the condition of comparable

vehicles identified in the market valuation reports provided by CCC. Plaintiff

otherwise objects to Interrogatory No. 13 on the grounds that requiring

Plaintiff to identify “all facts” supporting her allegation as set forth in

paragraph 44 of the Complaint is overly burdensome. See Steil v. Humana

Kansas City, Inc., 1197 F.R.D. 445, 447 (D. Kan. 2000). Plaintiff further objects

because Interrogatory No. 13 seeks information protected by attorney-client

privilege   or   work-product      protections.    Plaintiff   further    objects    to

Interrogatory No. 13 as a premature contention interrogatory that cannot be

answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



INTERROGATORY NO. 14: Identify all facts in Your possession that support or

establish a good-faith basis for Your allegation in paragraph 45 of the Amended

Complaint that “Garrison bases its offers and payments for total losses on manipulated

data and reports.”

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      ANSWER:
      Garrison based its payment for the total loss of Plaintiff’s vehicle solely

on the CCC market valuation report. The CCC market valuation report

improperly reduced the estimated value of Plaintiff’s loss vehicle by applying

arbitrary and unexplained condition adjustments to each of the comparable

vehicles listed therein. Plaintiff otherwise objects to Interrogatory No. 14 on

the grounds that requiring Plaintiff to identify “all facts” supporting her

allegation as set forth in paragraph 45 of the Complaint is overly burdensome.

See Steil v. Humana Kansas City, Inc., 1197 F.R.D. 445, 447 (D. Kan. 2000).

Plaintiff further objects because Interrogatory No. 14 seeks information

protected by attorney-client privilege or work-product protections. Plaintiff

further objects to Interrogatory No. 14 as a premature contention

interrogatory that cannot be answered at this stage of the litigation. Plaintiff

reserves the right to supplement her response.



INTERROGATORY NO. 15: Identify all facts in Your possession that support or

establish a good-faith basis for Your allegation in paragraph 45 of the Amended

Complaint that the condition adjustments imposed on the values of comparable vehicles

are “arbitrary and unexplained.”

      ANSWER:

      Plaintiff has reviewed the CCC market valuation report valuing her loss

vehicle. The valuation report applies uniform, unitemized condition

adjustments to each of the comparable vehicles contained therein regardless

of mileage or any other unique attributes of the comparable vehicles.

Additionally, the CCC valuation report provides only a vague definition of the

condition adjustment which does not include any specific details describing

or explaining the basis for the amount of the purported condition adjustment.

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Further, Defendant did not provide Plaintiff with an itemized explanation of

the condition adjustment applied to comparable vehicles.

      Plaintiff otherwise objects to Interrogatory No. 15 on the grounds that

requiring Plaintiff to identify “all facts” supporting her allegation as set forth

in paragraph 45 of the Complaint is overly burdensome. See Steil v. Humana

Kansas City, Inc., 1197 F.R.D. 445, 447 (D. Kan. 2000). Plaintiff further objects

because Interrogatory No. 15 seeks information protected by attorney-client

privilege   or   work-product     protections.   Plaintiff   further   objects    to

Interrogatory No. 15 as a premature contention interrogatory that cannot be

answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



INTERROGATORY NO. 16: Identify all facts in Your possession that support or
establish a good-faith basis for Your allegation in paragraph 47 of the Amended

Complaint that “Garrison [sic] methods are unfair, misleading, deliberately

inconsistent, and calculated to confuse and deceive consumers and their advocates in

the settlement process.”

      ANSWER:

      Plaintiff states that Garrison based its payment for the total loss of her

vehicle solely on the CCC Report which improperly reduced the payment to

her through the application of a same dollar amount condition adjustment

applied to the comparable vehicles, regardless of condition, and that the

purported explanation of the condition adjustment within the CCC report

does not explain the basis of the condition adjustment. Plaintiff otherwise

objects to Interrogatory No. 16 on the grounds that requiring Plaintiff to

identify “all facts” supporting her allegation as set forth in paragraph 47 of

the Complaint is overly burdensome. See Steil v. Humana Kansas City, Inc.,

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1197 F.R.D. 445, 447 (D. Kan. 2000). Plaintiff further objects because

Interrogatory No. 16 seeks information protected by attorney-client privilege

or work-product protections. Plaintiff further objects to Interrogatory No. 16

as a premature contention interrogatory that cannot be answered at this stage

of the litigation. Plaintiff reserves the right to supplement her response.



INTERROGATORY NO. 17: Identify each and every time that You disputed the
valuation of your vehicle as determined by Garrison, including the method and manner

for which You disputed the valuation.

      ANSWER:

      Plaintiff incorporates her claim file located at Bates Nos. Garrison P&C

0000001-0000441 as permitted by Rule 33 of the Federal Rules of Civil

Procedure as record of her disputes with Garrison regarding the valuation of

her loss vehicle including the method and manner for which she disputed the

valuation. Plaintiff further states that she specifically disputed the use of the

condition adjustment by letter faxed to Garrison on November 14, 2017.

Additionally, Plaintiff disputed the valuation of her loss vehicle by filing the

present action.

      Plaintiff otherwise objects to Interrogatory No. 17 on the grounds that

the information sought is equally available to Defendant who would have been

party to such disputes. Plaintiff further objects to this Interrogatory as vague,

ambiguous, and overbroad. For example, the term “disputed” is not defined

and the request is not limited in scope. Plaintiff further objects to this

Interrogatory because it seeks information unrelated to a claim or defense in

this case.




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INTERROGATORY NO. 18: Identify all communications that You have had with the
putative class members, including the name of the putative class member, the date of

the communication, the method of the communication, and a brief description of the

content of the communication.

      ANSWER:

      Plaintiff states that she has not contacted any putative class members.

      Plaintiff otherwise objects to this Request to the extent it seeks

information that is protected by the attorney/client and/or work product

privilege. Plaintiff further objects to this Request as overbroad and harassing.

Plaintiff further objects to this Interrogatory because it seeks information

unrelated to a claim or defense in this case.



INTERROGATORY NO. 19: Identify and describe all non-privileged communications

that your counsel, Michael Malone, had concerning the adjustment of your total loss

vehicle claim that is the subject of the Amended Complaint.

      ANSWER:

      Plaintiff incorporates her claim file located at Bates Nos. Garrison P&C

0000001-0000441 as permitted by Rule 33 of the Federal Rules of Civil

Procedure as record of her counsel’s non-privileged communications

regarding the condition adjustment. Plaintiff further states that her attorney

left a message for Alexandra Sammon on October 25, 2016; spoke with

Alexandra Sammon on October 26, 2016; left a message for Alexandra Sammon

on November 1, 2016; left a message for Alexandra Sammon on November 2,

2016; spoke with Jimmy Ficklin on November 4, 2016; left a message for Jimmy

Ficklin on November 10, 2016; spoke with Jimmy Ficklin on November 14,

2016.Plaintiff otherwise objects to this Interrogatory because it seeks

information that is not relevant to any claim or defense in this litigation and

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is not reasonably calculated to lead to the discovery of admissible evidence.

Plaintiff further objects to the extent this Interrogatory seeks information

covered by the attorney/client privilege/work product doctrine. Plaintiff also

objects to this Request because it seeks information more readily available to

Defendant.



INTERROGATORY NO. 20:            If Your answer to any of Garrison’s Requests for
Admission is anything other than an unequivocal admission, state all facts upon which

You base your response.

      ANSWER:

      Plaintiff directs Defendant to the responses to the above requests for

admission.

      Otherwise, Plaintiff object to this Interrogatory because it contains

numerous subparts which exceed the number of interrogatories permitted

under Rule 33(a)(1). Furthermore, Plaintiff objects because this is a premature

contention interrogatory that cannot be fully answered until the close of

discovery. Plaintiff reserves the right to supplement her Response.



INTERROGATORY NO. 21: Identify and itemize all damages You seek to recover

from Garrison in the Amended Complaint, including but not limited to the following:

         a. The total amount of compensatory damages, including any separate

             categories or subcategories of damages;

         b. An explanation of how such damages were calculated or determined; and

         c. Identify all documents and sources of information used to calculate such

             damages.




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                                                                          DJA0222



      ANSWER:
      Plaintiff incorporates all disclosures and responses to discovery, by

parties and non-parties, in this case as though fully set forth herein. Plaintiff,

on behalf of herself and the putative class, seeks compensatory damages that

include the amount of Garrison’s illicit condition adjustments plus any out-of-

pocket losses suffered by her or any class member in the course of contesting

the unlawful valuation. Plaintiff also seeks treble damages as well as an award

of attorney’s fees and costs. In addition, and in the alternative to the damages

described and other compensatory damages, Plaintiff seeks a declaration

invalidating Garrison’s valuation of her claim and the claims of the class, as

well as an affirmative injunction requiring Garrison to determine the proper

claim payment for all total loss vehicles using permissible methods.

      Plaintiff otherwise objects to this Request to the extent it seeks the

premature disclosure of expert opinions, or requires the Plaintiff to set forth

analysis, opinions, or theories that may be the subject of expert testimony.

Plaintiff will submit expert opinions in accordance with the Court’s

scheduling order, and incorporates those reports as though fully set forth

herein.



INTERROGATORY NO. 22: Identify all persons who You have communicated with

regarding Your claims in this case or to the matters alleged in the Amended Complaint,

and for each person identified, described the nature of the communication and the date

of the communication.

      ANSWER:

      Plaintiff incorporates her claim file located at Bates Nos. Garrison P&C

0000001-0000441 as though fully set forth herein as permitted by Rule 33 of the

Federal Rules of Civil Procedure.

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                                                                           DJA0223



   Plaintiff otherwise objects to Interrogatory No. 22 on the grounds that this

information is equally available to Defendant who would have been party to

such communications. Plaintiff further objects to this Interrogatory as

overbroad, oppressive, and unduly burdensome as it is not limited in time or

in scope. Plaintiff further objects to the extent this Request seeks information

protected by attorney-client privilege and/or the work product doctrine.

Plaintiff further objects to this Interrogatory because it seeks information

unrelated to a claim or defense in this case.



             III.   REQUESTS FOR PRODUCTION OF DOCUMENTS
REQUESTS FOR PRODUCTION NO. 1: Produce all documents in Your or Your

attorneys’ possession, custody, or control that refer, relate, or pertain in any way to

Garrison’s coverage of the loss of the Vehicle, including but not limited to all

correspondence, email, and other communications between You and Garrison.

      RESPONSE:

      Plaintiff will produce non-privileged, responsive documents in her

possession, custody, or control.

      Plaintiff otherwise objects to this Request as vague, ambiguous, and

overbroad. Plaintiff further objects to this Request as this information is

equally if not more readily available to Defendant.



REQUESTS FOR PRODUCTION NO. 2: Produce all documents that relate to the

claims or issues in this lawsuit, in Your or Your attorneys’ possession, custody, or

control, and that were created by or originally came from Garrison.

      RESPONSE:

      Plaintiff will produce non-privileged, responsive documents in her

possession, custody, or control.

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      Plaintiff otherwise objects to this Request as vague, ambiguous, and

overbroad. Plaintiff further objects to this Request as this information is

equally if not more readily available to Defendant. Plaintiff also objects

because this Request seeks documents protected by the attorney/client

privilege and/or work product doctrine.



REQUESTS FOR PRODUCTION NO. 3: Produce all documents that constitute or
that refer, relate, or pertain in any way to communications between You or Your

attorneys and the North Carolina Department of Insurance, and any of its divisions and

offices, regarding Garrison, the CCC System, or any of the matters alleged in the

Amended Complaint.

      RESPONSE:

      Plaintiff has no responsive documents in her possession, custody, or

control.

      Plaintiff otherwise objects to this Request as vague, ambiguous, and

overbroad.



REQUESTS FOR PRODUCTION NO. 4:                  Produce all documents reflecting or

constituting any agreement between You or Your attorneys and any other person

referring, relating, or pertaining in any way to the matters alleged in the Amended

Complaint.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation and is not

reasonably calculated to lead to the discovery of admissible evidence. Plaintiff

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further objects to the extent this Request seeks disclosure of privileged

attorney-client communications or documents protected by the work product

doctrine.



REQUESTS FOR PRODUCTION NO. 5: Produce all documents You relied upon in
responding to Garrison’s Interrogatories and Requests for Admission.

      RESPONSE:

      Plaintiff will produce all responsive, non-privileged documents in her

possession, custody, or control.

      Plaintiff otherwise objects to this Request to the extent it seeks

information that is protected by attorney-client privilege and/or the work

product doctrine Plaintiff further objects because this Request seeks

information not relevant to a claim or defense in this case.



REQUESTS FOR PRODUCTION NO. 6:                 Produce all documents You intend to

introduce as evidence at trial.

      RESPONSE:

      Plaintiff objects to this request because it seeks to ascertain all

documents which Plaintiff intends to offer at trial and, as such, is violative of

the attorney work product privilege. See, e.g., IBP, Inc. v. Mercantile Bank of

Topeka, 179 F.R.D. 316, 322 (D. Kan. 1998).



REQUESTS FOR PRODUCTION NO. 7:                   Produce all documents reflecting

maintenance work performed on Your Vehicle.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody, or control.

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      Plaintiff otherwise objects to this Request to the extent it seeks

information that is not relevant to a claim or defense of this case. Plaintiff

further objects to this Request as vague and overly broad as it is not limited

in time or scope. Specifically, the request does not specify whether it seeks

information for the period preceding or following the incident which caused

the vehicle to become a total loss.



REQUESTS FOR PRODUCTION NO. 8:                 Produce all documents reflecting the
advertised price of Your Vehicle.

      RESPONSE:

      Plaintiff has no responsive documents in her possession, custody, or

control.



REQUESTS FOR PRODUCTION NO. 9:                 Produce all documents related to the

purchase of Your Vehicle, including financing information.

      RESPONSE:

      Plaintiff has no responsive documents in her possession, custody, or

control.



REQUESTS FOR PRODUCTION NO. 10: Produce all documents related to the

valuation of the Vehicle and comparable vehicles.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody, or control.

      Plaintiff otherwise objects to this Request as ambiguous and overbroad.




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REQUESTS FOR PRODUCTION NO. 11: Produce all documents relating to any
vehicle identified in Interrogatory No. 10, including documents relating to the purchase

or sale of those vehicles.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody, or control.

      Plaintiff otherwise objects to this Request as ambiguous and overbroad.

Plaintiff further objects to this Request because it seeks information that is

not relevant to any claim or defense in this litigation.



REQUESTS FOR PRODUCTION NO. 12:                   Produce all documents relating to

maintenance suggested by a manufacturer for the Vehicle.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody, or control.

      Plaintiff otherwise objects to this Request as ambiguous and overbroad.

Plaintiff further objects to this Request because it seeks information that is

not relevant to any claim or defense in this litigation.



REQUESTS        FOR     PRODUCTION       NO.    13:    Produce all documents and

communications with any insurance company other than Garrison that relate to the

October 17, 2016 accident involving the Vehicle, excluding all such communications

relating to bodily injury.

      RESPONSE:

      No such documents exist.




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      Plaintiff otherwise objects to this Request as ambiguous and overbroad.

Plaintiff further objects to this Request because it seeks information that is

not relevant to any claim or defense in this litigation.



REQUESTS FOR PRODUCTION NO. 14:                   Produce all documents evidencing a
valuation of Your Vehicle or a “comparable” vehicle, including, but not limited to, Kelley

Blue Book reports, NADA reports, Edmunds reports, or other vehicle valuation guides

or services.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to this Request because it seeks information

that is not relevant to any claim or defense in this litigation. Plaintiff further

objects to this Request to the extent it seeks premature expert opinions,

analysis, or reports before the time set forth by the Court to exchange expert

reports. Plaintiff may submit expert opinions in accordance with the Court’s

scheduling order, and incorporates those reports as though fully set forth

herein



REQUESTS FOR PRODUCTION NO. 15: Produce all documents regarding the

settlement of Your total loss claim, excluding those documents sent to, or received from,

Garrison.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to the word “settlement” as used in Request

for Production No. 15. Plaintiff has not settled her claims against Defendant.

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Plaintiff further objects because this information is equally available to

Defendant as Plaintiff. Plaintiff otherwise objects to this Request as vague and

ambiguous. The request is also not proportional to the needs of the case, and

many of the documents requested are not relevant to a claim or defense in this

case and therefore beyond the scope of discovery.



REQUESTS FOR PRODUCTION NO. 16: Produce all communications between You
and any putative class member relating to the allegations in your Amended Complaint.

      RESPONSE:

      There are no documents responsive to this Request.

      Plaintiff otherwise objects to this Request to the extent it seeks

information that is protected by the attorney-client and/or work product

Privilege. The request is also not proportional to the needs of the case, and

many of the documents requested are not relevant to a claim or defense in this

case and therefore beyond the scope of discovery.



REQUESTS FOR PRODUCTION NO. 17: Produce all communications between your

counsel, Michael Malone, and Garrison regarding the adjustment of your total loss

vehicle.

   RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

   Plaintiff otherwise objects because this information is equally available to

Defendant as Plaintiff. Plaintiff otherwise objects to this Request as vague and

ambiguous. The request is also not proportional to the needs of the case, and

many of the documents requested are not relevant to a claim or defense in this

case and therefore beyond the scope of discovery.

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REQUESTS FOR PRODUCTION NO. 18:                  Produce all documents that support,
relate to, or upon which You base the allegation that “Garrison does not ever attempt

to establish the condition of comparable vehicles identified in market valuation reports

obtained from CCC,” as alleged in paragraph 44 of the Amended Complaint.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to Request for Production No. 18 on the

grounds that requiring Plaintiff to produce all documents supporting her

allegations is overly burdensome. Plaintiff further objects because this

Request seeks information protected by attorney work-product and/or

attorney-client privilege. Plaintiff further objects because the documents

sought are more readily available to Defendant than to Plaintiff. Plaintiff

further objects to this Request as a premature contention request that cannot

be answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



REQUESTS FOR PRODUCTION NO. 19: All documents that support, relate to, or

upon which You base the allegation that the condition adjustments imposed on the

values of comparable vehicles are “arbitrary and unexplained,” as alleged in paragraph

45 of the Amended Complaint.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to Request for Production No. 19 on the

grounds that requiring Plaintiff to produce all documents supporting her

allegations is overly burdensome. Plaintiff further objects because this

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Request seeks information protected by attorney work-product and/or

attorney-client privilege. Plaintiff further objects because the documents

sought are more readily available to Defendant than to Plaintiff. Plaintiff

further objects to this Request as a premature contention request that cannot

be answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



REQUESTS FOR PRODUCTION NO. 20:                 Produce all documents that support,
relate to, or upon which You base the allegation that “Garrison bases its offers and

payments for total losses on manipulated data and reports,” as alleged in paragraph 45

of the Amended Complaint.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to Request for Production No. 20 on the

grounds that requiring Plaintiff to produce all documents supporting her

allegations is overly burdensome. Plaintiff further objects because this

Request seeks information protected by attorney work-product and/or

attorney-client privilege. Plaintiff further objects because the documents

sought are more readily available to Defendant than to Plaintiff. Plaintiff

further objects to this Request as a premature contention request that cannot

be answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



REQUESTS FOR PRODUCTION NO. 21: All documents that support, relate to, or

upon which You base the allegation that “Garrison [sic] methods are unfair, misleading,

deliberately inconsistent, and calculated to confuse and deceive consumers and their

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advocates in the settlement process,” as alleged in paragraph 47 of the Amended

Complaint.

      RESPONSE:
      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff otherwise objects to Request for Production No. 19 on the

grounds that requiring Plaintiff to produce all documents supporting her

allegations is overly burdensome. Plaintiff further objects because this

Request seeks information protected by attorney work-product and/or

attorney-client privilege. Plaintiff further objects because the documents

sought are more readily available to Defendant than to Plaintiff. Plaintiff

further objects to this Request as a premature contention request that cannot

be answered at this stage of the litigation. Plaintiff reserves the right to

supplement her response.



REQUESTS FOR PRODUCTION NO. 22: All documents not previously produced

that refer or relate to Your claims or allegations against Garrison, or that You intend

or expect to offer as evidence in support of class certification in this matter.

      RESPONSE:

      Plaintiff will produce all non-privileged, responsive documents in her

possession, custody or control.

      Plaintiff objects to this Request because it seeks information that is

outside the scope of discoverable information pursuant to Rule 26 of the

Federal Rules of Civil Procedure. Plaintiff further objects to this Request as

premature and oppressive in that it requires Plaintiff to be able to identify

every document she intends to use as evidence in support of class certification

during the infancy of discovery. Furthermore, this Request seeks documents

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and information relating to litigation strategy and thus are protected by

attorney-client and attorney-work product privilege. Plaintiff further objects

to this Request as vague and ambiguous. Plaintiff further Plaintiff reserves

the right to supplement her response.


Dated this the 3rd day of January, 2020.

                                      HAGENS BERMAN SOBOL SHAPIRO LLP

                                      By: /s/ John M. DeStefano
                                          Robert B. Carey (pro hac vice)
                                          John M. DeStefano (pro hac vice)
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                                      HENDREN REDWINE & MALONE, PLLC

                                      By: /s/ J. Michael Malone
                                          J. Michael Malone, Esq.
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                                          Raleigh, NC 27612
                                          mmalone@hendrenmalone.com
                                          Telephone: (919) 573-1423
                                          Facsimile: (919) 420-0475

                                      Counsel for Plaintiff




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                          CERTIFICATE OF SERVICE

      On January 3, 2020, I served the foregoing document described as

PLAINTIFF’S RESPONSES TO DEFENDANT GARRISON PROPERTY AND

CASUALTY INSURANCE COMPANY’S FIRST SET OF INTERROGATORIES,

REQUESTS FOR ADMISSION, AND REQUESTS FOR PRODUCTION OF

DOCUMENTS by email this day to the below parties and/or counsel of record:

            Matthew B. Tynan
            Kimberly M. Martson
            Reid L. Phillips
            BROOKS PIERCE MCLENDON HUMPHREY & LEONARD
            PO Box 26000
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            Rodger L. Eckelberry
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            Columbus, OH 43215
            Reckelberry@bakerlaw.com
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            mdrocton@bakerlaw.com



                                               /s/ John M. DeStefano
                                               John M. DeStefano




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TAB 20                                                                                         DJA0235




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&RPPLVVLRQHU V DSSURYDO IRU XVH DV DQ 2IILFLDO 8VHG &DU *XLGH DQG LGHQWLILHV WKHLU UHVSHFWLYH
YDOXDWLRQSURGXFWV

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                  x $XWRVRXUFH
                  x $XWRVRXUFH'LUHFW

              &$5)$;,QF
                  x &$5)$;7RWDO/RVV9DOXDWLRQ6HUYLFH

              &&&,QIRUPDWLRQ6HUYLFHV,QF
                  x &&&9DOXHVFRSH&ODLP6HUYLFHV

              0LWFKHOO,QWHUQDWLRQDO,QF
                   x 0LWFKHOO:RUN&HQWHU7RWDO/RVV

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                   x 1$'$8VHG&DU*XLGH
                   x 1$'$2OGHU8VHG&DU*XLGH
                   x 1$'$&ODVVLF&ROOHFWLEOHDQG6SHFLDO,QWHUHVW&DU$SSUDLVDO*XLGH
                   x 1$'$0DQXIDFWXUHG+RXVLQJ$SSUDLVDO*XLGH
                   x 1$'$5HVLGXDO*XLGH
                   x 1$'$1HZ9HKLFOH,QYRLFH*XLGH
                   x 1$'$0RWRUF\FOH6QRZPRELOH$793HUVRQDO:DWHUFUDIW$SSUDLVDO*XLGH
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                    x   ;SUHVVIRU8VHG&DUV
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                   x &RPELQDWLRQ$XWRPRELOHDQG2OGHU$XWRPRELOH5HG%RRN
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                   x 7KH2OGHU7UXFN%OXH%RRN
                   x &RPPHUFLDO7UDLOHU%OXH%RRN
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                   x 7UXFN,GHQWLILFDWLRQ%RRN
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                     Consumer's Guide to
                            Auto
                         Insurance




                                        State of Wisconsin
                            Office of the Commissioner of Insurance
                                          P.O. Box 7873
                                     Madison, WI 53707-7873
                                               oci.wi.gov




PI-057 (R 02/2018)




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                                         The mission of the Office of

                                    the Commissioner of Insurance . . .

                              Leading the way in informing and protecting

                         the public and responding to their insurance needs.



If you have a specific complaint about your insurance, refer it first to the insurance company or agent involved. If you
do not receive satisfactory answers, contact the Office of the Commissioner of Insurance (OCI).

                                To file a complaint online or to print a complaint form:
                                                    OCI’s Web Site
                                                       oci.wi.gov

                                                        Phone
                                             (608) 266-0103 (In Madison)
                                                          or
                                              (800) 236-8517 (Statewide)

                                                    Mailing Address
                                       Office of the Commissioner of Insurance
                                                     P.O. Box 7873
                                               Madison, WI 53707-7873

                                                  Electronic Mail
                                           ocicomplaints@wisconsin.gov
                           Please indicate your name, phone number, and email address.

                                  Deaf, hearing, or speech impaired callers may
                                           reach OCI through WI TRS



This publication is not a legal analysis of your rights under any insurance policy or government program. Your insur-
ance policy, program rules, Wisconsin law, federal law, and court decisions establish your rights. You may want to
consult an attorney for legal guidance about your specific rights.

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tion is subject to change on a regular basis, without notice.

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If you need a printed copy of a publication, use the online order form or call 1-800-236-8517.

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without permission.




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Why Should You Buy Auto Insurance?

Insurance is based on the theory most drivers will not be involved in accidents. Premiums paid by all drivers during
the year are used to pay for losses of the few drivers who have accidents. When you buy insurance, you receive
financial protection in case you become involved in an accident. You also make sure a person injured through your
fault will recover for losses you cause.

For example, if you are in an auto accident, you may be found responsible for losses of other people involved. A
claim may be made or a lawsuit filed against you, and you may not only have to pay for property damage but also
for medical expenses, lost wages, and pain and suffering of any injured person. The amount of money you may
have to pay could be substantial.

If you do not have insurance, anything of value you own, including your home, savings, future wages, and other assets,
may be taken to pay for those losses. Auto liability insurance can help protect you so this does not happen. Liability
insurance also pays for an attorney to defend you against any claim or lawsuit that may be payable under the policy.

You can also buy insurance to cover damages to your auto. This optional coverage will help pay for your losses
whether or not you were at fault.


Components of Auto Insurance

There are many components of auto insurance including mandatory and optional coverage. Your policy must contain
three major parts—liability insurance for bodily injury, liability insurance for property damage, and uninsured motorist
coverage. Optional coverage includes underinsured motorist, medical expense coverage, collision and comprehensive
coverage.

Mandatory Auto Insurance Requirements

While many components of auto insurance have changed over the years, requiring all drivers have motor vehicle
liability insurance remains mandatory. This requirement falls under the purview of the Department of Transportation,
Division of Motor Vehicles (DMV).

Wisconsin drivers are required to have an automobile insurance policy in force or, in limited situations, other security
which could be a surety bond, personal funds, or certificate of self-insurance. Details are available from the Depart-
ment of Transportation (wisconsindot.gov/Pages/dmv/license-drvs/susp-or-rvkd/proof-of-insurance.aspx).

  Your policy must provide at least the following minimum liability coverage:

      • $25,000 for injury or death of one person;
      • $50,000 for injury or death of two or more people; and
      • $10,000 for property damage.

  Uninsured motorist coverage of at least $25,000/$50,000 each for bodily injury only is also mandatory.


Liability Insurance

When referring to liability limits, the designation of $50,000/$100,000/$15,000 (or 50/100/15) or similar designations
refer to the maximum amounts an insurer will pay for three basic liability coverages. The first number ($50,000)
refers to the limit on bodily injury payments coverage per person. The second number ($100,000) refers to the limit
on bodily injury coverage per accident where two or more people have been injured. The third number ($15,000)
refers to the limit on property damage coverage per accident.




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Bodily Injury Liability Coverage does not protect you or your car directly. If you cause an accident injuring other
people, it protects you against their claims up to the stated amounts for medical expenses, lost wages, pain and
suffering, and other losses. It will also usually pay if the accident was caused by a member of your family living with
you or a person using your auto with your consent.

Property Damage Liability Coverage pays for damage you cause to the property of others such as a crushed
fender, broken glass, or a damaged wall or fence. Your insurance will pay for this damage if you were driving your
auto or if it was being driven by another person with your consent. Property damage liability also pays if you damage
government property like a light pole or signpost, up to the limit you choose.

Uninsured Motorist Coverage (UM)

Uninsured motorist coverage applies to bodily injury you, your family, and other occupants of your vehicle incur when
hit by an uninsured motorist or a hit-and-run driver. It also covers you and your family if injured as a pedestrian when
struck by an uninsured motorist or a hit-and-run driver. It protects you by making sure money is available to pay for
your injuries caused by someone else. The minimum amount of coverage required by law is $25,000/$50,000 for
bodily injury only. These coverages are the minimum required by law; you may want to purchase more than minimum
coverage required by law if you feel the need for more protection. Uninsured motorist coverage does not cover your
property damage and does not protect the other driver. Your insurer may sue the other driver for any money your
insurer pays you because of the other driver’s negligence.

Underinsured Motorist Coverage (UIM)

Underinsured motorists (UIM) coverage increases the bodily injury protection to you and the people in your car up
to the amount of coverage you purchase if the at-fault party’s bodily injury liability insurance limits are lower than
your UIM coverage limits.

Underinsured motorist coverage is not mandatory. The insurer must notify you with the delivery of your policy that
UIM coverage is available. You may reject buying UIM coverage. However, if purchased, coverage limits of at least
$50,000 per person and $100,000 per accident are required.

You should carefully review your policy to determine exactly what coverage is provided by UIM.

Medical Payments Coverage

This coverage pays medical or funeral expenses for you or others injured or killed in an accident while riding or
driving in your auto. This includes all reasonable hospital, surgical, chiropractic, x-ray, dental, professional nursing,
prosthetic, and rehabilitation expenses up to the limits of coverage.

Medical payments coverage usually covers only those expenses not covered by health insurance, such as copay-
ments, deductibles, etc. It will also cover you or members of your family if you are struck by an auto while walking
or while riding in another auto. This coverage will pay for your medical and funeral expenses even if you cause
the accident. Usually, only expenses incurred within one year after the accident are included. As an example, this
coverage will provide benefits for a friend or a neighbor’s child injured in your car. Medical expense coverage is an
optional coverage. Note: Insurance companies must offer this coverage to you, but you do not have to buy
it. The minimum limit that can be purchased is $1,000.

Physical Damage Coverage

If you borrow money from a bank or some other financial institution to buy your car, the lender will probably require
you to purchase physical damage coverage to protect both of your interests in the car.

“Collision” and “Comprehensive” coverages, which are also known as physical damage coverages, pay for repair or
the actual cash value of your auto regardless of who is at fault.




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Comprehensive and collision premiums are based on the make, model, and year of your car. You should evaluate the
current market value of your car and your ability to afford a similar car should it be destroyed before you purchase
this coverage. You may not need this coverage if your car has decreased in value or if you can afford to replace it.

Collision coverage pays if your auto collides with an object, including another car or hit-and-run car, or if it overturns.
Your own insurer will pay for such damage even if the collision is your fault.

Comprehensive coverage pays for damage to your auto from almost all other causes such as fire, vandalism,
water, hail, glass breakage, wind, falling objects, civil commotion, or hitting an animal. Damage from striking a deer
is a relatively frequent accident in Wisconsin. It is important to know most policies cover hitting an animal under
comprehensive, not collision, insurance.

Comprehensive coverage also pays if your auto or parts of it, such as a battery or tires, are stolen. Flood damage to
your car is also covered if your auto insurance policy includes comprehensive coverage. If you carry collision without
comprehensive coverage, you are not covered for flood damage.


Underwriting and Rating

Comparison shopping for car insurance is often beneficial. Premiums are based on a number of factors and may vary
a great deal from one insurer to another for the same policy. The most important items in establishing your rate are:

    Your age, sex, and marital status. For example, young, single male drivers generally pay more than any
    other group.
    Where you live. Most insurance companies divide the state into territories for rating purposes. Generally,
    people in metropolitan areas pay more than those in less congested places.
    Your car. The year, make, and model of your car influence your premium. The less it costs to repair or
    replace your vehicle, the lower the cost of your premium. Sports cars and cars with high powered engines
    cost more to insure than cars with smaller engines.
    How you use your car. Generally the more you drive, the more you pay.
    Prior insurance coverage. Insurers may ask you if you had insurance coverage previously. If you have
    previously been canceled for nonpayment of premiums, insurers may want to know. If you have had insurance,
    the prior company can tell the new insurer a little about your claims history.

When an insurance company considers your application for auto coverage, it will take into account a number of
different factors about you and your driving record. Just because you apply with a certain company does not mean
you will be provided coverage by the company.

After completion of underwriting, the insurance company will place you in one of the three basic categories of drivers
listed below. Each company adopts its own rating system for deciding whether to insure a person. Those with the
lowest risk factors (least likely to have a claim) will receive the lowest rates.

    Preferred. This category is intended for drivers insurance companies consider being the best risks, which
    usually means the safest drivers. These insureds are usually ones with clean driving records over the past
    three to five years. These are given the lowest rates.

    Standard. This category is intended for moderate risk drivers. The rates are higher than the preferred rates.
    These drivers are usually driving family-type cars and have a reasonably clean driving record.

    Nonstandard. This category is intended for drivers insurance companies consider being high risk. Usually
    drivers in this category have the highest rates. These drivers may include drivers under age 25 with less
    driving experience, drivers with tickets or accidents, drivers with a poor premium payment history, and drivers
    with a reckless or drunk-driving history.



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Your agent should be able to tell what classification you fit into. The dividing lines are not always consistent across
insurers, but in general an applicant with chargeable accidents will be denied coverage by the lowest cost insurers
in the above examples. These insurers are relatively low cost because their customers are better than average
drivers. Since you generally cannot tell from the name or promotional ads of an insurer what its underwriting criteria
are, seek help from a qualified agent to find which insurer might insure you.


Credit Information

Consumer credit information may be requested by an insurer when writing new or renewal policies for both commercial
and personal risks. Some insurance companies believe certain credit information may be an indicator of frequency
and severity of future claims.

Insurance companies must use credit information in a way that is not unfairly discriminatory. If an insurer rejects your
insurance application based on information contained in your credit report, you have the right to review the report
information for accuracy, at no charge. You must request a copy of the report directly from the credit agency. Your
insurance company will provide you with the credit agency’s name, address, and telephone number.

Insurers may use credit information as one of the criteria they consider when underwriting personal lines insurance.
However, it is the position of OCI that insurers should not use credit information, whether they use credit reports
or credit scoring mechanisms, as the sole reason to refuse an application, cancel a new insurance policy in its first
60 days of coverage, or nonrenew an existing policy.

For more information on the Fair Credit Reporting Act (www.ftc.gov/os/statutes/fcrajump.shtm) contact the Federal
Trade Commission at:

                                          Federal Trade Commission (FTC)
                                           600 Pennsylvania Avenue, NW
                                               Washington, DC 20580
                                            1-877-FTC-HELP (382-4357)
                                                    www.ftc.gov

OCI publishes a fact sheet answering questions about how insurance companies use credit history in their underwriting
process. The publication Understanding How Insurance Companies Use Credit Information is available at oci.wi.gov/
Documents/Consumers/PI-204.pdf or by calling 1-800-236-8517.


Ways to Lower Your Premium

There are many actions you can take to lower the cost of your automobile insurance.

Safe Driving

Your driving record is very important in determining your premiums. Most insurers charge more—often substantially
more—for people who have a recent history of accidents and/or moving violations than for people with relatively clean
records. Therefore, it is important to ask your agent to go over all facts concerning your driving record and check all
other information for accuracy on your application for a policy. A mistake on your application could cost you money
or result in cancellation of your insurance policy.

Note: Wisconsin law allows insurers to rate based on all the members in a household including husband,
wife, children, or nonrelative, and the law does not allow insurers to exclude drivers by endorsement.




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  Your present insurer may charge a higher rate, a surcharge, if you are involved in a chargeable accident or were
  ticketed for a serious traffic violation. Surcharges must be applied in a uniform manner and are required to be filed
  with OCI. The insurer may also elect to nonrenew your policy as it expires if your accident record or moving viola-
  tions exceed the insurer’s standards.



Take Advantage of Discounts

Every auto insurance company has its own package of “special” discounts to attract particular types of customers.
Below is a sample of discounts to ask your agent about.

• Package discount—up to 15% is offered to customers who insure both their home and automobile with the same
  insurer.

• Multiple automobile discount—insuring more than one automobile almost always qualifies an insured for a discount.

• Good student discount—typically a 10 to 20% discount is offered if a youthful driver maintains a “B” or better
  grade average in high school or college.

• Nonsmokers discount—a few insurers offer discounts of 5 to 10% for insureds who do not smoke.

• Passive restraints discount—several companies offer discounts of up to 40% on medical payments coverage for
  driver and/or passenger air bags, automatic seat belts, or anti-lock brakes.

• Accident/claim free discount—insurers commonly reduce premiums for each year you have been continuously
  insured by them without being involved in an accident or filing a claim.

• Pay in full discount—some companies offer a discount for paying your premium in one lump sum or by automatic
  electronic payments. You can also save service charges by paying your premiums in a lump sum rather than in
  installments.

In addition, you may avoid late fees by paying your bill on time. Also, many insurance companies use consumer
credit information as a rating factor. Maintaining a good credit history may lower your rate.

A good agent will be sure to inquire about your particular circumstances to acquaint you with all applicable discount
packages offered by the insurer he or she represents.

Increase Deductibles

Many factors that go into determining your auto premium are relatively fixed by your household make-up and lifestyle.
However, one thing you can easily change is your deductible amount (usually only applies to comprehensive or
collision coverage).

A deductible is the dollar amount you must pay out-of-pocket for each covered claim. Deductibles on collision
coverage can range from $100 to $1,000. On comprehensive coverage they can range from $100 to $500 or higher.

Before deciding the deductible level, you must consider your ability to absorb unexpected financial demands. For
example, if a loss of $500 occurs and you have a deductible of $250, you pay $250 (your deductible) and you collect
$250 from your insurer. If a loss of less than $250 occurs, you pay for all of it yourself.

If you increase your deductible and pay for small losses yourself, your insurer can charge you less. This way you
can cut your insurance premium costs and still be protected against large losses.




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Youthful Drivers

The cost of automobile insurance varies from one group (classification) of drivers to another. On average, some
groups have worse driving records, higher accident rates, and more costly accidents than others. Usually, the highest
premiums are paid by a male driver under age 25, with his rate depending on his marital status and whether he
owns, or is the principal driver, of the car being insured. Under the most widely used rating system, the cost of auto
insurance for youthful drivers is scaled downward periodically. Rates for unmarried males who are owners of their
cars are reduced periodically from age 17-29.

In most states, rates for unmarried males who are not owners of their cars, for married males, and for females are
reduced each year from age 17-21. For these groups, “young driver” surcharges are eliminated at age 25.

Underage Drinking and Driving

Auto insurance premiums may be tripled or the policy nonrenewed for parents whose underage children receive
operating while intoxicated (OWI) citations.

OCI surveyed the 20 top writers of auto insurance in the state. Of the 20 insurance companies surveyed, 6 said
parents’ insurance rates would be affected if a minor received a citation for underage drinking when the minor has
NOT been driving. The policy could be nonrenewed, canceled, be renewed with nonstandard rates, or be surcharged.
The rate increases range from 90% to 260%.

Of the 20 insurance companies surveyed, 19 reported a rate increase or policy cancellation if a minor receives an
OWI citation. The rate increases range from 47% to 300%.

If your child is cited for underage drinking where the violation involved operation or use of a motor vehicle, the insurer
might nonrenew the parents' insurance policy or increase the premium, which would remain at the higher level for
a number of years or until the child leaves the household. If a child is cited for underage drinking involving a motor
vehicle, the parents' insurance rate may be affected for a minimum of three years, or until the minor is no longer a
member of the household, or no longer on the policy. OCI recommends the insurance company investigate whether
the violation is driving-related before using an underage drinking violation to underwrite or rate a policy. (Section
Ins 6.54 (3) (a) 1., Wis. Adm. Code, prohibits using an insured's or applicant's criminal records.)

If a young driver in your household has received citations for driving-related violations, including an OWI, those
violations can also affect other policies held by the parents. One of the companies reported a possible effect for
umbrella policies, and for two other companies, a citation would affect insurance rates on other non-auto motor
vehicles, such as boats, or snowmobiles.

The Department of Motor Vehicles will release any records related to drinking and driving, even for a minor, to
insurance companies when requested. Wisconsin driver records that are not confidential can be accessed by anyone
under open records law. Records that are not confidential include OWI and UAO (Underage Alcohol Operation).

  If you add another vehicle to your policy or change your insurance coverage, ask your agent to issue a
  binder confirming the coverage. A binder is a temporary written agreement, issued in the name of the
  insurance company, taking the place of the policy or endorsement until the policy or endorsement is
  issued. Only a binder is evidence of immediate coverage.


What if You Have Trouble Finding Insurance?

If you try several insurers and cannot find coverage, you most likely can be insured through the Wisconsin Automobile
Insurance Plan (WAIP). This is a plan created by Wisconsin law to provide automobile insurance to those who cannot
secure coverage from usual market sources.




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When you apply, you will be assigned to a licensed insurer who will issue you a policy. Since it is a last resort plan,
rates charged will usually be somewhat higher than rates charged in the voluntary market. While you are in the plan,
you should continue to shop for less expensive coverage. After four years, the company insuring you must accept
you for regular coverage if you have had a clean driving record.

You may apply through any licensed property and casualty insurance agent. For general information on WAIP, you
may call or visit www.wcrb.org/WAIP/WAIP_home.aspx.

                                       Wisconsin Auto Insurance Plan (WAIP)
                                         20700 Swenson Drive, Suite 100
                                              Waukesha, WI 53186
                                                  (262) 796-4540



Safety Responsibility Law

Wisconsin has a Safety Responsibility Law to protect persons who suffer damages in accidents caused by uninsured
motorists who do not pay for damages or injuries they cause.

The law requires any time a person is hurt or killed or property damage exceeds $1,000, the accident must be
reported as soon as possible. You must file a Driver's Report of Accident within 10 days with the Division of Motor
Vehicles (DMV). If a police agency investigates the accident, the police will file this report for you.

DMV checks accident reports to see if drivers have insurance coverage. If all drivers are insured, no action is taken. If
DMV determines a driver is uninsured and appears to be at fault, the law allows DMV to suspend their driver license
and vehicle registration if he/she does not pay for damages or injuries they caused.

For more information, contact the Wisconsin Division of Motor Vehicles, Traffic Accident Section, Room 804, P.O.
Box 7919, Madison, Wisconsin 53707-7919, or at (608) 266-1249. Information about the Safety Responsibility Law
is also available on the Wisconsin Department of Transportation’s Web site at wisconsindot.gov/Pages/dmv/license-
drvs/rcd-crsh-rpt/srlaw.aspx.


Comparative Negligence Law

Wisconsin has a comparative negligence law, which means responsibility is frequently shared. The comparative
negligence law is based on a percentage of negligence. This means you may recover damages from another party
only if your negligence is not greater than the other party. Recovery for your damages will be reduced by the
percent of negligence attributed to you. You are barred from recovery if your negligence is greater than another
party’s negligence.


If You Are in an Accident

Call the police. A police report can help if you have an accident or if your car is stolen or damaged by vandals. What
looks like a minor dent could be several hundred dollars’ worth of damage.

Obtain information. The insurance company will need complete information. Exchange insurance information with
the other driver. Write down names, addresses, telephone numbers, and license number of persons involved and
of witnesses. Note the time, date, location, road conditions, year and make of vehicles involved, apparent damage
and injuries, and your version of what happened. Make a diagram of the accident. Take pictures of the scene and
damage with a cell phone or camera.




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Filing an Insurance Claim

Call your agent or insurer. Phone your agent or the insurer promptly, even if you are far from home. Ask what
forms or documents will be needed to support your claim. The insurer may require a “proof of loss” form, as well as
documents relating to your claim, such as medical and repair bills and a copy of the police report. If you have any
questions, your agent should be able to assist you in filling out the forms.

Cooperate and answer all questions fully. The insurer may call you for more information or ask to examine your
damaged vehicle. Supply the information the insurer needs. In order to determine the extent of damage, they must
have access to the vehicle. Cooperate with the investigation and settlement of the claim. Cooperate with the defense
of any claim and provide your insurer with copies of any legal papers you receive in connection with your accident.
Your insurer will represent you if a claim is brought against you and defend you if you are sued for a claim covered
by the policy.

Keep receipts and records. Keep receipts and records of expenses you incur as a result of the accident. Save
copies of all documents you send or receive. You may need them later.

Take notes. Whenever you talk with insurance company employees, your agent, lawyers, police, or others, write
down the date, times, names, and subjects you talked about. Include all decisions or promises made.

Report worker’s compensation claim. If you are injured in a motor vehicle accident while conducting work-related
activities for your employer, also file a worker’s compensation claim with your employer. Your employer’s worker’s
compensation policy will cover your medical expenses and loss of income.

If you travel frequently, you may want to check with your insurer or agent to find out how to file a claim when you
are out of the area.


Repairing Your Car

Coverage for your vehicle in a personal auto insurance policy is not based on replacement cost. The policy is based
on "actual cash value" of the automobile. The actual cash value (ACV) of the automobile is based on the value of
the vehicle at the time of loss, taking into account its current market value. Therefore, the insurer’s obligation is to
repair the car based upon its ACV not its replacement cost.

If your car is damaged in an accident, your insurer will request you to submit one or more written estimates for the
cost of repairs. This permits you and your insurer to compare estimates and have your vehicle repaired at the lowest
possible cost. Competitive body shop estimates reduce insurance claim costs, which help in maintaining or reducing
auto insurance rates.

Your insurer may suggest, but cannot require, you to have your car repaired at a specific auto repair shop. If you
choose to have repairs done at a facility not approved by your insurer, you are responsible for any repair costs ex-
ceeding the final claim settlement.

Auto repair shops may use aftermarket or used parts when repairing or replacing a damaged part (i.e., bumpers,
bumper covers, and associated bumper parts). Aftermarket parts are produced by companies other than the original
equipment manufacturers (known as OEM parts).

Auto insurance contracts do not generally specify what parts will be used. You may request aftermarket parts not
be used to repair your vehicle, but you are responsible for any repair costs exceeding the final claim settlement
negotiated with the insurer.




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If Your Vehicle is a Total Loss

An insurance company will consider your vehicle a total loss if repairs would cost more than it is worth. An insurance
company will use various sources to value your car including, but not limited to, the National Automobile Dealers
Association Used Car Guide (“Blue Book”) or the CCC Information Services, Inc., guide. The company’s offer,
therefore, might not recognize your car’s condition, special features, or value on the local market. Companies must
use a fair and reasonable method to determine the value of your car. You have the right to know how the value was
determined and you should be sure to give the insurance company all information affecting the value of your car.

It may come down to negotiation between you and the insurance company to reach an agreement on the value
of your car. A company is more likely to raise its offer if you can show your car would sell for a higher price in your
area. Get several used car dealers’ written price quotes for a similar automobile. Newspaper used-car ads can also
help support your position.

Remember, an insurance company will not compensate you for the sentimental value of your car.


Lender Insurance Requirements

If you finance your car, the lender will require you to have car insurance. The terms of your loan will most likely require
you to provide comprehensive and collision insurance. If your insurance policy lapses, the bank will force coverage
(obtain a policy) and charge you for it. Forced coverage provides protection to the bank, not you, for their interest in
the car and nothing else and can be costly.

If a bank has forced insurance coverage on your car, it is in your best interest to obtain regular insurance
immediately. The forced coverage provides no liability insurance. These policies can be as much as three times
more expensive, compared to a regular policy, and the charges for these policies will be added on to your loan amount.

Note: If your car is in an accident, your insurance company will pay for repairs or replacement only up to
the car’s ACV—the amount it would have sold for before the accident. The ACV is unrelated to the amount
of your car loan and may be less than what you owe on your loan. Your insurance company is obligated to
return your vehicle to the condition it was prior to the accident and you are responsible for what you owe
on your car loan.


Vehicles in Storage

If you plan to not use your car for an extended period of time and decide to place it in a garage, you may want to
ask your agent to suspend some coverages so you will not have to pay the premium associated with these charges.
However, your car might still be susceptible to physical damage so consider maintaining comprehensive and possibly
collision coverage while your vehicle is in storage.


Extended Warranties

Some extended warranty plans (sometimes called service contracts) providing repair and replacement services
beyond what the product manufacturer offers are regulated by OCI. If you want to know if a warranty plan is licensed
in Wisconsin, see OCI's website at oci.wi.gov or call (608) 266­‑0103 or toll-free 1‑800‑236-8517.




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If you have a problem with a vehicle manufacturer warranty plan, contact:

                                             Department of Transportation
                                           Dealer Regulation Unit, Room 806
                                                     P.O. Box 7909
                                               Madison, WI 53707-7909
                                                    (608) 266-1425
                                                   wisconsindot.gov


Collision Damage Waiver Coverage

Rental car companies often sell collision damage waiver (CDW) coverage. A CDW is a contract offered by rental car
companies. A contract shifts liability for collision damage from the person renting the car to the car rental company.
Collision damage to the rental car is any damage resulting from an accident. Most personal auto policies include
coverage for damage to a rental car. Before renting a car, check with your agent to see if you have coverage under
your personal auto policy. It is also important to note if there is a difference in value between your car and the rental car.

Note: If you rent a car in an area where your regular insurance does not provide coverage (i.e., anywhere
outside the United States and Canada), purchasing a CDW is probably worthwhile.

If you are having problems with a car rental company, you should contact the agency handling consumer protection
issues in the state in which you rented the car.

In Wisconsin, contact:

                               Department of Agriculture, Trade & Consumer Protection
                                               2811 Agriculture Drive
                                                   P.O. Box 8911
                                              Madison, WI 53708-8911
                                                  (800) 422-7128
                                                     datcp.wi.gov


Insurance Marketing

When you begin to contact insurers, there are a few items you should know about how insurance companies operate.

Generally, insurance is sold directly through an insurance company or indirectly through an agent or broker. An
independent agent may represent more than one, and sometimes several, insurance companies. An exclusive agent
sells solely for one insurance company or group of related companies if the insurance company or group writes that
type of insurance. Independent agents, as well as exclusive agents, may place business with another company if the
company(s) he or she represents does not write the type of insurance needed. A broker represents you in dealings
with an insurance company.

When you first talk to an agent, be sure he or she is willing and able to explain various policies and other insurance-
related matters. An agent should look for ways to get you the most protection at an affordable cost. Make sure your
agent agrees to review your coverage from time to time, advises you about other financial services, and assists you
when problems develop.

Some agents are interested in selling package products or services to as many people as possible. While there is
nothing wrong with low-cost, standardized products, they should fit your needs. If you are not convinced a particular
agent understands your needs and will give you the service you want, seek another agent.




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Agents and insurers differ. Consider recommendations from friends. All companies and agents doing business in
Wisconsin are licensed by OCI. Licensing information may be found on OCI’s Web site at oci.wi.gov or by calling
1-800-236-8517.


For Your Protection

Information is available to consumers from a number of sources. These sources include Internet, public libraries,
state insurance departments, consumer groups, and consumer publications. Financial strength and being able to
meet financial obligations to policyholders is very important.

Independent organizations such as A.M. Best, Standard & Poor’s, Moody’s Investors Service, and others publish
financial ratings. These rating organizations do not rate the quality of insurer’s policies, practices, agents, or service.
You should consider checking with at least two organizations to evaluate an insurance company’s strength. If you
want to check on an insurer’s financial stability, you can check the reference section of your public library for published
ratings, call OCI, or check with your insurance agent.

Every state has a safety net to protect insurance consumers from financial loss in the rare instance an insurer
becomes insolvent. This safety net is called a “guaranty fund.” Guaranty funds are established by state law and are
composed of licensed insurers in the state. They pay the claims of policyholders and other claimants of an insolvent
company. The money to pay claims against the insurance company comes from assessments made against all
insurance companies that are members of the guaranty fund.

In Wisconsin, this fund is called the Wisconsin Insurance Security Fund (Fund). The Fund is created by state law and
is funded by assessments of insurers licensed to do business in Wisconsin. In general, the Fund protects residents
for most claims of licensed insurers in liquidation. The Fund should not be relied upon to eliminate all risks of loss
to insureds due to insurer insolvency. Some types of policies may not be fully covered and significant delays could
occur in settling obligations in cases of liquidation.

Questions about coverage and limitations of the Wisconsin Insurance Security Fund may be addressed to:

                                         Wisconsin Insurance Security Fund
                                       2820 Walton Commons Lane, Suite 135
                                             Madison, WI 53718-6797
                                                  (608) 242-9473
                                                 www.wilifega.org/


Consumer Tips

•   Read your policy. An auto insurance policy is a legal contract. It is written so your rights and responsibilities,
    as well as those of the insurer, are clearly stated.

•   Know what your needs are and find an insurer meeting your needs. Some insurers insure not only your car,
    but your home, life and health. Buy adequate coverage, but do not buy more than you need.

•   Comparison shop. It pays to shop around. Prices for the same coverage can vary greatly. A couple of hours of
    research can save you hundreds of dollars a year.

•   Check insurance costs before you buy a new or used car. Insurance costs are higher for makes and models
    that are expensive to repair or are frequently stolen. Your agent can assist you in getting the best value for your
    insurance dollar.




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•   Take advantage of low mileage discounts. Some insurance companies offer significant discounts to drivers
    who keep their annual mileage at or below certain levels. In general, the less you drive, the more you can save.

•   Do not pay cash. Always pay the agent or insurer with a check, money order, debit card, or credit card. This
    will be proof of your payment.

•   Some insurers will allow for electronic funds transfer arrangements (EFT). EFTs allow your insurer to
    automatically deduct your premiums from your checking account during certain time periods; be aware of your
    scheduled withdrawals if you choose to take advantage of this option.

•   In the long run, being a safe driver is the best advice on how to keep your premiums low. Lower rates are
    generally paid by those who maintain a good driving record.

•   While the price you pay is important, buying the least expensive policy may not necessarily be a good
    idea. Insurance sounding too good to be true probably is too good to be true. However, looking only at benefits
    could result in paying a higher than necessary premium. You should consider the following when choosing a
    company and a policy:

        Premium
        Benefits, including any coverage exclusions or limits
        Service (what is involved in making a claim?)
        Renewability (how easily can you be canceled?)
        Financial strength and reliability of the company
        Company management philosophy


Termination, Denials, and Cancellations

New Policies

When a policy first becomes effective, the insurer may cancel the policy any time within the first 59 days. Cancellation is
not effective until at least 10 days after the insurance company mails or delivers to you a written notice of cancellation.

Renewal on Altered Terms

Sometimes an insurer will renew a policy but will raise rates or make terms less favorable to the insured. An insurer
may not alter terms of coverage until 60 days after a notice is mailed to you. To be effective, the notice must be
mailed or delivered prior to the renewal date. If the notice is given less than 60 days before the renewal date, the
new terms or premium increase will not become effective until 60 days have elapsed from the date the notice is
given. These conditions do not apply if the only change is a rate increase of less than 25%. If the insurer fails to notify
you of the new premiums or terms prior to your renewal date, the insurance company must continue your policy for
an additional period of time equivalent to your expiring term and at the same premiums and terms of your expiring
policy. [s. 631.36 (5), Wis. Stat.]

Midterm Cancellation

A midterm cancellation is a cancellation occurring during the policy term and prior to the policy’s expiration or renewal
date. An insurance company can only cancel coverage during this period if the premium is not paid or if there is a
substantial change in the risk assumed by the insurance company. The insurer must either mail or deliver to you a
written cancellation notice. No cancellation is effective until at least 10 days after mailing or delivery of the notice,
and it must state with reasonable precision the facts on which the insurer’s cancellation decision is based. [s. 631.36
(2) (b) and (6), Wis. Stat.]




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Nonrenewals

Nonrenewal of a policy refers to the termination of a policy at the expiration date. If an insurer decides it does not
want to renew your policy, it must mail or deliver to you a nonrenewal notice at least 60 days before the policy’s
expiration date. The nonrenewal notice must provide the reason for nonrenewal. The insurer must also provide
information in the notice on how to apply to the Wisconsin Automobile Insurance Plan for coverage. Under certain
conditions, these plans offer auto insurance to people who are unable to obtain it in the voluntary market. [s. 631.36
(4), (6), and (7), Wis. Stat.]

If an insurer fails to provide notice prior to the expiration date, it must continue your coverage under the terms and
premium of your prior policy for the term of the policy or one year, whichever is less. [s. 631.36 (4) (a), Wis. Stat.]

Anniversary Cancellations

This refers to a policy written for an indefinite term or for more than one year. These policies may be canceled on
any anniversary date if the policies contain cancellation provisions. If your insurer decides to cancel your policy on
an anniversary date, it must mail or deliver to you a written notice at least 60 days prior to the anniversary date; this
notice must state with reasonable precision the facts on which the insurer’s cancellation decision is based. [s. 631.36
(3) and (6), Wis. Stat.]

General Anti-Discrimination Laws

There are statutes and rules protecting consumers from unfair discrimination in insurance policies.

•   Insurers may not refuse to insure you or refuse to renew your policy on the basis of sex. [s. Ins 6.55, Wis. Adm.
    Code]

•   Insurers may not refuse coverage to a class of risks solely on the basis of past criminal record, physical disability,
    past mental disability, age, marital status, sexual preference, “moral” character, or risk location. Insurers may
    not use these classifications to charge different rates without credible supporting information that must be filed
    with OCI.

•   No insurer may cancel or refuse to issue or renew an automobile insurance policy wholly or partially because
    of one or more of the following characteristics of any person: age, sex, residence, race, color, creed, religion,
    national origin, ancestry, marital status, or occupation.

Some of these classifications may be used by an insurance company if its experience supports differences in losses
from these classifications. [s. 632.35, Wis. Stat., and s. Ins 6.54, Wis. Adm. Code]

An insurer may not refuse, cancel, or deny coverage solely because of a past criminal record, physical or developmental
disability, past mental disability, age, marital status, sexual preference, or “moral” character.


Problems With Your Insurance Company

If you are having a problem with your insurer, you may want to first check with your agent or with the company. If
you do not get satisfactory answers from the agent or company, contact OCI. An online complaint form is available
at ociaccess.oci.wi.gov/complaints/public/.

The more complete and accurate information you provide, the more likely it is your problem can be resolved. Be
sure you have included the correct name of the insurance company your complaint is about. Many companies have
very similar names. Listing the wrong name may delay investigation of your complaint.




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Before signing an application for any insurance coverage, verify the company and agent you are dealing with
are licensed in Wisconsin. Licensing information about agents and companies can be found on OCI’s website at
oci.wi.gov or by calling 1-800-236-8517.

It is illegal for unlicensed insurers to sell insurance. Business cards are not proof of a licensed insurance agent or
company. If you do business with an unlicensed agent or company, you have no guarantee the coverage you pay
for will ever be honored. If you purchase insurance from companies not legally doing business in the state, you will
not be protected by the Wisconsin Insurance Security Fund should the company fail.

If an unlicensed agent or company contacts you, call OCI immediately so regulatory action can be taken. By doing
so, you may protect someone less knowledgeable than you from being victimized.

OCI investigates complaints to determine if any insurance laws or rules have been violated. If any laws or rules
have been violated, OCI will proceed with disciplinary action. Penalties include suspension or revocation of licenses
or fines. OCI usually cannot settle a factual dispute; disputes based on a question of fact may have to be pursued
through small claims court or with an attorney.

If you are not satisfied with the service you receive, contact your insurer or agent. The following industry associations
may also help:

                                     Independent Insurance Agents of Wisconsin
                                              725 John Nolen Drive
                                                Madison, WI 53713
                                                  (608) 256-4429
                                                   www.iiaw.com

                                     Professional Insurance Agents of Wisconsin
                                                  6401 Odana Road
                                                 Madison, WI 53719
                                                   (608) 274-8188
                                                    www.piaw.org

                                      Community Insurance Information Center
                                        600 West Virginia Street, Suite 101
                                             Milwaukee, WI 53204
                                                 (414) 291-5360
                                              insuranceinfo-ciic.org




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                                            Automobile Insurance
                                            Quotation Worksheet


                                              Rating Information

			                        Marital % Use   Annual Mileage:
                   Age Sex Status  of Car
					                                      Number of Miles One Way if Driving to and
Principal Operator				                   % from Work Every Day:
					
Other Driver(s)				                      %
					


Number of Accidents or Moving Violations in the Last 3 Years:
List on separate sheet. Use date of conviction for violations.

Type of Auto(s)           Make		         Model & Year

Auto 1
Auto 2


                                 Insurance Quotes - Semiannual Premiums

Liability Limits:                                             Company           Company    Company
		                                                               1                 2          3

         Bodily Injury:                   per person
         Bodily Injury:                   per accident
         Property Damage:                 per accident

Uninsured Motorist

         Bodily Injury:                   per person
         Bodily Injury:                   per accident

Underinsured Motorist

         Bodily Injury:                   per person
         Bodily Injury:                   per accident

Physical Damage to Insured Vehicle

         Comprehensive:                   deductible
         Collision:                       deductible

Other Coverages:

TOTAL SEMIANNUAL PREMIUM:




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                                                                                             Governor Phil Murphy • Lt. Governor Sheila Oliver
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        What You Should Know About...
        Filing an Auto Damage Claim with Your Own Insurance Company




         When your vehicle is damaged or stolen, one of the first things you                            Collision coverage protects you from damage
         should do is file an insurance claim. If another driver caused the                             caused to your car by a collision with another
         damage to your vehicle, you have the option to file the claim either                           vehicle, a fixed object, or an object lying in the
                                                                                                        roadway. Collision coverage also protects you
         with your own insurance company, if you have the appropriate                                   from damage caused by the upset of your
         coverages (a "first party" claim), or with the insurer for the                                 vehicle.
         owner of the other car (a "third party claim").
                                                                                                        Comprehensive coverage protects you if your
                                                                                                        car is stolen or vandalized or damaged by
         In order for you to be able to file a "first party" claim, your policy                         contact with an animal or falling objects (i.e.,
         must provide Collision or Comprehensive coverage (see right).                                  tree limbs, rocks, stones, debris). It also covers
         These are often referred to as "Physical Damage" coverages.                                    your vehicle for glass breakage, fire, wind, hail,
                                                                                                        and flood damage.




        If you file a first party claim, your insurance company will either pay to repair the damages to your vehicle
        or pay you the value of your vehicle if the damages exceed the car's worth. First, though, the company will
        subtract the deductible amount you have chosen for that coverage.

        If you file a third party claim against another driver, the other driver's insurance company will only pay
        for damages to your vehicle to the extent that their insured was legally responsible. In some instances, this
        may not be enough to reimburse you for the full amount of your loss. (More information on third party claims...)




        Frequently Asked Questions                                                                                          Glossary of Insurance Terms



        1. Can I collect under "no-fault" insurance for damages to my vehicle if I was at fault for an accident and I do not carry first party coverage?

        2. What must I do after a loss?

        3. What information must I give my insurance company?

        4. When will my insurance company contact me and how long do they have to look at my vehicle?

        5. How long does my insurance company have to settle my claim?

        6. Will my insurer pay for me to rent a car?

        7. What about storage fees?

        8. Who decides whether or not my vehicle can be repaired?

        9. Can I choose my own repair shop?

        10. Can I ask my insurer to recommend a repair shop?

        11. Does my insurance company have to use new parts to repair my car?

        12. Do I have to accept non-OEM parts?

        13. Do I have to pay a deductible?

        14. How will the value of my vehicle be calculated to determine if it is a total loss?

        15. Can my insurer deduct for any damage or rust to my vehicle which existed before the loss?

        16. I found a car just like mine that costs more than what I got from the insurance company for my old car. What can I do?

        17. Does my insurer have to give me the option to keep my car after they have declared it a total loss?

https://www.state.nj.us/dobi/ins_ombudsman/wysk1.htm                                                                                                         1/7




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                                                                                                                                           DJA0261
        18. If the insurer settles my total loss and lets me keep the car, can I use the settlement money to fix it instead of selling it for salvage?

        19. Does my insurance company have to pay off my car loan?

        20. What if my company and I can't agree on the amount of my loss?

        21. Must I conclude my claim within a certain time frame?

        22. What else can I do if my insurance company and I can't agree, or if they deny my claim?




        1. Can I collect under "no-fault" insurance for damages to my vehicle if I was at fault for an
        accident and I do not carry first party coverage?


                The answer is "NO". No-fault or Personal Injury Protection (PIP) insurance only pays for your own
                medical expenses if you are injured in an automobile accident, no matter who caused the accident.
                It does not pay for damage to a vehicle.



        2. What must I do after a loss?


                Immediately report all losses to your insurance agent or company.
                Immediately report a loss to the police if your vehicle is stolen, vandalized, or damaged by a hit-and-run
                driver. Without a police report your company could deny your claim. In fact, under Division of Motor
                Vehicle law you are required to report any accident involving property damage in excess of $500.00 to
                the appropriate authorities.
                You must make the damaged vehicle available for inspection by the insurance company before you have
                it repaired.
                Protect your vehicle from further damage. If you don't do this, your insurer could refuse to pay for any
                subsequent damage. For example, if you don't cover a broken windshield and rain damages the
                upholstery, your company could refuse to pay for the damaged upholstery.
                Cooperate with the insurance company's investigator. If you don't cooperate, the company could deny
                your claim.
                When you file a first party claim, you have a direct contract with your insurer that requires the company
                to fulfill all the conditions stated in your policy. However, the contract also places duties and requirements
                on you, the insured, when filing a claim. Therefore, you need to review that section of your policy often
                called "Conditions" or "Insured's Duties After a Loss."



        3. What information must I give my insurance company?


                A copy of any legal documents you receive as a result of an accident, such as a letter from an attorney or
                a summons and complaint.
                A proof of loss, as may be required by the insurance company, describing the date of the loss, how it
                happened, who was driving, and any other relevant information. If a proof of loss is required, your
                company could deny your claim if you fail to provide it.
                Your company may also ask for other documents related to the claim such as repair bills or estimates, a
                copy of the police report, or a copy of the vehicle's title or bill of sale.
                In some cases, your company can also require you to submit to an examination under oath and produce
                requested documents. You do have the right to have an attorney present during the examination under
                oath. If you do not submit to the examination under oath, your company could deny your claim.



        4. When will my insurance company contact me and how long do they have to look at my vehicle?

                New Jersey insurance regulations require your insurance company to contact you within 10 working
                days after they have been notified of a loss, or if they intend to exercise their right to inspect the
                damaged vehicle, they must do so within 7 working days.

                Your insurer can only require your vehicle to be made available for inspection at a time and place
                which is reasonably convenient for you.

https://www.state.nj.us/dobi/ins_ombudsman/wysk1.htm                                                                                                     2/7




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        5. How long does my insurance company have to settle my claim?

               Your insurance company is allowed 30 calendar days to settle your first party claim from the time
               they receive notice of the loss. However, this time may be extended if the company needs to
               conduct additional investigation or if you fail to cooperate with them.

               The company must provide you with written notice explaining the reason for the delay if the claim
               settlement process takes longer than 30 days.



        6. Will my insurer pay for me to rent a car?


               It depends. If your car is stolen, most insurance policies will reimburse you for a stated amount
               towards the cost of a rental vehicle for a limited time starting 48 hours after the theft, as long as
               you report the theft to the police and to the insurance company. Check your policy for the exact
               wording.

               For non-theft claims, most policies don't provide coverage for a rental vehicle unless you buy this
               additional coverage. If another party was responsible for the accident, that party's insurer may be
               responsible for rental charges. (For more information, see third party claims...)



        7. What about storage fees?

               If your vehicle is not drivable after an accident and is towed to a storage facility, the storage facility
               will charge you a daily storage fee. Your insurance company must give you 3 working days notice
               before they stop paying for storage charges in order to give you time to move the vehicle to
               someplace where you won't incur storage charges.



        8. Who decides whether or not my vehicle can be repaired?

               After evaluating the damages to your vehicle, your insurance company has the option of repairing
               your vehicle, replacing your vehicle, or reimbursing you for the vehicle's actual cash value
               (ACV). Actual cash value is the amount your vehicle would have sold for on the date of the
               accident.

               Your insurance will elect to replace your vehicle or reimburse you for the ACV in those instances
               where the vehicle is economically impractical to repair.

               A vehicle is considered economically impractical to repair, or a total loss, if the cost to repair the
               vehicle equals or exceeds the vehicle's ACV on the date of the loss. In many instances an insurance
               company will total a vehicle if the appraised damages equal 80% of the vehicle's ACV because
               often, once repairs are begun, additional damages or "hidden damages" are found which would
               render the vehicle a total loss by definition. (This is sometimes referred to as a "constructive total"
               loss).




        9. Can I choose my own repair shop?

               Yes. Provided the repair shop is licensed, your insurer has to try to reach an agreed price with the
               shop of your choice. If your company cannot reach an "agreed price", they will provide you with the
               names of licensed shops who can do the repairs for the price the company has determined.



        10. Can I ask my insurer to recommend a repair shop?

               Yes. At your request, your company must recommend a qualified repair facility convenient to the

https://www.state.nj.us/dobi/ins_ombudsman/wysk1.htm                                                                        3/7




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               vehicle's location which will repair the vehicle at the price the company is willing to pay andDJA0263
                                                                                                               whose
               work is guaranteed. Your insurance company further stands behind the repair shop’s guarantee.



        11. Does my insurance company have to use new parts to repair my car?

               No. The contract of insurance only obligates the insurance company to restore your vehicle to the
               same condition it was in before the loss. Sometimes this requires the use of original equipment
               manufacturer (OEM) parts and sometimes after-market parts can be used. After-market parts
               are parts made by a manufacturer other than the original manufacturer.

               If your vehicle is being repaired with newer parts, your company doesn't have to pay for this
               "betterment". For example, if your vehicle's transmission is five years old and is damaged due to a
               covered loss, your insurer would only have to replace it with a five year old transmission. If a five
               year old transmission can't be found, the repair shop could use a new transmission but you'd have
               to pay the difference between the value of a five-year-old transmission and a new transmission.




        12. Do I have to accept non-OEM parts?

               No. While New Jersey regulations do permit the use of after-market parts as long as they are
               warranted by the manufacturer to be of like kind and quality as OEM parts, you don't have to
               accept them. The final choice is yours but if the insurer wants to use non-OEM parts and you
               decide to use more expensive OEM parts, you may have to pay the difference in cost.

               The regulations also require the insurer to clearly indicate in writing on the appraisal which parts
               are after-market parts and pay for any modifications necessary.



        13. Do I have to pay a deductible?


               When you bought your policy, you chose a deductible for your physical damage coverages. This is
               the amount you are responsible for if a claim occurs. The higher your deductible, the lower the cost
               of your physical damage coverage. Your insurer will deduct that amount from the settlement of
               your claim.

               Keep in mind that insurance companies consider it to be fraud if the repair shop inflates your repair
               estimate to help you recover the cost of your deductible.



        14. How will the value of my vehicle be calculated to determine if it is a total loss?

               Each insurance company is required to select one of three prescribed methods for use in the
               settlement of all their total loss claims.

               The three methods which have been approved by the Commissioner of Banking and Insurance are:

                 1. Taking the average of the retail values of substantially similar vehicles as listed in the current
                 editions of the "Automobile Red Book" (or "Older Car Red Book") published by Penton Media and
                 the "N.A.D.A. Official Used Car Guide" (or "N.A.D.A. Official Older Car Guide") published by the
                 National Automobile Dealers Used Car Company.

                 2. Using a quote obtained by the insurer for a substantially similar vehicle available for you to
                 purchase from a dealership within 25 miles of where your car is normally garaged.

                 3. Utilizing the services of an approved source, including computerized databases that produce
                 fair market values of substantially similar vehicles. At this time Audatex, Mitchell International,
                 CCC, Vehicle Valuation Services Inc and CARFAX are approved for use in determining fair
                 market values.

               If your vehicle cannot be valued using any of these three methods because they fail to represent a
               true cross-section of the market to determine the fair market value of your car, the company is

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               then required to use the best available method and fully explain to you, in writing, how they
               calculated the amount they are offering you.

               In addition to telling you which method is used to value your car, your insurance company must
               also provide you with an itemized list showing all additions, deductions, and sales tax applicable to
               your vehicle.



        15. Can my insurer deduct for any damage or rust to my vehicle which existed before the loss?

               Yes. However, deductions for previous damage or prior condition must be itemized with a specific
               dollar amount and are limited to the amount by which the resale value of the car is increased by
               the elimination of the previous damage or correction of the prior condition. In other words, if your
               car was damaged in a previous accident and you decided not to get it repaired, or if you neglected
               the condition of your car which resulted in the vehicle sustaining rust, your car would not be worth
               as much on the open market if you tried to sell it than it would be had you elected to repair the
               previous damage or maintain the car in good condition. The amount by which the resale value of
               your car increases by eliminating the previous damage, or correcting the prior condition, is the
               amount the insurance company can deduct from your total loss settlement.

               As New Jersey does not have a law which specifies just how insurers can take deductions for
               previous damage or prior condition, the example below is provided solely for the purpose of giving
               you a better understanding of this concept to assist in your negotiations with the insurer.

                 Example - A quarter panel damaged prior to the covered accident which the insurer estimates
                 will cost $600 to replace may result in the following deductions:


                        If the vehicle is 1 and 2 years old - $600 deduction for previous damage
                        If the vehicle is 3 and 4 years old - $450 deduction for previous damage
                        If the vehicle is 5 through 7 years old - $300 deduction for previous damage
                        If the vehicle is over 7 years old - $150 deduction for previous damage.




        16. I found a car just like mine that costs more than what I got from the insurance company for my
        old car. What can I do?


               Provided you have located a substantially similar vehicle within 30 days from receiving the
               company's settlement check, your company will have to either:

                      Pay you the difference between the cost of the car that you found and the amount of the
                      claim settlement.
                      Negotiate the purchase price of the car that you found.
                      Locate a substantially similar vehicle within a 25 mile radius of your vehicle’s principle place
                      of garaging which you can purchase at the market value established by the company in their
                      original offer of settlement.
                      Invoke the Appraisal Clause of your policy. (See Question 20)




        17. Does my insurer have to give me the option to keep my car after they have declared it a total
        loss?


               No. Once they settle a total loss, your insurance company assumes the rights to your car and can
               dispose of it however they wish including selling it or its parts for salvage. They can, at their
               discretion, let you keep the car and let you try to salvage it yourself.

               If the insurer lets you keep your car, they will deduct its salvage value from your total loss
               settlement before applying your deductible.



        18. If the insurer settles my total loss and lets me keep the car, can I use the settlement money to
        fix it instead of selling it for salvage?
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               Yes. However, if your vehicle was manufactured 8 or fewer years from the current model year, you
               must first obtain a salvage certificate from the New Jersey Motor Vehicle Commission (MVC).

               After the repairs are made, the vehicle must then be presented to the MVC for a special inspection
               before it can be driven on public roads.




        19. Does my insurance company have to pay off my car loan?

               No. The insurance policy only requires the company to pay the actual cash value of the vehicle less
               your deductible. If your car's value is less than the loan, you are still responsible for the difference.

               Keep in mind that if your lender is listed as a loss payee on your policy (which is normally the case)
               the settlement check will be made out to them as well as to you.



        20. What if my company and I can't agree on the amount of my loss?


               If you and your insurer can't agree on the amount of your physical damage loss either one of you
               may request an appraisal as explained in your policy. Here is how the appraisal process usually
               works:

                       You choose and pay for an appraiser to represent you.
                       The company will choose and pay for an appraiser to represent them.
                       The two appraisers will select a neutral third party umpire (for whom you and your company
                       split the cost, if necessary).
                       Both appraisers will give their estimates for the loss.
                       If the appraisers can't agree, they will submit their differences to the umpire and a decision
                       by any two of the three is binding.




        21. Must I conclude my claim within a certain time frame?

               Yes. You must either accept a final settlement or file a lawsuit within the time period specified by
               the appropriate statute of limitations.

               If you fail to accept a final settlement offer or to file a suit before the statutory period runs out, you
               may jeopardize your right to receive any settlement at all.



        22. What else can I do if my insurance company and I can't agree, or if they deny my claim?


               You can file an appeal with the insurance company's internal appeals panel. If you are still
               unsatisfied after the company's internal appeals panel renders its decision, you can request a
               review of that decision by the Insurance Claims Ombudsman.

                                                                        The Office of the Insurance Ombudsman
                                                                        NJ Department of Banking and Insurance
                                                                        20 West State Street
                                  You can file a written complaint
                                                                        PO Box 472
                                  with:
                                                                        Trenton NJ 08625-0472
                                                                        1-800-446-7467
                                                                        E-mail: ombudsman@dobi.nj.gov




        If you have any further questions or would like additional information, you can contact the Department of Banking and Insurance either through
        the Office of the Insurance Claims Ombudsman at 1-800-446-7467 or the Consumer Inquiry and Response Center (CIRC) at 609-
        292-7272.




                                     OPRA is a state law that was enacted to                           You will need to download the latest version of

https://www.state.nj.us/dobi/ins_ombudsman/wysk1.htm                                                                                                     6/7




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                                    give the public greater access to                                                                 DJA0266
                                                                                                       Adobe Acrobat Reader in order to correctly view
                                    government records maintained by public                            and print PDF (Portable Document Format) files
                                    agencies in New Jersey.                                            from this web site.



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       New Jersey Department of Banking and Insurance




https://www.state.nj.us/dobi/ins_ombudsman/wysk1.htm                                                                                                     7/7




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         Understanding
              your
           auto claim




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Filing a claim
Immediately notify the police of an accident that damaged other’s property or if you were the victim of a hit-
and-run accident, uninsured motorist, vandalism or theft.

Report your accident or the circumstances that will cause you to Àle a claim with your insurance company or
agent/producer. If you were not at fault, report the accident to the other driver’s insurance company. Follow
the company’s instructions when making your claim. According to Missouri statute section 375.1007(4) RSMo
and Missouri regulation 20 CSR 100-1.050, insurance companies are required to handle claims promptly and
fairly.

If you are in an accident with an uninsured motorist, notify your own carrier, and a report should be made to
the Missouri Department of Revenue if:

· The accident happened in Missouri
· One year has not passed since the accident happened
· Someone involved in the accident did not have liability insurance coverage
  AND
· There is damage to any one or more person’s property in excess of $500; or there was personal inury or
death

You may obtain a state “Uninsured Accident Report” form from any branch of the Missouri Department of
Revenue or State Highway Patrol.

Missouri Department of Revenue
301 W. High St., Room 470
Jefferson City, MO 65101
(573) 751-7195

You can contact the State Highway Patrol General Headquarters by calling (573) 751-3313.


Understanding your claim
What is physical damage?

Physical damage insurance typically is the comprehensive and collision coverage on your vehicle.

Comprehensive insurance pays for damages to your car from perils such as À re, theft, explosion, windstorm,
hail, vandalism, glass breakage, birds, and animals. Covered perils are listed in your policy under the insuring
agreements section. This coverage may have no deductible, a $100 deductible, a $250 deductible, or more. The
deductible is the amount of any loss you must pay before the insurance company will cover damages.

Collision insurance covers damage caused by the collision of your car, regardless of who is responsible for
the accident. This type of insurance usually includes a deductible. Again, you pay the deductible amount when
you have an accident, and the insurance company pays the rest, up to the limits of your policy.




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What is diminished value?

Diminished value is the difference in fair market value of the auto immediately before the accident and the auto
immediately after the accident causing the damage. Diminished value may or may not be recoverable under an
auto accident claim depending on the relationship between the injured party and the insurance company.

If you make a claim under your own policy (e.g. your auto was damaged because you hit a tree), Missouri law does
not require insurers to pay for diminished value and there is case law that addresses this issue - Lupo v. Shelter
Mutual Insurance Company, 70 S.W.3d 16. In this case, an insured brought action against his own insurance
company to recover the diminished value of his adequately repaired car. The insured claimed that his car was
worth less than it was before the accident even though the car had been properly and adequately repaired. The
court ruled in favor of the insurance company, the insured appealed and the appeals court agreed the insured’s
auto policy did not require his insurance company to pay for the diminished value of an adequately repaired
car. The law does not prohibit an insurer from offering this type of coverage, so it is always best to read your
policy or ask your agent to À nd out whether your policy will pay you for diminished value claims.

If you make a claim under someone else’s policy (e.g. your auto is damaged because someone else hit you),
Missouri courts have included diminished value as recoverable damages - Rook V. John F. Oliver Trucking
Company, 566 S.W.2d 200 (Mo. App. 1977). In this case, the court said the amount of damage should be
measured from the fair market value immediately before the collision and the fair market value immediately
after the collision. However, if repairs have been made to the auto as a result of the accident, the court said
that the dimished value should be the difference between the fair market value immediately before the collision
and the fair market value after the repairs.

What is Actual Cash Value?

The insurance company is required to pay the fair market value of a vehicle. The fair market value of your
vehicle can be found by surveying dealers in your area, receiving information from recognized groups such as
“CCC”, “ADP AutoSource”, or one of the industry guides, such as “NADA” to determine the average retail
price. When disputing the company’s offer of settlement, it is up to you to prove that your vehicle is worth
more than what the company is offering.

The insurance company will adjust the value based on physical wear and tear as well as any pre-existing
damage. If the company determines some replacement items are better than the ones damaged, they may
apply “betterment.” Betterment is an improvement that increases the value of property and is more extensive
than mere repairs. You would be responsible for those charges. For example, if the tires are damaged or the
battery or mechanical parts must be replaced, the company may replace new for old. The betterment would
depend on the age of the older item being replaced.




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What is Mitigation?

Mitigate means to minimize. Regardless of insurance, you have an obligation to mitigate the damages in a
loss according to Missouri courts. As such, you have an obligation to keep your expenses to a minimum. For
example, you may have to move your vehicle from storage to a neutral location, such as your home, until the
insurance dispute is settled.

New parts or after-market parts?

Missouri regulation 20 CSR 100-1.050(2)(D)2 allows companies to use aftermarket parts when completing an
estimate for repairs on your damaged vehicle.

A company is not obligated to put new factory parts on damaged vehicles. After-market parts are typically
deÀ ned as “parts not manufactured by the original equipment manufacturer that replace non-mechanical sheet
metal parts or plastic parts that constitute part of the exterior of a motor vehicle, including, but not limited
to, an inner or outer panel.”1 In accordance with the regulation, all after-market parts installed on the vehicle
must be clearly identiÀ ed on the repair estimate. Used parts, as well as after-market parts, are acceptable in the
repair of vehicles if certain criteria are met.

Estimates

The insurance company is obligated to pay for repairs “in an amount for which it may be reasonably expected
the damages can be satisfactorily repaired.”

It is common for insurance companies to review estimates submitted for repairs. However, you are the only one
that can authorize repairs to your vehicle. Therefore, you can take your car to a body shop of your choosing,
but if the insurance company has a lower estimate from another body shop, then the lower amount is all the
insurance company is obligated to pay.

According to Missouri regulation 20 CSR 100-1.050 (2)(E), when the insurer elects to repair and designates a
speciÀ c repair shop for automobile repairs, the insurer shall restore the vehicle to its condition prior to the loss
at no additional cost to the claimant, other than as stated in the policy and within a reasonable period time.

What about rental re-imbursement and/or loss of use?

Many companies offer an endorsement that you may purchase to cover rental re-imbursement costs that you
may incur in the event your car was damaged. For theft claims, Missouri regulation 20 CSR 500-2.100 provides
minimum standards for rental reimbursement under theft coverage. The maximum waiting period before
coverage begins is forty-eight hours. The minimum payment is ten dollars per day or three hundred dollars
per rental occurrence. The insurer may terminate these payments when they extend a reasonable settlement
to the insured.

In the event another party was responsible for the accident (someone else hit your car), common liability
language states that a company will pay for the damages in which their insured becomes legally liable, including
the loss of use of your car. The insurance company will determine if you have actually suffered a loss.
If a claimant does not rent a vehicle, some companies will offer a small amount per day to help absorb expenses
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such as public transportation, getting rides from friends or family, etc.

What is comparative fault?

In 1983, the Missouri Supreme Court adopted the rules of pure comparative fault. This means that any parties
involved in an accident may be partially responsible for the accident, and allows your damages to be reduced
by the percentage you are at fault in the accident. Insurers are allowed to investigate an accident and make a
decision as to the percentage of fault of all parties involved. They will make voluntary offers based on this
opinion.

What about salvage?

Missouri statutes deÀ ne “salvage vehicle” as any motor vehicle or semitrailer, which has been damaged to the
extent that the total cost of repairs to rebuild the vehicle to its condition immediately before it was damaged
exceeds 80% of the fair market value of the vehicle prior to the damage. (Fair market value is described on
page 5 under Actual Cash Value) The total cost of repairs to rebuild or reconstruct the vehicle shall not include
the cost of repairing, replacing, or reinstalling inÁ atable safety restraints, tires, sound systems or any sales tax
for parts or materials to rebuild the vehicle.

What is Àrst-party liability?

A Àrst-party liability claim is when you make a claim against your own insurance policy. The claim payment is
based on contractual agreements or provisions in your policy.

What is third-party liability?

A third-party liability claim is when you make a claim against someone else’s policy.

Typical policy language states that the insurer will pay for damages for which the insured becomes legally liable.
Some damages may include loss of use if the vehicle requires repair. Insurers will pay reasonable costs for
vehicle rental, bus fares, etc., to the third-party claimants. The company will usually terminate these payments
when a reasonable settlement offer is extended to the claimant.

What are bodily injury considerations?

Once a company has determined responsibility in an accident, they will gather information in order to extend
a fair settlement offer.

Companies will take several factors into consideration when offering the settlement. They will review all
reasonable medical expenses, lost wages, degree of injury and long-term effects. At this time there is no law
to force companies to include pain and suffering in the settlement offer.

Although the Missouri Department of Insurance cannot force a company to pay a bodily injury claim, the
department has the authority to ensure the company performs a thorough investigation.

Depending on the circumstances involved in the accident, it may take a while for the insurance companies to
determine liability and settle the claims. If you seek medical attention, Missouri law allows you to Àle accident-




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related medical claims under your health insurance coverage for beneÀts applicable to your policy. Once the
automobile insurer determines liability, the bodily injury payment is paid in addition to any beneÀt received.
The bodily injury settlement is based on reasonable medical expenses and is separate from health insurance
payments. Missouri law does not allow automobile insurance companies to subrogate (recoup their payment)
from your health carrier and vice versa. Only self-funded health beneÀt plans are allowed to subrogate in
Missouri.

The medical payments portion of some auto policies also provides immediate coverage for health services due
to an auto accident rendered regardless of who is at fault. You should review the medical payments portion
of your policy for coverage that may extend to the medical treatment.

How to contact the Missouri Department of Insurance, Financial Institutions & Professional
Registration
For additional information contact the Consumer Insurance Hotline toll free at 1-800-726-7390 or go to
http://www.insurance.mo.gov.




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        unrecovered vehicles under 31 Pa. Code § 62.3(e)(1)(i) (relating to applicable standards for appraisal).

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               Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 122 of 598
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        0F/HDQ9$
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        7KLVPDWHULDOKDVEHHQGUDZQGLUHFWO\IURPWKHRIILFLDO3HQQV\OYDQLD%XOOHWLQIXOOWH[WGDWDEDVH'XHWRWKH
        OLPLWDWLRQVRI+70/RUGLIIHUHQFHVLQGLVSOD\FDSDELOLWLHVRIGLIIHUHQWEURZVHUVWKLVYHUVLRQPD\GLIIHUVOLJKWO\
        IURPWKHRIILFLDOSULQWHGYHUVLRQ


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              Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 123 of 598
TAB 26                                                                                   DJA0275




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         LVDFRUUHFWWUDQVFULSWWKHUHIURPDQGRIWKHZKROHRIVDLGRULJLQDO
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  Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 124 of 598
                                                                DJA0276




             CONFIDENTIAL – SUBJECT TO JOINT DEFENSE
Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 125 of 598
       TAB 27                                                                                  DJA0277




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                    /LVWRI$FFHSWDEOH9DOXDWLRQ*XLGHVDQG0HWKRGRORJLHV
                                      ,Q$FFRUGDQFH:LWK
             ,QV'HWHUPLQLQJ$PRXQWRI0RWRU9HKLFOH7RWDO/RVV&ODLPV

,QDFFRUGDQFHZLWK,QV D   EWKHIROORZLQJLVDOLVWRIDFFHSWHGYDOXDWLRQJXLGHVDQGPHWKRGRORJLHV
DORQJZLWKWKHQDPHDQGDGGUHVVRIWKHYHQGRURUSURYLGHURIHDFK7KHVHYDOXDWLRQJXLGHVDQGPHWKRGRORJLHV
KDYHEHHQDFFHSWHGE\WKH1HZ+DPSVKLUH,QVXUDQFH'HSDUWPHQWDVWKHRQO\VXFKJXLGHVIRULQVXUHUVWRXVHLQ
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            Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 126 of 598
                                                                                              DJA0278

:RUN&HQWHU7RWDO/RVV                      0LWFKHOO,QWHUQDWLRQDO,QF
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$VVXFKLQVXUHUVPD\DOVRUHO\RQWKHPLQWKHLUGHWHUPLQDWLRQRIWRWDOORVVVHWWOHPHQWV

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            Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 127 of 598
        TAB 28
                                                        (/CID)
State of Connecticut                                                            DJA0279

Insurance Department
CT.gov Home    (/)   Insurance Department   (/CID) Auto Insurance



   Bulletins (/CID/Bulletins/Current-List-of-Bulletins)

   Commissioner's Orders (/CID/Commissioner/Orders/Commissioners-Orders)

   Complaints and Questions (/CID/Consumer-AÖairs/File-a-Complaint-or-Ask-a-Question)

   Consumer Alerts and Notices (/CID/Lists/Consumer-Alerts-and-Notices)

   Dates and Deadlines (https://www.catalog.state.ct.us/cid/portalApps/importantDate.aspx)

   Department Notices (/CID/Public-Notices/Department-Notices)

   Mission & Divisions (/CID/About-Us/Divisions)

   Enforcement Actions
   (https://www.catalog.state.ct.us/cid/portalApps/EnforcementAction.aspx)

   Forms and Applications (/CID/Library/Forms-and-Applications)

   In The News (/CID/Commissioner/In-The-News)

   Laws and Regulations (/CID/Legal-Division/Laws-and-Regulations)

   Reports (/CID/Reports/CID-Reports)

   Sign up for e-alert (https://con×rmsubscription.com/h/j/3138A4711139BFC7)


 Search Insurance Department

                                                                                             


   What Is Auto Insurance (/CID/General-Consumer-Information/What-Is-Auto-Insurance)

   Common Terms (/CID/General-Consumer-Information/Auto-Insurance---Common-Terms)

   What Aæects Premiums (/CID/General-Consumer-Information/Auto-Insurance---What-Aæects-
   Premiums)


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Teen Driving and Insurance (/CID/General-Consumer-Information/Teen-Driving-and-
                                                                         DJA0280
Insurance)

Automobile Arbitration Program
                                   3')




General Auto Coverage Information (/CID/General-Consumer-Information/Automobile-
Coverage-Information)

Steer Clear of Deer (/CID/General-Consumer-Information/FAQs---Steer-Clear-of-Deer)

FAQs - Regarding Repairs to Your Vehicle (/CID/General-Consumer-Information/FAQs-
Regarding-Repairs-to-Your-Vehicle)

Other Automobile Industry Sources Approved by the Insurance Commissioner:

 1. Automobile Red Book—Prism Business Media, Inc.
    9800 Metcalf Avenue, Overland Park, KS 66282-2901
    (800) 654-6776
    www.pricedigest.com (https://pricedigests.com/)

 2. Mitchell International, Inc.
    9889 Willow Creek RoadSan Diego, CA 92131
    (800) 854-7030
    www.mitchell.com (https://www.mitchell.com/)

 3. CCC Information Services, Inc.
    222 Merchandise Mart, Suite 444Chicago, IL 60654-1005
    (800) 621-8070
    www.cccis.com (https://www.cccis.com/)

 4. Audatex North America, Inc. (formerly ADP)
    Bishop Ranch 1, 6111 Bollinger Canyon Road, Suite 200San Ramon, CA 94583
    (925) 866-1100
    www.audatex.us (http://www.audatex.us/)

 5. AutoBid Services, LLC.
    10955 Lowell suite 1007, Overland Park , KS 66210
    (800) 875-2217
    www.autobid.com (https://autobid.com/)

 6. Vehicle Valuation Service (specialty type only)
    450 Summit Avenue, Suite 185 Oakbrook Terrace, IL 60181
    (888) 475-9975
    www.vvsi.com (http://www.vvsi.com/)

 7. DCI Solutions (specialty type only)
    P.O Box 9186, Rapid City, SD 57709


                                                                                     
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(855) DCI-LINK or (855) 324-5465
                                                                   DJA0281
dcisolution.com (https://dcisolution.com/)




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TAB 29                                                            DJA0282




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                                                             DJA0283




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            TAB 30                                                                                          DJA0284




   Frequently Asked Questions
    New Car           Used Car       My Car's Value        Instant Cash Offer                  Motorcycle   Other Pricing



   Used Car

   What is the Kelley Blue Book® Fair Purchase Price for used cars?


   What is Fair Market Range for used cars?


   What is Typical Listing Price?


   What is Kelley Blue Book Typical Listing Price (CertiÕed Pre-Owned)?


   How often do you update your used car values and pricing?


   How does mileage aàect a car's price or value?


   Does your used car pricing account for my region?


   Do you have Canadian pricing?


   Do you have pricing for other countries?


   Does Kelley Blue Book provide escrow services for vehicle purchases or guarantee online vehicle purchase
   transactions?


   I'm not in the United States. Can I still get a Used Car Report?


   Do you still sell the printed editions of Kelley Blue Book?


   What do the abbreviations on your site mean?




KWWSVZZZNEEFRPIDTXVHGFDUV                                                                                          
                 Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 133 of 598
                                          .HOOH\%OXH%RRN_)$4SDJH_8VHG&DU
                                                                                                   DJA0285
   What Is The Kelley Blue Book® Fair Purchase Price For Used Cars?
   This is the price that Kelley Blue Book has determined people like you are typically paying a dealer for a used
   car with typical mileage in good condition or better. This price is based on actual used-car transactions and
   adjusted regularly as market conditions happen to change.




   What Is Fair Market Range For Used Cars?
   The Fair Market Range is Kelley Blue Book’s estimate of what you can reasonably expect to pay this week for
   a vehicle with typical mileage and options (or with the miles and options you specify), excluding taxes, title
   and fees when purchasing from a dealer. Each dealer sets and controls its own pricing.




   What Is Typical Listing Price?
   Formerly known as Suggested Retail Price, the Kelley Blue Book Typical Listing Price is representative of
   dealers’ asking prices. It assumes that the vehicle has been fully reconditioned and has a clean title history.
   This price also takes into account the dealer’s proÕt, costs for advertising, sales commissions and other costs
   of doing business. The Õnal sale price will likely be less depending on the vehicle’s actual condition,
   popularity, type of warranty oàered and local market conditions. In other words, it’s the price you should
   expect a dealer to ask – not always the price you should pay.




   What Is Kelley Blue Book Typical Listing Price (Certi}ed Pre-Owned)?
   Formerly known as the CertiÕed Pre-Owned (CPO) Price, the Kelley Blue Book® Typical Listing Price (CPO) is
   representative of dealers’ asking prices for a used car covered by the manufacturer’s warranty in its CPO
   program. It assumes that the vehicle has been fully reconditioned and has a clear title history. The price also
   takes into account the dealers’ proÕt, costs for advertising, sales commissions and other costs of doing
   business, while also factoring in any value associated with the CPO program.

   For most vehicles, CPO coverage typically increases market value between $1,000 and $2,000. The Õnal sale
   price may vary according to the vehicle’s actual condition, popularity, type of warranty oàered and local
   market conditions. In other words, it’s the price you should expect a dealer to ask – not always the price you
   should pay.




   How Often Do You Update Your Used Car Values And Pricing?
   We update or verify Trade-In Values, Private Party Values and the used car Fair Purchase Price at least once a
   week. However, an update doesn’t necessarily mean that every vehicle will change in value. The values we
   provide are based on several factors including the current marketplace conditions and trends, which can
   vary widely.



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                                                                                                  DJA0286
   How Does Mileage Affect A Car's Price Or Value?
   Kelley Blue Book employs a team of statisticians who analyze millions of transaction records to determine
   the typical mileage of a vehicle based on its age and time spent on the road. The typical mileage for a
   particular car changes regularly based on the data in our transaction records. If a vehicle’s mileage is higher
   or lower than the typical mileage, we adjust its value up or down accordingly.




   Does Your Used Car Pricing Account For My Region?
   Yes. Kelley Blue Book understands the importance of providing pricing that is geographically relevant to
   consumers and dealers. In order to better meet the needs of the industry, we produce values based on 134
   geographic regions in the US. Each region is analyzed individually to reÖect local pricing and local economic
   conditions.




   Do You Have Canadian Pricing?
   Yes. Pricing and other info on KBB.com is speciÕc to the U.S., but in 2020, Kelley Blue Book started providing
   data for the Canadian market. Canadian pricing will follow soon and will be adjusted for each province &
   territory to reÖect local economic and market conditions. You can Õnd KBB Canada at KBB.ca.

   Remember that vehicles sold in Canada (and other countries) often diàer from their U.S. counterparts in
   engine spec and optional equipment.




   Do You Have Pricing For Other Countries?
   Pricing and other info on KBB.com is speciÕc to the U.S., but Kelley Blue Book also operates websites speciÕc
   to these other countries:

            Brazil –akbb.com.br
            Canada –akbb.ca

   In addition, Kelley Blue Book data and valuations can be found on websites in these countries.

            Australia –akbb.com.au
            China –ajingzhengu.com

   Remember that vehicles sold in other countries may look the same as their U.S. counterparts, but often
   contain signiÕcant diàerences in engines, safety standards and optional equipment.

   If you just want a general idea of pricing for a country where we don’t oàer values, you can look up a vehicle
   in our Western region – and, of course, convert from U.S. dollars to your country’s currency. Use the ZIP



   code 92618. Keep in mind that since vehicles can vary signiÕcantly from country to country, it’s tricky to
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                 Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 135 of 598
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   compare prices internationally.

   As we continue to oàer more global websites, we will pass the info on to you via KBB.com.




   Does Kelley Blue Book Provide Escrow Services For Vehicle Purchases Or
   Guarantee Online Vehicle Purchase Transactions?
   No. Kelley Blue Book does not participate in new or used vehicle transactions. Read more about protecting
   yourself from online fraud.aMore




   I'm Not In The United States. Can I Still Get A Used Car Report?
   Kelley Blue Book information is based on cars originally sold in the United States that are now being bought
   or sold in the United States. You can get a report, but you’ll have to enter a U.S. ZIP code, since regional
   factors aàect the values.




   Do You Still Sell The Printed Editions Of Kelley Blue Book?
   No. For over 90 years, Kelley Blue Book publishedaUsed Car Guidesaproviding values for used cars and
   trucks. For over 40 years, Kelley Blue Book published theaMotorcycle Guide, but in 2017, we published our
   last printed book. These decisions are never easy.
   The good news? If you need to get the value or your current car or are interested in what you should pay for
   your next car, you can still Õnd 21 years of new and used car pricing right here onaKBB.com. aIn addition, we
   also oàer values foramotorcyclesaand ATVs.

   If you would like to learn about other options to receive Kelley Blue Book® Values, or have any questions,
   please call KelleyKare at (800) 258-3266.




   What Do The Abbreviations On Your Site Mean?
   (   ) – This bullet-symbol indicates the model(s) for which this line item is listed. Loosely, “Available for this
   price on…        LS, GS, etc.”
   ( * ) – The asterisk is used as the wildcard symbol. It is a place holder to signify any missing character. For
   example, D*B means D(any letter here)B.
   2Da– Two Door
   4Da– Four Door
   5Da– Five Door
   2WDa– Two-Wheel Drive
   4WDa– Four-Wheel Drive
   6-CYLa– Six-Cylinder Engine

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                 Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 136 of 598
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                                                                                                   DJA0288
   8-CYLa– Eight-Cylinder Engine
   ABSa– Anti-lock Braking System
   AWDa– All-Wheel Drive
   CIDa– Cubic Inches Displacement
   CVTa– Continuously Variable Transmission
   DOHCa– Dual Overhead Cam
   DRWa– Dual Rear Wheels
   DSLa– Diesel
   EFIa– Electronic Fuel Injection
   FFVa– Flexible Fuel Vehicles
   GVWRa– Gross Vehicle Weight Rating
   HOa– High Output Engine
   HP Turboa– High Performance Turbo
   LPa– Low Pressure Engine
   MFIa– Mulitport Fuel Injection
   MSRPa– Manufacturer’s Suggested Retail Price
   N/Aa– listed in the description text means that the item is Not Available. There is usually text describing the
   circumstances.
   N/Aa– listed in the pricing columns means that at this time the pricing information is Not Available.
   N/Ca– means that there is No Charge for this item.
   PFIa– Port Fuel Injection
   PIOa– Port Installed Options
   PZEVa– Partial Zero Emissions Vehicle
   SFIa– Sequential Fuel Injection
   SOHCa– Single Overhead Cam
   SPRCHGa– Supercharged Engine
   SRWa– Single Rear Wheels
   SULEVa– Super Ultra-Low Emission Vehicle
   TGa– Turbo Gas (fuel type)
   Turboa– Turbocharged Engine
   ULEVa– Ultra Low Emissions Vehicle
   Va– Valve
   V6a– Six-Cylinder Engine
   V8a– Eight-Cylinder Engine
   VTECa– Variable Timing and lift Electronic Control system
   VVTa– Variable Valve Timing
   WBa– WheelbaseUs
     Contact

       Business Inquiries
       b2b.kbb.com

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                                                                                                    DJA0289
       Mailing Address
       195 Technology, Irvine, CA 92618
       Map




     FAQ                                                               Advertising



     Contact Us                                                        Media



     Do Not Sell My Personal Information (CA Residents                 Site Map
     Only)

                                                                       KBB Brazil
     About Us

                                                                       KBB Canada
     Careers



     Corporate




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            TAB 31                                                                                        DJA0290




   Frequently Asked Questions
    New Car           Used Car    My Car's Value           Instant Cash Offer                Motorcycle   Other Pricing



   My Car's Value

   How can I get the value of my car on a past date?


   How do I see the Blue Book® Value for my vehicle?


   What are Trade-in Values?


   What is the Trade-in Range?


   What are Private Party Values?


   What is the Kelley Blue Book® Instant Cash Oàer?


   How is an Instant Cash Oàer diàerent from Trade-in Range?


   Is it better to trade in my car or sell it myself?


   How do I determine what condition my current car is in?


   My car has air conditioning, but it's broken; do I still check the box marked AC?


   Can I sell my car on your site?


   My car has a salvage title. How does that aàect the value?


   What about the value of equipment on my car that you don't have listed?


   Why don't you value aftermarket equipment?



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   I purchased my car outside the US, but it is now registered here. What's the value of it?


   I totaled my car. How will the insurance company determine what it was worth?


   My car is more than 21 years old. How do I Õnd its value?


   Why doesn't Kelley Blue Book list trade-in values, private party values, or a used car Fair Purchase Price for
   Lotus, Ferrari, Bentley, etc.?


   I bought a new car a few months ago and I would like to check its used value. When will it be listed?


   What is the diàerence between the Trade-In Value I see on your site and the Blue Book® Lending Value?



   How Can I Get The Value Of My Car On A Past Date?
   Occasionally we get a request for the value of a particular vehicle at a particular date in history. This request
   may be for litigation, estate planning, taxes, etc. The fee for a Valuation CertiÕed Report is $35 per value. To
   request a Valuation CertiÕed Report, please contact Customer Service at 1-800-258-2005, option 2. This
   service usually has a turnaround time of 3-5 business days. We usually send the Report via email, but we can
   also mail it if requested.




   How Do I See The Blue Book® Value For My Vehicle?
   To get to the value for your car, navigate the path to the Blue Book Trade-In and Private Party Values:

            On the home page or under “Car Values” from the top navigation, select “My Car’s Value”.
            Tell us the year, make, model and mileage of the car you own (2015> Honda> Civic>30000 miles).
            Verify the ZIP code.
            Choose your car’s category (sedan vs wagon) and style (DX, EX, LX). Note: Many vehicles only come in
            one category, but most vehicles are sold in more that one style, which some sites call “trim”. Whatever
            you call it, these are pre-packaged levels of equipment – and they deÕnitely aàect the price or value of
            a car.
            Add any additional equipment or options (packages, alloy wheels, moon roof, premium sound, etc.)
            Choose what you’re most likely to do – Trade In to a Dealer or Sell to a Private Party.
            Tell us the car’s condition (Excellent, Very Good, Good, or Fair) or, if you’re not sure, take the Condition
            Quiz. Most cars we see are in “Good” condition.
            View the Blue Book Value based on your ZIP code and your car’s age, mileage, equipment, and
            condition.




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   What Are Trade-In Values?
   Trade-In Value is what you can expect to receive for your current car when trading it in at a dealer, assuming
   you’ve chosen the accurate condition. (Most people overestimate the condition of their car. As a reference,
   most of the cars we see are in “Good” Condition.) The Trade-in Value presupposes that you’re buying
   another vehicle from the same dealership. The Trade-in Value will be less than the Private Party Value
   because the reselling dealer has to pay to recondition the car, perform safety inspections and incur other
   costs of doing business.




   What Is The Trade-In Range?
   The Trade-in Range is an estimate of what you can reasonably expect to receive for a vehicle with the miles
   and options you specify, when trading in the car at a dealer. It generally presumes that you will buy another
   car from the same dealer.




   What Are Private Party Values?
   Private Party Value is what a buyer can expect to pay when buying a used car from a private party. It may
   also represent the value you might expect to receive when selling your own used car to another private
   party. The Private Party Value assumes the vehicle is sold “As Is” and carries no warranty (other than the
   continuing factory warranty, if any). The Õnal sale price may vary depending on the vehicle’s actual condition
   and local market conditions. This value may also be used to derive the vehicle’s value for insurance and
   vehicle donation purposes.




   What Is The Kelley Blue Book® Instant Cash Offer?
   The Kelley Blue Book® Instant Cash Oàer is a real oàer for a speciÕc amount to purchase a consumer’s car
   or apply the amount toward another car. The Oàer is valid for 3 days (not counting Sundays) and can be
   immediately redeemed during business hours at any Participating Dealer, pending inspection. It is based on
   speciÕc elements of the consumer’s car, like installed options, speciÕc condition (such as dents and
   mechanical issues) and local market demand.




   How Is An Instant Cash Offer Different From Trade-In Range?
   The Kelley Blue Book® Instant Cash Oàer is:
   Ɣ A Õxed oàer applied toward your next car purchase or used to sell your current car to a Participating
   Dealer (pending inspection)
   Ɣ Valid for 3 days (not counting Sundays)
   Ɣ Based on speciÕc details related to the condition and features of your car, like installed options, dents,
   mechanical issues, and local market demand


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   The Kelley Blue Book® Trade-In Value is:
   Ɣ An estimated trade-in value used toward the purchase of another car only
   Ɣ Updated weekly
   Ɣ Applied to similar cars of the same year, make, model, style and general condition
   Ɣ The general value Kelley Blue Book estimates consumers can expect to negotiate this week based on the
   style, condition, mileage and options of the vehicle when they trade it in to a dealer, however every dealer is
   diàerent and values are not guaranteed




   Is It Better To Trade In My Car Or Sell It Myself?
   This is a question of personal preference. When you trade a car in, the dealer must then absorb the cost of
   making the vehicle ready for sale, reconditioning, advertising, sales commissions, arranging Õnancing and
   insurance and standing behind the vehicle for any mechanical or safety problems. You may get more for
   your car if you sell it yourself, but you need to consider the value of your time, the aggravation of performing
   at least some of the above tasks to get the vehicle into a suitable resale condition and the liability of making
   appointments and giving a test drive. See more about Selling vs. Trading in ouraAdvice Section.




   How Do I Determine What Condition My Current Car Is In?
   We know you’re not an expert, but you also know your car best. Just be as honest with yourself as possible.
   Most people tend to overestimate the condition of their car. To help out, we post the percentage of vehicles
   we value that match each condition. For example, if only 3% of the vehicles in the market are considered
   “Excellent” condition, chances are that your car isn’t one of them. If you aren’t sure, take our condition quiz.




   My Car Has Air Conditioning, But It's Broken; Do I Still Check The Box
   Marked AC?
   Yes. But in fairness, you would need to deduct the cost to repair the broken equipment from the total
   vehicle price. There is one exception: when the cost of the repair is higher than the value of the broken item,
   it’s best not to include that item in the list of optional equipment.




   Can I Sell My Car On Your Site?
   Yes. As private party, you’ve got the same opportunity as a dealership: to reach millions of serious car
   shoppers with a listing on KBB.com and Autotrader. To create, purchase and post your car’s classiÕed ad,aget
   started here.a




   My Car Has A Salvage Title. How Does That Affect The Value?
   A salvaged, reconstructed or otherwise “clouded” title has a permanent negative eàect on the value of a
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   vehicle. The industry rule of thumb is to deduct 20% to 40% of the Blue Book® Value, but salvage title
   vehicles really should be privately appraised on a case-by-case basis in order to determine their market
   value.




   What About The Value Of Equipment On My Car That You Don't Have
   Listed?
   There are some options (e.g., rims, alarm systems, heated seats, trip computers) that are not addressed on
   our site. Most of these are dealer-installed or aftermarket. These items don’t have a consistent or reportable
   added value in the used marketplace. That is not to say that such options are worthless as they may make
   your vehicle more marketable against similar models; however we do not address options when there is not
   a consistent value to report.




   Why Don't You Value Aftermarket Equipment?
   This can be confusing for a lot of people: “Why do you show a luggage rack as optional, but not the ski rack I
   installed myself?” We only value items which are either factory-installed or “factory quality.” There is a
   tremendous variation in something like rims, so it would be impossible to list – and report values for – all the
   diàerent options. Space does not allow us to identify the vast variety of aftermarket items.




   I Purchased My Car Outside The US, But It Is Now Registered Here.
   What's The Value Of It?
   The values you see on KBB.com only apply to vehicles sold in the United States, but we do maintain sites in
   Canada and Brazil to supply the values for those markets. Cars imported through sources other than factory
   authorized distributors are considered gray market vehicles and may have substantially lower used car
   values because the conversion to U.S. speciÕcation is performed by aftermarket companies, not the factory.
   Kelley Blue Book does not address gray market vehicles; therefore yours may have to be privately appraised.




   I Totaled My Car. How Will The Insurance Company Determine What It
   Was Worth?
   Policies vary quite a bit, but generally, insurance adjusters try to determine the value for a vehicle that has
   been totaled as somewhere between Wholesale and Retail. They may also research comparable vehicles
   that have sold in your area to help determine a fair price. You could average the Trade-In Value with the
   Typical Listing Price of your vehicle and use the resulting value as a reference point for determining the
   vehicle’s value. Please note that insurance companies do not have any obligation to use Kelley Blue Book



   pricing to determine replacement values. Insurance companies use Kelley Blue Book as a reference but will
   set their own policies as to which values they use.

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   My Car Is More Than 21 Years Old. How Do I Find Its Value?
   Kelley Blue Book provides values for used vehicles up to 21 years old. Transactions for older vehicles are too
   rare, therefore we don’t have enough data to analyze and are unable to report values for them. If you have
   questions, please contact our Customer Service Department at 1-800-258-2005, option 2.




   Why Doesn't Kelley Blue Book List Trade-In Values, Private Party Values,
   Or A Used Car Fair Purchase Price For Lotus, Ferrari, Bentley, Etc.?
   Kelley Blue Book reports vehicle values by analyzing actual transactions in the market. We do not believe in
   using arbitrary formulas to predict prices because our promise is to report dependable values, not set
   prices. Kelley Blue Book does not currently oàer certain values for these exotics or low-volume vehicles since
   they are seldom seen in the market and can vary widely in value. Low-volume and exotic vehicles should be
   privately appraised to establish a trade-in or private party value.




   I Bought A New Car A Few Months Ago And I Would Like To Check Its
   Used Value. When Will It Be Listed?
   Kelley Blue Book reports vehicle values by analyzing actual transactions in the market. We do not believe in
   using arbitrary formulas to predict prices because our promise is to report dependable values, not set
   prices. It can be diÞcult to establish used values on newer vehicles if we have not seen enough transactions
   in the required amount of diàerent markets to establish dependable values on these vehicles.




   What Is The Difference Between The Trade-In Value I See On Your Site
   And The Blue Book® Lending Value?
   The Trade-In Value on our site supposes that the vehicle is in fair, good, very good or excellent condition and
   is taken in by the dealer AS IS. The Blue Book® Lending Value, which is intended for use by the wholesale
   industry, factors in the Trade-In Value of the vehicle plus the cost associated with reconditioning the vehicle
   to the manufacturer’s speciÕcations and performing all required safety checks to make it ready for sale. In
   other words, while Trade-In Values vary depending on the condition of the vehicle, Blue Book Lending Values
   assume the car is in good condition or better, meeting manufacturer and state requirements. Lending Value
        Contact Us
   is widely used by dealers as a starting point to estimate a vehicle’s value, depending on its condition.

        Business Inquiries
        b2b.kbb.com


        Mailing Address
        195 Technology, Irvine, CA 92618
        Map


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            TAB 32                                                                                                      DJA0297


      Did you know J.D. Power’s industry-leading valuations data drives NADAguides.com? Learn
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   NADAguides FAQ

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      Mileage

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      Print Guidebooks/Priceguides

      Private Party Sales

      RVs

      Technical Questions

     ø Values and Pricing

      VIN Numbers



      NADAguides Frequently Asked Questions
      Values and Pricing
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                                                                                                                        DJA0298
      What is considered when appraising a vehicle?


      Are the values shown in U.S. or Canadian funds?


      Where can I        nd values for a vehicle that is being imported from another country?


      How do I obtain an archive (historical) value from a previous month or year?


      Do you provide values for Kit or Replica Cars?


      When will NADAguides.com have 2021 used vehicle values?


      Are the used car values on the website based on actual sales? And is the clean retail price a
      typical dealer asking price or a nal selling price? Do the used car values on your website include
      sales tax and destination charges?


      What exactly does wholesale value mean and does NADAguides provide this value for used
      vehicles?


      What would cause the value of a vehicle to go up over time rather than decrease?


      Why can't I       nd a value for my special edition vehicle that was imported to the United States?


      If a dealer is using "auction" values as a trade-in value benchmark instead of NADAguides.com
      values online, how do I know what a fair price for my vehicle would be to trade-in to a dealer?


      Does or will NADAguides provide any values for converted electric vehicles in the used car
      category?


      Does NADAguides use a depreciation schedule to determine depreciation percentage rate per
      year?


      Vehicle book value: Cars, Motorcycles, RVs & Boats -- what are the basics of values?


      How do I value a salvage title?


      What are the de nitions for the valuations listed for Autos, RVs, Boats, Motorcycles and Classic
      Cars?


      What is included within the price when adding the Snow Plow Pkg. /Plow option?


      Does NADAguides provide values of vehicles that have been in a collision and repaired?


      How does NADAguides value a vehicle?
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      Is the clean retail value just the value of the car or does it include dealer fees?


      Do all vehicles automatically drop in value when a new model year is released in September?


      Why is my vehicle value on the site far below sale prices in my area?


      Does NADAguides value rebuilt or replaced components?


      Does the MSRP price of a vehicle include the listed cost of the vehicles engine?


      I have extremely low mileage on my older model year vehicle. Why do your values seem so low?


      What is considered when appraising a vehicle?
      NADAguides collects data from more than 1.5 million vehicle transactions each month. That's
      more data than any other provider. Our longstanding alliances with a range of top industry
      sources, manufacturers and dealers make it possible.

      The NADAguides database grows every day with these inputs, plus others:
           Auction transactions
           Retail sales data
           Asking prices from classi ed listing sites

      NADAguides has a strong history of collecting the most comprehensive industry data whether it
      be automotive, RV, motorcycle, boats, etc. Because we've been gathering it for so long, we've built
      the industry's most robust data archive. This information forms the foundation for the
      NADAguides values. Our team leverages the latest technology, deep knowledge of each segment's
      market, statistics, analytics and econometrics to derive our values.

      We continually build on our inputs, knowledge and process in order to provide the best insight -
      and the best value to your business.

      Are the values shown in U.S. or Canadian funds?
      All values shown are in U.S. funds. Our analysts review sales transaction data for publishing U.S.
      values only. We do not have any relationships with any data sources in Canada and the support
      for valuing Canadian business transactions is minimal. The size of the country and the volume
      created in the country is fairly small.

      Where can I nd values for a vehicle that is being imported from another country?
      Countries outside of the United States do not collect vehicle sales data like we do which makes
      it dif cult to provide values for these types of situations. Without data on transactions, values
      would not be accurate and merely just speculation. We DO export guidebooks to distributors but
      we are not aware of how they are being used on their end.

      How do I obtain an archive (historical) value from a previous month or year?
      NADAguides has an extensive reference library, and it offers archive values for automobiles,
      classic cars, powersports (motorcycles, ATVs, personal watercraft, and snowmobiles),
      manufactured homes, boats, and recreation vehicles. The fee for this service is $100.00 per

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      archive value, and it must be prepaid.

      Provided we have the necessary information in our reference library to complete your archive
      value request, processing time is within two business days. Archive values will be sent to you via
      email, fax, or mail.

      If you are interested in obtaining an archive value, please email your request to
      information@nadaguides.com.

      Do you provide values for Kit or Replica Cars?
      No. Due to variations in building standards and quality, we do not list values on Kit or Replica
      Cars.

      When will NADAguides.com have 2021 used vehicle values?
      Vehicle values are developed by NADAguides market/data analysts, based on many sources of
      information including reports of actual transactions. In order to determine a value for any given
      vehicle, there must be enough used sales transactions in the marketplace. Vehicles and vehicle
      options are valued throughout the year, as information becomes available.

      Are the used car values on the website based on actual sales? And is the clean retail price
      a typical dealer asking price or a nal selling price? Do the used car values on your
      website include sales tax and destination charges?
      The data is the guide value for the vehicle itself. The data sources used to determine the used car
      values are actual auction and retail sales transactions, asking price information, as well as
      numerous macro- and micro-economic factors. These sources are reviewed by our editors every
      month. No the prices do not include taxes because sales tax varies in each state. However,
      NADAguides publishes regional values for use by dealers, lenders, insurance companies and taxing
      authorities. We also provide these same values for consumers on the website without any
      regionalization. Keep in mind there could be a few hundred dollars difference between the
      National and Regional values. Also remember that when purchasing a vehicle there are origination
      and DOC fees with the lender. These costs refer to the cost involved for titling, registration, and
      all the paperwork led on behalf of buyers in their particular state by a dealership. Most states
      regulate the DOC fees that a dealer is allowed to charge. There is usually a maximum amount, but
      dealers can charge anything up to that amount. The charge is uniform, meaning it is on all deals.
      In some states dealers have to post the amount charged, usually in their Finance Of ce where
      customers sign their paperwork. Destination Charges must be added to the Base Invoice and Base
      MSRP (Manufacturer's Suggested Retail Price) in order to get the nal price; these are not
      included in our values.

      What exactly does wholesale value mean and does NADAguides provide this value for used
      vehicles?
      Wholesale refers to the price a dealer would pay for a vehicle at an auction or from another
      dealer who is selling a vehicle. NADAguides does not publish a wholesale value; we simply
      publish three trade-in values that re¡ect a number close to the referenced wholesale value.
      Wholesale value vehicles still need to be reconditioned and in most cases, transported to the
      purchasing dealer's location.

      What would cause the value of a vehicle to go up over time rather than decrease?


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      When there is a signi cant decline in new vehicle sales, the market has far fewer trade-ins.
      Programs such as the Cash for Clunkers program can remove a large block of vehicles that
      possibly would have re-sold. Rental car companies may keep their ¡eets in service longer, which
      also causes a shortage in used car supply resulting in a strong demand. Until new car volume
      returns to about 14 million, you will continue to see some upward pressure on some segments.
      Another contributing factor could be that your state has a higher tax rate per $100.00 of value.
      With dealers and private parties looking to purchase used vehicles and the supply limited, prices
      in most segments have increased.

      Why can't I nd a value for my special edition vehicle that was imported to the United
      States?
      Vehicle values are determined by NADAguides analysts through careful review and analysis of
      vehicle auction and retail sales transactions. Special edition vehicles typically have limited
      production runs producing a small quantity of units which may limit the transactional data
      available to NADAguides. NADAguides will only value the most popular options, equipment, and
      vehicles and will not make any attempt to track or value the special edition option as a result of
      low production numbers and insuf cient amounts of data. Another issue is that the editors
      review data by vehicle VIN and if the vehicle you are searching does not have a unique VIN, the
      results cannot be tracked. Without suf cient supporting data, an accurate value cannot be
      determined. If you do nd a value for your vehicle, please keep in mind that this value is pure
      speculation.

      If a dealer is using "auction" values as a trade-in value benchmark instead of
      NADAguides.com values online, how do I know what a fair price for my vehicle would be to
      trade-in to a dealer?
      Auction values are a tool that some dealers use when accessing their value of a particular
      vehicle. At times, dealers do send vehicles they have taken in on trade to auctions and some
      dealers may refer to auction values because of this. Regardless, we recommend using the trade-
      in and retail pricing found on NADAguides.com to guide your vehicle valuation. The values
      provided on NADAguides.com take into consideration the mileage, vehicle condition and optional
      equipment of your speci c trade-in vehicle. If the trade-in vehicle has been well maintained, the
      NADAguides.com trade-in values will be close to those prices happening at auction. Market
      supply can also be a factor. If there is a low demand for your particular vehicle in your area, a
      dealer will have to debate holding this vehicle longer to sell if the supply is greater than the
      current market demand.

      Auction values are a part of the evaluation equation and auction transactional data factors heavily
      into the values found on NADAguides.com. These values re¡ect averages, so vehicles will be both
      purchased and sold for more and less than the guide numbers.

      There are also a great number of alternative dealers you may want to visit in your area when
      considering trading-in your vehicle.

      Does or will NADAguides provide any values for converted electric vehicles in the used car
      category?
      At this point in time NADAguides has no plans on valuing converted electric vehicles. NADAguides
      analysts will value electric vehicles (Leaf, Focus, etc.) that are sold through traditional franchised
      dealers.



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      Does NADAguides use a depreciation schedule to determine depreciation percentage rate
      per year?
      NADAguides does not use a depreciation schedule to determine the value of used vehicles. We
      use auction data, retail data, asking price data, as well as macro- and micro- economic factors
      and judgment among other things in an attempt to depict the used vehicle market. Used vehicles
      depreciate at different rates, which is why we do not use a standard depreciation percentage rate
      across all vehicles.

      Vehicle book value: Cars, Motorcycles, RVs & Boats -- what are the basics of values?
      No matter what type of vehicle you own, it can be pretty dif cult knowing your vehicle's value.
      Vehicle values, especially car values, depreciate over time (with the exception of classic and
      vintage cars). Review and research your used car values on NADAguides.com for accurate data
      and pricing. You can nd both new and used motorcycle prices and values in addition to boat
      values, and RV Values.

      Whatever your vehicle type, owners should maintain the vehicle's condition to retain as much
      value as possible. Two different vehicles of the same model may have drastically varying prices
      depending on options, mileage, and overall condition. Generally speaking, the more miles a
      vehicle has the less it is worth. This is strictly because the more the vehicle has been used, the
      closer it is to the end of its life span. This theory applies to vehicle options as well.

      The more optional equipment a vehicle has, the higher the net book value of that vehicle will be.
      It is important to note that these must be options installed by the manufacturer. To maximize
      resale value, make sure the exterior, interior, and mechanics of your vehicle are in excellent
      condition. Mechanically speaking, to ensure top dollar, all components should be fully functional.
      Additionally, the vehicle should be able to pass any and all state smog/vehicle inspection
      requirements. The vehicle should also be free of rust, which is a major catalyst of structural
      damage. Exterior elements should be free of scratches, dents, and other damage. Original paint
      and color that is not faded is also an exterior factor that should be taken under consideration.
      The vehicle's interior should be void of any smoke/water damage, stains, or other physical
      damage to interior materials. Keeping your vehicle in tip-top shape will equate to a vehicle's
      higher resale value.


      How do I value a salvage title?
      NADAguides' values assume a vehicle is clean. Appropriate deductions should be made for
      reconditioning costs incurred to put the vehicle in salable condition. NADAguides' editors have
      not attempted to determine what, if any, effect a salvage title may have on a vehicle's value.

      What are the de nitions for the valuations listed for Autos, RVs, Boats, Motorcycles and
      Classic Cars?


      Automotive pricing and values for new and used cars

      Invoice: The dealership's cost for a vehicle from the manufacturer including holdback and
      advertising costs. Invoice price does not include dealer installed equipment and destination
      charges.

      MSRP: MSRP is the base Manufacturer's Suggested Retail Price at the time of introduction,
      including standard equipment only and excludes taxes, transportation and destination.

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      Rough trade-in: Rough Trade-In values re¡ect a vehicle in rough condition, meaning a vehicle with
      signi cant mechanical defects requiring repairs in order to restore reasonable running condition.
      Paint, body and wheel surfaces have considerable damage to their nish, which may include dull
      or faded (oxidized) paint, small to medium size dents, frame damage, rust or obvious signs of
      previous repairs. Interior re¡ects above average wear with inoperable equipment, damaged or
      missing trim and heavily soiled/permanent imperfections on the headliner, carpet, and upholstery.
      Vehicle may have a branded title and un-true mileage. Vehicle will need substantial
      reconditioning and repair to be made ready for resale. Some existing issues may be dif cult to
      restore. Because individual vehicle condition varies greatly, users of NADAguides.com may need to
      make independent adjustments for actual vehicle condition.

      Average trade-in: The Average Trade-In values on nadaguides.com are meant to re¡ect a vehicle
      in average condition. A vehicle that is mechanically sound but may require some repairs/servicing
      to pass all necessary inspections; Paint, body and wheel surfaces have moderate imperfections
      and an average nish and shine which can be improved with restorative repair; Interior re¡ects
      some soiling and wear in relation to vehicle age, with all equipment operable or requiring minimal
      effort to make operable; Clean title history; Vehicle will need a fair degree of reconditioning to be
      made ready for resale. Because individual vehicle condition varies greatly, users of
      nadaguides.com may need to make independent adjustments for actual vehicle condition.

      Clean trade-in: Clean Trade-In values re¡ect a vehicle in clean condition. This means a vehicle
      with no mechanical defects and passes all necessary inspections with ease. Paint, body and
      wheels have minor surface scratching with a high gloss nish and shine. Interior re¡ects minimal
      soiling and wear with all equipment in complete working order. Vehicle has a clean title history.
      Vehicle will need minimal reconditioning to be made ready for resale. Because individual vehicle
      condition varies greatly, users of NADAguides.com may need to make independent adjustments
      for actual vehicle condition.

      Clean retail: Clean Retail values re¡ect a vehicle in clean condition. This means a vehicle with no
      mechanical defects and passes all necessary inspections with ease. Paint, body and wheels have
      minor surface scratching with a high gloss nish and shine. Interior re¡ects minimal soiling and
      wear with all equipment in complete working order. Vehicle has a clean title history. Because
      individual vehicle condition varies greatly, users of NADAguides.com may need to make
      independent adjustments for actual vehicle condition.

      Note: Vehicles with low mileage that are in exceptionally good condition and/or include a
      manufacturer certi cation can be worth a signi cantly higher value than the Clean Retail price
      shown.


      Boat pricing and values for new and used boats

      MSRP: MSRP is the base Manufacturer's Suggested Retail Price at the time of introduction,
      including standard equipment only and excludes taxes, transportation and destination.

      Suggested List Price: We have included manufacturer's suggested retail pricing (MSRP) to assist in
      the nancing, insuring and appraising of vessels. The MSRP is the manufacturer's and/or
      distributor's highest suggested retail price in the U.S.A. when the unit was new. The MSRP is
      refurbished by the manufacturer and/or distributor and are assumed to be correct. Unless
      indicated, the MSRP does not include destination charges, dealer set-up, state or local taxes,
      license tags or insurance.




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      Low Retail: A low retail valued boat will show excessive wear and tear either cosmetically and/or
      mechanically. This boat may or may not be in running order. The buyer can expect to invest in
      cosmetic and/or mechanical work. Low retail vessels are usually not found on a dealer's lot. Low
      Retail is not a trade-in value.

      Average Retail: An average retail valued boat should be in a good condition with no visible
      damage or defects. This boat will show moderate wear and tear and will be in sound running
      condition. The buyer may need to invest in either minor cosmetic or mechanical work.


      Classic Car pricing and values for new and used classic cars

      Original MSRP: Manufacturer Suggested Retail Price

      Low Retail: This vehicle would be in mechanically functional condition, needing only minor
      reconditioning. The exterior paint, trim and interior would show normal wear, needing only minor
      reconditioning. May also be a deteriorated restoration or a very poor amateur restoration. Mostly
      usable “as-is”. This column does not represent a “parts car” or a non-running vehicle.

      Note: Some of the vehicles in this publication could be considered “Daily Drivers” and are not
      valued as a classic vehicle. When determining a value for a daily driver, it is recommended that
      the subscriber use the low retail value.

      Average Retail: This vehicle would be in good condition overall. It could be an older restoration or
      a well-maintained original vehicle. Completely operable. The exterior paint, trim and mechanics
      are presentable and serviceable inside and out. A “20-footer”.

      High Retail: This vehicle would be in excellent condition overall. It could be a completely restored
      or an extremely well-maintained original vehicle showing very minimal wear. The exterior paint,
      trim and mechanics are not in need of reconditioning. The interior would be in excellent
      condition. Some vehicles may be considered “matching numbers” vehicles.

      Note: This column does not represent a “100 Point” or “# 1” vehicle*.

      * A “100 Point” or “# 1” vehicle is not driven. It would generally be in a museum or transported in
      an enclosed trailer to concours judging and car shows. This type of car would be stored in a
      climate regulated facility.


      Motorcycle pricing and values for new and used motorcycles

      MSRP: MSRP is the base Manufacturer's Suggested Retail Price at the time of introduction,
      including standard equipment only and excludes taxes, transportation and destination.

      Suggested List Price: The manufacturer's (distributors) highest suggested list price in the U.S.A.
      when the unit was new. Unless indicated, the suggested list price does not include destination
      charges, dealer set-up, state or local taxes, license tags or insurance.

      Low Retail: A low retail unit may have extensive wear and tear. Body parts may have dents and
      blemishes. The buyer can expect to invest in cosmetic and/or mechanical work. This vehicle
      should be in safe running order. Low retail vehicles usually are not found on dealer lots. Low
      Retail is not a trade-in value.

      Average Retail: An average retail unit should be clean without obvious defects. All rubber and
      cables should be in good condition. The paint should match and have a good nish. All lights and
      switches should work properly. The mileage should be within or slightly higher than the average
      range. This unit should also pass any emission inspection.
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      RV pricing and values for new and used RVs

      MSRP: MSRP is the base Manufacturer's Suggested Retail Price at the time of introduction,
      including standard equipment only and excludes taxes, transportation and destination.

      Suggested List Price: The value listed re¡ects the approximate price of the unit when it is brand
      new. The prices listed are furnished by the manufacturer and are assumed to be correct. The list
      price does not include freight charges.

      Low Retail: A low retail unit may have extensive wear and tear. Body parts may have dents and
      blemishes. The buyer can expect to invest in cosmetic and/or mechanical work. This vehicle
      should be in safe running order. Low retail vehicles usually are not found on dealer lots. Low
      Retail is not a trade-in value.

      Average Retail: An average retail vehicle should be clean and without glaring defects. Tires and
      glass should be in good condition. The pain should match and have a good nish. The interior
      should have wear in relation to the age of the vehicle. Carpet and seat upholstery should be
      clean, and all power options should work. The mileage should be within the acceptable range for
      the model year. An average Retail vehicle on a dealer lot may include a limited warranty or
      guarantee, and possibly a current safety and/or emission inspection (where applicable).


      What is included within the price when adding the Snow Plow Pkg. /Plow option?
      Our intent for this option is to value not only the preparation for the snow plow (the extra
      brackets, lights, controls, etc.) but the actual snow plow that would be capable of moving large
      amounts of snow.

      Does NADAguides provide values of vehicles that have been in a collision and repaired?
      It is very dif cult, if not impossible, to determine diminished value from an accident and as a
      result, NADAguides makes no attempt to take a stand on diminished value. Any aspect of the
      vehicle’s history can have an effect on the value of a vehicle; and, the vehicle’s history and
      condition should be considered when determining a vehicle’s value. Since the actual condition
      and history of an individual vehicles varies greatly, users of NADAguides values may need to make
      independent adjustments for a variety of reasons not speci cally accounted for by NADAguides.

      How does NADAguides value a vehicle?
      When we attempt to value a used vehicle we use a number of data points. These data points
      include, but are not limited to, actual wholesale transactions (around 80% of the market with our
      relationship with NAAA) and retail transactions (through our relationship with J.D. Power and their
      PIN data which is obtained their actual Dealer Management Systems), as well as asking price
      information from www.autotrader.com. In addition, we have data from various OEMs and
      wholesalers and retailers of used vehicles that provide us the amounts for which they paid and
      sold their vehicles. We also take into consideration MSRP, invoice, equipment assumptions, as
      well as supply and demand and other macro- and micro-economic factors and the competitive
      landscape of vehicles. Our retail value is what a person could reasonably pay for a vehicle at a
      dealer’s lot. Our values are designed and intended to assist users in performing their own
      valuation of a particular used vehicle. The process by which users of NADAguides determine
      valuation is inherently subjective. Individual vehicles may have an actual value that is higher or
      lower than the estimated values created by us. NADA has been around for over 80 years and is
      the premier valuation guide in the used vehicle industry. Customers include, but are not limited
      to: dealers, wholesalers, rental car companies, insurance companies, lending institutions, OEMs,
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      government agencies, as well as individual consumers. We attempt to create the most accurate,
      market-re¡ective, unbiased vehicle values and we believe we do so each and every time one of
      our products is presented to the outside world.

      Is the clean retail value just the value of the car or does it include dealer fees?
      Our retail value is what a person could reasonably pay for a vehicle at a dealer's lot. It does not
      include sales tax, and destination charges are only used for new vehicle purchases and would not
      come into play for a used value.

      Do all vehicles automatically drop in value when a new model year is released in
      September?
      September is historically the month when new models become available for sale, but it does not
      mean that a vehicle automatically drops in value. There are quite a few factors that begin at this
      time of year that put pressure on used vehicle values with the introduction of the new model
      year being one. For instance, many ¡eet companies sell their old vehicles in earnest at this time
      of year in preparation for the new model year vehicles and a decreased demand for their
      vehicles. This is especially true of rental car companies. Traditionally this is also the time of year
      when retail demand for used vehicles drops as many people are preparing for the fall and winter
      seasons. Some 4WD trucks may rise in value, but it is highly unlikely that a regular sedan would
      until the spring when retail demand rises quickly. Manufacturers also usually discount the old
      model year vehicles which often creates at least temporary pressure on used values. We assume
      a vehicle is constantly aging and gaining mileage, and historically September through December
      are the months when used values drop the most, but as stated, it isn’t fully caused by the
      introduction of the new model year.

      Why is my vehicle value on the site far below sale prices in my area?
      Individual vehicles may have an actual value that is higher or lower than the estimated values
      created by NADAguides. We use sales from around the country and adjust our values on a regular
      basis.

      Does NADAguides value rebuilt or replaced components?
      NADAguides makes no attempt to distinguish between vehicles that have rebuilt and or replaced
      components and those that do not. Any aspect of the vehicle’s history may have an effect on the
      value of a vehicle. Vehicle history and condition should be considered when determining a
      vehicle’s value. Since the actual condition and history of individual vehicles varies greatly users of
      NADAguides values may need to make independent adjustments for a variety of reasons not
      speci cally accounted for by NADAguides including mileage discrepancies with the odometer and
      the title.

      Does the MSRP price of a vehicle include the listed cost of the vehicles engine?
      The MSRP on a new vehicle includes the base engine for a vehicle and then allows for additional
      options, in this case a different engine, to be added.

      I have extremely low mileage on my older model year vehicle. Why do your values seem so
      low?
      The NADAguides value is an attempt to value the daily-driven vehicle, not the quasi-collectible
      you possess.

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      Did you know J.D. Power’s industry-leading valuations data drives NADAguides.com? Learn
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   NADAguides FAQ

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      Values and Pricing

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      NADAguides Frequently Asked Questions
      Finance and Insurance
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      How does the insurance company use your values to value my car?


      Are there any values that re¡ect a car's worth after being repaired from an accident?


      Is there any way to gure out the value of a vehicle based upon a special circumstance such as
      having "theft recovery" on the title?


      My new car has been totaled and I feel that the adjustor may have valued my vehicle too low,
      what can I do?


      What is a clear title or record mean? If my car has been in an accident, does this mean my car is
      salvaged?


      Where can I        nd a loan value for used cars?


      Would the branding of "¡eet" or "taxicab" negatively affect the pricing of a vehicle?


      How does the insurance company use your values to value my car?
      Sometimes insurance companies will use an outside source to help determine a value of a used
      vehicle such as Mitchell International, CCC or Audatex. Some insurance companies will use
      NADAguides in a total loss process. In this instance, they typically start with the clean retail value
      and then deduct for the condition of your vehicle before the total loss. That value less any
      deductible and depreciation will be your settlement. They use our mileage tables and will give
      you added value for miles less than average for your vehicle.

      Are there any values that re¡ect a car's worth a¢er being repaired from an accident?
      There is no data to support a precise value loss for damage. Because those types of values are
      not available, NADAguides does not recognize a diminished value. The loss from damage depends
      on the severity of the damage repair, how good the repairs look, the age of the vehicle repaired
      and its class. Class means that a more expensive car when new will be affected more with
      damage than a lesser priced new vehicle. Damage on a Mercedes has a greater affect, than the
      same damage on a Chevrolet Lumina. It is always a good idea to take the car to a trusted body
      shop and ask their opinion, as well as your insurance company. Once you receive their input you
      can deduct an amount both agree on from an NADAguides value.

      Is there any way to gure out the value of a vehicle based upon a special circumstance
      such as having "the¢ recovery" on the title?
      If you are able to run a vehicle history report, you might be able to learn a little more about the
      vehicle's history. Keep in mind that the newer the vehicle and the more expensive when new, the
      greater the effect of any damage. Make sure to ask the current owner to see the repair estimate
      or bill, that way you can see how the theft affects what had to be done.

      My new car has been totaled and I feel that the adjustor may have valued my vehicle too
      low, what can I do?
      The best place to start would be the window sticker if you still have it; this is your best
      discussion point with your adjustor. If you did not purchase the car brand new, most
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      manufacturers can reproduce the original window label electronically. If you cannot obtain the
      window sticker at all, search for similar vehicles for sale. This can help you and the adjustor
      reach a fair settlement price.

      What is a clear title or record mean? If my car has been in an accident, does this mean my
      car is salvaged?
      Clear title does not have anything to do with damage on a vehicle. Clear title means there are no
      liens against the vehicle and nothing is owed on it. When you nance a vehicle, you get what is
      called a memo title and your lender keeps the original title and les, with the court, and a lien on
      the vehicle allowing the lender the right to resell the vehicle if you default. When you make the
        nal loan payment the lien is cancelled, you receive a clear title. A "total loss salvaged vehicle" is
      a vehicle that has been wrecked, destroyed or damaged to an extent that the registered owner,
      leasing company, nancial institution or insurance company which insured the vehicle, considers
      it uneconomical to repair the vehicle and because of this, the vehicle is not repaired for the
      vehicle owner at the time of the event resulting in damage. Normally, this type of vehicle cannot
      be sold or transferred without rst obtaining a Salvaged Title. Due to the many different ways a
      vehicle can be issued a salvaged title, we cannot determine an amount or percentage to deduct
      from a value. A vehicle can be stolen and recovered with no damage at all, but it would be given
      a salvaged title nonetheless. Because of this, questions should be directed to the registered
      owner, leasing company or nancial institution. If you have questions, it's a good idea to check
      the history of a vehicle. A Vehicle History Report can con rm a clean history or reveal potentially
      hidden problems.

      Where can I nd a loan value for used cars?
      NADAguides.com does not provide vehicle Loan Values online. Lenders look at values and
      advances differently and they factor in the credit worthiness of the consumer as well. The loan
      value is an approximation of what a dealer might expect as an advance from a lender. This value
      is important in the secondary nance markets for customers with lower credit scores. The
      competitiveness of the market will also play a part in a lender's decision on ¡oor plan.

      Would the branding of "¡eet" or "taxicab" negatively affect the pricing of a vehicle?
      It has been our experience that a brand of taxicab would negatively affect the value of a vehicle
      versus a non-taxicab. That dollar difference would depend on a number of issues including the
      type, age, and value of the vehicle population as a whole. For example, a ten year old Ford Crown
      Victoria taxicab would most likely not be as affected as a two year old Mercedes-Benz R Class
      versus their cohorts in the vehicle population. This would be despite the fact that both are used
      in taxicab ¡eets. That being said, we do not make an attempt to quantify that difference as a
      general rule. We could isolate all factors for each vehicle to determine what the impact would be,
      but the market for that kind of intelligence is just not cost-worthy for us to do. However, vehicle
      condition and history should be considered when determining a vehicle's value. Since the actual
      condition of individual vehicles varies greatly, users of NADAguides may need to make
      independent adjustments for a variety of condition-based factors not speci cally accounted for
      by NADAguides.

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FULVLVPDQDJHPHQWEHVWSUDFWLFHVE\DSSURSULDWHO\LGHQWLI\LQJWKHULVNVDQGHQVXULQJDGHTXDWHULVNPLWLJDWLRQVWUDWHJLHVWRHQVXUH
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PRGHOWKDWSURYLGHVHIIHFWLYHUHFRYHU\IRUFULWLFDODSSOLFDWLRQV86$$UHFRUGVDQGGRFXPHQWVDUHPDLQWDLQHGHOHFWURQLFDOO\
DQGDUHV\VWHPDWLFDOO\PDQDJHGWKURXJKDGRFXPHQWUHWHQWLRQVVFKHGXOH86$$KDVFRQWUDFWHGZLWKVHYHUDOWKLUGSDUW\FDOO
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   7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI7LWOHRIWKH1RUWK&DUROLQD$GPLQLVWUDWLYH
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      7KH&RPSDQ\ VFRPSODLQWUHJLVWHUZDVUHFRQFLOHGZLWKDOLVWLQJIXUQLVKHGE\WKH&RQVXPHU6HUYLFHV'LYLVLRQRIWKH
'HSDUWPHQW)LIW\RIWKHFRPSODLQWVFRQWDLQHGLQWKH'HSDUWPHQW VOLVWLQJZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZ
7KHGLVWULEXWLRQRIFRPSODLQWVUHTXLULQJDUHVSRQVHWRWKH'HSDUWPHQWLVVKRZQLQWKHFKDUWEHORZ



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WRUHVSRQGWRD'HSDUWPHQWDOFRPSODLQWZDVFDOHQGDUGD\V$FKDUWRIWKH&RPSDQ\ VUHVSRQVHWLPHIROORZV


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FXVWRPHURUFRQVXPHUKDVDXWKRUL]HGWKHGLVFORVXUH7KH&RPSDQ\ZDVIRXQGWREHFRPSOLDQWZLWKWKHSURYLVLRQVRI1&*6
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   )LOLQJV IRU WKH SULYDWH SDVVHQJHU DXWRPRELOH KRPHRZQHUV DQG GZHOOLQJ ILUH OLQHV RI EXVLQHVV ZHUH PDGH E\ WKH 1RUWK
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   6DOHV DQG DGYHUWLVLQJ SUDFWLFHV RI WKH &RPSDQ\ ZHUH UHYLHZHG WR GHWHUPLQH FRPSOLDQFH ZLWK WKH SURYLVLRQV RI 1&*6
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&RPSDQ\ZHEVLWHDQGVDOHVEURFKXUHV

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DFFRUGDQFHZLWKWKHWLPHWDEOHVVWLSXODWHGXQGHUWKHSURYLVLRQVRI1&*6DQG1&*6

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1RUWK&DUROLQD$SKRQHVDOHVDQGVHUYLFHWHDPLVPDLQWDLQHGDQGOHGE\WKH([HFXWLYH'LUHFWRURI3ROLF\6HUYLFH

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    3ULYDWH3DVVHQJHU$XWRPRELOH

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EDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU7KH&RPSDQ\ VUHQWHUV
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      7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6  DVWKHGHFODUDWLRQSDJHIRUSROLFLHVUHYLHZHG
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EDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHVZHUH
QRWHGLQWKH&RPSDQ\ VXVHRILWVXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUWWKH
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 7KH UDWLQJ HUURUV UHVXOWHG LQ  SUHPLXP XQGHUFKDUJHV DQG  SUHPLXP RYHUFKDUJHV WR WKH LQVXUHGV $W WKH UHTXHVW RI WKH
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   7KHHQWLUHSRSXODWLRQRIQRQUHQHZHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ

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WKH\GLGQRWRIIHUOLDELOLW\FRYHUDJHFHGHGWRWKH1RUWK&DUROLQD5HLQVXUDQFH)DFLOLW\ZKHQWHUPLQDWLQJSROLFLHV SHUFHQW
HUURUUDWLR IRUUHDVRQVRWKHUWKDQWKRVHVSHFLILHGLQWKHVWDWXWH

   7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
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'ZHOOLQJ)LUH1RQUHQHZDOV

   7KHHQWLUHSRSXODWLRQRIQRQUHQHZHGGZHOOLQJILUHSROLFLHVZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ

      7KHUHDVRQIRUQRQUHQHZDOZDVGHHPHGYDOLGIRUDOOSROLFLHVUHYLHZHG7KHUHYLHZUHYHDOHGWKHIROORZLQJUHDVRQIRU
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           5HDVRQIRU1RQUHQHZDO                                       1XPEHURI3ROLFLHV                         3HUFHQWDJH
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           8QGHUZULWLQJUHDVRQV                                                                                      
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           7RWDO                                                                                                     
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   7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO$OOLQVXUHGVDQGPRUWJDJHHV
ZHUHJLYHQSURSHUDQGWLPHO\QRWLILFDWLRQRIQRQUHQHZDO

   7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\


3HUVRQDO,QODQG0DULQH 9DOXDEOH3HUVRQDO3URSHUW\ 1RQUHQHZDOV

   7KHHQWLUHSRSXODWLRQRIQRQUHQHZHGSHUVRQDOLQODQGPDULQHSROLF\ZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQ IRU
QRQUHQHZDO


           5HDVRQIRU1RQUHQHZDO                                       1XPEHURI3ROLFLHV                         3HUFHQWDJH
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   7KHQRQUHQHZDOQRWLFHIRUWKHSROLF\UHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO7KHLQVXUHGZDVJLYHQSURSHUDQG
WLPHO\QRWLILFDWLRQRIQRQUHQHZDO

   7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\


'HFOLQDWLRQV5HMHFWLRQV

    )LIW\GHFOLQHGUHMHFWHGDSSOLFDWLRQVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHUHDVRQIRU
GHFOLQDWLRQUHMHFWLRQZDVGHHPHGYDOLGIRUDOODSSOLFDWLRQVUHYLHZHG7KHVXUYH\UHYHDOHGWKHIROORZLQJUHDVRQIRUGHFOLQDWLRQ
UHMHFWLRQ


            5HDVRQIRU'HFOLQDWLRQ5HMHFWLRQ                                        1XPEHURI'HFOLQDWLRQV5HMHFWLRQV
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            8QGHUZULWLQJUHDVRQV                                                                   
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    7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 D DVDSSOLFDQWVIRUSHUVRQDODXWRPRELOHFRYHUDJH 
SHUFHQWHUURUUDWLR ZHUHQRWRIIHUHGOLDELOLW\FRYHUDJHFHGHGWRWKH1RUWK&DUROLQD5HLQVXUDQFH)DFLOLW\ZKHQWKH\GLGQRWPHHW
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2YHUYLHZ

   7KH&RPSDQ\ VFODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVUXOHV
DQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\OLDELOLW\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

    &ODLPV VHUYLFH LQ 1RUWK &DUROLQD LV XQGHU WKH GLUHFWLRQ RI WKH $VVLVWDQW 9LFH3UHVLGHQW DQG LV SURYLGHG IURP WKH KRPH
RIILFHLQ6DQ$QWRQLR7H[DVDQGE\ILHOGFODLPVSHUVRQQHOORFDWHGLQ1RUWK&DUROLQD&ODLPVVXSSRUWLQJRIILFHVDUHORFDWHGLQ
7DPSD)ORULGD1RUIRON9LUJLQLD&RORUDGR6SULQJV&RORUDGRDQG3KRHQL[$UL]RQD7KHVWDIILVFRPSULVHGRIFODLPVVHUYLFH
GLUHFWRUVFODLPVVHUYLFHPDQDJHUVDQGFODLPVVHUYLFHUHSUHVHQWDWLYHV&RPSDQ\DGMXVWHUVSURYLGHWKHFODLPVHUYLFH
ZLWKVRPHDVVLVWDQFHDWWLPHVIURPLQGHSHQGHQWDGMXVWHUV,QGHSHQGHQWDGMXVWHUVKDYHQRFKHFNRUGUDIWDXWKRULW\&ODLPVDUH
DGMXVWHGDQGPDQDJHGH[FOXVLYHO\E\WKH&RPSDQ\ VFODLPVGHSDUWPHQW7KHVDOYDJHORJLVPDLQWDLQHGDQGPDQDJHGE\WKH
H[HFXWLYHPDQDJHPHQWRIHDFKUHVSHFWLYHFODLPKDQGOLQJORFDWLRQ

      )LYHKXQGUHGILIW\FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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   7KHH[DPLQHUVUDQGRPO\VHOHFWHGDQGUHFHLYHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHILUVWSDUW\SURSHUW\
GDPDJHDQGWKLUGSDUW\SURSHUW\GDPDJHFODLPVSDLGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KHFODLPILOHVZHUHUHYLHZHGIRU
WLPHOLQHVVRISD\PHQWVXSSRUWLQJGRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW




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    7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


            7\SHRI&ODLP                                                                            3D\PHQW7LPH
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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQ\ZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVDQGLQYHQWRU\OLVWLQJV

    &ODLPVZHUHQRWSDLGLQDWLPHO\PDQQHUIRUFODLPV SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQ
RIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH


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FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
PHGLFDOSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6


)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRI
ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6


&ORVHG:LWKRXW3D\PHQW&ODLPV

    )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
ILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRI
WKHSURYLVLRQVRI1&*6


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        )LIW\ VXEURJDWHG FODLPV ZHUH UDQGRPO\ VHOHFWHG DQG UHFHLYHG IRU UHYLHZ IURP D SRSXODWLRQ RI  7KH FODLP
ILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDV
VXFFHVVIXO

    'HGXFWLEOHUHLPEXUVHPHQWVZHUHQRWSDLGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOW
LQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGD
JHQHUDOEXVLQHVVSUDFWLFH$OOUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDU
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7RWDO/RVV6HWWOHPHQW&ODLPV

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    7KH&RPSDQ\SULPDULO\XVHG &&&,QIRUPDWLRQ6HUYLFHV,QF WR HVWDEOLVKWKHDFWXDOFDVKYDOXHRI WRWDOHGYHKLFOHV$OO
VHWWOHPHQWVZHUHGHHPHGHTXLWDEOH&ODLPVZHUHQRWSDLGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 7KLVPDWWHU
FRXOG UHVXOW LQ DQ DSSDUHQW YLRODWLRQRI WKH SURYLVLRQV RI1&*6    LI WKH RFFXUUHQFHLV RI VXFK IUHTXHQF\ DV WR
EHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH7KHSD\PHQWVZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\V1RDSSDUHQW
YLRODWLRQVRIWKHSURYLVLRQVRI1&*6  K 1&$&RUZHUHQRWHGGXULQJWKLVUHYLHZ


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WRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIOLWLJDWHGFODLPVGLVFORVHGQRDSSDUHQW
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FRQVXPHUFRPSODLQWVZHUHQRWOLVWHGRQWKH&RPSDQ\ VFRPSODLQWUHJLVWHU


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SULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVUHYLHZHGZHUHTXRWHGLVVXHGE\DSURGXFHUZKRZDVQRWDSSRLQWHG

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UHYLHZHG

    F7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 D DQG5XOHRIWKH3HUVRQDO$XWR0DQXDODV
SHUFHQWRIWKHDFWLYHSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVUHYLHZHGZHUHUDWHGLQFRUUHFWO\

    G 7KH &RPSDQ\ ZDV UHPLQGHG RI WKH SURYLVLRQV RI 1&*6  H  DQG WKH 1RUWK &DUROLQD 5HLQVXUDQFH )DFLOLW\
6WDQGDUG3UDFWLFHV0DQXDO6HFWLRQ5XOHDVLWIDLOHGWRXWLOL]HVWDQGDUGXQGHYLDWHGOLDELOLW\SUHPLXPVLQGHWHUPLQLQJWKH
UHFRXSPHQWDOORFDWLRQVXUFKDUJHRQSHUFHQWRIWKHDFWLYHSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVUHYLHZHG

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RIWKHDFWLYHKRPHRZQHUVUHQWHUVSROLFLHVUHYLHZHGZHUHTXRWHGLVVXHGE\DSURGXFHUZKRZDVQRWOLFHQVHGLQ1RUWK&DUROLQD

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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 177 of 598
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$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH86$$:/
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        Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 180 of 598
    TAB 35
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'ZHOOLQJ8VHRIXQILOHGQHZEXVLQHVVDSSOLFDWLRQ

    7HUPLQDWLRQRI3URGXFHUV,QFRPSOHWHILOHGRFXPHQWDWLRQ

    8QGHUZULWLQJ 3UDFWLFHV  3ULYDWH 3DVVHQJHU $XWRPRELOH +RPHRZQHUV DQG &RPPHUFLDO $XWRPRELOH 3URGXFHUV QRW
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     7HUPLQDWLRQV3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOVDQG&RPPHUFLDO$XWRPRELOH1RQUHQHZDOV,QVXIILFLHQWQRWLFH
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     6SHFLILFYLRODWLRQVUHODWHGWRHDFKDUHDRIFRQFHUQDUHQRWHGLQWKHDSSURSULDWHVHFWLRQRIWKLVUHSRUW$OO1RUWK&DUROLQD
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 183 of 598
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HUURUUDWLR FRQWDLQHGDWRWDORIUDWLQJHUURUV7KHUDWLQJHUURUVFRQVLVWHGRIWKHIROORZLQJ

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    Ɣ$QLQFRUUHFWSURWHFWLYHGHYLFHFUHGLWZDVDSSOLHGRQSROLFLHV

    Ɣ$QLQFRUUHFWGHGXFWLEOHIDFWRUZDVDSSOLHGRQILYHSROLFLHV

    Ɣ7KHSURWHFWLYHGHYLFHFUHGLWDSSOLHGRQWZRSROLFLHVZDVLQH[FHVVRIWKHPD[LPXPDOORZHG

    Ɣ$QLQFRUUHFWEDVHUDWHZDVDSSOLHGRQWZRSROLFLHV

   7KHUDWLQJHUURUVUHVXOWHGLQILYHSUHPLXPRYHUFKDUJHVDQGSUHPLXPXQGHUFKDUJHVWRWKHLQVXUHGV2QHSROLF\ VSUHPLXP
ZDVQRWDIIHFWHGGXHWRHTXDOO\RIIVHWWLQJHUURUV$WWKHUHTXHVWRIWKHH[DPLQHUVUHIXQGVLQWKHDPRXQWRIZHUHLVVXHG
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   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUZDVQRW
SURSHUO\DSSRLQWHGE\WKH&RPSDQLHVIRURQHRIWKHDFWLYHILOHVUHYLHZHG SHUFHQWHUURUUDWLR 


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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ6WDWH)DUP0XWXDO:/
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   7KH&RPSDQLHVSURYLGHGDOLVWLQJRIDFWLYHUHQWDOGZHOOLQJSROLFLHVLVVXHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ2QH
KXQGUHGSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ

    7KH&RPSDQLHV UHQWDOGZHOOLQJSROLFLHVZHUHZULWWHQRQDQDQQXDOEDVLV&RYHUDJHVZHUHZULWWHQXWLOL]LQJLQGHSHQGHQW
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QRWHGLQWKH&RPSDQLHV XVHRIWKHLUXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWR
VXSSRUWWKH&RPSDQLHV FODVVLILFDWLRQRIWKHULVN7KHSUHPLXPIRUDOOSROLF\ILOHVUHYLHZHGZDVGHHPHGWREHFRUUHFW


&RPPHUFLDO$XWRPRELOH

   7KH &RPSDQLHV SURYLGHG D OLVWLQJ RI  DFWLYH FRPPHUFLDO DXWRPRELOH SROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
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        7KH&RPSDQLHV FRPPHUFLDODXWRPRELOHFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQG GHYLDWHGUDWHV3ROLFLHVZHUH
ZULWWHQRQDVL[PRQWKEDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQLHV XQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU
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   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUZDVQRW
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   7KH&RPSDQLHV WHUPLQDWLRQSURFHGXUHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHV
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   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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5HQWDO'ZHOOLQJ&DQFHOODWLRQV

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   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUWKHFRYHUDJHZDVUHZULWWHQ&DQFHOODWLRQQRWLFHVIRUWKHUHPDLQLQJSROLFLHVVWDWHG
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   $OOSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQLHVLVVXHGWKHUHIXQGVLQDWLPHO\PDQQHU

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   2QHKXQGUHGFDQFHOOHGFRPPHUFLDODXWRPRELOHSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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   7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO

        7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH $OO SROLF\ ILOHV UHYLHZHG FRQWDLQHG
VXIILFLHQWGRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQLHV


&RPPHUFLDO$XWRPRELOH1RQUHQHZDOV

   $OOQRQUHQHZHGFRPPHUFLDODXWRPRELOHSROLFLHVZHUHVHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRIHLJKW

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQ IRU
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            5HDVRQIRU1RQUHQHZDO                                    1XPEHURI3ROLFLHV                                  3HUFHQWDJH
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   7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO

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     7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQ
RI WKH SURYLVLRQV RI  1&$&  D   DQG  D   J  DV RQH ILOH UHYLHZHG GLG QRW FRQWDLQ D FRS\ RI
WKH QRQUHQHZDO QRWLFH DQG SURRI RI PDLOLQJ  SHUFHQW HUURU UDWLR  7KH UHPDLQLQJ ILOHV UHYLHZHG FRQWDLQHG VXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQLHV7KH&RPSDQLHVVHQWWKH)6WRWKH'09ZKHQOLDELOLW\FRYHUDJH
ZDVFDQFHOOHG


'HFOLQHG5HMHFWHG

    )LIW\GHFOLQHGUHMHFWHGDSSOLFDWLRQVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHUHDVRQIRUGHFOLQDWLRQ
UHMHFWLRQZDVGHHPHGYDOLGIRUDOOWKHDSSOLFDWLRQVUHYLHZHG7KHUHYLHZUHYHDOHGWKHIROORZLQJUHDVRQIRUGHFOLQDWLRQUHMHFWLRQ


            5HDVRQIRU'HFOLQDWLRQ5HMHFWLRQ                                   1XPEHURI'HFOLQDWLRQV5HMHFWLRQV



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UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWERGLO\LQMXU\FORVHGZLWKRXWSD\PHQW
VXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

   (LJKWKXQGUHGILIW\FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


3DLG&ODLPV

    7KUHHKXQGUHGSDLGILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHILUVWSDUW\SURSHUW\GDPDJHDQGWKLUGSDUW\SURSHUW\GDPDJH
FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
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           7KLUGSDUW\SURSHUW\GDPDJH                                                  
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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQLHVZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQ ZDV UHDVRQDEOH $OO FODLP ILOHV UHYLHZHG FRQWDLQHG GRFXPHQWDWLRQ WR VXSSRUW WKH &RPSDQLHV  SD\PHQWV 7KH
GRFXPHQWDWLRQFRQVLVWHGRIDSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV


$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

    2QHKXQGUHGDXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6  DQGWRVHHLIWKH&RPSDQLHV
KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOHPHGLFDOSD\PHQWFODLPVGLVFORVHGQRYLRODWLRQVRIWKH
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%RGLO\,QMXU\&ODLPV

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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ6WDWH)DUP0XWXDO:/
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&ORVHG:LWKRXW3D\PHQW&ODLPV

    2QHKXQGUHGFORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
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FORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

   7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQLHV UHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJHRI
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RQDIRXU\HDUDYHUDJHRIWKUHHFDOHQGDUGD\VIURPWKHGDWHWKH&RPSDQLHVFROOHFWHGWKHPRQLHV7KHUHYLHZRIVXEURJDWHG
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7RWDO/RVV6HWWOHPHQW&ODLPV

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GHWHUPLQHFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6  DQGZKHWKHUWKH&RPSDQLHVKDGHQJDJHGLQDQ\XQIDLUFODLPV
SUDFWLFHV7KHUHYLHZRIOLWLJDWHGFODLPVGLVFORVHGQRYLRODWLRQRIWKHSURYLVLRQVRI1&*6  


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   $QH[DPLQDWLRQKDVEHHQFRQGXFWHGRQWKHPDUNHWFRQGXFWDIIDLUVRI6WDWH)DUP0XWXDO$XWRPRELOH,QVXUDQFH&RPSDQ\
DQG6WDWH)DUP)LUHDQG&DVXDOW\&RPSDQ\IRUWKHSHULRG-DQXDU\WKURXJK'HFHPEHUZLWKDQDO\VHVRIFHUWDLQ
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   7KLV H[DPLQDWLRQ ZDV FRQGXFWHG LQ DFFRUGDQFH ZLWK WKH 1RUWK &DUROLQD 'HSDUWPHQW RI ,QVXUDQFH DQG WKH 1DWLRQDO
$VVRFLDWLRQ RI ,QVXUDQFH &RPPLVVLRQHUV 0DUNHW 5HJXODWLRQ +DQGERRN SURFHGXUHV LQFOXGLQJ DQDO\VHV RI WKH &RPSDQLHV
RSHUDWLRQVLQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV



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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ6WDWH)DUP0XWXDO:/
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   ,Q DGGLWLRQ WR WKH XQGHUVLJQHG .HOYLQ $ 2ZHQV DQG 6KDURQ 2 4XLQQ 1RUWK &DUROLQD 0DUNHW &RQGXFW ([DPLQHUV
SDUWLFLSDWHGLQWKLVH[DPLQDWLRQ

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([DPLQHU,Q&KDUJH
0DUNHW5HJXODWLRQ'LYLVLRQ
6WDWHRI1RUWK&DUROLQD
    ,KDYHUHYLHZHGWKLVH[DPLQDWLRQUHSRUWDQGLWPHHWVWKHSURYLVLRQVIRUVXFKUHSRUWVSUHVFULEHGE\WKLV'LYLVLRQDQGWKH
1RUWK&DUROLQD'HSDUWPHQWRI,QVXUDQFH

V7UDF\0%LHKQ
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(QGRI'RFXPHQW                                                   7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV




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    TAB 36
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&RPSDQ\2SHUDWLRQVDQG0DQDJHPHQW
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'LVDVWHU5HFRYHU\3URFHGXUHV
5DWH(YDVLRQ3URFHGXUHV
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&RQVXPHU&RPSODLQWV
3ULYDF\RI)LQDQFLDODQG+HDOWK,QIRUPDWLRQ
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6DOHVDQG$GYHUWLVLQJ
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2YHUYLHZ
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)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV
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7RWDO/RVV6HWWOHPHQW&ODLPV
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5DOHLJK1RUWK&DUROLQD
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+RQRUDEOH-DFN0HVVPRUH
$FWLQJ'LUHFWRURI,QVXUDQFH
,OOLQRLV'HSDUWPHQWRI,QVXUDQFH
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+RQRUDEOH:D\QH*RRGZLQ
&RPPLVVLRQHURI,QVXUDQFH
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    3XUVXDQWWR\RXULQVWUXFWLRQVDQGLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI1RUWK&DUROLQD*HQHUDO6WDWXWH 1&*6 D
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 5DOHLJK 1RUWK &DUROLQD DQG DW WKH 1RUWK &DUROLQD 'HSDUWPHQW RI ,QVXUDQFH 'HSDUWPHQW  RIILFH ORFDWHG DW  6 %R\ODQ
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   ,WLVWKH'HSDUWPHQW VSUDFWLFHWRFLWHFRPSDQLHVLQDSSDUHQWYLRODWLRQRIDVWDWXWHRUUXOHZKHQWKHUHVXOWVRIDVDPSOHVKRZ
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DQG WKRURXJK SODQV DUH GHYHORSHG IRU WKH UHFRYHUDELOLW\ RI WKH EXVLQHVV XQLW V ZRUNDUHDV DV ZHOO DV WKH WHFKQRORJ\ ZKLFK
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   7KHH[DPLQHUVUHYLHZHGDGYHUWLVHPHQWVSURGXFHUPDUNHWLQJVROLFLWDWLRQNLWVWHOHPDUNHWLQJVFULSWVEXOOHWLQVDQGEURFKXUHV
WKDWDUHSURYLGHGIRUSURPRWLRQDOXVH7KH&RPSDQ\DOVRPDLQWDLQVDQLQWHUQHWVLWHZZZDOOVWDWHFRP7KHZHEVLWHSURYLGHV
EDFNJURXQGLQIRUPDWLRQUHODWLYHWRLWVRSHUDWLRQVDVZHOODVSURGXFWVDQGVHUYLFHVRIIHUHG

   1RXQIDLURUGHFHSWLYHWUDGHSUDFWLFHVZHUHQRWHGLQWKLVVHJPHQWRIWKHH[DPLQDWLRQ


3URGXFHU/LFHQVLQJ



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    7KH&RPSDQ\ VSURFHGXUHVIRUDSSRLQWPHQWDQGWHUPLQDWLRQRILWVSURGXFHUVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWK
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    $OODSSRLQWPHQWIRUPVUHYLHZHGZHUHVXEPLWWHGWRWKH'HSDUWPHQWLQDFFRUGDQFHZLWKWKHWLPHWDEOHVVWLSXODWHGXQGHUWKH
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       7KHPDUNHWLQJHIIRUWLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH5HJLRQDO0DUNHWLQJ6HQLRU0DQDJHUORFDWHGDW
WKHUHJLRQDORIILFHLQ$WODQWD*HRUJLD7KH&RPSDQ\KDVDFWLYHDJHQFLHVZLWKDSSUR[LPDWHO\SURGXFHUVDSSRLQWHGLQ
1RUWK&DUROLQDDVZHOODVIXOOWLPHPDUNHWLQJUHSUHVHQWDWLYH

    7KH7HUULWRULDO6DOHV/HDGHUORFDWHGDWWKH$OOVWDWHRIILFHLQ*UHHQVERUR1RUWK&DUROLQDLVUHVSRQVLEOHIRUWKHDFWLYLWLHV
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E\WKH)LHOG6DOHV/HDGHUV


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   7KH&RPSDQ\ VPDUNHWLQJSKLORVRSK\LQ1RUWK&DUROLQDIRFXVHVRQWKHSULYDWHSDVVHQJHUDXWRPRELOHOLQHRIEXVLQHVV7KH
&RPSDQ\ VSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGIRUDGKHUHQFHWRXQGHUZULWLQJJXLGHOLQHVILOHGRFXPHQWDWLRQ
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&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


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   7KH &RPSDQ\ SURYLGHG D OLVWLQJ RI  DFWLYH SULYDWH SDVVHQJHU DXWRPRELOHSROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
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    ,QFRUUHFWFRPSDQ\GHYLDWLRQVZHUHDSSOLHGRQSROLFLHV

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     &RPELQHG8QLQVXUHG8QGHULQVXUHG0RWRULVWFRYHUDJHZDVSURYLGHGRQSROLFLHVWKDWZHUHQRWHOLJLEOH

     ,QFRUUHFW6DIH'ULYHU,QFHQWLYH3ODQ3RLQWVZHUHDSSOLHGRQSROLFLHV

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     ,QH[SHULHQFHG2SHUDWRU6XUFKDUJHZDVQRWDSSOLHGRQSROLF\

     &RPSUHKHQVLYHSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\RQSROLF\

     'LVDELOLW\,QFRPH3URWHFWLRQFRYHUDJHZDVFDOFXODWHGLQFRUUHFWO\RQSROLF\

 7KH UDWLQJ HUURUV UHVXOWHG LQ  SUHPLXP XQGHUFKDUJHV DQG  SUHPLXP RYHUFKDUJHV WR WKH LQVXUHGV $W WKH UHTXHVW RI WKH
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 FKDUJHGZHUHGHHPHGFRUUHFW
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   7KH&RPSDQ\ VWHUPLQDWLRQSURFHGXUHVIRULWVSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
ZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV6SHFLDODWWHQWLRQ
ZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFHSROLF\UHIXQG ZKHUH
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7KHH[DPLQHUVUDQGRPO\VHOHFWHGWHUPLQDWLRQVIRUUHYLHZ


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   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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0DQXDODVSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR ZHUHFDQFHOOHGXVLQJDQLQFRUUHFWFDQFHOODWLRQPHWKRG7ZRRIWKHHUURUV
UHVXOWHGLQRYHUVWDWHPHQWRIUHIXQGDQGHUURUUHVXOWHGLQDQXQGHUVWDWHPHQWRIUHIXQGWRWKHLQVXUHGV$WWKHUHTXHVWRIWKH
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FRQWDLQHGQRGRFXPHQWDWLRQYHULI\LQJWKDWWKHSUHPLXPILQDQFHFRPSDQ\QRWLILHGWKHLQVXUHGQRWOHVVWKDQGD\VSULRUWR
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 )6 ZDVQRWVXEPLWWHGWRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHV '09 ZKHQOLDELOLW\FRYHUDJHVZHUHFDQFHOOHG
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   7KHUHPDLQLQJSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUWDFWLRQWDNHQE\WKH&RPSDQ\


3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOV

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    &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH&ODLP)LHOG'LUHFWRUORFDWHGLQ$WODQWD*HRUJLDDQGLVSURYLGHG
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:LWKUHJDUGWRWRWDOORVVHVDVDOYDJHORJLVPDLQWDLQHGE\WKH&DUROLQD$XWR0&2OHDGHUVKLS

      )LYHKXQGUHGWKLUW\VHYHQFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQ\ZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV

   )LUVWSDUW\FODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLPV SHUFHQWHUURUUDWLR )LUVWSDUW\FODLPVZHUH
QRWDSSUDLVHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR )LUVWSDUW\FODLPVZHUHQRWSDLGLQDWLPHO\PDQQHUIRU


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FODLPV SHUFHQWHUURUUDWLR 7KLUGSDUW\FODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLPV SHUFHQWHUURU
UDWLR 7KLUGSDUW\FODLPVZHUHQRWDSSUDLVHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 7KLUGSDUW\FODLPVZHUHQRW
SDLGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQV
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$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

    )LIW\DXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
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    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRI
ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6


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    7KHUHPDLQLQJUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQDQDYHUDJHRIFDOHQGDUGD\IURPWKHGDWH
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7RWDO/RVV6HWWOHPHQW&ODLPV

    )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
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   &ODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR &ODLPVZHUHQRWDSSUDLVHGLQDWLPHO\
PDQQHU IRU  FODLP  SHUFHQW HUURU UDWLR  7KLV PDWWHU FRXOG UHVXOW LQ DQ DSSDUHQW YLRODWLRQ RI WKH SURYLVLRQV RI 1&*6
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    7KHHQWLUHSRSXODWLRQRIOLWLJDWHGFODLPVZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQH
LIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV&ODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLP 
SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFH
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$XWRPRELOH0DQXDODVSHUFHQWRIWKHFDQFHOOHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVUHYLHZHGZHUHFDQFHOOHGXVLQJDQ
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OHVVWKDQGD\VSULRUWRFDQFHOODWLRQRIFRYHUDJHRUVHQWWKHLQVXUHUDUHTXHVWIRUFDQFHOODWLRQ

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            Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 209 of 598
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    7KLV H[DPLQDWLRQ ZDV FRQGXFWHG LQ DFFRUGDQFH ZLWK WKH 1RUWK &DUROLQD 'HSDUWPHQW RI ,QVXUDQFH DQG WKH 1DWLRQDO
$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJDQGUDWLQJWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

   ,QDGGLWLRQWRWKHXQGHUVLJQHG-DPHV30F4XLOODQ&3&8DQG'DQD(DYHV1RUWK&DUROLQD0DUNHW&RQGXFW([DPLQHUV
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            Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 210 of 598
    TAB 37
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        7KH &RPSDQ\ KDV GHYHORSHG D FRPSUHKHQVLYH EXVLQHVV FRQWLQXLW\ SURJUDP WR LQFUHDVH LWV FKDQFHV RI SUHYHQWLQJ
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SODQHQFRPSDVVHVPXOWLSOHEXVLQHVVUHFRYHU\VWUDWHJLHVWKDWDOORZUHVXPSWLRQRIFULWLFDOEXVLQHVVRSHUDWLRQVZLWKLQDUHDVRQDEOH
SHULRGRIWLPH7KHSODQLQFOXGHVWKHUHORFDWLRQRIZRUNDQGHPSOR\HHVWRRWKHUEXVLQHVVORFDWLRQVRUWRUHPRWHO\VHFXUHG
ORFDWLRQV'DWDSURFHVVLQJV\VWHPVFULWLFDOILOHVDQGGDWDEDFNHGDQGVWRUHGDWDOWHUQDWHGDWDFHQWHUVDUHXWLOL]HGWRHQDEOHWKH
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'HSDUWPHQW 7KH &RPSDQ\ ZDV GHHPHG WR EH LQ DSSDUHQW YLRODWLRQ RI WKH SURYLVLRQV RI 7LWOH  RI WKH 1RUWK &DUROLQD
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   7KH&RPSDQ\ VWHUPLQDWLRQSURFHGXUHVIRULWVSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
ZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV6SHFLDODWWHQWLRQ
ZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFHSROLF\UHIXQG ZKHUH




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DSSOLFDEOH DQGGRFXPHQWDWLRQRIWKHSROLF\ILOH$WRWDORISROLFLHVZHUHWHUPLQDWHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ
7KHH[DPLQHUVUDQGRPO\VHOHFWHGWHUPLQDWLRQVIRUUHYLHZ


3ULYDWH3DVVHQJHU$XWRPRELOH&DQFHOODWLRQV

   2QH KXQGUHG FDQFHOOHG SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH UDQGRPO\ VHOHFWHG DQG UHFHLYHG IRU UHYLHZ IURP D
SRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
FDQFHOODWLRQ


            5HDVRQIRU&DQFHOODWLRQ                                       1XPEHURI3ROLFLHV                            3HUFHQWDJH
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            1RQSD\PHQWRISUHPLXP                                                                                           
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            ,QVXUHG VUHTXHVW                                                                                               
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            8QGHUZULWLQJUHDVRQV                                                                                              
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            1RORQJHUHOLJLEOH                                                                                                
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   7KH&RPSDQ\ZDVQRWUHTXLUHGWRLVVXHFDQFHOODWLRQQRWLFHVIRURIWKHFDQFHOODWLRQVUHYLHZHGDVWKHVHSROLFLHVZHUH
FDQFHOOHG DW WKH UHTXHVW RI WKH LQVXUHG &DQFHOODWLRQ QRWLFHV IRU WKH UHPDLQLQJ  SROLFLHV VWDWHG WKH VSHFLILF UHDVRQ IRU
FDQFHOODWLRQ

      7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 F DVFDQFHOODWLRQQRWLFHV
IRUQRQSD\PHQWRISUHPLXP SHUFHQWHUURUUDWLR ZHUHQRWLVVXHGDWOHDVWGD\VSULRUWRWKHFDQFHOODWLRQRIWKHSROLF\

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OLDELOLW\FRYHUDJHFHGHGWRWKH1RUWK&DUROLQD5HLQVXUDQFH)DFLOLW\ZKHQWKHSROLF\GLGQRWPHHWWKH&RPSDQ\ VYROXQWDU\
JXLGHOLQHV

    7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 D DQG5XOHRIWKH1RUWK&DUROLQD3HUVRQDO$XWRPRELOH
0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\RQSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 7KHHUURUVUHVXOWHG
LQRYHUVWDWHPHQWRIUHIXQGWRWKHLQVXUHG

    $VDUHVXOWRIWKHLQFRUUHFWUHWXUQSUHPLXPFDOFXODWLRQWKH'HSDUWPHQWUHTXHVWHGWKH&RPSDQ\WRFRQGXFWDVHOIDXGLWLQ
WKLVDUHD7KH&RPSDQ\LGHQWLILHGDQDGGLWLRQDOSROLFLHVDIIHFWHG H[FOXGLQJWKRVHWKDWZHUHUHYLHZHGE\WKHH[DPLQHUVDV
QRWHGDERYH WKDWUHVXOWHGLQUHIXQGVEHLQJPDGHLQWKHDPRXQWRI$OOUHIXQGFKHFNVZHUHPDLOHGWRWKHLQVXUHGV
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   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\7KH&RPSDQ\VHQWWKH1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQ)RUP
 )6 WRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHV '09 ZKHQOLDELOLW\FRYHUDJHVZHUHFDQFHOOHG7KH&RPSDQ\ZDV
GHHPHGWREHLQFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6




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3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOV

   7KHHQWLUHSRSXODWLRQRIQRQUHQHZHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQ IRU
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           5HDVRQIRU1RQUHQHZDO                                       1XPEHURI3ROLFLHV                         3HUFHQWDJH
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           1RORQJHUHOLJLEOH                                                                                         
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   7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO$OOLQVXUHGVDQGORVVSD\HHV
ZHUHJLYHQSURSHUDQGWLPHO\QRWLILFDWLRQRIQRQUHQHZDO

   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\7KH&RPSDQ\VHQWWKH)6WRWKH'09ZKHQOLDELOLW\FRYHUDJHV
ZHUHFDQFHOOHG7KH&RPSDQ\ZDVGHHPHGWREHLQFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6


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2YHUYLHZ

    7KH&RPSDQ\ VFODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQG
UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

       &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH)LHOG&ODLPV'LUHFWRUDQGLVSURYLGHGIURPWKHEUDQFK
RIILFHVORFDWHGLQ5DOHLJK1RUWK&DUROLQDDQGLQ&ROXPELD6RXWK&DUROLQD7KHVWDIILVFRPSULVHGRIWKHFODLPVGLUHFWRU
FODLPVPDQDJHUVFODLPVDVVRFLDWHVDQGFOHULFDOSHUVRQQHO&ODLPVVHUYLFHLVSURYLGHGE\FRPSDQ\DGMXVWHUVRQO\7KH
&RPSDQ\DJHQF\IRUFHGRHVQRWDGMXVWDQ\FODLPVDQGGRHVQRWKDYHFODLPVGUDIWDXWKRULW\7KH&RPSDQ\ VVDOYDJHORJLV
PDLQWDLQHGE\WKH7RWDO/RVV8QLWEDVHGLQ'HV0RLQHV,RZD

   7KUHHKXQGUHGILIW\WZRFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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   7KHH[DPLQHUVUDQGRPO\VHOHFWHGDQGUHFHLYHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHDQGWKLUGSDUW\
SURSHUW\GDPDJHFODLPVSDLGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KHFODLPILOHVZHUHUHYLHZHGIRUWLPHOLQHVVRISD\PHQW
VXSSRUWLQJGRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW

   7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V



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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQ\ZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV


$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

    )LIW\DXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
PHGLFDOSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRI
ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


&ORVHG:LWKRXW3D\PHQW&ODLPV

    )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
ILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKH
SURYLVLRQVRI1&*6  


6XEURJDWHG&ODLPV

      )LIW\VXEURJDWHGFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUH
UHYLHZHGWRGHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDVVXFFHVVIXO

   2QHFODLP SHUFHQWHUURUUDWLR ZDVQRWSDLGLQDWLPHO\PDQQHU7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQRIWKH
SURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH

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7RWDO/RVV6HWWOHPHQW&ODLPV

   )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHV
ZHUHUHYLHZHGWRGHWHUPLQHLIWKHVHWWOHPHQWVZHUHHTXLWDEOHDQGWLPHO\

    7ZRFODLPV SHUFHQWHUURUUDWLR ZHUHQRWDSSUDLVHGLQDWLPHO\PDQQHU7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQ
RIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH

   7KH&RPSDQ\SULPDULO\XVHG&&&,QIRUPDWLRQ6HUYLFHV,QFLQDGGLWLRQWRRQVLWHLQGHSHQGHQWDGMXVWHUVWRHVWDEOLVKWKH
DFWXDO FDVK YDOXH RI WRWDOHG YHKLFOHV $OO VHWWOHPHQWV ZHUH GHHPHG HTXLWDEOH 7KH &RPSDQ\ VHWWOHG DOO FODLPV LQ D WLPHO\
PDQQHU7KHSD\PHQWVZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\V1RDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6
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LIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIOLWLJDWHGFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQRI
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    E 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVWKHUHVSRQVHVWR
SHUFHQWRIWKH'HSDUWPHQWDOLQTXLULHVUHYLHZHGZHUHLQH[FHVVRIWKHFDOHQGDUGD\UHTXLUHPHQWRIWKLVUXOH

    F 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVWKHUHVSRQVHVWR
SHUFHQWRIWKH'HSDUWPHQWDOLQTXLULHVUHYLHZHGGLGQRWLQFOXGHLWVPDLOLQJDGGUHVV

   G 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVLWIDLOHGWRQRWLI\WKH
'HSDUWPHQWRIDFKDQJHLQFRQWDFWLQIRUPDWLRQ


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    D 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&$&$  DVEDFNJURXQGFKHFNV
ZHUHQRWSHUIRUPHGRQSHUFHQWRIWKHDSSRLQWHGSURGXFHUVUHYLHZHG

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WHUPLQDWLRQZDVQRWSURYLGHGIRUSHUFHQWRIWKHWHUPLQDWHGSURGXFHUVUHYLHZHG




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             Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 223 of 598
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 225 of 598
    TAB 38
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   7KH &RPSDQ\ SURYLGHG D OLVWLQJ RI  DFWLYH SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
H[DPLQDWLRQ2QHKXQGUHGSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZ

   7KH &RPSDQ\ V SULYDWHSDVVHQJHU DXWRPRELOHSROLFLHVZHUH ZULWWHQRQ D  RU  PRQWK EDVLV /LDELOLW\FRYHUDJHVZHUH
ZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3K\VLFDOGDPDJHFRYHUDJHVZHUHZULWWHQRQDFRQVHQWWRUDWHEDVLV5LVNSODFHPHQW
ZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQ\ V
XVHRILWVXQGHUZULWLQJJXLGHOLQHV

   7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVDSSOLFDWLRQVUHYLHZHG
 SHUFHQWHUURUUDWLR ZHUHDFFHSWHGIURPDSURGXFHUZKRZDVQRWDSSRLQWHG7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQW
YLRODWLRQRIWKHSURYLVLRQVRI1&*6  DVWKHGHFODUDWLRQVSDJHIRUSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR
LQFRUUHFWO\VWDWHGSROLF\WHUPV

    GHFODUDWLRQVSDJHVLQFRUUHFWO\VWDWHGWKHSROLF\UHFHLYHGDGHYLDWLRQZKHQLWZDVQRWDSSOLHG

    GHFODUDWLRQVSDJHVLQFRUUHFWO\VWDWHG5HQWDO5HLPEXUVHPHQWFRYHUDJHZDVLQHIIHFWLQOLHXRI&RYHUDJHIRU5HQWHG
9HKLFOHV



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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 232 of 598
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   7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 D  O DQG5XOHVDQG
RIWKH1RUWK&DUROLQD3HUVRQDO$XWRPRELOH0DQXDODVSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR ZHUHUDWHGLQFRUUHFWO\
7KHUDWLQJHUURUVFRQVLVWHGRIWKHIROORZLQJ

     'HYLDWLRQLQFRUUHFWO\DSSOLHGWR8QLQVXUHG8QGHULQVXUHG0RWRULVWFRYHUDJHRQSROLFLHV

     ,QFRUUHFW6DIH'ULYHU,QFHQWLYH3ODQSRLQWVDSSOLHGRQSROLFLHV

     0LQLPXPDJJUHJDWHGHYLDWLRQZDVQRWDGMXVWHGWRRI1RUWK&DUROLQD5DWH%XUHDXSUHPLXPRQSROLFLHV

     $FFLGHQWIUHHGLVFRXQWZDVDSSOLHGZKHQDQLQVXUHGKDGDQXQYHULILDEOHGULYLQJKLVWRU\RQSROLF\

     2SHUDWRUZDVLQFRUUHFWO\FODVVLILHGRQSROLF\

 7KHUDWLQJHUURUVUHVXOWHGLQSUHPLXPXQGHUFKDUJHVDQGSUHPLXPRYHUFKDUJHVWRWKHLQVXUHGV5HIXQGVIRUWKHRYHUFKDUJHV
 FRYHULQJPXOWLSOHWHUPVZHUHLVVXHGE\WKH&RPSDQ\LQWKHDPRXQWRI7KHUHPDLQLQJSUHPLXPVFKDUJHGZHUH
 GHHPHGFRUUHFW
      7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DVILOHUHYLHZHG SHUFHQWHUURUUDWLR GLG
QRWFRQWDLQDVLJQHGFRQVHQWWRUDWHIRUP


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   7KH&RPSDQ\ VWHUPLQDWLRQSURFHGXUHVIRULWVSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
ZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV6SHFLDODWWHQWLRQ
ZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFHSROLF\UHIXQG ZKHUH
DSSOLFDEOH DQGGRFXPHQWDWLRQRIWKHSROLF\ILOH$WRWDORISROLFLHVZHUHWHUPLQDWHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ
7KHH[DPLQHUVUDQGRPO\VHOHFWHGWHUPLQDWLRQVIRUUHYLHZ


3ULYDWH3DVVHQJHU$XWRPRELOH&DQFHOODWLRQV

   2QH KXQGUHG FDQFHOOHG SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH UDQGRPO\ VHOHFWHG DQG UHFHLYHG IRU UHYLHZ IURP D
SRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
FDQFHOODWLRQ


          5HDVRQIRU&DQFHOODWLRQ                                       1XPEHURI3ROLFLHV                           3HUFHQWDJH

          1RQSD\PHQWRISUHPLXP                                                                                           

          ,QVXUHG VUHTXHVW                                                                                                 

          8QGHUZULWLQJUHDVRQV                                                                                              

          )LQDQFHFRPSDQ\UHTXHVW                                                                                           




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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 233 of 598
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   7KH &RPSDQ\ ZDV QRW UHTXLUHG WR LVVXH FDQFHOODWLRQ QRWLFHV IRU  RI WKH FDQFHOODWLRQV UHYLHZHG DV WKHVH SROLFLHV ZHUH
FDQFHOOHG DW WKH UHTXHVW RI WKH LQVXUHG &DQFHOODWLRQ QRWLFHV IRU WKH UHPDLQLQJ  SROLFLHV VWDWHG WKH VSHFLILF UHDVRQ IRU
FDQFHOODWLRQ

   7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 F DVFDQFHOODWLRQQRWLFHVIRU
QRQSD\PHQWRISUHPLXP SHUFHQWHUURUUDWLR ZHUHQRWLVVXHGDWOHDVWGD\VSULRUWRWKHFDQFHOODWLRQRIWKHSROLF\

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0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\RQSROLF\UHYLHZHG SHUFHQWHUURUUDWLR 7KHHUURUUHVXOWHGLQ
XQGHUVWDWHPHQWRIUHIXQGWRWKHLQVXUHG$WWKHUHTXHVWRIWKHH[DPLQHUVDUHIXQGLQWKHDPRXQWRIZDVLVVXHGE\WKH
&RPSDQ\IRUWKHXQGHUVWDWHPHQWRIUHIXQG7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHGWKH
UHIXQGVLQDWLPHO\PDQQHU

    $VDUHVXOWRIWKHLQFRUUHFWUHWXUQSUHPLXPFDOFXODWLRQWKH'HSDUWPHQWUHTXHVWHGWKH&RPSDQ\WRFRQGXFWDVHOIDXGLWLQ
WKLVDUHD7KH&RPSDQ\LGHQWLILHGDQDGGLWLRQDOSROLFLHVDIIHFWHG H[FOXGLQJWKRVHWKDWZHUHUHYLHZHGE\WKHH[DPLQHUVDV
QRWHGDERYH WKDWUHVXOWHGLQUHIXQGVEHLQJPDGHLQWKHDPRXQWRI$OOUHIXQGFKHFNVZHUHPDLOHGWRWKHLQVXUHGV
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   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\7KH&RPSDQ\VHQWWKH1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQ)RUP
 )6 WRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHV '09 ZKHQOLDELOLW\FRYHUDJHVZHUHFDQFHOOHG7KH&RPSDQ\ZDV
GHHPHGWREHLQFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6


3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOV

      7KHHQWLUHSRSXODWLRQRIQRQUHQHZHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZDVVHOHFWHGDQGUHFHLYHGIRUUHYLHZ

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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            5HDVRQIRU1RQUHQHZDO                                         1XPEHURI3ROLFLHV                            3HUFHQWDJH
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            3URGXFHUQRORQJHUDSSRLQWHG                                                                                    
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    7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6DV
WKH)6ZDVQRWVXEPLWWHGWRWKH'09ZKHQOLDELOLW\FRYHUDJHVZHUHFDQFHOOHGIRUSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 



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   &RYHUDJHZDVERXQGDWSRLQWRIVDOHVRWKHUHZHUHQRGHFOLQDWLRQVRUUHMHFWLRQV


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    7KH&RPSDQ\ VFODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQG
UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGDQGWRWDOORVVVHWWOHPHQWFODLPV

    &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH)LHOG&ODLPV'LUHFWRUDQGLVSURYLGHGIURPWKHEUDQFKRIILFHV
ORFDWHGLQ5DOHLJK1RUWK&DUROLQDDQGLQ&ROXPELD6RXWK&DUROLQD7KHVWDIILVFRPSULVHGRIWKHFODLPVGLUHFWRUFODLPV
PDQDJHUVFODLPVDVVRFLDWHVDQGFOHULFDOSHUVRQQHO&ODLPVVHUYLFHLVSURYLGHGE\FRPSDQ\DGMXVWHUVRQO\7KH&RPSDQ\
DJHQF\IRUFHGRHVQRWDGMXVWDQ\FODLPVDQGGRHVQRWKDYHFODLPVGUDIWDXWKRULW\7KH&RPSDQ\ VVDOYDJHORJLVPDLQWDLQHGE\
WKH7RWDO/RVV8QLWEDVHGLQ'HV0RLQHV,RZD7KUHHKXQGUHGILIW\FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQ
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   7KHH[DPLQHUVUDQGRPO\VHOHFWHGDQGUHFHLYHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHDQGWKLUGSDUW\
SURSHUW\GDPDJHFODLPVSDLGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KHFODLPILOHVZHUHUHYLHZHGIRUWLPHOLQHVVRISD\PHQW
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   7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


          7\SHRI&ODLP                                                                           3D\PHQW7LPH

          $XWRPRELOHSK\VLFDOGDPDJH                                                                    

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    $SROLF\GHGXFWLEOHZDVQRWDSSOLHGWRFODLPUHYLHZHG SHUFHQWHUURUUDWLR 7KLVUHVXOWHGLQDQRYHUSD\PHQWRI
WRWKHSROLF\KROGHU7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLV
RIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH$OORWKHUGHGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
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      $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHG
RIDSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV

    7ZRFODLPV SHUFHQWHUURUUDWLR ZHUHQRWDSSUDLVHGLQDWLPHO\PDQQHU7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQ
RIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH




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$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

    )LIW\DXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
PHGLFDOSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
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ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


&ORVHG:LWKRXW3D\PHQW&ODLPV

    )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
ILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKH
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6XEURJDWHG&ODLPV

   )LIW\VXEURJDWHGFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUH
UHYLHZHGWRGHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDVVXFFHVVIXO

  $OOUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\IURPWKHGDWHWKH
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PDQQHU IRU  FODLPV  SHUFHQWHUURU UDWLR  7KLV PDWWHUFRXOG UHVXOW LQ DQ DSSDUHQWYLRODWLRQRI WKH SURYLVLRQV RI 1&*6
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 236 of 598
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 237 of 598
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             Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 238 of 598
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$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

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    TAB 39
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&RQVXPHU&RPSODLQWV
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   ,WLVWKH'HSDUWPHQW VSUDFWLFHWRFLWHFRPSDQLHVLQDSSDUHQWYLRODWLRQRIDVWDWXWHRUUXOHZKHQWKHUHVXOWVRIDVDPSOHVKRZ
HUURUVQRQFRPSOLDQFHDWRUDERYHWKHIROORZLQJOHYHOVSHUFHQWIRUFRQVXPHUFRPSODLQWVVDOHVDQGDGYHUWLVLQJSURGXFHUV
ZKRZHUHQRWDSSRLQWHGDQGRUOLFHQVHGDQGWKHXVHRIIRUPVDQGUDWHVUXOHVWKDWZHUHQHLWKHUILOHGZLWKQRUDSSURYHGE\WKH
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HUURUUDWHLVEHORZWKHDSSOLFDEOHWKUHVKROGIRUFLWLQJDQDSSDUHQWYLRODWLRQWKH'HSDUWPHQWLVVXHVDUHPLQGHUWRWKHFRPSDQ\


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     &RQVXPHU &RPSODLQWV  LQFRPSOHWH FRPSODLQW ORJ UHVSRQVH WLPH WR 'HSDUWPHQWDO LQTXLULHV 1$,& FRPSDQ\ FRGH QRW
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    8QGHUZULWLQJDQG5DWLQJDSSOLFDWLRQVDFFHSWHGIURPDSURGXFHUZKRZDVQRWDSSRLQWHGDQGIDLOXUHWRFRPSO\ZLWKSURSHU
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   7HUPLQDWLRQV3ULYDWHSDVVHQJHUDXWRPRELOHFDQFHOODWLRQVIDLOXUHWRLVVXHWKH1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQIRUP
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    $OOXQDFFHSWDEOHRUQRQFRPSOLDQWSUDFWLFHVPD\QRWKDYHEHHQGLVFRYHUHGRUQRWHGLQWKLVUHSRUW)DLOXUHWRLGHQWLI\RU
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H[KLELWHGSROLFLHVDQGSURFHGXUHVLQSODFHVRWKDWQRQSXEOLFSHUVRQDOILQDQFLDORUKHDOWKLQIRUPDWLRQLVQRWGLVFORVHGXQOHVVWKH
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RI WKH DJHQF\ IRUFH )RUPDO DJHQF\ UHYLHZV DUH FRQGXFWHG WZLFH DQQXDOO\ DQG LQFOXGH WKH SDUWLFLSDWLRQ RI WKH IROORZLQJ
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$VVLVWDQW9LFH3UHVLGHQWRI$XWR&ODLPVDQG(DVWHUQ:HVWHUQ0DUNHWLQJ5HSUHVHQWDWLYHV$JHQWDSSRLQWPHQWVWHUPLQDWLRQV
DQGOLFHQVLQJDUHKDQGOHGE\(DVWHUQDQG:HVWHUQ0DUNHWLQJ5HSUHVHQWDWLYHVDQG([HFXWLYH$GPLQLVWUDWLYH$VVLVWDQWWRWKH
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  7KH&RPSDQ\ VPDUNHWLQJSKLORVRSK\LQ1RUWK&DUROLQDIRFXVHVRQWKHSULYDWHSDVVHQJHUDXWRPRELOHOLQHRIEXVLQHVV7KH
&RPSDQ\ VSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGIRUDGKHUHQFHWRXQGHUZULWLQJJXLGHOLQHVILOHGRFXPHQWDWLRQ




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&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


3ULYDWH3DVVHQJHU$XWRPRELOH

   7KH &RPSDQ\ SURYLGHG D OLVWLQJ RI  DFWLYH SULYDWH SDVVHQJHU DXWRPRELOHSROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
H[DPLQDWLRQ2QHKXQGUHGSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZ

        7KH &RPSDQ\ V SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH ZULWWHQ RQ D  RU  PRQWK EDVLV /LDELOLW\ FRYHUDJHV
ZHUHZULWWHQXWLOL]LQJPDQXDOUDWHV3K\VLFDOGDPDJHFRYHUDJHVZHUHZULWWHQRQDFRQVHQWWRUDWHEDVLV5LVNSODFHPHQWZDV
GHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQ\ VXVH
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    ,QFRUUHFW6DIH'ULYHU,QFHQWLYH3ODQSRLQWVDSSOLHGRQSROLF\

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DQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV7KHUHYLHZIRFXVHGRQWKHIROORZLQJOLQHVRIEXVLQHVV

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      7KHUHDVRQIRUFDQFHOODWLRQZDVGHHPHGYDOLGIRUDOOSROLFLHVUHYLHZHG7KHUHYLHZUHYHDOHGWKHIROORZLQJUHDVRQVIRU
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FDQFHOODWLRQ$OOLQVXUHGVDQGORVVSD\HHVZHUHJLYHQSURSHUDQGWLPHO\QRWLILFDWLRQRIFDQFHOODWLRQ

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FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
PHGLFDOSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6 I 


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    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRI
ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6 I 



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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH'LVFRYHU\:/
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&ORVHG:LWKRXW3D\PHQW&ODLPV

    )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
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    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRI
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   )LIW\VXEURJDWHGFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUH
UHYLHZHGWRGHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDVVXFFHVVIXO

  $OOUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\IURPWKHGDWHWKH
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7RWDO/RVV6HWWOHPHQW&ODLPV

    )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
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PDQQHU7KHSD\PHQWVZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\V1RDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6
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    TAB 40
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 255 of 598
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VWDQGDUGVHVWDEOLVKHGE\WKH'HSDUWPHQWDQGSURFHGXUHVHVWDEOLVKHGE\WKH1DWLRQDO$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV
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GHHPHGWREHLQFRPSOLDQFHZLWKWKHDXWKRULW\JUDQWHG


'LVDVWHU5HFRYHU\3URFHGXUHV

   7KH&RPSDQ\KDVDGHWDLOHGEXVLQHVVFRQWLQXDWLRQSODQHVWDEOLVKHGWRLQFUHDVHLWVFKDQFHVRISUHYHQWLQJGLVDVWHUVDVZHOO
DVSURYLGLQJFRQWLQXLQJRSHUDWLRQVIROORZLQJQDWXUDORUPDQPDGHGLVDVWHUV,QDGGLWLRQWKH&RPSDQ\KDVDFRPSUHKHQVLYH
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HYHQWRIDQHPHUJHQF\WKDWLPSDFWVWKH&RPSDQ\ VRSHUDWLRQVDQGFRPSXWHURSHUDWLRQVIDFLOLWLHV7KHSODQLQFOXGHVDFRQWUDFW
ZLWK,%0%XVLQHVV&RQWLQXLW\DQG5HFRYHU\6HUYLFHVIRU,%0WRSURYLGHHTXLSPHQWRIILFHVSDFHDQGSRZHUJHQHUDWLRQIRUWKH
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UHFRYHUDOORILWVV\VWHPVDQGFRQQHFWLYLW\7KH&RPSDQ\XWLOL]HVWKHLUKHDGTXDUWHUVORFDWLRQLQ%UDQFKYLOOH1HZ-HUVH\DVD
UHFRYHU\VLWHIRUDOOUHPRWHORFDWLRQVLQFOXGLQJWKH6RXWKHUQUHJLRQDORIILFHLQ&KDUORWWH1RUWK&DUROLQD,QFOXGHGZLWKLQWKH
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   3ULYDF\RIILQDQFLDODQGKHDOWKLQIRUPDWLRQDSSOLHVWRWUDQVDFWLRQVLQYROYLQJLQVXUDQFHSULPDULO\IRUSHUVRQDOIDPLO\RU
KRXVHKROGQHHGVUDWKHUWKDQEXVLQHVVRUSURIHVVLRQDOQHHGVZKLFKLVZKDWWKLVUHYLHZFRQVLVWHGRI




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3ROLF\)RUPVDQG)LOLQJV

   3ROLF\IRUPVDQGILOLQJVIRUWKH&RPSDQ\ZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKDSSURSULDWH1RUWK&DUROLQDVWDWXWHV
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     &RPPHUFLDO$XWRPRELOH

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    )LOLQJV IRU WKH ZRUNHUV  FRPSHQVDWLRQ OLQH RI EXVLQHVV ZHUH PDGH E\ WKH 1RUWK &DUROLQD 5DWH %XUHDX RQ EHKDOI RI WKH
&RPSDQ\)LOLQJVIRUWKHFRPPHUFLDODXWRPRELOHEXVLQHVVRZQHUVJHQHUDOOLDELOLW\DQGFRPPHUFLDOLQODQGPDULQHOLQHVRI
EXVLQHVVZHUHPDGHE\WKH,QVXUDQFH6HUYLFHV2IILFHRQEHKDOIRIWKH&RPSDQ\'HYLDWLRQVIRUWKHVHOLQHVRIEXVLQHVVZHUHPDGH
WRWKH'HSDUWPHQWE\WKH&RPSDQ\7KH&RPSDQ\ VFRPPHUFLDOLQODQGPDULQHFRYHUDJHVZHUHZULWWHQXWLOL]LQJLQGHSHQGHQWO\
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6DOHVDQG$GYHUWLVLQJ

   6DOHV DQG DGYHUWLVLQJ SUDFWLFHV RI WKH &RPSDQ\ ZHUH UHYLHZHG WR GHWHUPLQH FRPSOLDQFH ZLWK WKH SURYLVLRQV RI 1&*6
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   7KH&RPSDQ\GRHVQRWGLVWULEXWHVDOHVPDWHULDOGLUHFWO\WRLQVXUHGVRUSURVSHFWLYHLQVXUHGVEHFDXVHLWGLVWULEXWHVLWVSURGXFWV
WKURXJKWKHLQGHSHQGHQWDJHQF\V\VWHP:ULWWHQSURFHGXUHVIRUWKHDSSURYDORIDGYHUWLVLQJPDWHULDODUHPDLQWDLQHG$GYHUWLVLQJ
UHTXHVWV PXVW EH SURFHVVHG WKURXJK DQG DSSURYHG E\ &RUSRUDWH &RPPXQLFDWLRQV 'HSDUWPHQW $GYHUWLVLQJ LQIRUPDWLRQ LV
PDLQWDLQHGLQWKHKRPHRIILFHLQ%UDQFKYLOOH1HZ-HUVH\

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UHFHLYHGIRUUHYLHZIURPSRSXODWLRQVRIDQGUHVSHFWLYHO\

    $OO DSSRLQWPHQW DQG WHUPLQDWLRQ IRUPV UHYLHZHG ZHUH VXEPLWWHG WR WKH 'HSDUWPHQW LQ DFFRUGDQFH ZLWK WKH WLPHWDEOHV
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IRUFH)RUPDODJHQF\UHYLHZVDUHFRQGXFWHGE\UHJLRQDOPDQDJHPHQWDQGILHOGUHSUHVHQWDWLYHVRQDQDQQXDOEDVLV7KH$VVLVWDQW
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XQGHUZULWLQJJXLGHOLQHVILOHGRFXPHQWDWLRQDQGSUHPLXPGHWHUPLQDWLRQ$GGLWLRQDOO\WKHSROLFLHVZHUHH[DPLQHGWRGHWHUPLQH
FRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


&RPPHUFLDO$XWRPRELOH

      7KH &RPSDQ\ SURYLGHG D OLVWLQJ RI  DFWLYH FRPPHUFLDO DXWRPRELOH SROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
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GLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQ\ VXVHRILWVXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQ
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WRWKHLQVXUHG7KHUHPDLQLQJSUHPLXPVFKDUJHGZHUHGHHPHGFRUUHFW


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    7KH&RPSDQ\ VZRUNHUV FRPSHQVDWLRQFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUHZULWWHQ
RQ DQ DQQXDO EDVLV 5LVN SODFHPHQW ZDV GHWHUPLQHG E\ WKH &RPSDQ\ V XQGHUZULWLQJ JXLGHOLQHV DQG WKH XQGHUZULWHU 1R
GLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQ\ VXVHRILWVXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQ
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LQFOXGHGRFXPHQWDWLRQWRMXVWLI\WKHVFKHGXOHGHELWFUHGLWDSSOLHG$OOSUHPLXPVFKDUJHGZHUHGHHPHGFRUUHFW


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SROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZ

      7KH&RPSDQ\ VEXVLQHVVRZQHUVFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUHZULWWHQRQDQ
DQQXDOEDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHV
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FRQWDLQGRFXPHQWDWLRQWRMXVWLI\WKH,QGLYLGXDO5LVN3UHPLXP0RGLILFDWLRQGHELWFUHGLWDSSOLHG7KH&RPSDQ\ZDVGHHPHGWR
EHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 I DVSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR ZHUHUDWHG
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DQQXDOEDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHV
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 7KH UDWLQJ HUURUV UHVXOWHG LQ  SUHPLXP XQGHUFKDUJHV DQG  SUHPLXP RYHUFKDUJH WR WKH LQVXUHGV $W WKH UHTXHVW RI WKH
 H[DPLQHUVDUHIXQGLQWKHDPRXQWRIZDVLVVXHGE\WKH&RPSDQ\IRUWKHRYHUFKDUJH7KHUHPDLQLQJSUHPLXPV
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)LIW\SROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZ

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H[SRVXUHV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHV
ZHUHQRWHGLQWKH&RPSDQ\ VXVHRILWVXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUW
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        7KH &RPSDQ\ ZDV GHHPHG WR EH LQ DSSDUHQW YLRODWLRQ RI WKH SURYLVLRQV RI 1&*6  K  DV  DSSOLFDWLRQV
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DQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV7KHUHYLHZIRFXVHGRQWKHIROORZLQJOLQHVRIEXVLQHVV

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   6SHFLDODWWHQWLRQZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFH
SROLF\UHIXQG ZKHUHDSSOLFDEOH DQGGRFXPHQWDWLRQRIWKHSROLF\ILOH$WRWDORISROLFLHVZHUHWHUPLQDWHGGXULQJWKHSHULRG
XQGHUH[DPLQDWLRQ7KHH[DPLQHUVUDQGRPO\VHOHFWHGWHUPLQDWLRQVIRUUHYLHZ


&RPPHUFLDO$XWRPRELOH&DQFHOODWLRQV

   )LIW\FDQFHOOHGFRPPHUFLDODXWRPRELOHSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH6HOHFWLYH:/
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            &RYHUDJHUHZULWWHQ                                                                                            
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   7KH&RPSDQ\ZDVQRWUHTXLUHGWRLVVXHFDQFHOODWLRQQRWLFHVIRURIWKHFDQFHOODWLRQVUHYLHZHGDVWKHVHSROLFLHVZHUH
FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUWKHFRYHUDJHZDVUHZULWWHQ

        7KH &RPSDQ\ ZDV GHHPHG WR EH LQ DSSDUHQW YLRODWLRQ RI WKH SURYLVLRQV RI  1&$&  D   DQG
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RIWKHFDQFHOODWLRQQRWLFHDQGILOHGLGQRWFRQWDLQSURRIRIPDLOLQJ7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6
 E DQGWKHSROLF\WHUPLQDWLRQSURYLVLRQVDVLQVXUHGV SHUFHQWHUURUUDWLR ZHUHQRWSURYLGHGDWOHDVWGD\V
QRWLFHRIFDQFHOODWLRQ

   7KH&RPSDQ\ZDVUHPLQGHGRI5XOHRIWKH&RPPHUFLDO$XWRPRELOH0DQXDODVSROLFLHV SHUFHQWHUURUUDWLR ZHUH
FDQFHOOHGLQFRUUHFWO\2QHSROLF\ZDVFDQFHOOHGXVLQJDQLQFRUUHFWFDQFHOODWLRQGDWHDQGWKHUHWXUQSUHPLXPIRUSROLF\ZDV
FDOFXODWHGXVLQJWKHVKRUWUDWHPHWKRGRIFDQFHOODWLRQLQOLHXRIWKHSURUDWDPHWKRG7KHHUURUVUHVXOWHGLQXQGHUVWDWHPHQWRI
UHIXQGVWRWKHLQVXUHGV$WWKHUHTXHVWRIWKHH[DPLQHUVWKH&RPSDQ\LVVXHGDGGLWLRQDOUHIXQGVLQWKHDPRXQWRI
7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHGWKHUHIXQGVLQDWLPHO\PDQQHU

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GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\7KH&RPSDQ\VHQWWKH1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQ)RUP
 )6 WRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHV '09 ZKHQOLDELOLW\FRYHUDJHVZHUHFDQFHOOHG7KH&RPSDQ\ZDV
GHHPHGWREHLQFRPSOLDQFHZLWKWKHSURYLVLRQVRI1&*6 H 


:RUNHUV &RPSHQVDWLRQ&DQFHOODWLRQV

  )LIW\FDQFHOOHGZRUNHUV FRPSHQVDWLRQSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRISROLFLHV7KH
&RPSDQ\ZDVXQDEOHWRSURYLGHRIWKHILOHVUHTXHVWHG SHUFHQWHUURUUDWLR DQGZDVUHPLQGHGRIWKHSURYLVLRQVRI
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            5HDVRQIRU&DQFHOODWLRQ                                     1XPEHURI3ROLFLHV                           3HUFHQWDJH
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      7KH&RPSDQ\ZDVQRWUHTXLUHGWRLVVXHFDQFHOODWLRQQRWLFHVIRURIWKHFDQFHOODWLRQVUHYLHZHGDVWKHVHSROLFLHVZHUH
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    7KH&RPSDQ\ZDVUHPLQGHGRI5XOH;RIWKH1DWLRQDO&RXQFLORQ&RPSHQVDWLRQ,QVXUDQFH0DQXDODVSROLFLHV SHUFHQW
HUURUUDWLR ZHUHFDQFHOOHGSURUDWDUDWKHUWKDQVKRUWUDWHZKHQWKHSROLF\ZDVFDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHG7KHHUURUV
UHVXOWHGLQRYHUVWDWHPHQWRIUHIXQGVWRWKHLQVXUHGV7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHG
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   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
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   )LIW\FDQFHOOHGEXVLQHVVRZQHUVSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRISROLFLHV

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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          5HDVRQIRU&DQFHOODWLRQ                                       1XPEHURI3ROLFLHV                           3HUFHQWDJH

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*HQHUDO/LDELOLW\&DQFHOODWLRQV

   )LIW\FDQFHOOHGJHQHUDOOLDELOLW\SROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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            5HDVRQIRU&DQFHOODWLRQ                                     1XPEHURI3ROLFLHV                           3HUFHQWDJH
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            1RQSD\PHQWRISUHPLXP                                                                                        
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    7KH&RPSDQ\ZDVUHPLQGHGRI5XOHRIWKH&RPPHUFLDO/LQHV0DQXDODVWKHUHWXUQSUHPLXPIRUSROLFLHVFDQFHOOHG
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UDWDXQHDUQHGSUHPLXP7KHHUURUVUHVXOWHGLQRYHUVWDWHPHQWRIUHIXQGVWRWKHLQVXUHGV7KH&RPSDQ\LVVXHGWKHUHIXQGVLQ
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   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\


&RPPHUFLDO,QODQG0DULQH&DQFHOODWLRQV

   )LIW\FDQFHOOHGLQODQGPDULQHSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI

       7KHUHDVRQIRUFDQFHOODWLRQZDVGHHPHGYDOLGIRUDOOSROLFLHVUHYLHZHG7KHUHYLHZUHYHDOHGWKHIROORZLQJUHDVRQV
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            5HDVRQIRU&DQFHOODWLRQ                                     1XPEHURI3ROLFLHV                           3HUFHQWDJH
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FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUWKHFRYHUDJHZDVUHZULWWHQ

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&RPPHUFLDO$XWRPRELOH1RQUHQHZDOV

   2QHFRPPHUFLDODXWRPRELOHSROLF\ZDVQRQUHQHZHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KH&RPSDQ\ZDVXQDEOHWR
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ZDVXQDEOHWRSURYLGHRIWKHILOHVUHTXHVWHG SHUFHQWHUURUUDWLR DQGZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKH
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UHPLQGHGRIWKHSURYLVLRQVRI1&*6 E DVLQVXUHGV SHUFHQWHUURUUDWLR ZHUHQRWSURYLGHGDWOHDVWGD\V
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   7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
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%XVLQHVVRZQHUV1RQUHQHZDOV

    2QHEXVLQHVVRZQHUVSROLF\ZDVQRQUHQHZHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KH&RPSDQ\ZDVXQDEOHWRSURYLGHWKH
ILOH SHUFHQWHUURUUDWLR DQGZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&$& D 
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*HQHUDO/LDELOLW\1RQUHQHZDOV

   7KH&RPSDQ\UHSRUWHGWKHUHZHUHQRFRPPHUFLDOJHQHUDOOLDELOLW\QRQUHQHZDOVGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ


&RPPHUFLDO,QODQG0DULQH1RQUHQHZDOV

    $OOQRQUHQHZHGFRPPHUFLDOLQODQGPDULQHSROLFLHVZHUHVHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KH&RPSDQ\ZDV
XQDEOHWRSURYLGHRIWKHILOHVUHTXHVWHG SHUFHQWHUURUUDWLR DQGZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQV
RI1&$& D DQG D  K 7KHUHYLHZZDVEDVHGRQWKHUHPDLQLQJILOHV

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
QRQUHQHZDO


            5HDVRQIRU&DQFHOODWLRQ                                    1XPEHURI3ROLFLHV                          3HUFHQWDJH
                                                                                                                     
          $JHQWQRORQJHUUHSUHVHQWVWKH                                                                               
        &RPSDQ\                                                                                                             
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          8QGHUZULWLQJUHDVRQV                                                                                          
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          7RWDO                                                                                                       
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    7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO7KH&RPSDQ\ZDVUHPLQGHGRI
WKHSURYLVLRQVRI1&*6 F DVLQVXUHG SHUFHQWHUURUUDWLR ZDVQRWSURYLGHGDWOHDVWGD\VQRWLFHRIQRQUHQHZDO

   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH$OOSROLF\ILOHVUHYLHZHGFRQWDLQHGVXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQWDNHQE\WKH&RPSDQ\


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      7KH&RPSDQ\ VFODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHV
DQGUXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

  &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH6RXWKHUQ5HJLRQDO&ODLP0DQDJHUDQGLVSURYLGHGIURPWKH
KRPHRIILFHUHJLRQDORIILFHFODLPVHUYLFHFHQWHUDQGILHOGEDVHGFODLPVWDII7KHVWDIILVFRPSULVHGRIFODLPVXSHUYLVRUVDQG



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FODLPKDQGOHUV&RPSDQ\DGMXVWHUVSURYLGHWKHFODLPVHUYLFHZLWKVRPHDVVLVWDQFHDWWLPHVIURPLQGHSHQGHQWDGMXVWHUV
,QGHSHQGHQWDGMXVWHUVKDYHQRFKHFNRUGUDIWDXWKRULW\7KH&RPSDQ\DJHQF\IRUFHDGMXVWVILUVWSDUW\FODLPVDQGKDVGUDIWDQG
FKHFNDXWKRULW\

   7KUHHKXQGUHGVL[W\RQHFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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   7KHH[DPLQHUVUDQGRPO\VHOHFWHGDQGUHFHLYHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHILUVWSDUW\SURSHUW\
GDPDJHDQGWKLUGSDUW\SURSHUW\GDPDJHFODLPVSDLGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KHFODLPILOHVZHUHUHYLHZHGIRU
WLPHOLQHVVRISD\PHQWVXSSRUWLQJGRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW

   7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


         7\SHRI&ODLP                                                                           3D\PHQW7LPH

         $XWRPRELOHSK\VLFDOGDPDJH                                                                   

         )LUVWSDUW\ H[FOXGLQJDXWRPRELOHSK\VLFDOGDPDJH                                            

         7KLUGSDUW\SURSHUW\GDPDJH                                                                  




   $OOSD\PHQWVLVVXHGE\WKH&RPSDQ\ZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV

    7KH&RPSDQ\WRRNDQH[FHVVLYHDPRXQWRIWLPH GD\V WRSD\FODLP SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOW
LQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHG
DJHQHUDOEXVLQHVVSUDFWLFH


$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

      )LIW\DXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
PHGLFDOSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6


)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIILUVW
DQGWKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6




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&ORVHG:LWKRXW3D\PHQW&ODLPV

    )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
ILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPVGLVFORVHGQRDSSDUHQWYLRODWLRQVRIWKH
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    7KHHQWLUHSRSXODWLRQRIVXEURJDWHGFODLPVIRUWKHSHULRGXQGHUH[DPLQDWLRQZDVUHYLHZHG7KHFODLPILOHVZHUHUHYLHZHG
WRGHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDVVXFFHVVIXO

  $OOUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\IURPWKHGDWHWKH
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   )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHV
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DFWXDO FDVK YDOXH RI WRWDOHG YHKLFOHV $OO VHWWOHPHQWV ZHUH GHHPHG HTXLWDEOH 7KH &RPSDQ\ VHWWOHG DOO FODLPV LQ D WLPHO\
PDQQHU7KHSD\PHQWVZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\V1RDSSDUHQWYLRODWLRQVRIWKHSURYLVLRQVRI1&*6
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WRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIOLWLJDWHGFODLPVGLVFORVHGQRDSSDUHQW
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FRPPHUFLDODXWRPRELOHDSSOLFDWLRQVUHYLHZHGZHUHVLJQHGE\QRQDSSRLQWHGSURGXFHUV

     E7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 D DQG1&$& 
DVWKHQRQIOHHWSULYDWHSDVVHQJHUW\SHYHKLFOHVRQSHUFHQWRIWKHDFWLYHFRPPHUFLDODXWRPRELOHSROLFLHVUHYLHZHGZHUH
UDWHGXVLQJDQXQILOHGSULYDWHSDVVHQJHUDXWRPRELOHUDWHGHYLDWLRQ



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  K DVSHUFHQWRIWKHDFWLYHFRPPHUFLDODXWRPRELOHILOHVUHYLHZHGGLGQRWFRQWDLQGRFXPHQWDWLRQWRMXVWLI\WKHVFKHGXOH
FUHGLWDSSOLHG

     G 7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 I DVSHUFHQWRIWKHDFWLYHFRPPHUFLDODXWRPRELOH
SROLFLHVUHYLHZHGZHUHUDWHGLQFRUUHFWO\

   H 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 K DVSHUFHQWRIWKH
ZRUNHUV FRPSHQVDWLRQDSSOLFDWLRQVUHYLHZHGZHUHVLJQHGE\QRQDSSRLQWHGSURGXFHUV

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    J 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 K DVSHUFHQWRIWKH
EXVLQHVVRZQHUVDSSOLFDWLRQVUHYLHZHGZHUHVLJQHGE\QRQDSSRLQWHGSURGXFHUV

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3UHPLXP0RGLILFDWLRQGHELWFUHGLWDSSOLHG

     L 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 I DVSHUFHQWRIWKH
DFWLYHEXVLQHVVRZQHUVSROLFLHVUHYLHZHGZHUHUDWHGXVLQJDQLQFRUUHFWVSHFLDOLQFUHPHQW

    M 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 K DVSHUFHQWRIWKH
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UHYLHZHGZHUHUDWHGLQFRUUHFWO\

   O 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 K DVSHUFHQWRIWKH
FRPPHUFLDOLQODQGPDULQHDSSOLFDWLRQVUHYLHZHGZHUHVLJQHGE\QRQDSSRLQWHGSURGXFHUV

   P 7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 D E DVSHUFHQWRIWKH
FRPPHUFLDOLQODQGPDULQHDSSOLFDWLRQVUHYLHZHGZHUHDFFHSWHGIURPDQRQOLFHQVHGRXWRIVWDWHSURGXFHU


 7HUPLQDWLRQV

        D 7KH &RPSDQ\ ZDV GHHPHG WR EH LQ DSSDUHQW YLRODWLRQ RI WKH SURYLVLRQV RI  1&$&  D  
DQG  D  K  DV  SHUFHQW RI WKH FDQFHOOHG FRPPHUFLDO DXWRPRELOH ILOHV UHYLHZHG GLG QRW FRQWDLQ SURSHU ILOH
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     E 7KH &RPSDQ\ ZDV UHPLQGHG RI WKH SURYLVLRQV RI 1&*6  E  DQG WKH SROLF\ WHUPLQDWLRQ SURYLVLRQV DV WKH
FDQFHOODWLRQQRWLFHIRUSHUFHQWRIWKHFDQFHOOHGFRPPHUFLDODXWRPRELOHSROLFLHVUHYLHZHGZDVQRWLVVXHGDWOHDVWGD\V
SULRUWRWKHWHUPLQDWLRQGDWH

    F 7KH&RPSDQ\ZDVUHPLQGHGRI5XOHRIWKH&RPPHUFLDO$XWRPRELOH0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHG
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   I 7KH &RPSDQ\ ZDV UHPLQGHG RI WKH SURYLVLRQV RI 1&*6  E  DV  SHUFHQW RI WKH FDQFHOOHG ZRUNHUV
FRPSHQVDWLRQILOHVUHYLHZHGGLGQRWFRQWDLQSURRIRIPDLOLQJ

    J7KH&RPSDQ\ZDVUHPLQGHGRI5XOH;RIWKH1DWLRQDO&RXQFLORQ&RPSHQVDWLRQ,QVXUDQFH0DQXDODVWKHUHWXUQSUHPLXP
ZDVFDOFXODWHGLQFRUUHFWO\RQSHUFHQWRIWKHFDQFHOOHGZRUNHUV FRPSHQVDWLRQSROLFLHVUHYLHZHG

     K7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DQG D  K DVSHUFHQWRI
WKHFDQFHOOHGEXVLQHVVRZQHUVILOHVUHYLHZHGGLGQRWFRQWDLQSURSHUILOHGRFXPHQWDWLRQ

     L7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DQG D  K DVSHUFHQWRI
WKHFDQFHOOHGJHQHUDOOLDELOLW\ILOHVUHYLHZHGGLGQRWFRQWDLQDFRS\RIWKHFDQFHOODWLRQQRWLFHWRWKHLQVXUHG

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FDQFHOOHGJHQHUDOOLDELOLW\SROLFLHVUHYLHZHGZDVQRWLVVXHGDWOHDVWGD\VSULRUWRWKHWHUPLQDWLRQGDWHZKHQWKHSROLF\ZDV
FDQFHOOHGIRUQRQSD\PHQWRISUHPLXP

    N7KH&RPSDQ\ZDVUHPLQGHGRI5XOHRIWKH&RPPHUFLDO/LQHV0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\
RQSHUFHQWRIWKHFDQFHOOHGJHQHUDOOLDELOLW\SROLFLHVUHYLHZHG

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QRQUHQHZHGFRPPHUFLDOLQODQGPDULQHSROLFLHVUHYLHZHGZDVQRWLVVXHGDWOHDVWGD\VSULRUWRWKHWHUPLQDWLRQGDWH


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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH6HOHFWLYH:/
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   6WDWXWH5XOH                                 7LWOH


   1&*6                                ([DPLQDWLRQVWREHPDGHDXWKRULW\VFRSHVFKHGXOLQJDQGFRQGXFWRI
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   6WDWXWH5XOH                                     7LWOH


   1&*6                                     .LQGVRILQVXUDQFHDXWKRUL]HG


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   1&*6                                   &HUWDLQZRUNHUV FRPSHQVDWLRQLQVXUDQFHSROLF\FDQFHOODWLRQV
                                                  SURKLELWHG


   1&*6                                  1RWLFHRIQRQUHQHZDOSUHPLXPUDWHLQFUHDVHRUFKDQJHLQ
                                                  ZRUNHUV FRPSHQVDWLRQLQVXUDQFHFRYHUDJHUHTXLUHG


   1&*6                                    &HUWDLQSROLF\FDQFHOODWLRQVSURKLELWHG


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                                                  FRYHUDJHUHTXLUHG


   1&*6                                    3ROLF\IRUPDQGUDWHILOLQJVSXQLWLYHGDPDJHVGDWDUHTXLUHGWR
                                                  VXSSRUWILOLQJV


   1&*6                                    8QIDLUPHWKRGVRIFRPSHWLWLRQDQGXQIDLURUGHFHSWLYHDFWVRU
                                                  SUDFWLFHVGHILQHG


   1&*6                                      0RWRUYHKLFOHUHJLVWUDWLRQ


   1&$&                                   7RWDO/RVVHVRQ0RWRU9HKLFOHV


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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH6HOHFWLYH:/
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IRUWKHSHULRG-DQXDU\WKURXJK'HFHPEHUZLWKDQDO\VHVRIFHUWDLQRSHUDWLRQVRIWKH&RPSDQ\EHLQJFRQGXFWHG
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    7KLV H[DPLQDWLRQ ZDV FRQGXFWHG LQ DFFRUGDQFH ZLWK WKH 1RUWK &DUROLQD 'HSDUWPHQW RI ,QVXUDQFH DQG WKH 1DWLRQDO
$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJDQGUDWLQJWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

   ,QDGGLWLRQWRWKHXQGHUVLJQHG-DPHV30F4XLOODQ&3&8DQG/HWKD/RPEDUGL1RUWK&DUROLQD0DUNHW&RQGXFW([DPLQHUV
SDUWLFLSDWHGLQWKLVH[DPLQDWLRQ

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V1RUPD05DIWHU
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    ,KDYHUHYLHZHGWKLVH[DPLQDWLRQUHSRUWDQGLWPHHWVWKHSURYLVLRQVIRUVXFKUHSRUWVSUHVFULEHGE\WKLV'LYLVLRQDQGWKH
1RUWK&DUROLQD'HSDUWPHQWRI,QVXUDQFH

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6WDWHRI1RUWK&DUROLQD

(QGRI'RFXPHQW                                                    7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV




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    TAB 41
5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH*HLFR:/
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3ULYDF\RI)LQDQFLDODQG+HDOWK,QIRUPDWLRQ
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3ULYDWH3DVVHQJHU$XWRPRELOH
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2YHUYLHZ
3ULYDWH3DVVHQJHU$XWRPRELOH&DQFHOODWLRQV
3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOV
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2YHUYLHZ
3DLG&ODLPV
$XWRPRELOH0HGLFDO3D\PHQW&ODLPV
)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV
&ORVHG:LWKRXW3D\PHQW&ODLPV
6XEURJDWHG&ODLPV
7RWDO/RVV6HWWOHPHQW&ODLPV
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5DOHLJK1RUWK&DUROLQD


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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQRIWKH*HLFR:/
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-DQXDU\
+RQRUDEOH:D\QH*RRGZLQ
&RPPLVVLRQHURI,QVXUDQFH
'HSDUWPHQWRI,QVXUDQFH
6WDWHRI1RUWK&DUROLQD
'REEV%XLOGLQJ
16DOLVEXU\6WUHHW
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+RQRUDEOH(OL]DEHWK6DPPLV
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ZLOOQRWEHFRQWDLQHGLQWKLVZULWWHQUHSRUWDVUHIHUHQFHWRDQ\SUDFWLFHVSURFHGXUHVRUILOHVWKDWPDQLIHVWHGQRLPSURSULHWLHV
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WKLVUHSRUWUHIOHFWFRQGLWLRQVREVHUYHGGXULQJWKHSHULRGRIWKHH[DPLQDWLRQ

   7KH H[DPLQDWLRQ ZDV DUUDQJHG DQG FRQGXFWHG E\ WKH 'HSDUWPHQW ,W ZDV PDGH LQ DFFRUGDQFH ZLWK 0DUNHW 5HJXODWLRQ
VWDQGDUGVHVWDEOLVKHGE\WKH'HSDUWPHQWDQGSURFHGXUHVHVWDEOLVKHGE\WKH1DWLRQDO$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV
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   ,WLVWKH'HSDUWPHQW VSUDFWLFHWRFLWHFRPSDQLHVLQDSSDUHQWYLRODWLRQRIDVWDWXWHRUUXOHZKHQWKHUHVXOWVRIDVDPSOHVKRZ
HUURUVQRQFRPSOLDQFHDWRUDERYHWKHIROORZLQJOHYHOVSHUFHQWIRUFRQVXPHUFRPSODLQWVVDOHVDQGDGYHUWLVLQJSURGXFHUV
ZKRZHUHQRWDSSRLQWHGDQGRUOLFHQVHGDQGWKHXVHRIIRUPVDQGUDWHVUXOHVWKDWZHUHQHLWKHUILOHGZLWKQRUDSSURYHGE\WKH
'HSDUWPHQWSHUFHQWIRUFODLPVDQGSHUFHQWIRUDOORWKHUDUHDVUHYLHZHG:KHQHUURUVDUHGHWHFWHGLQDVDPSOHEXWWKH
HUURUUDWHLVEHORZWKHDSSOLFDEOHWKUHVKROGIRUFLWLQJDQDSSDUHQWYLRODWLRQWKH'HSDUWPHQWLVVXHVDUHPLQGHUWRWKHFRPSDQ\



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   7KLVPDUNHWFRQGXFWH[DPLQDWLRQUHYHDOHGFRQFHUQVZLWK&RPSDQ\SURFHGXUHVDQGSUDFWLFHVLQWKHIROORZLQJDUHD

   7HUPLQDWLRQVIDLOXUHWRLVVXHWHUPLQDWLRQQRWLFHVIRUSULYDWHSDVVHQJHUDXWRPRELOH

  6SHFLILFYLRODWLRQVUHODWHGWRHDFKDUHDRIFRQFHUQDUHQRWHGLQWKHDSSURSULDWHVHFWLRQRIWKLVUHSRUW$OO1RUWK&DUROLQD
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    $OOXQDFFHSWDEOHRUQRQFRPSOLDQWSUDFWLFHVPD\QRWKDYHEHHQGLVFRYHUHGRUQRWHGLQWKLVUHSRUW)DLOXUHWRLGHQWLI\RU
FULWLFL]HLPSURSHURUQRQFRPSOLDQWEXVLQHVVSUDFWLFHVLQ1RUWK&DUROLQDRULQRWKHUMXULVGLFWLRQVGRHVQRWFRQVWLWXWHDFFHSWDQFH
RI VXFK SUDFWLFHV ([DPLQDWLRQ UHSRUW ILQGLQJV WKDW GR QRW UHIHUHQFH VSHFLILF LQVXUDQFH ODZV UHJXODWLRQV RU EXOOHWLQV DUH
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H[KLELWHGSROLFLHVDQGSURFHGXUHVLQSODFHVRWKDWQRQSXEOLFSHUVRQDOILQDQFLDORUKHDOWKLQIRUPDWLRQLVQRWGLVFORVHGXQOHVVWKH
FXVWRPHURUFRQVXPHUKDVDXWKRUL]HGWKHGLVFORVXUH7KH&RPSDQ\ZDVIRXQGWREHFRPSOLDQWZLWKWKHSURYLVLRQVRI1&*6
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EXVLQHVV 7KH &RPSDQ\ V SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH UHYLHZHG IRU DGKHUHQFH WR XQGHUZULWLQJ JXLGHOLQHV
ILOHGRFXPHQWDWLRQDQGSUHPLXPGHWHUPLQDWLRQ$GGLWLRQDOO\WKHSROLFLHVZHUHH[DPLQHGWRGHWHUPLQHFRPSOLDQFHZLWKWKH
DSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


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   7KH&RPSDQ\SURYLGHGDOLVWLQJRIDFWLYHSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVLVVXHGGXULQJWKHSHULRGXQGHU
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    7KH&RPSDQ\ VSULYDWHSDVVHQJHUDXWRPRELOHFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUH
ZULWWHQRQDPRQWKEDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1R
GLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQ\ VXVHRILWVXQGHUZULWLQJJXLGHOLQHV$OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQ
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          Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 277 of 598
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ZLWK WKH DSSURSULDWH 1RUWK &DUROLQD VWDWXWHV DQG UXOHV SROLF\ SURYLVLRQV DQG WKH DSSOLFDEOH SROLF\ PDQXDO UXOHV 6SHFLDO
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FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUWKHFRYHUDJHZDVUHZULWWHQ&DQFHOODWLRQQRWLFHVIRUWKHUHPDLQLQJSROLFLHVVWDWHG
WKHVSHFLILFUHDVRQIRUFDQFHOODWLRQ$OOLQVXUHGVDQGORVVSD\HHVZHUHJLYHQSURSHUDQGWLPHO\QRWLILFDWLRQRIFDQFHOODWLRQ

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    )LIW\QRQUHQHZHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQ
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DVILOHUHYLHZHG SHUFHQWHUURUUDWLR SURYLGHGQRHYLGHQFHDQ)6ZDVVXEPLWWHGWRWKH'09ZKHQOLDELOLW\FRYHUDJH V
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UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
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    2QHKXQGUHGWRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 281 of 598
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             Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 282 of 598
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 283 of 598
    TAB 42
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DFFRUGLQJWRLWVLQVXUDQFHODZVDQGUHJXODWLRQV:KHQDSSOLFDEOHFRUUHFWLYHDFWLRQIRURWKHUMXULVGLFWLRQVVKRXOGEHDGGUHVVHG

       $OOXQDFFHSWDEOHRUQRQFRPSOLDQWSUDFWLFHVPD\QRWKDYHEHHQGLVFRYHUHGRUQRWHGLQWKLVUHSRUW)DLOXUHWRLGHQWLI\
LPSURSHURUQRQFRPSOLDQWEXVLQHVVSUDFWLFHVLQ1RUWK&DUROLQDRULQRWKHUMXULVGLFWLRQVGRHVQRWFRQVWLWXWHDFFHSWDQFHRIVXFK
SUDFWLFHV([DPLQDWLRQUHSRUWILQGLQJVWKDWGRQRWUHIHUHQFHVSHFLILFLQVXUDQFHODZVUHJXODWLRQVRUEXOOHWLQVDUHSUHVHQWHGWR
LPSURYHWKH&RPSDQ\ VSUDFWLFHVDQGHQVXUHFRQVXPHUSURWHFWLRQ


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   7KH&RPSDQ\ZDVLQFRUSRUDWHGLQ1RUWK&DUROLQDRQ$XJXVWDV*HQHUDO(OHFWULF5HVLGHQWLDO0RUWJDJH&RUSRUDWLRQ
DQGFRPPHQFHGEXVLQHVVRQ$XJXVW7KH&RPSDQ\ VQDPHZDVFKDQJHGWR3HDN3URSHUW\DQG&DVXDOW\,QVXUDQFH
&RUSRUDWLRQ 3HDN  RQ -XO\   2Q 1RYHPEHU   WKH &RPSDQ\ ZDV DFTXLUHG IURP *( &DSLWDO 0RUWJDJH
&RUSRUDWLRQE\*XDUDQW\1DWLRQDO,QVXUDQFH&RPSDQ\ *1,& DQGZDVUHGRPLFLOHGLQWKHVWDWHRI&RORUDGR2Q1RYHPEHU
5R\DO 6XQ$OOLDQFH,QVXUDQFH*URXS 56$ SXUFKDVHG2ULRQ$XWR,QFDQGDOORILWVVXEVLGLDULHVLQFOXGLQJ*1,&
DQGLWVVXEVLGLDULHV,Q0DUFK56$WUDQVIHUUHGWKHGLUHFWRZQHUVKLSRI3HDNIURP*1,&WR9LNLQJ,QVXUDQFH&RPSDQ\
RI:LVFRQVLQ 9LNLQJ 

   2Q 1RYHPEHU   6HQWU\ ,QVXUDQFH D 0XWXDO &RPSDQ\ 6HQWU\  DFTXLUHG  LQGLUHFW RZQHUVKLS RI 3HDN LQ
FRQQHFWLRQZLWKDQDFTXLVLWLRQRI9LNLQJIURP5R\DO 6XQ$OOLDQFH86$,QF2Q'HFHPEHU3HDNUHGRPHVWLFDWHG
IURPWKHVWDWHRI&RORUDGRWRWKHVWDWHRI:LVFRQVLQ


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   8QGHU DQ DGPLQLVWUDWLYH VHUYLFHV DJUHHPHQW 6HQWU\ IXUQLVKHV WKH &RPSDQ\ XQGHUZULWLQJ SROLF\ LVVXDQFH ILQDQFLDO
UHSRUWLQJ WD[ FRPSOLDQFH FXVWRPHU VHUYLFH DJHQW VXSSRUW PDUNHWLQJ OHJDO FODLPV DFWXDULDO DQG RWKHU VHUYLFHV 7KH
&RPSDQ\ VKRPHRIILFHLVORFDWHGDW1RUWK3RLQW'ULYH6WHYHQV3RLQW:LVFRQVLQ


&RPSDQ\2SHUDWLRQVDQG0DQDJHPHQW

    7KH&RPSDQ\ZULWHVSULYDWHSDVVHQJHUDXWRPRELOHLQVXUDQFH,WLVOLFHQVHGLQVWDWHVDQGWKH'LVWULFWRI&ROXPELDDQG
GLVWULEXWHVLWVSURGXFWVWKURXJKDQLQGHSHQGHQWDJHQF\IRUFHXVLQJVWDQGDUGFRQWUDFWIRUPVDQGFRPPLVVLRQVFKHGXOHV

   'LUHFWZULWWHQSUHPLXPIRUWKH&RPSDQ\ VFRXQWU\ZLGHSURSHUW\DQGFDVXDOW\RSHUDWLRQVZDV1RUWK
&DUROLQD V SURGXFWLRQ IRU WKH VDPH SHULRG ZDV  3UHPLXPV ZULWWHQ LQ 1RUWK &DUROLQD EHWZHHQ  DQG 
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   7KHSXUSRVHRIEXVLQHVVFRQWLQXLW\GLVDVWHUUHFRYHU\LVWRHQDEOHWKHEXVLQHVVWRFRQWLQXHSURYLGLQJFULWLFDOVHUYLFHVWRWKHLU
FXVWRPHUVLQWKHHYHQWRIDGLVDVWHUDQGWRUHFRYHUIURPDQ\LQWHUUXSWLRQWRWKHLULQIRUPDWLRQV\VWHPV


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    7KHRYHUDOOGLVDVWHUUHFRYHU\JRDODW6HQWU\LVWRPLQLPL]HV\VWHPGRZQWLPHDQGORVVRIGDWDE\PDLQWDLQLQJDGLVDVWHU
UHFRYHU\VLWHDQGSULQWWRPDLOUHFRYHU\VLWH7KHVHVLWHVFDQEHIXOO\FRQILJXUHGDQGUHDG\WRRSHUDWHLQDPLQLPDODPRXQW
RIWLPH7KH\SURYLGHUHGXQGDQF\IRUDOOKDUGZDUHSODWIRUPVGDWDVWRUDJHQHWZRUNWHOHFRPPXQLFDWLRQVLQIUDVWUXFWXUHDQG
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   ,QDGGLWLRQWRUHFRYHU\RIFULWLFDOWHFKQLFDORSHUDWLRQVDEXVLQHVVFRQWLQXLW\VWUDWHJ\LVLQSODFHWKDWLQFOXGHVGHYHORSPHQW
DQGPDLQWHQDQFHRIEXVLQHVVDQGWHFKQLFDOSODQVWRHQVXUHWKHFRQWLQXDQFHRIFULWLFDOEXVLQHVVIXQFWLRQVDWWKHWLPHRIGLVDVWHU


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   7KH&RPSDQ\KDVHVWDEOLVKHGSURFHGXUHVWRDGGUHVVQRQIOHHWSULYDWHSDVVHQJHUDXWRPRELOHLQVXUDQFHUDWHHYDVLRQIUDXGE\
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VWDWXWHVDQGUXOHV

  7KH &RPSDQ\ V FRPSODLQW UHJLVWHU ZDV UHFRQFLOHG ZLWK D OLVWLQJ SURYLGHG E\ WKH &RQVXPHU 6HUYLFHV 'LYLVLRQ RI WKH
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   )LIW\RIWKHFRPSODLQWVIURPWKH'HSDUWPHQW VOLVWLQJZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ7KHGLVWULEXWLRQRIFRPSODLQWV
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EHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVWZRRIWKHFRPSODLQWVUHYLHZHG SHUFHQWHUURUUDWLR ZHUHUHVSRQGHG
WRLQH[FHVVRIWKHVHYHQFDOHQGDUGD\UHTXLUHPHQWRIWKLVUXOH

   7KH DYHUDJH VHUYLFH WLPH WR UHVSRQG WR D 'HSDUWPHQWDO FRPSODLQW ZDV VHYHQ FDOHQGDU GD\V $ FKDUW RI WKH &RPSDQ\ V
UHVSRQVHWLPHIROORZV


           6HUYLFH'D\V                      1XPEHURI)LOHV                            3HUFHQWDJHRI7RWDO


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       7KH &RPSDQ\ SURYLGHG SULYDF\ RI ILQDQFLDO DQG KHDOWK LQIRUPDWLRQ GRFXPHQWDWLRQ IRU WKH H[DPLQHUV  UHYLHZ 7KH
&RPSDQ\H[KLELWHGSROLFLHVDQGSURFHGXUHVLQSODFHVRWKDWQRQSXEOLFSHUVRQDOILQDQFLDORUKHDOWKLQIRUPDWLRQLVQRWGLVFORVHG
XQOHVVWKHFXVWRPHURUFRQVXPHUKDVDXWKRUL]HGWKHGLVFORVXUH7KH&RPSDQ\ZDVIRXQGWREHFRPSOLDQWZLWKWKHSURYLVLRQV
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DQGUXOHV)LOLQJVIRUWKHSULYDWHSDVVHQJHUDXWRPRELOHOLQHRIEXVLQHVVZHUHPDGHE\WKH,QVXUDQFH6HUYLFHV2IILFH ,62 RQ
WKH&RPSDQ\ VEHKDOI'HYLDWLRQVIRUWKLVOLQHRIEXVLQHVVZHUHPDGHWRWKH'HSDUWPHQWE\WKH&RPSDQ\


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SDUHQW&RPSDQ\6HQWU\XWLOL]HV)DFHERRN:RUG3UHVV%ORJ7ZLWWHU/LQNHGOQDQG*RRJOH3OXVWRSURPRWHWKHFRUSRUDWHQDPH
DQG EUDQGV 7KH &RPSDQ\ GRHV QRW VSHFLILFDOO\ DGYHUWLVH SURGXFWV YLD VRFLDO PHGLD ,Q DGGLWLRQ WKH &RPSDQ\ V SURGXFHU
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    7KH&RPSDQ\ VSURFHGXUHVIRUDSSRLQWPHQWDQGWHUPLQDWLRQRILWVSURGXFHUVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWK
WKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHV)LIW\DSSRLQWHGDQGWHUPLQDWHGSURGXFHUILOHVZHUHUDQGRPO\VHOHFWHGIRU
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SURGXFHUV )RUPDO DJHQF\ UHYLHZV DUH QRW FRQGXFWHG DQQXDOO\ E\ WKH $JHQF\ 6DOHV 0DQDJHUV EXW DJHQF\ SHUIRUPDQFH LV
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        7KH &RPSDQ\ V PDUNHWLQJ SKLORVRSK\ LQ 1RUWK &DUROLQD LV GLUHFWHG WR WKH SULYDWH SDVVHQJHU DXWRPRELOH OLQH RI
EXVLQHVV 7KH &RPSDQ\ V SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH UHYLHZHG IRU DGKHUHQFH WR XQGHUZULWLQJ JXLGHOLQHV
ILOHGRFXPHQWDWLRQDQGSUHPLXPGHWHUPLQDWLRQ$GGLWLRQDOO\WKHSROLFLHVZHUHH[DPLQHGWRGHWHUPLQHFRPSOLDQFHZLWKWKH
DSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


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ZULWWHQXWLOL]LQJPDQXDOUDWHV3K\VLFDOGDPDJHFRYHUDJHVZHUHZULWWHQXVLQJERWKPDQXDOUDWHVDQGRQDFRQVHQWWRUDWHEDVLV
5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHVZHUHQRWHG
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    7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DQG D  J DVWKH&RPSDQ\ZDVQRWDEOH
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   7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 D  O DQG I DVWKHSUHPLXPVRQILYH
SROLF\ILOHVUHYLHZHGZHUHFDOFXODWHGLQFRUUHFWO\ SHUFHQWHUURUUDWLR 7KHUDWLQJHUURUVFRQVLVWHGRIWKHIROORZLQJ

   ,QH[SHULHQFHG2SHUDWRU6XUFKDUJHZDVQRWFRUUHFWO\DSSOLHGRQWKUHHSROLFLHV

   /LDELOLW\SUHPLXPVZHUHFDOFXODWHGLQFRUUHFWO\RQWZRSROLFLHV

    7KHUDWLQJHUURUVUHVXOWHGLQIRXUSUHPLXPXQGHUFKDUJHVDQGRQHSUHPLXPRYHUFKDUJHWRWKHLQVXUHGV$UHIXQGLQWKHDPRXQW
RIZDVLVVXHGE\WKH&RPSDQ\IRUWKHRYHUFKDUJH7KHUHPDLQLQJSUHPLXPVFKDUJHGZHUHGHHPHGFRUUHFW


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    7KH&RPSDQ\ VWHUPLQDWLRQSURFHGXUHVIRULWVSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
ZLWK WKH DSSURSULDWH 1RUWK &DUROLQD VWDWXWHV DQG UXOHV SROLF\ SURYLVLRQV DQG WKH DSSOLFDEOH SROLF\ PDQXDO UXOHV 6SHFLDO
DWWHQWLRQZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFHSROLF\UHIXQG
 ZKHUHDSSOLFDEOH DQGGRFXPHQWDWLRQRIWKHSROLF\ILOH$WRWDORISROLFLHVZHUHWHUPLQDWHGGXULQJWKHSHULRGXQGHU
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3ULYDWH3DVVHQJHU$XWRPRELOH&DQFHOODWLRQV

   2QH KXQGUHG FDQFHOOHG SULYDWH SDVVHQJHU DXWRPRELOH SROLFLHV ZHUH UDQGRPO\ VHOHFWHG IRU UHYLHZ IURP D SRSXODWLRQ RI
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   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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   $OOSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHGUHIXQGVLQDWLPHO\PDQQHU

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UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
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   &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH6HQLRU'LUHFWRU&ODLPVORFDWHGLQ6WHYHQV3RLQW:LVFRQVLQ
&ODLPVVHUYLFHVDUHSURYLGHGE\&RPSDQ\DGMXVWHUVORFDWHGLQWKH*ROGVERUR1RUWK&DUROLQDEUDQFKRIILFH

  &RPSDQ\DQGLQGHSHQGHQWDGMXVWHUVSURYLGHWKHFODLPVVHUYLFH,QGHSHQGHQWDGMXVWHUVKDYHQRFKHFNRUGUDIWDXWKRULW\7KH
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GRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW

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    )LUVWSDUW\FODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUWZRFODLPV SHUFHQWHUURUUDWLR )LUVWSDUW\FODLPVZHUH
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FRXOGUHVXOWLQDYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHG
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          Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 294 of 598
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LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

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        Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 296 of 598
    TAB 43
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LVGLUHFWHGWRWDNHLPPHGLDWHFRUUHFWLYHDFWLRQWRGHPRQVWUDWHLWVDELOLW\DQGLQWHQWLRQWRFRQGXFWEXVLQHVVLQ1RUWK&DUROLQD
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   $LUEDJGLVFRXQWQRWDSSOLHGWRPHGSD\FRYHUDJHRQSROLF\

   ,QFRUUHFWSK\VLFDOGDPDJHEDVHUDWHVIRUSROLFLHV

   ,QFRUUHFW6DIH'ULYHU,QFHQWLYH3ODQSRLQWVDSSOLHGRQSROLFLHV

   ,QFRUUHFWWHUULWRU\ZDVXVHGWRUDWHSROLF\

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   $VDUHVXOWRIWKHLQFRUUHFWSK\VLFDOGDPDJHEDVHUDWHVWKHH[DPLQHUVUHTXHVWHGWKH&RPSDQ\FRQGXFWDVHOIDXGLW7KH
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SHUFHQWHUURUUDWLR FRQWDLQHGDWRWDORIUDWLQJHUURUV7KHUDWLQJHUURUVFRQVLVWHGRIWKHIROORZLQJ

   7KH&RPSDQ\IDLOHGWRFKDUJHIRU5HIULJHUDWHG3URSHUW\FRYHUDJHRQSROLFLHV

   9DULRXVFRPSDQ\ILOHGGHYLDWLRQVZHUHDSSOLHGLQFRUUHFWO\RQSROLFLHV

   )RXUSROLFLHVZHUHUDWHGXVLQJDQLQFRUUHFWFRQVWUXFWLRQIDFWRU

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7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHGWKHUHIXQGVLQDWLPHO\PDQQHU

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3ULYDWH3DVVHQJHU$XWRPRELOH1RQUHQHZDOV

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   7KH ILQDO DUHD RI WKLV UHYLHZ HQFRPSDVVHG GRFXPHQWDWLRQ RI WKH SROLF\ ILOH 7KH SROLF\ ILOH FRQWDLQHG VXIILFLHQW
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    &ODLPVVHUYLFHLQ1RUWK&DUROLQDLVXQGHUWKHGLUHFWLRQRIWKH&ODLP0DQDJHUDQGLVSURYLGHGIURPWKHFRUSRUDWHRIILFH
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VHWWOHPHQW,QGHSHQGHQWDSSUDLVHUVDUHXVHGIRUDXWRPRELOHDQGKRPHRZQHUVDSSUDLVDOV,QGHSHQGHQWDGMXVWHUVKDYHQRFKHFN
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      7KUHHKXQGUHGVL[W\WKUHHFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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   7KHH[DPLQHUVUDQGRPO\VHOHFWHGDQGUHFHLYHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHILUVWSDUW\SURSHUW\
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WLPHOLQHVVRISD\PHQWVXSSRUWLQJGRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW

   7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


           7\SHRI&ODLP                                                                      3D\PHQW7LPH
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           $XWRPRELOHSK\VLFDOGDPDJH                                                         



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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQ\ZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VSD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV

    )LUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHFODLPVZHUHQRWDFNQRZOHGJHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURU
UDWLR DQGZHUHQRWDSSUDLVHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 

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QRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR DQGZHUHQRWSDLGLQDWLPHO\PDQQHUIRUFODLP 
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    7KLUGSDUW\SURSHUW\GDPDJHFODLPVZHUHQRWDFNQRZOHGJHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR ZHUH
QRWDSSUDLVHGLQDWLPHO\PDQQHUIRUFODLPV SHUFHQWHUURUUDWLR DQGZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLP
 SHUFHQWHUURUUDWLR 7KHVHPDWWHUVFRXOGUHVXOWLQDQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKH
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    )LIW\DXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIDXWRPRELOH
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)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

   )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI
7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQ\KDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV

   &ODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRUFODLPV SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQW
YLRODWLRQRIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVV
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&ORVHG:LWKRXW3D\PHQW&ODLPV

      )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KH
FODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

   &ODLPVZHUHQRWGHQLHGLQDWLPHO\PDQQHUIRUFODLP SHUFHQWHUURUUDWLR 7KLVPDWWHUFRXOGUHVXOWLQDQDSSDUHQW
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    7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQ\ VUHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG&ODLPVZHUHGHQLHGRQDQDYHUDJH
RIFDOHQGDUGD\VIRUWKH\HDUSHULRG


6XEURJDWHG&ODLPV

   $OOVXEURJDWHGFODLPVZHUHVHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHGWR
GHWHUPLQHLIWKHLQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQ\ZKHQVXEURJDWLRQZDVVXFFHVVIXO

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7KHUHPDLQLQJUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\IURPWKHGDWH
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7RWDO/RVV6HWWOHPHQW&ODLPV

   )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGDQGUHFHLYHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHV
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DFWXDOFDVKYDOXHRIWRWDOHGYHKLFOHV$OOVHWWOHPHQWVZHUHGHHPHGHTXLWDEOH

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ILOHGZLWKDQGDSSURYHGE\WKH'HSDUWPHQW

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DJHQWFRPSHQVDWLRQLQWKHFDOFXODWLRQRIWKHUHFRXSPHQWVXUFKDUJHIRUSHUFHQWRIWKHDFWLYHSULYDWHSDVVHQJHUDXWRPRELOH
SROLFLHVUHVXOWLQJLQDQXQGHUFKDUJHRIWKHUHFRXSPHQWVXUFKDUJH

   F7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVWKHSURGXFHUZDVQRW
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FKDUJHGIRUWRZLQJDQGODERUDQGRUH[WHQGHGWUDQVSRUWDWLRQFRYHUDJHZLWKRXWDSSOLFDWLRQRIFRQVHQWWRUDWHZDVQRWLQGLFDWHG
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   I7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6 , DQG1&*6 D DV
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    J7KH&RPSDQ\ZDVGHHPHGWREHLQDSSDUHQWYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVSHUFHQWRI
WKHKRPHRZQHUVDSSOLFDWLRQVUHYLHZHGZHUHDFFHSWHGIURPDSURGXFHUZKRZDVQRWOLFHQVHGLQ1RUWK&DUROLQD

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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 312 of 598
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 313 of 598
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    TAB 44
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VWDQGDUGVHVWDEOLVKHGE\WKH'HSDUWPHQWDQGSURFHGXUHVHVWDEOLVKHGE\WKH1DWLRQDO$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV
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   7KLVPDUNHWFRQGXFWH[DPLQDWLRQUHYHDOHGFRQFHUQVZLWK&RPSDQ\SURFHGXUHVDQGSUDFWLFHVLQWKHIROORZLQJDUHDV

   3ROLF\)RUPVDQG)LOLQJV8QILOHGKRPHRZQHUVFRQVHQWWRUDWHIRUPXQILOHGKRPHRZQHUVDGYHUVHXQGHUZULWLQJGHFLVLRQ
 $8' QRWLFHXQILOHGKRPHRZQHUVLQVWDOOPHQWZDLYHUGHYLDWLRQIRUHOHFWURQLFIXQGVWUDQVIHUDQGXQILOHGLQVWDOOPHQWZDLYHU
GHYLDWLRQIRUDFFRXQWELOOHGSROLFLHV

   7HUPLQDWLRQV3ULYDWH3DVVHQJHU$XWRPRELOH&DQFHOODWLRQV0LVVLQJ1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQIRUP )6
VHQWWRWKH'LYLVLRQRI0RWRU9HKLFOHV '09 +RPHRZQHUV&DQFHOODWLRQV0LVVLQJGRFXPHQWDWLRQWRVXSSRUWFDQFHOODWLRQ
&RPPHUFLDO$XWRPRELOH&DQFHOODWLRQV0LVVLQJ)6VHQWWR'09%XVLQHVVRZQHUV&DQFHOODWLRQV0LVVLQJGRFXPHQWDWLRQWR
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$XWRPRELOH1RQUHQHZDOV0LVVLQJ)6VHQWWR'09

  6SHFLILFYLRODWLRQVUHODWHGWRHDFKDUHDRIFRQFHUQDUHQRWHGLQWKHDSSURSULDWHVHFWLRQRIWKLVUHSRUW$OO1RUWK&DUROLQD
*HQHUDO6WDWXWHVDQGUXOHVRIWKH1RUWK&DUROLQD$GPLQLVWUDWLYH&RGHFLWHGLQWKLVUHSRUWPD\EHYLHZHGRQWKH1RUWK&DUROLQD
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&RPSDQ\LVGLUHFWHGWRWDNHLPPHGLDWHFRUUHFWLYHDFWLRQWRGHPRQVWUDWHLWVDELOLW\DQGLQWHQWLRQWRFRQGXFWEXVLQHVVLQ1RUWK
&DUROLQDDFFRUGLQJWRLWVLQVXUDQFHODZVDQGUHJXODWLRQV:KHQDSSOLFDEOHFRUUHFWLYHDFWLRQIRURWKHUMXULVGLFWLRQVVKRXOGEH
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   $OO XQDFFHSWDEOH RU QRQFRPSOLDQW SUDFWLFHV PD\ QRW KDYH EHHQ GLVFRYHUHG RU QRWHG LQ WKLV UHSRUW )DLOXUH WR LGHQWLI\
LPSURSHURUQRQFRPSOLDQWEXVLQHVVSUDFWLFHVLQ1RUWK&DUROLQDRULQRWKHUMXULVGLFWLRQVGRHVQRWFRQVWLWXWHDFFHSWDQFHRIVXFK
SUDFWLFHV([DPLQDWLRQUHSRUWILQGLQJVWKDWGRQRWUHIHUHQFHVSHFLILFLQVXUDQFHODZVUHJXODWLRQVRUEXOOHWLQVDUHSUHVHQWHGWR
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   7KH&RPSDQ\LVDZULWHURIDZLGHYDULHW\RILQVXUDQFHFRYHUDJHVEXWWKHPDMRULW\RIEXVLQHVVZULWWHQLVSHUVRQDOOLQHV7KH
&RPSDQ\RSHQHGIRUQHZEXVLQHVVLQ1RUWK&DUROLQDLQDQGLVOLFHQVHGLQWKH'LVWULFWRI&ROXPELD869LUJLQ,VODQGV
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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 318 of 598
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             Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 319 of 598
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        7KH &RPSDQ\ V FRPSODLQW UHJLVWHU ZDV UHFRQFLOHG ZLWK D OLVWLQJ IXUQLVKHG E\ WKH &RQVXPHU 6HUYLFHV 'LYLVLRQ RI
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   )LIW\RIWKHFRPSODLQWVIURPWKH'HSDUWPHQW VOLVWLQJZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ7KHGLVWULEXWLRQRIFRPSODLQWV
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   7KH &RPSDQ\ V UHVSRQVH WR HDFK FRPSODLQW ZDV GHHPHG WR EH DSSURSULDWH WR WKH FLUFXPVWDQFHV 6L[ FRPSODLQWV ZHUH
UHVSRQGHGWRLQH[FHVVRIVHYHQFDOHQGDUGD\V+RZHYHUH[WHQVLRQVZHUHUHTXHVWHGDQGJUDQWHGIRUWKRVHFRPSODLQWV

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           Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 320 of 598
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   )LOLQJVIRUWKHSULYDWHSDVVHQJHUDXWRPRELOHDQGKRPHRZQHUVOLQHVRIEXVLQHVVZHUHPDGHE\WKH1RUWK&DUROLQD5DWH%XUHDX
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LQGHSHQGHQWO\ILOHGUDWHV

    7KH&RPSDQ\ZDVGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVWKHKRPHRZQHUVFRQVHQWWRUDWHIRUP
ZDVQRWILOHGZLWKDQGDSSURYHGE\WKH&RPPLVVLRQHU7KH&RPSDQ\ZDVGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6
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EDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQ\ VXQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU1RGLVFUHSDQFLHVZHUH
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   Ɣ7KHKRPHSXUFKDVHGLVFRXQWZDVQRWDSSOLHGRQWZRSROLFLHV

   Ɣ7KHSHUVRQDOVWDWXVGHYLDWLRQZDVLPSURSHUO\DSSOLHGRQRQHSROLF\

   Ɣ$QHQGRUVHPHQWSUHPLXPZDVQRWFKDUJHGRQRQHSROLF\

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    7KH&RPSDQ\ VFRPPHUFLDODXWRPRELOHFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUHZULWWHQ
RQ DQ DQQXDO EDVLV 5LVN SODFHPHQW ZDV GHWHUPLQHG E\ WKH &RPSDQ\ V XQGHUZULWLQJ JXLGHOLQHV DQG WKH XQGHUZULWHU 1R
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   $OOSROLF\ILOHVFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQ\ VFODVVLILFDWLRQRIWKHULVN$OOSROLF\SUHPLXPV
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   Ɣ7HUULWRULDOIDFWRUZDVLQFRUUHFWO\DSSOLHGWREXVLQHVVLQFRPHFRYHUDJHRQWKUHHSROLFLHV

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    7KH&RPSDQ\ZDVQRWUHTXLUHGWRLVVXHFDQFHOODWLRQQRWLFHVIRURIWKHFDQFHOODWLRQVUHYLHZHGDVWKHVHSROLFLHVZHUH
FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUWKHFRYHUDJHZDVUHZULWWHQ&DQFHOODWLRQQRWLFHVIRUWKHUHPDLQLQJSROLFLHVVWDWHG
WKHVSHFLILFUHDVRQIRUFDQFHOODWLRQ

    7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI5XOHRIWKH%XVLQHVVRZQHUV0DQXDODVVHYHQSROLFLHV SHUFHQWHUURU
UDWLR ZHUHFDQFHOOHGSURUDWDUDWKHUWKDQRIWKHSURUDWDXQHDUQHGSUHPLXPZKHQWKHSROLF\ZDVFDQFHOOHGDWWKHUHTXHVW
RIWKHLQVXUHG7KHUHPDLQLQJSUHPLXPUHIXQGFDOFXODWLRQVZHUHGHHPHGFRUUHFW7KH&RPSDQ\LVVXHGWKHUHIXQGVLQDWLPHO\
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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ1DWLRQZLGH0XWXDO:/
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   7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 E DVWKHQRWLFHRIFDQFHOODWLRQZDVQRWVHQWDWOHDVW
GD\VSULRUWRWKHWHUPLQDWLRQGDWHIRURQHFDQFHOOHGSROLF\UHYLHZHG SHUFHQWHUURUUDWLR 

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      7KHHQWLUHSRSXODWLRQRIWKLUW\WZRQRQUHQHZHGSULYDWHSDVVHQJHUDXWRPRELOHSROLFLHVZDVVHOHFWHGIRUUHYLHZ

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQ IRU
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           5HDVRQIRU1RQUHQHZDO                                   1XPEHURI3ROLFLHV                                 3HUFHQWDJH
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    7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQ\ZDVGHHPHGWREHLQYLRODWLRQ
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   7KH&RPSDQ\VHQWWKH)6WRWKH'09ZKHQOLDELOLW\FRYHUDJHVZHUHQRQUHQHZHG7KH&RPSDQ\ZDVGHHPHGWREHLQ
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    7KHQRQUHQHZDOQRWLFHVIRUWKHSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO7KH&RPSDQ\ZDVUHPLQGHG
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   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQV
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&RPPHUFLDO$XWRPRELOH1RQUHQHZDOV

   )LIW\QRQUHQHZHGFRPPHUFLDODXWRPRELOHSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KHUHDVRQIRUQRQUHQHZDOZDVGHHPHGYDOLGIRUDOOILOHVUHYLHZHG7KHUHYLHZUHYHDOHGWKHIROORZLQJUHDVRQIRUQRQUHQHZDO


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   )LIW\QRQUHQHZHGEXVLQHVVRZQHUVSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQ IRU
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           5HDVRQIRU1RQUHQHZDO                                   1XPEHURI3ROLFLHV                                 3HUFHQWDJH
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    7KH&RPSDQ\ VFODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQG
UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWVILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

   (LJKWKXQGUHGILIW\FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


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    7KHH[DPLQHUVUDQGRPO\VHOHFWHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHILUVWSDUW\SURSHUW\GDPDJH
DQGWKLUGSDUW\SURSHUW\GDPDJHFODLPVSDLGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ7KHFODLPILOHVZHUHUHYLHZHGIRUWLPHOLQHVV
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   7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


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      )LUVWSDUW\SURSHUW\GDPDJHFODLPVZHUHQRWLQYHVWLJDWHGLQDWLPHO\PDQQHUIRURQHFODLP SHUFHQWHUURUUDWLR DQG
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    2QHKXQGUHGDXWRPRELOHPHGLFDOSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLP
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EXVLQHVVSUDFWLFH7KHUHPDLQLQJUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQDQDYHUDJHRIRQHFDOHQGDU
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   2QHKXQGUHGWRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHV
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   D7KH&RPSDQ\ZDVGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVWKHKRPHRZQHUVFRQVHQWWRUDWH
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   E7KH&RPSDQ\ZDVGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVWKHKRPHRZQHUV$8'QRWLFHKDG
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   F7KH&RPSDQ\ZDVUHPLQGHGRIWKHSURYLVLRQVRI1&*6 I DVSHUFHQWRIWKHDFWLYHEXVLQHVVRZQHUVSROLFLHV
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   D 7KH &RPSDQ\ ZDV UHPLQGHG RI WKH SURYLVLRQV RI 1&*6  D  DQG 5XOH  RI WKH 1RUWK &DUROLQD 3HUVRQDO
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RI0RWRU9HKLFOHVIRUSHUFHQWRIWKHFDQFHOOHGSULYDWHSDVVHQJHUDXWRPRELOHILOHVUHYLHZHG

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$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

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    TAB 45
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'LVDVWHU5HFRYHU\3URFHGXUHV
32/,&<+2/'(575($70(17
&RQVXPHU&RPSODLQWV
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3ROLF\)RUPVDQG)LOLQJV
6DOHVDQG$GYHUWLVLQJ
6RFLDO0HGLD
3URGXFHU/LFHQVLQJ
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&RPPHUFLDO*HQHUDO/LDELOLW\
:RUNHUV &RPSHQVDWLRQ
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&/$,0635$&7,&(6
2YHUYLHZ
3DLG&ODLPV
$XWRPRELOH0HGLFDO3D\PHQW&ODLPV
)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV
&ORVHG:LWKRXW3D\PHQW&ODLPV
6XEURJDWHG&ODLPV
7RWDO/RVV6HWWOHPHQW&ODLPV
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6800$5<
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5DOHLJK1RUWK&DUROLQD
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+RQRUDEOH:D\QH*RRGZLQ
&RPPLVVLRQHURI,QVXUDQFH
'HSDUWPHQWRI,QVXUDQFH
6WDWHRI1RUWK&DUROLQD
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16DOLVEXU\6WUHHW
5DOHLJK1RUWK&DUROLQD
+RQRUDEOH&RPPLVVLRQHU
    3XUVXDQWWR\RXULQVWUXFWLRQVDQGLQDFFRUGDQFHZLWKWKHSURYLVLRQVRI1RUWK&DUROLQD*HQHUDO6WDWXWH 1&*6 
WKURXJKDJHQHUDOH[DPLQDWLRQKDVEHHQPDGHRIWKHPDUNHWFRQGXFWDFWLYLWLHVRI


                                    %XLOGHUV0XWXDO,QVXUDQFH&RPSDQ\ 1$,&

                                    %XLOGHUV3UHPLHU,QVXUDQFH&RPSDQ\ 1$,&

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 KHUHLQDIWHUJHQHUDOO\UHIHUUHGWRDVWKH&RPSDQLHVORFDWHGDWWKH1RUWK&DUROLQD'HSDUWPHQWRI,QVXUDQFH 'HSDUWPHQW RIILFH
 ORFDWHGDW6%R\ODQ$YHQXH5DOHLJK1RUWK&DUROLQD$UHSRUWWKHUHRQLVUHVSHFWIXOO\VXEPLWWHG

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   7KLV H[DPLQDWLRQ UHIOHFWV WKH 1RUWK &DUROLQD LQVXUDQFH DFWLYLWLHV RI %XLOGHUV 0XWXDO ,QVXUDQFH &RPSDQ\ DQG %XLOGHUV
3UHPLHU,QVXUDQFH&RPSDQ\7KHH[DPLQDWLRQLVLQJHQHUDODUHSRUWE\H[FHSWLRQ7KHUHIRUHPXFKRIWKHPDWHULDOUHYLHZHG
ZLOOQRWEHFRQWDLQHGLQWKLVZULWWHQUHSRUWDVUHIHUHQFHWRDQ\SUDFWLFHVSURFHGXUHVRUILOHVWKDWPDQLIHVWHGQRFRQFHUQVZHUH
RPLWWHG


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         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 335 of 598
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   7KLVH[DPLQDWLRQFRPPHQFHGRQ-XQHDQGFRYHUHGWKHSHULRGRI-DQXDU\WKURXJK'HFHPEHU
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UHSRUWUHIOHFWFRQGLWLRQVREVHUYHGGXULQJWKHSHULRGRIWKHH[DPLQDWLRQ

   7KH H[DPLQDWLRQ ZDV DUUDQJHG DQG FRQGXFWHG E\ WKH 'HSDUWPHQW ,W ZDV PDGH LQ DFFRUGDQFH ZLWK 0DUNHW 5HJXODWLRQ
VWDQGDUGVHVWDEOLVKHGE\WKH'HSDUWPHQWDQGSURFHGXUHVHVWDEOLVKHGE\WKH1DWLRQDO$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV
 1$,& DQGDFFRUGLQJO\LQFOXGHGWHVWVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPV
SUDFWLFHV

   ,WLVWKH'HSDUWPHQW VSUDFWLFHWRFLWHFRPSDQLHVLQYLRODWLRQRIDVWDWXWHRUUXOHZKHQWKHUHVXOWVRIDVDPSOHVKRZHUURUV
QRQFRPSOLDQFHDWRUDERYHWKHIROORZLQJOHYHOVSHUFHQWIRUFRQVXPHUFRPSODLQWVVDOHVDQGDGYHUWLVLQJSURGXFHUVZKRZHUH
QRWDSSRLQWHGDQGRUOLFHQVHGDQGWKHXVHRIIRUPVDQGUDWHVUXOHVWKDWZHUHQHLWKHUILOHGZLWKQRUDSSURYHGE\WKH'HSDUWPHQW
SHUFHQWIRUFODLPVDQGSHUFHQWIRUDOORWKHUDUHDVUHYLHZHG:KHQHUURUVDUHGHWHFWHGLQDVDPSOHEXWWKHHUURUUDWHLV
EHORZWKHDSSOLFDEOHWKUHVKROGIRUFLWLQJDYLRODWLRQWKH'HSDUWPHQWLVVXHVDUHPLQGHUWRWKHFRPSDQ\


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   7KLVPDUNHWFRQGXFWH[DPLQDWLRQUHYHDOHGFRQFHUQVZLWK&RPSDQ\SURFHGXUHVDQGSUDFWLFHVLQWKHIROORZLQJDUHDV

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   $SSRLQWPHQWDQG7HUPLQDWLRQRI3URGXFHUVIDLOXUHWRSHUIRUPEDFNJURXQGFKHFNVRQDSSRLQWHGSURGXFHUVQRWLILFDWLRQRI
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IURPSURGXFHUVZKRZHUHQRWDSSRLQWHGILOHVGLGQRWFRQWDLQDFRS\RIWKHVFKHGXOHUDWLQJZRUNVKHHWDQGLQFRUUHFWUDWHXVHG
WRFDOFXODWHWKHWHUURULVPSUHPLXP&RPPHUFLDO$XWRPRELOHDSSOLFDWLRQVDFFHSWHGIURPSURGXFHUVZKRZHUHQRWDSSRLQWHG
DQGUDWLQJHUURUV

      7HUPLQDWLRQV±&RPPHUFLDO*HQHUDO/LDELOLW\FDQFHOODWLRQVSURRIRIPDLOLQJZDVQRWSURYLGHG:RUNHUV &RPSHQVDWLRQ
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   &ODLPV±7RWDO/RVVLQFRPSOHWHILOHGRFXPHQWDWLRQ

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'HSDUWPHQWRI,QVXUDQFH:HEVLWHZZZQFGRLFRPE\FOLFNLQJ³,1685$1&(',9,6,216´WKHQ³/HJLVODWLYH6HUYLFHV´

   7KLV H[DPLQDWLRQ LGHQWLILHG YDULRXV QRQFRPSOLDQW SUDFWLFHV VRPH RI ZKLFK PD\ H[WHQG WR RWKHU MXULVGLFWLRQV 7KH
&RPSDQLHVDUHGLUHFWHGWRWDNHLPPHGLDWHFRUUHFWLYHDFWLRQWRGHPRQVWUDWHWKHLUDELOLW\DQGLQWHQWLRQWRFRQGXFWEXVLQHVVLQ
1RUWK&DUROLQDDFFRUGLQJWRLWVLQVXUDQFHODZVDQGUHJXODWLRQV:KHQDSSOLFDEOHFRUUHFWLYHDFWLRQIRURWKHUMXULVGLFWLRQVVKRXOG
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   $OO XQDFFHSWDEOH RU QRQFRPSOLDQW SUDFWLFHV PD\ QRW KDYH EHHQ GLVFRYHUHG RU QRWHG LQ WKLV UHSRUW )DLOXUH WR LGHQWLI\
LPSURSHURUQRQFRPSOLDQWEXVLQHVVSUDFWLFHVLQ1RUWK&DUROLQDRULQRWKHUMXULVGLFWLRQVGRHVQRWFRQVWLWXWHDFFHSWDQFHRIVXFK




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    7KH1RUWK&DUROLQD+RPH%XLOGHUV6HOI,QVXUHUV)XQG,QF 1&+%6,) ZDVILUVWIRUPHGDVDEXVLQHVVWUXVWLQWR
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FRQYHUWHGWRD1RUWK&DUROLQDQRQSURILWFRUSRUDWLRQRQ-DQXDU\7KH1&+%6,)PHUJHGLQWRDPXWXDOLQVXUDQFHFRPSDQ\
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'LVDVWHU5HFRYHU\3URFHGXUHV

    7KH&RPSDQLHVKDYHGHYHORSHGDEXVLQHVVUHFRYHU\SODQWRHQVXUHVZLIWUHFRYHU\RILWVEXVLQHVVLQWKHHYHQWRIDGLVDVWHUE\
XWLOL]LQJZLGHO\DYDLODEOHFRPPHUFLDOSURGXFWVZKLFKWKH\ZRXOGEHDEOHWRSXUFKDVHIURPDQ\VRXUFHDQGUHVWRUHIURPEDFNXS
WDSHVWRJHWWKHLUV\VWHPVEDFNRQOLQH7KH&RPSDQLHVDUHDOVRGHYHORSLQJDGGLWLRQDOSODQVWRH[SDQGWKHLUFXUUHQWGLVDVWHU
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   $OOPHGLDWKDWFRQWDLQVSROLF\LQIRUPDWLRQLPDJHVRUGDWDLVVWRUHGRQHQWHUSULVHFODVV6$6 6HULDO$WWDFKHG6WRUDJH KDUG
GULYHVZKLFKPD\EHVWRUHGRQLQGLYLGXDOVHUYHUVRU6$1 V$OOSDSHUUHFRUGVWKDWDUHUHFHLYHGLQWKHPDLORUWKURXJKYDULRXV
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DPRXQWRIWLPH7KHSURFHGXUHVIRUEDFNLQJXSWKHZLQGRZVVHUYHUVDUHDVIROORZHG

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VHUYHU2Q)ULGD\HYHQLQJDIXOOEDFNXSLVSHUIRUPHGIRUDOORIWKHVDPHILOHVDVWKHLQFUHPHQWDOEDFNXSMRE7KLVEDFNXSLV
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DUHWUDQVSRUWHGWRDVDIHW\GHSRVLWER[DQGNHSWIRURQHPRQWK7KHPRQWKHQGWDSHVDUHVWRUHGLQGHILQLWHO\RIIVLWHDWWKHVDPH
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EDFNXSVHUYHU$PRQWKHQGMRELVUXQRQWKHVWRIHYHU\PRQWK7KDWMREEDFNVXSDOOILOHVRQWKHLPDJHVGULYHWR/72
WDSHVZKLFKDUHVWRUHGLQWKH6HUYLFH'HVNLQGHILQLWHO\



                 7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV                                         

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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ%XLOGHUV0XWXDO:/
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&RQVXPHU&RPSODLQWV

    7KH&RPSDQLHV FRPSODLQWKDQGOLQJSURFHGXUHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKDSSOLFDEOH1RUWK&DUROLQD
VWDWXWHVDQGUXOHV

   7KH &RPSDQLHV  FRPSODLQW UHJLVWHU ZDV UHFRQFLOHG ZLWK D OLVWLQJ SURYLGHG E\ WKH &RQVXPHU 6HUYLFHV 'LYLVLRQ RI WKH
'HSDUWPHQW 7KH &RPSDQLHV  FRPSODLQW UHJLVWHU ZDV LQ FRPSOLDQFH ZLWK SURYLVLRQV RI 7LWOH  RI WKH 1RUWK &DUROLQD
$GPLQLVWUDWLYH&RGH 1&$& &KDSWHU6HFWLRQ$OOFRPSODLQWVIURPWKH'HSDUWPHQW VOLVWLQJRIZHUHVHOHFWHGIRU
UHYLHZ7KHGLVWULEXWLRQRIFRPSODLQWVUHTXLULQJDUHVSRQVHWRWKH'HSDUWPHQWLVVKRZQLQWKHFKDUWEHORZ


          7\SHRI&RPSODLQW                                                                                       7RWDO

          &ODLPV                                                                                                  

          8QGHUZULWLQJ                                                                                            

          $GPLQLVWUDWLYH                                                                                          

          7RWDO                                                                                                   


   7KH &RPSDQLHV  UHVSRQVH WR HDFK FRPSODLQW ZDV GHHPHG WR EH DSSURSULDWH WR WKH FLUFXPVWDQFHV 2QH FRPSODLQW ZDV
UHVSRQGHG WR LQ H[FHVV RI VHYHQ FDOHQGDU GD\V KRZHYHU DQ H[WHQVLRQ ZDV UHTXHVWHG DQG JUDQWHG IRU WKH FRPSODLQW 7KH
&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVIRXUUHVSRQVHVWR'HSDUWPHQWDOLQTXLULHV
 SHUFHQWHUURUUDWLR GLGQRWFRQWDLQWKH&RPSDQ\ V1$,&FRPSDQ\FRGH

   7KHDYHUDJHVHUYLFHWLPHWRUHVSRQGWRD'HSDUWPHQWDOFRPSODLQWZDVWKUHHFDOHQGDUGD\V$FKDUWRIWKH&RPSDQLHV UHVSRQVH
WLPHIROORZV


          6HUYLFH'D\V                       1XPEHURI)LOHV                             3HUFHQWDJHRI7RWDO

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          7RWDO                                                                        


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       3ROLF\IRUPVDQGILOLQJVIRUWKH&RPSDQLHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKDSSURSULDWH1RUWK&DUROLQD
VWDWXWHVDQGUXOHV7KHUHYLHZZDVEDVHGRQWKHIROORZLQJOLQHVRIEXVLQHVV

    &RPPHUFLDO*HQHUDO/LDELOLW\

    :RUNHUV &RPSHQVDWLRQ



                  7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV                                              

         Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 339 of 598
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    )LOLQJV IRU WKH ZRUNHUV  FRPSHQVDWLRQ OLQH RI EXVLQHVV ZHUH PDGH E\ WKH 1RUWK &DUROLQD 5DWH %XUHDX RQ EHKDOI RI WKH
&RPSDQLHV )LOLQJV IRU WKH FRPPHUFLDO DXWRPRELOH DQG FRPPHUFLDO JHQHUDO OLDELOLW\ OLQHV RI EXVLQHVV ZHUH PDGH E\ WKH
,QVXUDQFH6HUYLFHV2IILFHRQEHKDOIRIWKH&RPSDQLHV7KH&RPSDQLHVILOHGGHYLDWLRQVZLWKWKH'HSDUWPHQWIRUWKHVHOLQHV
RIEXVLQHVV


6DOHVDQG$GYHUWLVLQJ

   7KH &RPSDQLHV  VDOHV DQG DGYHUWLVLQJ SUDFWLFHV ZHUH UHYLHZHG WR GHWHUPLQH FRPSOLDQFH ZLWK WKH SURYLVLRQV RI 1&*6
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   7KH&RPSDQLHVXWLOL]H,QGHSHQGHQWSURGXFHUVDQGDVVXFKGRQRWUHYLHZWKHLUDJHQF\DGYHUWLVLQJPDWHULDOV7KH&RPSDQLHV
KDYHD&RRSSURJUDPZKHUHSURGXFHUVFDQUHFHLYHIXQGVWRVKDUHTXDOLI\LQJDGYHUWLVLQJH[SHQVHVZKLFKPXVWEHSUHDSSURYHG
7KHIRUPLVPDLQWDLQHGLQWKHPDUNHWLQJGHSDUWPHQWDQGVKDUHGZLWKDOOWHUULWRU\PDQDJHUV7KHUHDUHDOVRSUHDSSURYHGIO\HUV
DQGEURFKXUHVRQWKH&RPSDQLHV ZHEVLWHIRUSURGXFHUVWRGRZQORDGDQGXVHIRUSURVSHFWLQJQHZFOLHQWV

   7KHH[DPLQHUVUHYLHZHGDGYHUWLVHPHQWVEXOOHWLQVDQGEURFKXUHVWKDWDUHSURYLGHGIRUSURPRWLRQDOXVH7KH&RPSDQLHV
DOVRPDLQWDLQDQLQWHUQHWZHEVLWHZZZEXLOGHUVPXWXDOFRP7KHZHEVLWHSURYLGHVEDFNJURXQGLQIRUPDWLRQUHODWLYHWRWKHLU
RSHUDWLRQVDVZHOODVSURGXFWVDQGVHUYLFHVRIIHUHG

   1RXQIDLURUGHFHSWLYHWUDGHSUDFWLFHVZHUHQRWHGLQWKLVVHJPHQWRIWKHH[DPLQDWLRQ


6RFLDO0HGLD

   %0,&LVDFWLYHO\LQYROYHGRQ)DFHERRNDQG<RX7XEHDQGXVHVVRFLDOPHGLDWRSURPRWHORFDOFRPPXQLW\LQYROYHPHQW
VDIHW\UHVRXUFHVDQGIUHHYDOXHDGGHGUHVRXUFHVOLNH%XLOGHUV8QLYHUVLW\FODVVHV

    7KH&RPSDQLHV 6RFLDO0HGLD$FFHSWDEOH8VH3ROLF\LVGHVLJQHGWRRXWOLQHWKHJXLGHOLQHV%0,&ZLOOXVHWRGHWHUPLQHZKDW
DSSURSULDWHRQOLQHFRQGXFWLVDQGWRDYRLGWKHPLVXVHRIVRFLDOPHGLD7ZRHPSOR\HHVLQWKHPDUNHWLQJGHSDUWPHQWPRQLWRU
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3URGXFHU/LFHQVLQJ

    7KH&RPSDQLHV SURFHGXUHVIRUDSSRLQWPHQWDQGWHUPLQDWLRQRIWKHLUSURGXFHUVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFH
ZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHV)LIW\DSSRLQWHGDQGWHUPLQDWHGSURGXFHUILOHVZHUHUDQGRPO\VHOHFWHG
IRUUHYLHZIURPSRSXODWLRQVRIDQGUHVSHFWLYHO\

   $OODSSRLQWPHQWIRUPVUHYLHZHGZHUHVXEPLWWHGWRWKH'HSDUWPHQWLQDFFRUGDQFHZLWKWKHWLPHWDEOHVVWLSXODWHGXQGHUWKH
SURYLVLRQVRI1&*67KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$&$  DV
EDFNJURXQGFKHFNVZHUHQRWSHUIRUPHGRQVHYHQRIWKHDSSRLQWHGSURGXFHUVUHYLHZHG SHUFHQWHUURUUDWLR 

    7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6 G DVQRWLILFDWLRQRIWHUPLQDWLRQZDV
VHQWLQH[FHVVRIWKHGD\UHTXLUHPHQWIRURIWKHWHUPLQDWHGSURGXFHUVUHYLHZHG SHUFHQWHUURUUDWLR 7KH&RPSDQLHV
ZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$& D DQG D  J DVQLQHWHUPLQDWHGSURGXFHU
ILOHVUHYLHZHG SHUFHQWHUURUUDWLR GLGQRWFRQWDLQSURSHUILOHGRFXPHQWDWLRQ7KHPLVVLQJGRFXPHQWDWLRQFRQVLVWHGRI




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$JHQF\0DQDJHPHQW

   7KH PDUNHWLQJ HIIRUW LQ 1RUWK &DUROLQD LV XQGHU WKH GLUHFWLRQ RI WKH 'LUHFWRU RI 0DUNHWLQJ DQG WKH $93 RI %XVLQHVV
'HYHORSPHQW ORFDWHG DW WKH KRPH RIILFH LQ 5DOHLJK 1RUWK &DUROLQD 7KH &RPSDQLHV KDYH  DFWLYH DJHQFLHV ZLWK
DSSUR[LPDWHO\SURGXFHUVDSSRLQWHGLQ1RUWK&DUROLQDDVZHOODVWKUHHWHUULWRU\PDQDJHUVWKDWZRUNZLWKWKHSURGXFHUV
7KH$93RI%XVLQHVV'HYHORSPHQWDQGWKHWKUHHWHUULWRU\PDQDJHUVDUHUHVSRQVLEOHIRUWKHDFWLYLWLHVRIWKHDJHQF\IRUFHLQ
1RUWK&DUROLQD7KH$JHQF\5HODWLRQV'HSDUWPHQWSURFHVVHVDOODSSRLQWPHQWVWHUPLQDWLRQVDQGOLFHQVLQJLQIRUPDWLRQDQG
UHSRUWVWRWKH'LUHFWRURI0DUNHWLQJ


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2YHUYLHZ

   7KH &RPSDQLHV  PDUNHWLQJ SKLORVRSK\ LQ 1RUWK &DUROLQD LV GLUHFWHG WR FRPPHUFLDO OLQHV RI FRYHUDJH 7KH &RPSDQLHV
SURYLGHGWKHH[DPLQHUVZLWKOLVWLQJVRIWKHIROORZLQJW\SHVRIDFWLYHSROLFLHVIRUWKHSHULRGXQGHUH[DPLQDWLRQ

   &RPPHUFLDO*HQHUDO/LDELOLW\

   :RUNHUV &RPSHQVDWLRQ

   &RPPHUFLDO$XWRPRELOH

   $UDQGRPVHOHFWLRQRISROLFLHVZDVPDGHIURPDSRSXODWLRQRI(DFKSROLF\ZDVUHYLHZHGIRUDGKHUHQFHWR
XQGHUZULWLQJJXLGHOLQHVILOHGRFXPHQWDWLRQDQGSUHPLXPGHWHUPLQDWLRQ$GGLWLRQDOO\WKHSROLFLHVZHUHH[DPLQHGWRGHWHUPLQH
FRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV


&RPPHUFLDO*HQHUDO/LDELOLW\

   7KH &RPSDQLHV SURYLGHG D OLVWLQJ RI  DFWLYH FRPPHUFLDO JHQHUDO OLDELOLW\ SROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
H[DPLQDWLRQ)LIW\SROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ

   7KH &RPSDQLHV FRPPHUFLDOJHQHUDO OLDELOLW\FRYHUDJHV ZHUH ZULWWHQ XWLOL]LQJPDQXDO DQG GHYLDWHGUDWHV 3ROLFLHVZHUH
ZULWWHQRQDQDQQXDOEDVLV5LVNSODFHPHQWZDVGHWHUPLQHGE\WKH&RPSDQLHV XQGHUZULWLQJJXLGHOLQHVDQGWKHXQGHUZULWHU
1R GLVFUHSDQFLHV ZHUH QRWHG LQ WKH &RPSDQLHV  XVH RI WKHLU XQGHUZULWLQJ JXLGHOLQHV $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQLHV FODVVLILFDWLRQRIWKHULVN

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6 D DQG1&$& F DVWKHQHZ
EXVLQHVVDSSOLFDWLRQXVHGIRUWHQSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR ZDVQRWILOHGZLWKDQGDSSURYHGE\WKH'HSDUWPHQW

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUZDVQRW
SURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRURQHRIWKHDFWLYHILOHVUHYLHZHG SHUFHQWHUURUUDWLR 

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UDWLR ZHUHUDWHGZLWKWKHLQFRUUHFWORVVFRVWPXOWLSOLHU

   7KHUDWLQJHUURUVUHVXOWHGLQWKUHHSUHPLXPXQGHUFKDUJHVWRWKHLQVXUHGV7KHUHPDLQLQJSUHPLXPVFKDUJHGZHUHGHHPHG
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:RUNHUV &RPSHQVDWLRQ

   7KH &RPSDQLHV SURYLGHG D OLVWLQJ RI  DFWLYH ZRUNHUV  FRPSHQVDWLRQ SROLFLHV LVVXHG GXULQJ WKH SHULRG XQGHU
H[DPLQDWLRQ2QHKXQGUHGSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ

    7KH&RPSDQLHV ZRUNHUV FRPSHQVDWLRQFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUHZULWWHQ
RQ DQ DQQXDO EDVLV 5LVN SODFHPHQW ZDV GHWHUPLQHG E\ WKH &RPSDQLHV  XQGHUZULWLQJ JXLGHOLQHV DQG WKH XQGHUZULWHU 1R
GLVFUHSDQFLHV ZHUH QRWHG LQ WKH &RPSDQLHV  XVH RI WKHLU XQGHUZULWLQJ JXLGHOLQHV $OO SROLF\ ILOHV FRQWDLQHG VXIILFLHQW
GRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQLHV FODVVLILFDWLRQRIWKHULVN

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQG1&$& F DVWKHQHZ
EXVLQHVVDSSOLFDWLRQXVHGIRUSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR ZDVQRWILOHGZLWKDQGDSSURYHGE\WKH'HSDUWPHQW

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUVZHUH
QRWSURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRURIWKHDFWLYHILOHVUHYLHZHG SHUFHQWHUURUUDWLR 

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   7KH&RPSDQLHVZHUHGHHPHGWR EH LQ YLRODWLRQRI WKHSURYLVLRQVRI 1&*6  DV DQ LQFRUUHFWUDWHZDV XVHG WR
FDOFXODWHWKHWHUURULVPSUHPLXPRQSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 

   7KHHUURUVUHVXOWHGLQSUHPLXPXQGHUFKDUJHVWRWKHLQVXUHGV7KHUHPDLQLQJSUHPLXPVFKDUJHGZHUHGHHPHGFRUUHFW


&RPPHUFLDO$XWRPRELOH

    7KH&RPSDQLHVSURYLGHGDOLVWLQJRIDFWLYHFRPPHUFLDODXWRPRELOHSROLFLHVLVVXHGGXULQJWKHSHULRGXQGHUH[DPLQDWLRQ
)LIW\SROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZ

    7KH&RPSDQLHV FRPPHUFLDODXWRPRELOHFRYHUDJHVZHUHZULWWHQXWLOL]LQJPDQXDODQGGHYLDWHGUDWHV3ROLFLHVZHUHZULWWHQ
RQ DQ DQQXDO EDVLV 5LVN SODFHPHQW ZDV GHWHUPLQHG E\ WKH &RPSDQLHV  XQGHUZULWLQJ JXLGHOLQHV DQG WKH XQGHUZULWHU 1R
GLVFUHSDQFLHVZHUHQRWHGLQWKH&RPSDQLHV XVHRIWKHLUXQGHUZULWLQJJXLGHOLQHV

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUVZHUH
QRWSURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRUWZRRIWKHDFWLYHILOHVUHYLHZHG SHUFHQWHUURUUDWLR 

   7KH &RPSDQLHV ZHUH UHPLQGHG RI WKH SURYLVLRQV RI  1&$&  D  DQG  D  J  DV WKH\ ZHUH XQDEOH WR
SURYLGHWKHLQGLYLGXDOSURGXFHULQIRUPDWLRQIRURQHILOHUHYLHZHG SHUFHQWHUURUUDWLR 

   7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6 I DVVL[SROLFLHVUHYLHZHG SHUFHQW
HUURUUDWLR ZHUHUDWHGLQFRUUHFWO\7KHUDWLQJHUURUVFRQVLVWHGRIWKHIROORZLQJ



               7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV                                               

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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ%XLOGHUV0XWXDO:/
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      )RXUSROLFLHVZHUHUDWHGZLWKDQLQFRUUHFWWHUULWRU\

   )OHHWUDWHVZHUHDSSOLHGLQHUURUWRRQHSROLF\UHYLHZHG

   $QLQFRUUHFWWHUULWRU\ZDVXVHGWRUDWH'ULYH2WKHU&DU&RYHUDJHRQRQHSROLF\UHYLHZHG

    7KHUDWLQJHUURUVUHVXOWHGLQWZRSUHPLXPRYHUFKDUJHVDQGIRXUSUHPLXPXQGHUFKDUJHVWRWKHLQVXUHGV$WWKHUHTXHVWRI
WKHH[DPLQHUVUHIXQGVLQWKHDPRXQWRIZHUHLVVXHGE\WKH&RPSDQLHVIRUWKHRYHUFKDUJHV7KHUHPDLQLQJSUHPLXPV
FKDUJHGZHUHGHHPHGFRUUHFW


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   7KH&RPSDQLHV WHUPLQDWLRQSURFHGXUHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHV
DQGUXOHVSROLF\SURYLVLRQVDQGWKHDSSOLFDEOHSROLF\PDQXDOUXOHV7KHUHYLHZZDVEDVHGRQWKHIROORZLQJOLQHVRIEXVLQHVV

   &RPPHUFLDO*HQHUDO/LDELOLW\

   :RUNHUV &RPSHQVDWLRQ

   &RPPHUFLDO$XWRPRELOH

   6SHFLDODWWHQWLRQZDVSODFHGRQWKHYDOLGLW\DQGUHDVRQIRUWHUPLQDWLRQWLPHOLQHVVLQLVVXDQFHRIWKHWHUPLQDWLRQQRWLFH
SROLF\UHIXQG ZKHUHDSSOLFDEOH DQGGRFXPHQWDWLRQRIWKHSROLF\ILOH$WRWDORISROLFLHVZHUHWHUPLQDWHGGXULQJWKH
SHULRGXQGHUH[DPLQDWLRQ7KHH[DPLQHUVUDQGRPO\VHOHFWHGWHUPLQDWLRQVIRUUHYLHZ


&RPPHUFLDO*HQHUDO/LDELOLW\&DQFHOODWLRQV

   )LIW\FDQFHOOHGFRPPHUFLDOJHQHUDOOLDELOLW\SROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
FDQFHOODWLRQ


            5HDVRQIRU&DQFHOODWLRQ                                  1XPEHURI3ROLFLHV                                 3HUFHQWDJH
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            1RQSD\PHQWRISUHPLXP                                                                                     
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            Case 1:19-cv-00294-CCE-JLW Document 96 Filed 11/01/21 Page 343 of 598
5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ%XLOGHUV0XWXDO:/
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   7KH&RPSDQLHVZHUHQRWUHTXLUHGWRLVVXHFDQFHOODWLRQQRWLFHVIRURIWKHFDQFHOODWLRQVUHYLHZHGDVWKHVHSROLFLHVZHUH
FDQFHOOHGDWWKHUHTXHVWRIWKHLQVXUHGRUFRYHUDJHZDVUHZULWWHQ&DQFHOODWLRQQRWLFHVIRUWKHUHPDLQLQJSROLFLHVVWDWHGWKH
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    7KH &RPSDQLHV ZHUH UHPLQGHG RI WKH SURYLVLRQV RI 1&*6  I  DQG 5XOH  RI WKH &RPPHUFLDO /LQHV 0DQXDO
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RYHUVWDWHPHQWRIUHIXQGWRWKHLQVXUHG7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQLHVLVVXHGWKHUHIXQGV
LQDWLPHO\PDQQHU

    7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQ
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FRQWDLQSURRIRIPDLOLQJRIWKHFDQFHOODWLRQQRWLFH7KHUHPDLQLQJILOHVUHYLHZHGFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUW
WKHDFWLRQWDNHQE\WKH&RPSDQLHV


:RUNHUV &RPSHQVDWLRQ&DQFHOODWLRQV

      )LIW\FDQFHOOHGZRUNHUV FRPSHQVDWLRQSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU FDQFHOODWLRQ ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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            5HDVRQIRU&DQFHOODWLRQ                                  1XPEHURI3ROLFLHV                                 3HUFHQWDJH
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FDQFHOODWLRQZDVQRWVHQWDWOHDVWGD\VSULRUWRWKHWHUPLQDWLRQGDWHIRUWKUHHSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 

    7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6DQG5XOHRIWKH1DWLRQDO&RXQFLORQ&RPSHQVDWLRQ
,QVXUDQFH0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\IRURQHSROLF\UHYLHZHG SHUFHQWHUURUUDWLR 7KHHUURU
UHVXOWHGLQRYHUVWDWHPHQWRIUHIXQGWRWKHLQVXUHG7KHUHPDLQLQJSUHPLXPUHIXQGVZHUHGHHPHGFRUUHFW7KH&RPSDQLHVLVVXHG
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    7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQ
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            5HDVRQIRU&DQFHOODWLRQ                                  1XPEHURI3ROLFLHV                                 3HUFHQWDJH
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FDQFHOODWLRQQRWLFH&DQFHOODWLRQQRWLFHVIRUWKHUHPDLQLQJSROLFLHVVWDWHGWKHVSHFLILFUHDVRQIRUFDQFHOODWLRQ

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DVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\IRUWZRSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 7KHHUURUVUHVXOWHGLQ
RYHUVWDWHPHQW RI UHIXQG WR WKH LQVXUHGV 7KH UHPDLQLQJ SUHPLXPUHIXQGV ZHUH GHHPHG FRUUHFW 7KH &RPSDQLHV LVVXHG WKH
UHIXQGVLQDWLPHO\PDQQHU

       7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6DVWKH1RUWK&DUROLQD1RWLFHRI7HUPLQDWLRQIRUP
 )6 ZDVQRWVXEPLWWHGWRWKH'LYLVLRQRI0RWRU9HKLFOHV '09 ZKHQOLDELOLW\FRYHUDJHZDVFDQFHOOHGRQIRXUSROLFLHV
UHYLHZHG SHUFHQWHUURUUDWLR 7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 E DVWKH)6ZDV
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    7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQ
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FRQWDLQSURRIRIPDLOLQJRIWKHFDQFHOODWLRQQRWLFH7KHUHPDLQLQJILOHVUHYLHZHGFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUW
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&RPPHUFLDO*HQHUDO/LDELOLW\1RQUHQHZDOV

   )LIW\QRQUHQHZHGFRPPHUFLDOJHQHUDOOLDELOLW\SROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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            5HDVRQIRU1RQUHQHZDO                                    1XPEHURI3ROLFLHV                                 3HUFHQWDJH


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   )LIW\QRQUHQHZHGZRUNHUV FRPSHQVDWLRQSROLFLHVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI

   7KH UHDVRQ IRU QRQUHQHZDO ZDV GHHPHG YDOLG IRU DOO SROLFLHV UHYLHZHG 7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
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            5HDVRQIRU1RQUHQHZDO                                   1XPEHURI3ROLFLHV                                3HUFHQWDJH
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&RPPHUFLDO$XWRPRELOH1RQUHQHZDOV

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   7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 H DVWKHQRWLFHRIQRQUHQHZDOGLGQRWVWDWHWKHVSHFLILF
UHDVRQ IRU WHUPLQDWLRQ IRU WKUHH SROLFLHV UHYLHZHG  SHUFHQW HUURU UDWLR  7KH UHYLHZ UHYHDOHG WKH IROORZLQJ UHDVRQV IRU
QRQUHQHZDO


            5HDVRQIRU1RQUHQHZDO                                     1XPEHURI3ROLFLHV                                  3HUFHQWDJH
                                                                                                                    
            8QGHUZULWLQJUHDVRQV                                                                                        
                                                                                                                    
            1RUHDVRQVWDWHG                                                                                             
                                                                                                                    
            7RWDO                                                                                                       
                                                                                                                    

   7KHQRQUHQHZDOQRWLFHVIRUWKHUHPDLQLQJSROLFLHVUHYLHZHGVWDWHGWKHVSHFLILFUHDVRQIRUQRQUHQHZDO7KH&RPSDQLHV
ZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 E DVWKHQRWLFHRIQRQUHQHZDOZDVQRWVHQWDWOHDVWGD\VSULRUWRWKH
WHUPLQDWLRQGDWHIRUIRXUSROLFHVUHYLHZHG SHUFHQWHUURUUDWLR 

   7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6DVWKH)6ZDVQRWVXEPLWWHGWRWKH'09ZKHQOLDELOLW\
FRYHUDJHZDVQRQUHQHZHGIRUWZRSROLFLHVUHYLHZHG SHUFHQWHUURUUDWLR 

   7KHILQDODUHDRIWKLVUHYLHZHQFRPSDVVHGGRFXPHQWDWLRQRIWKHSROLF\ILOH7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQV
RI1&$& D DQG D  J DVIRXUILOHVUHYLHZHG SHUFHQWHUURUUDWLR GLGQRWFRQWDLQSURRI
RIPDLOLQJRIWKHQRQUHQHZDOQRWLFH7KHUHPDLQLQJILOHVUHYLHZHGFRQWDLQHGVXIILFLHQWGRFXPHQWDWLRQWRVXSSRUWWKHDFWLRQ
WDNHQE\WKH&RPSDQLHV


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2YHUYLHZ

    7KH&RPSDQLHV FODLPVSUDFWLFHVZHUHUHYLHZHGWRGHWHUPLQHFRPSOLDQFHZLWKWKHDSSURSULDWH1RUWK&DUROLQDVWDWXWHVDQG
UXOHVDQGSROLF\SURYLVLRQV7KHUHYLHZHQFRPSDVVHGSDLGDXWRPRELOHPHGLFDOSD\PHQWILUVWDQGWKLUGSDUW\ERGLO\LQMXU\
FORVHGZLWKRXWSD\PHQWVXEURJDWHGWRWDOORVVVHWWOHPHQWDQGOLWLJDWHGFODLPV

    &ODLPVDUHKDQGOHGE\D7KLUG3DUW\$GPLQLVWUDWRU$HJLV$GPLQLVWUDWLYH6HUYLFHV$HJLVHPSOR\HHVDUHORFDWHGLQWKH
&RPSDQLHV KRPHRIILFHLQ5DOHLJK1RUWK&DUROLQDDQGDUHXQGHUWKHGLUHFWLRQRIWKH&ODLP0DQDJHU7KHVWDIILVFRPSULVHG
RIWKH&ODLP0DQDJHUWZR6XSHUYLVRUVHLJKW$GMXVWHUVDQGWZR&OHULFDO3HUVRQQHO&RPSDQ\DGMXVWHUVSURYLGHWKHFODLP
VHUYLFHZLWKVRPHDVVLVWDQFHDWWLPHVIURPLQGHSHQGHQWDGMXVWHUV,QGHSHQGHQWDGMXVWHUVKDYHQRFKHFNRUGUDIWDXWKRULW\7KH
&RPSDQLHV DJHQF\IRUFHGRHVQRWDGMXVWDQ\FODLPVDQGGRHVQRWKDYHFODLPVGUDIWDXWKRULW\:LWKUHJDUGWRWRWDOORVVHVD
VDOYDJHORJLVPDLQWDLQHGDQGPDQDJHGE\WKHFODLPVXSHUYLVRU

      7KUHHKXQGUHGWKLUW\QLQHFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI


3DLG&ODLPV

    7KHH[DPLQHUVUDQGRPO\VHOHFWHGRIWKHILUVWSDUW\DXWRPRELOHSK\VLFDOGDPDJHDQGWKLUGSDUW\SURSHUW\GDPDJH
FODLPV SDLG GXULQJ WKH SHULRG XQGHU H[DPLQDWLRQ 7KH FODLP ILOHV ZHUH UHYLHZHG IRU WLPHOLQHVV RI SD\PHQW VXSSRUWLQJ
GRFXPHQWDWLRQDQGDFFXUDF\RISD\PHQW




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    7KHIROORZLQJW\SHVRIFODLPVZHUHUHYLHZHGDQGWKHDYHUDJHSD\PHQWWLPHLVQRWHGLQFDOHQGDUGD\V


            7\SHRI&ODLP                                                                   3D\PHQW7LPH
                                                                                       
            $XWRPRELOHSK\VLFDOGDPDJH                                                      
                                                                                       
            7KLUGSDUW\SURSHUW\GDPDJH                                                     
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   $OOSD\PHQWVLVVXHGE\WKH&RPSDQLHVZHUHGHHPHGWREHDFFXUDWH'HGXFWLEOHVZHUHFRUUHFWO\DSSOLHGDQGGHSUHFLDWLRQ
WDNHQZDVUHDVRQDEOH

   $OOFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWRVXSSRUWWKH&RPSDQLHV SD\PHQWV7KHGRFXPHQWDWLRQFRQVLVWHGRI
DSSUDLVDOVHVWLPDWHVUHSDLUELOOVRULQYHQWRU\OLVWLQJV7KHUHYLHZRISDLGFODLPVGLVFORVHGQRYLRODWLRQVRIWKHSURYLVLRQVRI
1&*6  


$XWRPRELOH0HGLFDO3D\PHQW&ODLPV

    $OOPHGLFDOSD\PHQWFODLPVZHUHVHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQH
LIWKH&RPSDQLHVKDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIWKHPHGLFDOSD\PHQWFODLPVGLVFORVHGQRYLRODWLRQV
RIWKHSURYLVLRQVRI1&*6  


)LUVWDQG7KLUG3DUW\%RGLO\,QMXU\&ODLPV

    )LIW\ILUVWDQGWKLUGSDUW\ERGLO\LQMXU\FODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHV
ZHUHUHYLHZHGWRGHWHUPLQHZKHWKHUWKH&RPSDQLHVKDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV7KHUHYLHZRIWKHILUVWDQG
WKLUGSDUW\ERGLO\LQMXU\FODLPVGLVFORVHGQRYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


&ORVHG:LWKRXW3D\PHQW&ODLPV

   )LIW\FORVHGZLWKRXWSD\PHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUH
UHYLHZHGWRGHWHUPLQHLIWKH&RPSDQLHV UHDVRQVIRUFORVLQJWKHFODLPVZLWKRXWSD\PHQWZHUHYDOLG

   7KHFODLPILOHVUHYLHZHGFRQWDLQHGGRFXPHQWDWLRQWKDWVXSSRUWHGWKH&RPSDQLHV UHDVRQVIRUFORVLQJWKHFODLPVZLWKRXW
SD\PHQW$OOUHDVRQVIRUGHQLDORUFORVLQJWKHILOHVZLWKRXWSD\PHQWZHUHGHHPHGYDOLG7KH&RPSDQLHVZHUHUHPLQGHGRI
WKHSURYLVLRQVRI1&$& D DQG D  J DVWKHILOHGRFXPHQWDWLRQZDVLQFRPSOHWHIRURQHILOH
UHYLHZHG SHUFHQWHUURUUDWLR 

   &ODLPVZHUHGHQLHGRQDQDYHUDJHRIQLQHFDOHQGDUGD\VIRUWKH\HDUSHULRG7KHUHYLHZRIFORVHGZLWKRXWSD\PHQWFODLPV
GLVFORVHGQRYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


6XEURJDWHG&ODLPV

   $OOVXEURJDWHGFODLPVZHUHVHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQHLIWKH
LQVXUHG VGHGXFWLEOHZDVSURSHUO\UHLPEXUVHGE\WKH&RPSDQLHVZKHQVXEURJDWLRQZDVVXFFHVVIXO




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5HSRUWRQ0DUNHW&RQGXFW([DPLQDWLRQ%XLOGHUV0XWXDO:/
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       7KHLQVXUHG VGHGXFWLEOHZDVQRWUHLPEXUVHGLQDWLPHO\PDQQHUIRURQHFODLPUHYLHZHG SHUFHQWHUURUUDWLR 7KH
LQVXUHG VGHGXFWLEOHZDVQRWUHLPEXUVHGIRURQHFODLP SHUFHQWHUURUUDWLR UHYLHZHG7KHVHPDWWHUVFRXOGUHVXOWLQDYLRODWLRQ
RIWKHSURYLVLRQVRI1&*6  LIWKHRFFXUUHQFHLVRIVXFKIUHTXHQF\DVWREHFRQVLGHUHGDJHQHUDOEXVLQHVVSUDFWLFH
$WWKHUHTXHVWRIWKHH[DPLQHUVWKH&RPSDQLHVLVVXHGDFKHFNLQWKHDPRXQWRIWRWKHLQVXUHGIRUWKHGHGXFWLEOH7KH
UHPDLQLQJUHLPEXUVHPHQWVZHUHGHHPHGWREHFRUUHFWDQGZHUHLVVXHGRQD\HDUDYHUDJHRIILYHFDOHQGDUGD\VIURPWKHGDWH
WKH&RPSDQLHVFROOHFWHGPRQLHV


7RWDO/RVV6HWWOHPHQW&ODLPV

    )LIW\WRWDOORVVVHWWOHPHQWFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHG
WRGHWHUPLQHLIWKHVHWWOHPHQWVZHUHHTXLWDEOHDQGWLPHO\

   7KH&RPSDQLHVSULPDULO\XVHG&&&,QIRUPDWLRQ6HUYLFHV,QFLQDGGLWLRQWRRQVLWHLQGHSHQGHQWDGMXVWHUVWRHVWDEOLVKWKH
DFWXDOFDVKYDOXHRIWRWDOHGYHKLFOHV$OOVHWWOHPHQWVZHUHGHHPHGHTXLWDEOH7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRI
WKHSURYLVLRQVRI1&$& D DQG D  J DVWKHILOHGRFXPHQWDWLRQZDVLQFRPSOHWHIRUVL[ILOHV
UHYLHZHG SHUFHQWHUURUUDWLR 

   7KH&RPSDQLHVVHWWOHGDOOFODLPVLQDWLPHO\PDQQHU7KHSD\PHQWVZHUHLVVXHGRQD\HDUDYHUDJHRIFDOHQGDUGD\V
1RYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  1&$&RUZHUHQRWHGGXULQJWKLVUHYLHZ


/LWLJDWHG&ODLPV

    )LIW\OLWLJDWHGFODLPVZHUHUDQGRPO\VHOHFWHGIRUUHYLHZIURPDSRSXODWLRQRI7KHFODLPILOHVZHUHUHYLHZHGWRGHWHUPLQH
LIWKH&RPSDQLHVKDGHQJDJHGLQDQ\XQIDLUFODLPVSUDFWLFHV

   7KH &RPSDQLHV ZHUH UHPLQGHG RI WKH SURYLVLRQV RI  1&$&  D   DQG  D  J  DV WKH ILOH
GRFXPHQWDWLRQZDVLQFRPSOHWHIRUWZRILOHVUHYLHZHG SHUFHQWHUURUUDWLR 

   7KHUHYLHZRIOLWLJDWHGFODLPVGLVFORVHGQRYLRODWLRQVRIWKHSURYLVLRQVRI1&*6  


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   7KH0DUNHW&RQGXFWH[DPLQDWLRQUHYHDOHGWKHIROORZLQJ


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   D7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$&DVSHUFHQWRIWKHUHVSRQVHVWR
D'HSDUWPHQWDOLQTXLU\GLGQRWLQFOXGHWKHLU1$,&FRPSDQ\FRGH


0DUNHWLQJ

   D7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$&$  DVEDFNJURXQGFKHFNVZHUH
QRWSHUIRUPHGRQSHUFHQWRIWKHDSSRLQWHGSURGXFHUVUHYLHZHG

   E7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6 G DVQRWLILFDWLRQRIWHUPLQDWLRQZDV
VHQWLQH[FHVVRIWKHGD\UHTXLUHPHQWIRUSHUFHQWRIWKHWHUPLQDWHGSURGXFHUVUHYLHZHG




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   F7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$& D DQG D  J DV
SHUFHQWRIWKHWHUPLQDWHGSURGXFHUILOHVUHYLHZHGGLGQRWFRQWDLQSURSHUILOHGRFXPHQWDWLRQ


8QGHUZULWLQJ3UDFWLFHV

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DVWKHQHZEXVLQHVVDSSOLFDWLRQXVHGIRUSHUFHQWRIWKHDFWLYHFRPPHUFLDOJHQHUDOOLDELOLW\SROLFLHVUHYLHZHGKDGQRWEHHQ
ILOHGZLWKDQGDSSURYHGE\WKH'HSDUWPHQW

   E7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUZDV
QRWSURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRUSHUFHQWRIWKHDFWLYHFRPPHUFLDOJHQHUDOOLDELOLW\ILOHVUHYLHZHG

    F7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DQG D  J DVSHUFHQW
RIWKHDFWLYHFRPPHUFLDOJHQHUDOOLDELOLW\ILOHVUHYLHZHGGLGQRWFRQWDLQDFRS\RIWKHVFKHGXOHUDWLQJZRUNVKHHW

    G7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 I DVSHUFHQWRIWKHDFWLYHFRPPHUFLDOJHQHUDO
OLDELOLW\SROLFLHVUHYLHZHGZHUHUDWHGLQFRUUHFWO\

   H7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQG1&$& F DVWKH
QHZEXVLQHVVDSSOLFDWLRQXVHGIRUSHUFHQWRIWKHDFWLYHZRUNHUV FRPSHQVDWLRQSROLFLHVUHYLHZHGKDGQRWEHHQILOHGZLWK
DQGDSSURYHGE\WKH'HSDUWPHQW

   I7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUVZHUH
QRWSURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRUSHUFHQWRIWKHDFWLYHZRUNHUV FRPSHQVDWLRQILOHVUHYLHZHG

    J7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$& D DQG D  J
DVSHUFHQWRIWKHDFWLYHZRUNHUV FRPSHQVDWLRQILOHVUHYLHZHGGLGQRWFRQWDLQDFRS\RIWKHVFKHGXOHUDWLQJZRUNVKHHW

   K7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DVDQLQFRUUHFWUDWHZDVXVHGWR
FDOFXODWHWKHWHUURULVPSUHPLXPRQSHUFHQWRIWKHDFWLYHZRUNHUV FRPSHQVDWLRQSROLFLHVUHYLHZHG

   L7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6DQGDVWKHSURGXFHUVZHUH
QRWSURSHUO\DSSRLQWHGE\WKH&RPSDQ\IRUSHUFHQWRIWKHDFWLYHFRPPHUFLDODXWRPRELOHILOHVUHYLHZHG

   M7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&$& D DQG D  J DVWKH\ZHUHXQDEOHWR
SURYLGHWKHLQGLYLGXDOSURGXFHULQIRUPDWLRQIRUSHUFHQWRIWKHDFWLYHFRPPHUFLDODXWRPRELOHILOHVUHYLHZHG

   N7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&*6 I DVSHUFHQWRIWKHDFWLYH
FRPPHUFLDODXWRPRELOHSROLFLHVUHYLHZHGZHUHUDWHGLQFRUUHFWO\


7HUPLQDWLRQV

    D7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 I DQG5XOHRIWKH&RPPHUFLDO/LQHV0DQXDODV
WKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\IRUSHUFHQWRIWKHFDQFHOOHGFRPPHUFLDOJHQHUDOOLDELOLW\SROLFLHVUHYLHZHG

    E7KH&RPSDQLHVZHUHGHHPHGWREHLQYLRODWLRQRIWKHSURYLVLRQVRI1&$& D DQG D  J
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DWOHDVWGD\VSULRUWRWKHWHUPLQDWLRQGDWHIRUSHUFHQWRIWKHFDQFHOOHGZRUNHUV FRPSHQVDWLRQSROLFLHVUHYLHZHG

   G7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6DQG5XOHRIWKH1DWLRQDO&RXQFLORQ&RPSHQVDWLRQ
,QVXUDQFH0DQXDODVWKHUHWXUQSUHPLXPZDVFDOFXODWHGLQFRUUHFWO\IRUSHUFHQWRIWKHFDQFHOOHGZRUNHUV FRPSHQVDWLRQ
SROLFLHVUHYLHZHG

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ZDVQRWVXEPLWWHGWRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHVZKHQOLDELOLW\FRYHUDJHZDVFDQFHOOHGIRUSHUFHQWRI
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FDQFHOOHGIRUSHUFHQWRIWKHFDQFHOOHGFRPPHUFLDODXWRPRELOHSROLFLHVUHYLHZHG

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ZRUNHUV FRPSHQVDWLRQILOHVUHYLHZHGGLGQRWFRQWDLQSURRIRIPDLOLQJRIWKHQRQUHQHZDOQRWLFH

   T7KH&RPSDQLHVZHUHUHPLQGHGRIWKHSURYLVLRQVRI1&*6 H DVWKHQRWLFHRIQRQUHQHZDOGLGQRWVWDWHWKH
VSHFLILFUHDVRQIRUWHUPLQDWLRQIRUSHUFHQWRIWKHQRQUHQHZHGFRPPHUFLDODXWRPRELOHILOHVUHYLHZHG




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ZDVQRWVXEPLWWHGWRWKH1RUWK&DUROLQD'LYLVLRQRI0RWRU9HKLFOHVZKHQOLDELOLW\FRYHUDJHZDVWHUPLQDWHGIRUSHUFHQWRI
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   1&*6                                           &RVWRIFHUWDLQH[DPLQDWLRQV

   1&*6                                           )RUPVWREHDSSURYHGE\WKH&RPPLVVLRQHU

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   1&*6                                           *HQHUDOOLFHQVHUHTXLUHPHQWV

   1&*6                                           $SSRLQWPHQWRISURGXFHUV

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                                                      VXSSRUWILOLQJV
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     1&*6                                       8QIDLUPHWKRGVRIFRPSHWLWLRQDQGXQIDLURUGHFHSWLYHDFWVRU
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$VVRFLDWLRQRI,QVXUDQFH&RPPLVVLRQHUV0DUNHW5HJXODWLRQ+DQGERRNSURFHGXUHVLQFOXGLQJDQDO\VHVRI&RPSDQ\RSHUDWLRQV
LQWKHDUHDVRISROLF\KROGHUWUHDWPHQWPDUNHWLQJXQGHUZULWLQJSUDFWLFHVWHUPLQDWLRQVDQGFODLPVSUDFWLFHV

   ,Q DGGLWLRQ WR WKH XQGHUVLJQHG .HOYLQ $ 2ZHQV DQG 6KDURQ 2 4XLQQ 1RUWK &DUROLQD 0DUNHW &RQGXFW ([DPLQHUV
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6WDWHRI1RUWK&DUROLQD
    ,KDYHUHYLHZHGWKLVH[DPLQDWLRQUHSRUWDQGLWPHHWVWKHSURYLVLRQVIRUVXFKUHSRUWVSUHVFULEHGE\WKLV'LYLVLRQDQGWKH
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(QGRI'RFXPHQW                                            7KRPVRQ5HXWHUV1RFODLPWRRULJLQDO86*RYHUQPHQW:RUNV




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TAB 46




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                                                                  Page 1

1                             UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
2                        Civil Action No. 1:19-cv-00294-CCE-JLW
3
         ELIZABETH V. FORTSON,                               )
4                                                            )
                           Plaintiff,                        )
5                                                            )
         vs.                                                 )
6                                                            )
         GARRISON PROPERTY AND CASUALTY                      )
7        INSURANCE COMPANY,                                  )
                                                             )
8                          Defendant.                        )
                                                             )
 9
10
11
12                          Videotaped Remote Deposition of
13                             DR. LANCE DARSHANA KAUFMAN
14                                (Taken by Defendant)
15                                  Corvallis, Oregon
16                              Tuesday, August 24, 2021
17
18
19
20
21
22
23
24                          Reported in Stenotype by
                          Lauren M. McIntee, RPR, CRR
25             Transcript produced by computer-aided transcription

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2        ON BEHALF OF THE PLAINTIFF:
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6
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                        Mathew Drocton, Esquire (via Zoom)
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                        (614) 462-5189
11                      Reckelberry@bakerlaw.com
                        Mdrocton@bakerlaw.com
12
13       ALSO PRESENT:
14       Michael Kirby, Videographer (via Zoom)
15
16
17
18
19
20              VIDEOTAPED REMOTE DEPOSITION OF DR. LANCE DARSHANA
21       KAUFMAN, a witness called on behalf of Defendant, before
22       Lauren M. McIntee, Registered Professional Reporter,
23       Certified Realtime Reporter, and Notary Public, in and
24       for the State of North Carolina, in Corvallis, Oregon,
25       on Tuesday, August 24, 2021, commencing at 7:33 a.m. PST

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10                      Regulation
11       Exhibit 4      Report Summary, Reference                       124
                        Number 88957510
12                      (Garrison P&C 00035559 to 35575)
                        (CTRL 8379)
13
         Exhibit 5      Report Summary, Reference                       124
14                      Number 82275931
                        (CCCIS027199 to 027216)
15                      (CCCIS027199)
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1               Q.      The insurance industry.

2               A.      For which -- no.

3               Q.      Are you familiar with any North Carolina

4        statutes or regulations that set forth any degree of

5        itemization that is required?

6                       MS. BEARDSLEY:     Objection, scope.

7               A.      The -- the rules that I reviewed and that I

8        mentioned earlier do have a component of itemization in

9        them, but it doesn't provide detail or specificity.

10       BY MR. ECKELBERRY:

11              Q.      So you are not aware of any statute or

12       regulation that provides a level of detail or

13       specificity required for itemization in total loss

14       valuations, correct?

15                      MS. BEARDSLEY:     Same objection.

16              A.      Can you say that question again?

17                      MR. ECKELBERRY:      Madam Court Reporter, would

18            you read it back, please?

19                      (Whereupon, the following question was read:

20                      So you are not aware of any statute or

21            regulation that provides a level of detail or

22            specificity required for itemization in total loss

23            valuations, correct?)

24              A.      That's correct.

25       BY MR. ECKELBERRY:

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1        into account when determining value?

2               A.      Well, as I mentioned before, I would defer

3        legal conclusions about statutes to attorneys or other

4        statute experts.

5               Q.      Okay.

6               A.      This specific statute that you're referring

7        to became effective October 1, 2020, which is pretty

8        short section of the time period that we're looking at.

9               Q.      Okay.

10              A.      The Item B states, "If the insurance company

11       and the claimants are unable to make an agreement," then

12       there's a process that follows.             And that suggests to me

13       that D is not applicable to cases where the insurance

14       company and the claimant do reach an agreement as to the

15       cash value.

16              Q.      Okay.

17              A.      And so that kind of renders the Subsection D

18       irrelevant to -- to the claims that were reviewed.

19              Q.      Okay.   So under Subsection D, as you say, if

20       the insurance company and the claimant are able to reach

21       an agreement, then there's no particular valuation

22       method required, right?

23                      MS. BEARDSLEY:      Foundation, scope.

24              A.      Well, as I said, I'm not an -- not an expert.

25       And I would expect that there are methodologies that

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1       APPEARANCE OF COUNSEL BY ZOOM:

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14                      Columbus, OH 43215

15                      kzimmerman@bakerlaw.com

16

17      Also Present:       MICHAEL KIRBY, Videographer

18                                        o0o

19

20                         Zoom Video Deposition of WILLIAM BERGLUND,

21      taken by the Defendant, at Oak Brook, Illinois, on the 2nd

22      day of September, 2021 at 10:07 a.m. (Eastern Standard

23      Time), before Marisa Munoz-Vourakis, Registered Merit

24      Reporter, Certified Realtime Reporter and Notary Public.

25

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1              A.       My opinions are articulated in the report,
2       and I stand by the report.
3              Q.       Fair enough.        Let's go down to paragraph
4       six then, please.         Do you see there that you say:         The
5       CCC valuation report listed four different comparable
6       vehicles applying negative uniform condition
7       adjustments of $722 to each of the four comparable
8       vehicles without itemizing or explaining the basis of
9       the adjustment.         Do you see that?
10             A.       I do.
11             Q.       Okay.     In your kind of understanding, what
12      do you understand the basis for the condition
13      adjustment to be?
14             A.       I have no idea, because it's not, you know,
15      indicated in the CCC report.               From my recollection, the
16      adjuster did not, you know -- the Garrison adjuster did
17      not know what the basis for the adjustments were.
18             Q.       Do you have an understanding of what the
19      basis for the condition adjustment was?
20             A.       Do I?
21             Q.       Yes.
22             A.       No, I do not.
23             Q.       Do you have an understanding of why CCC
24      applied a condition adjustment?
25             A.       I can see why they would want to make the

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1       vehicles comparable, but they didn't explain how they
2       arrived at their numbers.
3              Q.       So I guess separating the number from the
4       actual kind of use of a condition adjustment generally,
5       do you understand why CCC used a condition adjustment
6       generally?
7              A.       Yes.
8              Q.       And why is that?
9              A.       To try to put all the vehicles on the same
10      platform.
11             Q.       Can you explain what you mean by put the
12      vehicles on the same platform?
13             A.       So you can adjust vehicles such that they
14      come out with the same valuation across the platform of
15      the comparable vehicles with Ms. Garrison's vehicle --
16      I'm sorry, Ms. Fortson's vehicle.
17             Q.       Do you think it was appropriate for CCC to
18      make such an adjustment?
19             A.       I don't disagree with the need for them to
20      make the adjustment.        I just don't understand how they
21      arrived at the adjustment, and they didn't provide any
22      explanation.
23             Q.       Okay.   Can you please take out document
24      number four in the list of documents I gave you.                It
25      should be Ms. Fortson's CCC report, and this document

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1              Q.        What specifics would it depend on?
2              A.        Well, what the, you know, the variances are
3       among the, you know, vehicles when you're comparing
4       them to the policyholder.            Say the policyholder had a
5       vehicle with 75,000 miles, and one of the comparable
6       vehicles had a value of 78,000 miles, is that a
7       sufficient difference to apply any kind of an
8       adjustment?       Perhaps not.
9              Q.        Okay.   So if there were kind of differences
10      between the comparable vehicle and the loss vehicle,
11      condition differences, then it would be appropriate to
12      apply a condition adjustment, right?
13             A.        Correct, either up or down, depending on
14      the vehicles themselves.
15             Q.        Okay.   Okay.     So I guess what I'm trying to
16      get at is how did the failure to explain the $722 harm
17      Mrs. Fortson -- Ms. Fortson?
18             A.        Well, she needed transparency of the
19      process.        She doesn't know whether or not she's being
20      offered a fair value, since she doesn't understand how
21      they arrived at that value.             So I think she's being
22      harmed as a result of that.
23             Q.        How was she financially harmed by that?
24             A.        By the amount of the condition adjustment
25      being applied without explaining it to her.              So she has

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1                       BY MR. ZIMMERMAN:
2              Q.       Let me ask you this, Mr. Berglund, what is
3       your opinion as to whether or not $722 was the right
4       condition adjustment for Ms. Fortson?
5                       MR. DeSTEFANO:       Form and foundation.
6              A.       I don't know if it's the right condition
7       adjustment, since it was never clearly explained on how
8       they arrived at it.        I'm very suspicious and suggest it
9       probably is not, since the exact same condition
10      adjustment was applied to each of the four vehicles
11      which I find extremely difficult to accept.
12             Q.       So if each of the four vehicles were
13      individually inspected and conditioned, the appropriate
14      condition adjustment might have been higher, right?
15             A.       It could have been higher.           It could have
16      been lower.     There's no way to tell.
17             Q.       There's no way to tell.            How would you be
18      able to tell?
19             A.       If they had an itemization, you know,
20      identifying how they arrived at the amount of the
21      company adjustment for each of the four vehicles.
22             Q.       So you just said it might have been higher,
23      it might have been lower, right?
24             A.       Correct.
25             Q.       So we don't know for a fact whether

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1       Ms. Fortson was paid more or less than she should have
2       been paid, right?
3                       MR. DeSTEFANO:       Form and foundation.
4              A.       That is correct.
5              Q.       How would we determine whether Ms. Fortson
6       was paid more or less than she should have been paid?
7                       MR. DeSTEFANO:       Form and foundation.
8              A.       Again, I'm answering the same question
9       repeatedly.      If they would itemize the condition
10      adjustment for each of the four vehicles and indicated
11      how they applied them, then Ms. Fortson could look and
12      make a determination of whether or not she would accept
13      those figures.      Without that type of break down, she's
14      got no way of knowing.
15             Q.       Okay.   Now, in your expert report, you
16      don't mention the options adjustment as being
17      insufficiently itemized, the options adjustment we see
18      on page eight and nine, right?
19             A.       I don't believe so.           Let me take a look at
20      the option adjustments.
21             Q.       Yeah, go ahead.
22                      (Pause.)
23             A.       Yeah, I don't believe I rendered an opinion
24      on the basis for the option adjustments.
25             Q.       Why not?

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1               Q.        And Mr. Berglund, just to be sure, are you
2       looking at a document at the very top it says
3       201911NCAC4.0418?
4               A.        I am.
5               Q.        Okay.   Have you seen this document before?
6               A.        I've looked at thousands of documents in
7       this.        I've looked at some state documents.        I might
8       have.        I can't honestly say.
9               Q.        Well, let me --
10              A.        It just, it all looks the same.
11              Q.        If you turn to page six of your expert
12      report, and you see you quote 11NCAC4.0418.              Is this
13      the regulation you're quoting there?
14              A.        It's in my report -- this looks like it,
15      assuming this is the one effective until September 30.
16                        Is there a date on this?
17              Q.        Yeah, so this is the one you can see at the
18      top, it's 201911NCAC.          So it's the version that was in
19      effect in 2019.
20              A.        Okay.
21              Q.        As you mentioned, you cited two different
22      versions of the regulation in your report, right?
23              A.        Yeah, there was a change on September 30, I
24      believe, of 2020.
25              Q.        Okay.   Which version was in effect when

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1       Ms. Fortson's total loss claim was adjusted?
2              A.       Well, the loss was in 2016, so it would
3       have been the earlier one, which is the one we are
4       looking at right now, I believe.
5              Q.       So this is the one that would have governed
6       Ms. Fortson's total loss claim?
7              A.       I don't know, it's kind of a legal term, so
8       I stay out of those things.            I think this is the one
9       that would have been used at that time, if that's what
10      you're asking.
11             Q.       Yes, that is what I was asking.
12                      As you mentioned, you're not a lawyer
13      right?
14             A.       That is correct.
15             Q.       So you're not offering any opinions about
16      the interpretation of this regulation, right?
17                      MR. DeSTEFANO:       Form.
18             A.       No legal interpretation.
19             Q.       What do you mean by that?
20             A.       Well, I'm not going to give a legal
21      interpretation of any of the provisions within, you
22      know, this.     If I was an adjuster that reviewed this, I
23      think an adjuster would look at it from a certain
24      perspective.     If I was an attorney, I would look at it
25      from a different perspective.

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1              Q.       Are you offering any opinions as to whether
2       the regulation was or was not violated by Garrison?
3              A.       Well, I don't think they complied with
4       the -- with the, you know, the statute, in a general
5       sense.
6              Q.       Is that a legal opinion?
7              A.       No, it is not.       I do not give legal
8       opinions.
9              Q.       Okay.   Can you point me to where in this
10      regulation that it uses the word itemize?
11             A.       Without doing -- I can do a word search on
12      it, if that's what you want me to do?
13             Q.       Go ahead.
14             A.       If it's a searchable document.
15                      Okay.   If this is a searchable document, I
16      don't know whether it is, I typed in itemized and
17      nothing came up.
18             Q.       Let me ask it differently.
19                      Are you offering an opinion as to whether
20      or not this regulation requires adjustments to
21      comparable vehicles to be itemized?
22             A.       Well, again, I'd have to read the entire
23      document over again and refer to what I indicated in my
24      report.
25             Q.       Well, go ahead and identify any portions of

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1       this regulation that you mention in your report that
2       require the condition adjustments to be itemized.
3              A.        I don't know if the word itemized
4       specifically is used.         Again, I don't know if this is
5       searchable from a word standpoint.
6              Q.        But even if it doesn't use the word
7       itemized, are you opining that this regulation requires
8       an insurer to itemize the condition adjustments?
9              A.        Well, I think this is kind of small.           I
10      don't know if my eyesight is -- let me increase the
11      value of it.
12                       Paragraph two says:           Where the insurer has
13      the right to select, to replace the vehicle and does so
14      select a replacement vehicle, shall be available
15      without delay similar to the loss vehicle and paid for
16      by the insured, subject only to the deduction and to
17      the value of any enhancements acceptable to the
18      insured.        There's no mention in that paragraph about a
19      condition adjustment, if in fact the vehicle is being
20      replaced.
21             Q.        So does paragraph two require an insurer to
22      itemize -- let me ask it differently.
23                       Does paragraph two require Garrison to
24      itemize the condition adjustments applied to comparable
25      vehicles?

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1              A.        Paragraph two makes no reference to even
2       utilizing the condition adjustments.
3              Q.        But you told me that you think it's
4       appropriate to apply a condition adjustment, right?
5              A.        On a case-by-case basis with regard to the
6       vehicle.        From my understanding, some states don't
7       allow you to utilize condition adjustments.
8              Q.        That's your understanding of North
9       Carolina?
10             A.        My understanding in North Carolina that if
11      you utilize a condition adjustment, it should be
12      itemized.
13             Q.        And what is that understanding based on?
14             A.        Well, what I just read to you right now.
15      If the insurer has the right to select to replace the
16      vehicle, now this is for vehicle replacement, she'd
17      only apply the deductible and any enhancements to the
18      vehicle.        There's no discussion there about a condition
19      adjustment.
20             Q.        Was Ms. Fortson's vehicle replaced?
21             A.        No, it was not.
22             Q.        She was given a cash settlement, right?
23             A.        That is correct, based on the replacement
24      cost of the vehicle.
25             Q.        So your view is that paragraph two of this

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1       regulation is what creates the obligation for Garrison
2       to itemize a condition adjustment?
3              A.       Well, paragraph two doesn't even say the
4       condition adjustment should be utilized, if in fact the
5       vehicle is replaced.
6              Q.       So is that a yes or a no, that paragraph
7       two creates the obligation for Garrison to itemize the
8       condition adjustment in the CCC reports?
9              A.       It doesn't address condition adjustments at
10      all.
11             Q.       So it doesn't address the itemization of
12      condition adjustments, does it?
13             A.       It doesn't even make a mention that the
14      condition adjustments should be applied.
15             Q.       And it doesn't -- oh, go ahead.
16             A.       I'm sorry, it just refers to application of
17      the deductible and the value of any enhancements,
18      except for those for the insured that's for replacing
19      the vehicle.
20             Q.       Is it your view that this regulation
21      prohibits an insurer from making a condition
22      adjustment?
23             A.       No, not necessarily, but it doesn't give
24      them the authority to utilize the condition adjustment.
25      So I'm just thinking from a common sense standpoint if

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1       you're going to apply some kind of condition
2       adjustment, you should explain it to the policyholder
3       and give them a detailed explanation for how it's
4       applied.        And that would be across each of the
5       individual vehicles that you're utilizing on a
6       comparable basis.
7              Q.        Okay.   So the common sense basis -- you
8       said there's a common sense reason why Garrison should
9       itemize the condition adjustment, right?
10             A.        Within the context of this statute, that
11      would be my opinion.
12             Q.        Are there any other portions of this
13      statute that require Garrison to itemize the condition
14      adjustment?
15             A.        I'm looking at my report.             That's why you
16      see me turning my head.
17             Q.        That's fine.
18             A.        That is correct.
19                       MR. ZIMMERMAN:       Okay.         Mr. Berglund,
20              can we go off the record for one moment?
21                       THE VIDEOGRAPHER:         We are off the
22              record at 11:46 a.m.
23                       (Recess.)
24                       THE VIDEOGRAPHER:         We are back on the
25              record at 11:53 a.m.

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1                       MR. ZIMMERMAN:       Thank you.    Ms. Munoz,
2               can you please read back the last question
3               and answer, please, before we broke?
4                       (Record read.)
5              Q.       So Mr. Berglund, when you say that is
6       correct, you mean there are not any other portions of
7       this regulation that require Garrison to itemize the
8       condition adjustment besides subsection two?
9                       MR. DeSTEFANO:       Objection, foundation.
10             A.       Nothing comes to mind.
11             Q.       So does your report identify any other
12      portions of this regulation that require Garrison to
13      itemize or explain the condition adjustment?
14             A.       Nothing comes to mind.
15             Q.       I'm asking about your expert report that
16      you offered here.
17                      Did you identify any other portions in your
18      expert report?
19             A.       I don't believe so.
20             Q.       And can you review your report and tell me?
21             A.       Well, I didn't memorize the report, so.
22                      It does make a reference on page six under
23      one towards the section that if the claimant represents
24      that a vehicle actually owned by him was in better than
25      average condition, the insurer should give due

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1       consideration, compensation, the condition of the
2       insure's vehicle prior to the accident.
3              Q.         Does that portion of the regulation require
4       Garrison to itemize or explain the condition adjustment
5       applied to the comparable vehicles?
6              A.         It does not.
7              Q.         Okay.
8              A.         I don't believe there's any other reference
9       to that statute in my report.
10             Q.        So you don't offer any opinions as to
11      whether any other portion of the statute requires
12      Garrison to itemize or explain the condition adjustment
13      to comparable vehicles?
14             A.        That's correct.
15                       MR. ZIMMERMAN:          Okay.         Could we turn
16              to tab three, which is the next document,
17              please.      This will be marked as Berglund
18              Exhibit 5.
19                                (The document referred to was marked
20                      Defendant's Exhibit Number 5                for
21                      identification.)
22             Q.        And Mr. Berglund just let me know when you
23      have that, and by tab three, I mean document number
24      three in the list of documents.
25             A.        This is 4.18?

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1               Q.      Correct, sir.
2               A.      I think this is probably the revision that
3       was made in 2020 --
4               Q.      You're correct about that.
5               A.      -- I believe.
6                       MR. ZIMMERMAN:         Before we get into it,
7                counsel, Mr. DeStefano, do you have that
8                document available?
9                       MR. DeSTEFANO:         Yes.
10                      MR. ZIMMERMAN:         Okay.         Thank you.
11              Q.      So I assume have you seen this document
12      before, Mr. Berglund?
13              A.      I have.
14              Q.      Okay.     And what is this?
15              A.      This looks like the revised statute.                 This
16      is dated April 15, 2020.
17              Q.      This is the version that went into effect
18      in October 1, 2020, right?
19              A.      Yes, that is correct.
20              Q.      Would a regulation of job fit in October 1,
21      2020 apply to total loss settlements made before that
22      date?
23                      MR. DeSTEFANO:         Form and foundation.
24              A.      That would be a -- I'm sorry.
25                      The answer is that I'm not an attorney, and

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1       that would be a legal conclusion.                  I can't really
2       address that.
3               Q.      So based on your experience adjusting
4       claims, would you apply a regulation adopted October 1,
5       2020 to settlements, total loss settlements before that
6       date?
7               A.      I would not.
8               Q.      Now, subsection E of this regulation,
9       looking down on it says that:             A settlement offer "may
10      be adjusted for condition."            Do you see that?
11              A.      Just, I have to expand this, because it's
12      so small.
13              Q.      Very bottom of the first page.
14              A.      I do see that section E, subsection E.
15              Q.      So in your view, because of that, is it
16      consistent with the usual and customary practices of
17      North Carolina for settlement offers to be adjusted for
18      the condition of the loss vehicle?
19              A.      That would be consistent with the statute.
20              Q.      Is it consistent with the usual and
21      customary practices in North Carolina as well?
22              A.      I would say yes.
23              Q.      Does any portion of this statute require
24      adjustments to comparable vehicles to be itemized or
25      explained?

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1              A.          Okay.   Let me do the same thing that I did
2       with the other one and do a name search or a word
3       search.         Hello?
4              Q.          Yeah, I'm here.
5              A.          I think may ear buds may have gone off.
6       Hold on for a second.           My ear buds are dead.
7                          Can you hear me directly?
8              Q.          I can hear you, yes.
9                          MR. ZIMMERMAN:       Ms. Munoz, can you
10              hear okay?
11                         THE WITNESS:      Can everybody hear me?
12              I was using my ear buds.
13                         THE VIDEOGRAPHER:         Just maybe move
14              your microphone a little more away from you.
15                         THE WITNESS:      I can turn the volume
16              down.
17                         MR. ZIMMERMAN:       I think that's better.
18                         THE WITNESS:      I turned the volume down
19              a little bit, and I will try to speak less
20              loudly.
21                         BY MR. ZIMMERMAN:
22             Q.          Mr. Berglund, I will reask the question.
23                         Does any portion of this regulation require
24      the adjustments to the comparable vehicles, the
25      condition adjustments to comparable vehicles to be

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1       explained or itemized?
2              A.        I'm reviewing the statute as we're talking.
3                        Okay.   I'm going to reference subsection M
4       which is similar to what was in the earlier statute
5       regarding the decision to replace the total loss
6       vehicle.        And, again, it's subject to only the
7       deductible and the value of any additional options or
8       equipment chosen by the claimant.
9                        There's no mention of a condition
10      adjustment in that paragraph.
11                       Other than that, I do not see any reference
12      to a condition adjustments, other than what you had
13      identified in paragraph subsection E, that the
14      settlement offer may be adjusted for condition options,
15      equipment, and mileage, plus the cost of the unrepaired
16      portion that preexisted the accident.
17             Q.        Now, subsection M we were looking at, that
18      you mentioned, could that apply to the replacement of
19      total loss vehicle, right?
20             A.        Kevin, can you turn your speaker up?           I can
21      barely hear you.
22             Q.        Oh, yeah.
23                       THE VIDEOGRAPHER:         You're coming
24              through very clear on my end.
25                       MR. DeSTEFANO:       It's good here, Bill.

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1               You might need to adjust volume on your
2               unit.
3                       THE VIDEOGRAPHER:         You turned your
4               speaker volume down, but that has nothing to
5               do with your microphone.            Should we go off
6               the record get this figured?
7                       MR. ZIMMERMAN:       Sure.         Let's go off
8               the record.
9                       THE VIDEOGRAPHER:         We are off the
10              record at 12:02 p.m.
11                      (Recess.)
12                      THE VIDEOGRAPHER:         We are back on the
13              record at 12:03 p.m.
14                      BY MR. ZIMMERMAN:
15             Q.       Mr. Berglund, before we broke, we were
16      talking about subsection M of the statute, right?
17             A.       Correct, subsection M, and I drew back to
18      subsection E.
19             Q.       Now, subsection M relates to an insurer
20      electing to replace a total loss vehicle, right?
21             A.       That is correct.
22             Q.       Okay.   It doesn't refer to cash settlements
23      for total loss vehicles?
24             A.       That is correct.
25             Q.       Okay.   So besides subsection M, can you

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1       identify any other part of this regulation that would
2       require Garrison or CCC to itemize or explain the
3       condition adjustments to comparable vehicles?
4                         MR. DeSTEFANO:       Form and foundation.
5              A.         I did not see any other subsection that
6       applies.
7              Q.         Okay.   Turn back to your report at page
8       five, paragraph six, please.
9              A.         Okay.   That's the one that starts off on
10      page four?
11             Q.        Yeah, yeah, I'm looking at the language on
12      pages six -- page five, but, of course, feel free to
13      review the language on page four.
14             A.        Okay.
15             Q.        I want to ask you about the sentence that
16      begins at the top of page five there.                You say:     The
17      application of the condition adjustment was applied
18      regardless of individual differences in the conditions
19      of these vehicles.        Do you see that?
20             A.        I do.
21             Q.        Okay.    Can you explain what you mean by
22      that, please?
23             A.        Well, the vehicles, they all had different
24      options.        They had different mileage.          They're in
25      different physical condition.               But there's no reference

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1       to that when CCC applied the condition adjustment to
2       them.
3               Q.      So in your view, there should be a
4       different condition adjustment for each of the
5       comparable vehicles?
6               A.      That is correct.
7               Q.      Oh, sorry, sir.
8               A.      That is my opinion.
9               Q.      Okay.    And that would be based on the
10      individual condition of each of those vehicles, right?
11              A.      Correct.
12              Q.      And how would you determine the individual
13      condition of each of those vehicles?
14                      MR. DeSTEFANO:        Form and foundation?
15              A.      ....the vehicles --
16              Q.      By doing what, sir?
17                      THE WITNESS:       Do you have an
18               objection?     I guess not.
19              A.      By inspecting each of the vehicles.
20              Q.      Okay.    Is there any way to determine --
21                      MR. DeSTEFANO:        Excuse me, can you
22               hear me?
23                      MR. ZIMMERMAN:        Yeah, I can hear you.
24                      MR. DeSTEFANO:        I did object.    I think
25               the witness said I did not, but we were

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1               speaking over each other.
2                       MR. ZIMMERMAN:       I heard it, yeah.
3                       MR. DeSTEFANO:       Well, did the court
4               reporter note it?        She said okay.
5                       BY MR. ZIMMERMAN:
6              Q.       So is there any way to determine the
7       appropriate condition adjustment that should be applied
8       to each of the comparable vehicles without inspecting
9       each of those vehicles?
10             A.       Well, either inspecting the vehicles or
11      during a visual inspection perhaps, but the vehicles
12      should have been looked at so that individual
13      adjustments could be applied.
14             Q.       So there's no other way to determine the
15      appropriate condition adjustment without inspecting
16      each of those vehicles?
17                      MR. DeSTEFANO:       Form and foundation.
18             A.       Not with any certainty.
19             Q.       Okay.   What do you mean not with any
20      certainty?
21             A.       Well, you've got to evaluate the vehicles
22      based on the individual vehicle's characteristics, and
23      if you don't inspect them, I don't know how you can
24      arrive at that.
25             Q.       Look at paragraph seven of your report, the

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1              A.       But the condition adjustment was explained.
2       The condition adjustment was not explained for the four
3       comp. vehicles.
4              Q.       Okay.    But the adjustment to
5       Ms. Garrison's, just, so it's clear for the record, was
6       a positive adjustment, right, Ms. Fortson's vehicle?
7              A.       Yes.    I don't recall the number, but it was
8       a positive number.
9              Q.       Okay.    Okay.     Let's look at paragraph six
10      please here.      You say:       Garrison's application of the
11      negative amounts adjustment to the values of comparable
12      motor vehicles reduces the claim payments made to their
13      policyholders, right?
14             A.       Yes.
15             Q.       Reduces compared to what?
16                      MR. DeSTEFANO:        Form and foundation.
17             A.       As compared to a baseline.
18             Q.       What do you mean by a baseline?
19                      MR. DeSTEFANO:        Form and foundation.
20             A.       The baseline upon which the valuating to
21      the insured vehicle would be.              Whatever that number
22      was, you're subtracting $722 from it.
23             Q.       So you're just saying there was a reduction
24      compared to if no condition adjustment was applied?
25             A.       That is correct.

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1              Q.       Okay.   But you agree that Garrison can make
2       some adjustments to the condition of a loss vehicle,
3       right?
4                       MR. DeSTEFANO:       Objection.
5              A.       If they explained to the policyholder what
6       the basis for it is, I would agree with that.
7              Q.       Okay.   So you're not opining that the
8       adjustment kind of reduced the settlement payments
9       compared to what Garrison could have paid, right?
10                      MR. DeSTEFANO:       Form and foundation.
11             A.       Well, I'm saying that they do reduce the
12      payment, because there's an automatic reduction in the
13      potential payment based on this condition adjustment,
14      which is unexplained and in my opinion arbitrary.
15             Q.       I understand that.          So you're saying -- but
16      we talked about earlier the $722.                  You're not opining
17      whether that's too high or too low, right?
18             A.       There's no way to determine that, so, yes,
19      I'm not opining, because there's no way to determine
20      it.
21             Q.       And in fact, the proper condition
22      adjustment we don't know, it might have been higher,
23      right?
24                      MR. DeSTEFANO:       Form and foundation.
25             A.       It could be higher, or it could be lower.

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1       Since we don't know how they arrived at the number,
2       there's no way to tell.
3              Q.       So if it was supposed to be higher, then
4       Ms. Garrison actually should have been paid less,
5       right?
6                       MR. DeSTEFANO:       Form and foundation.
7              A.       Yes, but I don't know if there should have
8       been any condition adjustment applied at all, since we
9       don't know the basis for it.
10             Q.       Okay.   But if it was supposed to be higher,
11      that would mean Ms. Fortson was paid enough, right?
12                      MR. DeSTEFANO:       Form and foundation.
13                      BY MR. ZIMMERMAN:
14             Q.       You don't know one way or another?
15                      MR. DeSTEFANO:       Form and foundation.
16             A.       That's speculation.           The fact that they
17      applied it across the board puts Ms. Fortson in a hole
18      before they even start evaluating her car.
19             Q.       What do you mean by that?
20             A.       Well, there's no automatic deduction of
21      $722 before anything else is done.
22             Q.       Okay.   So if the appropriate condition
23      adjustment was made, it might have been higher than
24      722?     It might have been lower than 722, right?
25                      MR. DeSTEFANO:       Form and foundation.

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1              A.       That is correct.
2              Q.       Okay.   And we don't know, we have no way of
3       determining whether it should be higher or lower than
4       722 without individually inspecting the comparable
5       vehicles, right?
6                       MR. DeSTEFANO:       Form and foundation.
7              A.       CCC would know that, but I could not
8       determine what it was.         It was not identified in their
9       report.
10             Q.       And the only way for CCC to know that would
11      be to go and inspect the comparable vehicles?
12                      MR. DeSTEFANO:       Form and foundation.
13             A.       That would be a reasonable approach.
14             Q.       What other reasonable approaches would
15      there be?
16                      MR. DeSTEFANO:       Same objection.
17             A.       I can't think of any.
18             Q.       Okay.   So are you opining that any class
19      member was paid more or less than what they should have
20      been paid?
21                      MR. DeSTEFANO:       Form and foundation.
22             A.       I didn't hear the first couple of words you
23      used there, counselor.
24             Q.       Apologies.     Are you opining whether any
25      class member was paid more or less than the actual cash

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1       value of their vehicle?
2                       MR. DeSTEFANO:       Form and foundation.
3                       THE WITNESS:      John?
4                       MR. DeSTEFANO:       I said form and
5               foundation.
6              A.       I'm opining on Ms. Fortson's vehicle.
7              Q.       Are you opining that Ms. Fortson was paid
8       more -- so to be clear, you're not opining as to other
9       class members' vehicles, right?
10             A.       I only --
11                      MR. DeSTEFANO:       Form and foundation.
12              Excuse me, form and foundation.
13                      Bill, just please pause, I'm sorry,
14              but I got to, I got to, I got to speak my
15              objections.
16             A.       Okay.   I'm opining on what transpired with
17      regard to the claim involving Ms. Fortson.
18             Q.       Okay.   You're not opining as to whether
19      other class members were paid more or less than the
20      actual cash value of their vehicle?
21                      MR. DeSTEFANO:       Form and foundation.
22             A.       Unless they applied a similar condition
23      adjustment, no, I'm not.
24             Q.       What do you mean unless they applied a
25      similar condition adjustment?

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1              A.       If the same practice of applying a
2       condition adjustment, without explanation, applies to
3       all of the other vehicles in the class, then I don't
4       think they were dealt with fairly either.
5              Q.       I guess are you opining that Ms. Fortson
6       was paid more or less than the actual cash value of her
7       vehicle?
8              A.       I don't know, since I don't know the
9       amount -- or, I'm sorry, I don't know the basis for the
10      condition adjustment that was applied.             So I can't
11      really give an answer to that.
12             Q.       So you can't provide an opinion about that,
13      right?
14             A.       I cannot provide opinion, other than the
15      fact that they applied a condition adjustment without
16      explaining the basis for it to Ms. Fortson.
17             Q.       Okay.   Are you providing any opinions as to
18      the proper dollar value, which should have been used as
19      the actual cash value of Ms. Fortson's vehicle?
20                      MR. DeSTEFANO:       Form and foundation.
21             A.       No.
22             Q.       Go ahead, Mr. Berglund.
23             A.       I already said no.          No.
24             Q.       So looking at paragraph eight here, you
25      say:     Garrison's standard practice is to present the

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1                       A F T E R N O O N           S E S S I O N
2                       THE VIDEOGRAPHER:         We are back on the
3               record at 1:19 p.m.
4                       BY MR. ZIMMERMAN:
5              Q.       Thank you, okay, Mr. Berglund, I'm going to
6       take you back to your expert report, Exhibit 1, and
7       we're looking at page eight now.               Just let me know when
8       you're there.
9              A.       I'm there.
10             Q.       So looking at paragraph seven of the
11      report, you quote the North Carolina regulation there
12      that we were looking at earlier, right?
13             A.       Yes.
14             Q.       And the portion you quoted requires the
15      claimant to represent the vehicle within better than
16      average condition, right?
17             A.       Yes.
18             Q.       And then it says:         If the claimant does
19      that, then it says:       The insurer shall give due
20      consideration to the condition of the claimant's
21      vehicle prior to the accident, right?
22             A.       Yes.
23             Q.       Okay.   Is it your opinion that Garrison did
24      not comply with this portion of the regulation?
25             A.       Yeah, they did give consideration for an

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1       adjustment upward, as I recall.
2               Q.      So why did you quote this portion of the
3       regulation?
4               A.      It seemed like the right thing to do at the
5       time.
6               Q.      Can you tell me what you mean by that?
7               A.      No, just pointing out that that section
8       does require that due consideration be given to the
9       policyholder's vehicle.
10              Q.      But you're not saying that Garrison didn't
11      comply with this provision?
12              A.      No, I'm not.
13              Q.      Okay.   Do you know how many of Garrison's
14      insureds or claimants represented to Garrison that
15      their vehicle was in better than average condition?
16              A.      I didn't see any documentation of that.
17              Q.      So you're not offering an opinion as to
18      whether X number of insureds did or X percentage of
19      insureds did?
20              A.      No, I have no opinion on that.
21              Q.      Okay.   Look at paragraph 9, the next
22      paragraph, please.       There you say:            Garrison's standard
23      practice of utilizing an arbitrary negative condition
24      adjustment is inconsistent with the minimum standards
25      of conduct for the insurance industry, including those

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1       up your microphone at all, I don't know if others are
2       having trouble hearing, but if not, I can live.
3              A.         I'm sorry.       I just got to find out where
4       that control is.          That's this.          That's this.    It might
5       be on my phone.           It shouldn't be on my phone.
6              Q.         If you're not able to, I'll live.
7              A.         Hold on for a second.
8                         THE VIDEOGRAPHER:           I'm hearing him
9                okay on my end.
10                        BY MR. ZIMMERMAN:
11             Q.         We'll continue on, Mr. Berglund, that's all
12      right.
13             A.         Okay.     I'm looking at my controls here,
14      whoops.         I don't see a way of turning the volume up.                I
15      can knock off the ear buds if you would prefer so I can
16      hear you better.
17             Q.         No, that's fine.           It's okay.   It's okay.
18      We'll power through.
19                        So Mr. DeStefano, do you have tab three in
20      front of you?         This was Berglund Exhibit 5.             This is
21      the regulation that went into effect October 1, 2020,
22      right?
23             A.         I have it, yes, that is it.
24             Q.         Okay.     And so Mr. Berglund, you didn't
25      identify it earlier, but now you're saying there's

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1       another verse in this regulation that you identified
2       over the lunch break that requires USAA to explain its
3       condition adjustment, right?
4               A.        That is my impression of it, it's
5       subparagraph H.
6               Q.        Subparagraph H?
7               A.        That's correct.
8               Q.        Okay.   And my last question asked for USAA,
9       but it should have asked for Garrison.                    Same
10      subsection?
11              A.        I'm sorry, yes.
12              Q.        Okay, that's my apologies.
13                        So subsection H says:              When a motor
14      vehicle's total loss is settled on a basis which
15      deviates from this rule, the deviation must be
16      supported by documentation within the claim file
17      detailing the total loss, motor vehicle's condition,
18      and the reason for the deviation.                    Do you see that?
19              A.        I do.
20              Q.        Okay.   Is that the portion that you say
21      requires Garrison to itemize or explain the condition
22      adjustment?
23              A.        I think further in that same paragraph it
24      says:        Any deduction from the actual cash value of the
25      total motor vehicle, including deductions for salvage

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1       or prior damage, be itemized and contain the amount of
2       the deduction.         The documentation that supports the
3       basis for this settlement shall be shared with the
4       claimant or the policyholder.
5              Q.       Okay.     So this only applies when the motor
6       vehicle's total loss is settled on a basis which
7       deviates from the other portions of the rule, right?
8                       MR. DeSTEFANO:         Form and foundation.
9              A.       That's what it says.
10             Q.       Okay.     That's your understanding of how the
11      statute would operate, as with your experience as a
12      claims adjuster?
13                      MR. DeSTEFANO:         Form and foundation.
14                      BY MR. ZIMMERMAN:
15             Q.       Sorry.     What was your answer, Mr. Berglund?
16             A.       Yes.
17             Q.       So there has to be some kind of ex-ante
18      deviation from the rule before the requirements of
19      subsection H come into effect?
20                      MR. DeSTEFANO:         Form and foundation.
21             A.       It's a little confusing, because it says:
22      Which deviates from this rule, but then it doesn't
23      really stip -- identify what "this rule is."
24             Q.       You don't understand this rule to be this
25      regulation?

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1                       MR. DeSTEFANO:       Form and foundation.
2              A.       Well, it says this rule.           Then this rule is
3       a number of paragraphs, you know, a number of
4       paragraphs long.
5              Q.       Okay.   Well, let me ask you this, can you
6       point me to any other paragraph of this regulation that
7       you think Garrison violated while handling total loss
8       claims?
9              A.       Let me read the balance of it.
10             Q.       Go ahead.
11             A.       I got that one, and I looked at and says it
12      doesn't seem to apply to our case in point.
13                      (Pause.)
14             A.       Well, really the next one, that would be
15      (i) if requested by the claimant, total loss payment by
16      the insurance company shall be accompanied by the
17      written statement listing the estimates, valuations,
18      and any deductions used in calculating payment, and the
19      source of these values.
20                      I think that would also be applicable.
21             Q.       Okay.   And the preface to that one says:
22      If requested by the claimant, right?
23             A.       Correct.
24             Q.       So for subsection i to be applicable, the
25      claimant has to request, make a request to Garrison,

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1              Q.       Okay.    So subsection i you think is another
2       portion of this regulation that requires Garrison to
3       itemize or explain the condition adjustment?
4              A.       Yes.    I think this document is really the
5       minimum required of an insurance company who's dealing
6       in good faith.
7              Q.       Okay.    Now, did Ms. Fortson make a request
8       to Garrison pursuant to subsection i, or that would
9       qualify under subsection i?
10             A.       I don't believe so, at least not to my
11      recollection.      But, again, that would just be the
12      minimum standard, I think, for dealing in good faith.
13             Q.       Okay.    So nothing in this -- so subsection
14      i of this regulation would not apply to Ms. Fortson's
15      claim then?
16                      MR. DeSTEFANO:        Form and foundation.
17             A.       Again, it would not, inasmuch as this is a
18      minimum requirement, I think the insurance company
19      should exceed the minimum requirement under the
20      statute.
21             Q.       Okay.    Is there any other portions you
22      talked about subsection h and subsection i.              Are there
23      any other portions of this regulation that you say
24      Garrison violated?
25             A.       As you're talking, I'm reading.

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1                       MR. DeSTEFANO:       Form and foundation.
2              A.       We discussed paragraph m.             I think it looks
3       like it's almost identical wording to the older
4       statute, in that if the insurance company has the right
5       to elect to replace the vehicle, and if they do, the
6       only deductions should be for additional options and
7       equipment.      There's no mention of any deduction for a
8       condition adjustment.        But, again, that applies to only
9       if they decide to replace the car.                 Again, this is a
10      minimum standard.       I don't see anything else here that
11      would apply, in my opinion.
12             Q.       Okay.   So subsection m we talked about
13      applies to the replacement of a total loss vehicle,
14      right?
15             A.       Correct.
16             Q.       Okay.   But Ms. Fortson was offered a cash
17      settlement.      She wasn't offered a replacement, right?
18             A.       That is correct.
19             Q.       Okay.   And subsection i is premised on if
20      the claimant requests a written statement, right?
21             A.       Correct.
22             Q.       And Ms. Fortson did not request --
23                      MR. DeSTEFANO:       Form and foundation.
24                      BY MR. ZIMMERMAN:
25             Q.       And Ms. Fortson did not request such a

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1       written statement, right?
2              A.       That is correct.
3              Q.       And then subsection h only applies when a
4       motor vehicle's total loss is settled on a basis which
5       deviates from this rule, right?
6                       MR. DeSTEFANO:        Form and foundation.
7              A.       Right.
8              Q.       So is there any other portion of this rule
9       that you believe Garrison's settlement of Ms. Fortson's
10      claims deviated from?
11             A.       I don't believe so.
12             Q.       Okay.    Okay.     How many other class
13      members -- and I apologize if I asked you this.               How
14      many other class members requested a written statement
15      from Garrison?
16             A.       I have no idea.
17             Q.       Okay.    So you don't offer any opinion as to
18      whether a certain percentage of the class did?
19             A.       I do not.
20             Q.       Okay.    How would we know whether any
21      individual class member did or did not make a request
22      to Garrison for a written statement?
23             A.       It's outside the scope of my testimony.
24             Q.       I mean, what would -- with your experience
25      adjusting claims, what would you have to look at to

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1       4.
2              A.        Do we need the deposition still?
3              Q.        Yeah, we might.        You can close out of it
4       for now.        Actually, leave it open.
5              A.        Page 14, did you say, counselor?
6              Q.        Page 14, paragraph 4, please.
7              A.        Okay.   Okay.
8              Q.        So I'm reading from your paragraph 4 here.
9       You mention deducting an amount declared to be a
10      condition adjustment from the values of comparable
11      vehicles without conducting an inspection of those
12      vehicles or relying (in a small fraction of cases) on
13      inspections performed to rate the dealers, not the
14      vehicles.       Do you see that?
15             A.        Yes.
16             Q.        What do you mean by performed to rate the
17      dealers not the vehicles?
18             A.        CCC's process is not to look at all
19      dealers, only to look at dealers that reach -- that
20      meet a certain threshold of compliance with them.                So
21      they're not looking at all the dealers in general.
22      They're only looking at certain dealers and those
23      dealers --
24             Q.        Go ahead, I'm sorry.
25

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25             Q.       But doesn't that work to the benefit of the

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1       insured, if the comparable vehicles are in better
2       condition?
3              A.       Not when they use unexplained condition
4       adjustments it isn't.
5              Q.       Okay.   But the condition adjustment would
6       have to be applied whether or not irrespective of what
7       type of comparable vehicle CCC uses, right?
8              A.       It depends on the basis for the condition
9       adjustment, and that we don't know.




21             Q.       Okay.   Okay.     I guess I'm just trying to
22      understand, what do you mean when you say performed to
23      rate the dealers, not the vehicles?
24             A.       Well, they're two separate things.           One is
25      you're rating a class of dealers that you're going to

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1       I think that's placing the insurance company,
2       Garrison's interests, ahead of the interests of the
3       policyholder.
4              Q.       But you told me that we don't know for a
5       fact whether the 722 was too high or too low, right?
6              A.       That is correct.
7              Q.       So how do we know that it was placing
8       Garrison's interests over the insured?
9                       MR. DeSTEFANO:       Form and foundation.
10             A.       The insured accept it as true, even though
11      they didn't know it.
12             Q.       But it might have been -- go ahead, I'm
13      sorry.
14             A.       It wouldn't matter whether it was higher or
15      lower.      The fact that they accepted it without knowing
16      the basis for it and pushed down their policyholder I
17      think is unfair, and I don't think it's dealing in good
18      faith.
19             Q.       Okay.   Are you offering any opinions about
20      Garrison's motivation for using CCC valuation products?
21             A.       I can only assume they're using it to save
22      money, cut down on the cost of claims, but I'm not
23      going to be testifying to that.
24             Q.       So you don't have any expert opinion about
25      Garrison's motivations for using the CCC product?

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1               A.      I'd have to go into their mind.          I can't do
2       that.
3               Q.      Now, you said you assumed they are doing it
4       to save money though, right?
5               A.      That would be apparent to me, based on my
6       observations.
7               Q.      That's kind of your lay view of it?
8               A.      That is correct, and based on my 50 years
9       of experience handling claims.
10              Q.      What's that view based on?
11              A.      My 50 years of experience handling claims.
12              Q.      I guess what documents, testimony, or
13      evidence is that based on?
14              A.      That the insurance companies, accepting as
15      accurate, calculations providing them -- provided to
16      them by CCC, which are not supported by an explanation
17      or documentation, and using those numbers as a
18      settlement platform to deal with their policyholders,
19      which I think is inherently inappropriate, and I do not
20      think it's dealing in good faith.
21              Q.      Yeah, but what impact does that have -- I
22      guess how does that relate to USAA's motivation for
23      using CCC?
24              A.      I didn't say it did.
25              Q.      Oh, okay.    That's what I'm asking about.

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1              A.       I don't know what their motivation is,
2       other than attempting to save money on the cost of
3       claims.
4              Q.       And that's what I'm asking about.           Why do
5       you think it was Garrison's motivation to use CCC to
6       save money?
7              A.       Otherwise why would they use them?
8              Q.       Did you see any documents, testimony or
9       evidence supporting your assumption that Garrison used
10      CCC to save money?
11             A.       No, I did not.
12             Q.       Now, two sentences later, we're still on
13      page 16, paragraph 10, do you see the sentence
14      beginning Garrison assumes that all?
15             A.       What starts off by adopting this basic
16      premise, Garrison assumes that all?
17             Q.       Right.   Right.       By adopting this basic
18      premise, yeah, do you see that?
19             A.       I do.
20             Q.       So it says:       By adopting this basic
21      premise, Garrison assumes that all of its insureds'
22      vehicles are in less than good or dealer ready
23      condition, giving Garrison the upper hand when
24      evaluating total loss claim, because assuming this
25      premise, the total value of every car would be reduced

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1       regardless of the vehicle's actual condition.
2                       Do you see that?
3              A.       I do.
4              Q.       Now, when you say less than good, I assume
5       you mean less than very good, right?
6              A.       It depends on the matrix, and I don't have
7       the matrix in front of me, so I'm not positive on what
8       the individual categories are.
9              Q.       You can pull back open document number 8,
10      what we marked as Berglund Exhibit 9?
11             A.       Okay, I'm there.
12             Q.       And actually if it helps you, sir, I'll
13      point you to footnote 14 of your report, and if you
14      look at that, you'll see the Bates number there is the
15      same Bates number we're looking at here.
16                      Do you see that?
17             A.       No, but I understand what you're saying.                 I
18      think you're right.
19             Q.       Okay.     So do you understand this to be the
20      conditioning matrix, the Garrison conditioning matrix?
21             A.       Seeing it, it seems like it is.
22             Q.       Okay.     So when you say here -- we're back
23      on page 16, paragraph 10, you say:                   Garrison assumes
24      that all of their insureds' vehicles are in less than
25      good condition.         Do you see that?

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1              A.        I do.
2              Q.        Is that supposed to say very good instead
3       of good?
4              A.        I think you're right.              I think it should be
5       very good.
6              Q.        Okay.   Now, Garrison inspects every loss
7       vehicle to determine its condition, right, pre-accident
8       condition?
9              A.        Yeah, every vehicle that the policyholder
10      or third-party claim adjusts.              Let me say, I'm assuming
11      they do.        I don't know if they look at every single
12      one.    They may have some dealerships they'll accept the
13      dealership's -- not the dealership, the body shop will
14      accept the body shop's valuation, and a Garrison
15      adjuster may not look at them, and that would be
16      standard protocol.          They don't necessarily look at
17      every single one by a staff employee.
18             Q.        But it's your understanding that Garrison
19      assesses the condition, whether themselves or through
20      an agent, of every loss vehicle, right?
21             A.        Correct.
22             Q.        All right, that makes sense.
23                       So how was Garrison assuming that vehicles
24      are in less than very good condition if it's actually
25      inspecting each and every loss vehicle?

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1              A.       I don't know if I can answer that.           I mean,
2       there are a lot of vehicles on the road that are not in
3       good condition.         There are a lot of vehicles on the
4       lots that are not in good condition, but many of those
5       have been excluded from the fold, based on CCC's
6       analysis.
7              Q.       What do you mean that many of those have
8       been excluded based on CCC's analysis?




20             Q.       Okay.     So is the average vehicle in the CCC
21      dealer ready database in better condition than the
22      average vehicle on the road?
23             A.       I can't answer that, because I don't know.
24             Q.       You don't have any expert opinions on that?
25             A.       I don't have an expert opinion.          I can

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1       legal, and, you know, someone else may disagree with
2       that, right?
3              A.       And I disagree, yeah.
4              Q.       So I'm asking you did you review any
5       documents where Garrison -- showing that Garrison knew
6       that CCC would not comply with the standard in the
7       industry in North Carolina?
8              A.       No, I don't believe I did.
9              Q.       Okay.   So you didn't review any evidence or
10      testimony or documents showing that Garrison believed
11      it was in violation of industry standards in North
12      Carolina, did you?
13                      MR. DeSTEFANO:       Form and foundation.
14             A.       No, I did not.
15             Q.       Okay.   Did you ever review any documents,
16      testimony or evidence where Garrison ever recognized
17      the use of CCC reports to be illegal?
18                      MR. DeSTEFANO:       Form and foundation.
19             A.       No.
20                      THE WITNESS:      John, you have to talk
21              faster.
22             A.       No.
23             Q.       No was your answer?
24             A.       My answer was no.
25                      MR. DeSTEFANO:       It's hard to keep up

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1               foundation.

2             A.        I honestly can't say.           You know, I'm not

3       certain.

4                       MR. DeSTEFANO:       Just one moment.

5                       (Pause.)

6                       MR. DeSTEFANO:       That's all I have.

7                       FURTHER EXAMINATION BY COUNSEL FOR DEFENDANT

8                       BY MR. ZIMMERMAN:

9             Q.        Counsel, just a couple of follow up.

10                      Now, Mr. Berglund, I'm going to ask you a

11      couple of additional questions, only a couple of

12      minutes, just following off of what Mr. DeStefano just

13      asked of you.

14            A.        Yes.

15            Q.        Mr. DeStefano can advise you not to answer

16      any portion of this question, but to the extent he

17      doesn't advise you, I want you to kind of tell me

18      everything.

19                      Tell me, did you discuss the total loss

20      regulation with Mr. DeStefano during the lunch break?

21            A.        We did not discuss the regulation, no.              We

22      discussed that there was a regulation, and I mentioned

23      to him that I wanted to look at it.

24            Q.        And what did he say in response to that?

25            A.        Okay.

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1               Q.      Did he encourage you to go look at it?
2               A.      I would not say he encouraged me, no.
3               Q.      What were the words used in response?
4               A.      He might have said that might be a good
5       idea.
6               Q.      Did you have any other conversations about
7       your testimony during the lunch break with
8       Mr. DeStefano?
9               A.      I did not.
10              Q.      Just quickly, Mr. DeStefano asked you about
11      whether the post October 2020 version of the regulation
12      had an itemization requirement, right?
13              A.      I'm sorry, would you repeat that, please?
14              Q.      Just in the set of questions Mr. DeStefano
15      just asked you, he asked you whether the post
16      October 2020 version of the regulation contained an
17      itemization requirement?
18              A.      Yes.
19              Q.      Okay.   And we discussed previously all the
20      portions of the regulation that might contain that
21      requirement?
22              A.      We just discussed regulation.          We didn't go
23      down paragraph by paragraph.             I think you asked me a
24      general question if I had any other provisions that I
25      thought came into play, and I recall answering no, I

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1       didn't; but I really didn't read the entire statute at
2       that time.
3              Q.       Okay.   Go back to tab three then, which is
4       Berglund Exhibit 5, the 2020 version of the regulation.
5              A.       Hold on, I've got to size this up.
6                       Okay.   Number three, I don't know what
7       exhibit number it's identified as.
8              Q.       It should be Exhibit number Berglund
9       Exhibit 5, but, yeah, it's number three for your
10      purposes.
11                      Now, besides lunch break, did you discuss
12      this regulation with Mr. DeStefano at any other time
13      today?
14             A.       No, I did not.
15             Q.       Okay.   Can you identify what portion of
16      this regulation you say contains an itemization
17      requirement?
18             A.       Paragraph H:      Any deduction from the actual
19      cash value of the total loss vehicle, including
20      deductions or salvage -- deductions for salvage or
21      prior damage shall be itemized and contain the amount
22      of the deduction.       The documentation that supports the
23      basis of the settlement shall be shared with the
24      claimant.
25             Q.       Any other portion of this statute besides

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1       subparagraph H that contains an itemization
2       requirement?
3              A.       No, I have nothing else underlined, so I'm
4       going to say no.
5              Q.       When did you do that underlining?
6              A.       When I looked at it earlier today.
7                       You have to realize when John and I stopped
8       talking, then I came back in here and I opened it up on
9       my computer and looked at it and I underlined it, and I
10      highlight things to refresh my memory.
11                      MR. ZIMMERMAN:       Okay.         Okay.    That's
12              all the additional questions that I have.
13                      Mr. Berglund, I do want to say thank
14              you for your time today.            I appreciate it.
15              I know this can be a long process sometimes.
16              I really appreciate your time today.
17                      THE WITNESS:      I enjoyed it.            It's a
18              pleasure chatting with you.
19                      THE VIDEOGRAPHER:          Any more questions,
20              counselors?     Anything further?
21                      MR. DeSTEFANO:       No.      Thank you.
22                      THE VIDEOGRAPHER:          This concludes the
23              deposition.     We're off the record at
24              5:05 p.m.
25                      (Whereupon the deposition was

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                                                                     Page 1

1                          UNITED STATES DISTRICT COURT
2                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3       ________________________________
4       ELIZABETH V. FORTSON,
5                       Plaintiffs,
6               v.                                         Civil Action No.
7       GARRISON PROPERTY AND CASUALTY                     1:19-cv-00294-
8       INSURANCE COMPANY,                                 CCE-JLW
9                       Defendant.
10      ________________________________
11               VIDEOTAPED DEPOSITION OF RANDALL MCCATHREN
12      DATE:                Tuesday, August 17, 2021
13      TIME:                10:08 a.m.
14      LOCATION:            Remote Proceeding
15                           Greensboro, North Carolina 27420
16      REPORTED BY:         Joshua Seagondollar, Notary Public
17      JOB No.:             4765452
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1                            A P P E A R A N C E S
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7              mmalone@hendrenmalone.com
8              (919) 420-7867
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1                        A P P E A R A N C E S (Cont'd)
2       ALSO PRESENT:
3               DeAndrae Shivers, Videographer
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1                                    I N D E X
2       EXAMINATION:                                                    PAGE
3              By Mr. Zimmerman                                         6
4
5                                E X H I B I T S
6       NO.                DESCRIPTION                                  PAGE
7       Exhibit 1          Expert Report                                14
8       Exhibit 2          Inspection Guidelines, Vehicle               102
9                          Condition
10      Exhibit 3          Market Valuation Report                      105
11      Exhibit 4          NADA Guides FAQ                              146
12      Exhibit 5          Kelley Blue Book Condition Quiz              156
13      Exhibit 6          Deposition of John Gintvainis                168
14      Exhibit 7          Field Industry Representative                176
15                         Training Manual
16      Exhibit 8          Vehicle Condition Market Value               190
17                         Impact Study
18      Exhibit 9          Email, 4/23/2021                             213
19      Exhibit 10         N.C. Gen. Stat. 20-183.4C                    223
20      Exhibit 11         N.C. Gen. Stat. 20-183.3                     223
21
22
23                           (*Exhibits attached.)
24
25

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1       know, test it against data before I gave you a
2       definitive answer.         But I think the idea of developing
3       comparable vehicles is adequate and correct.                    They
4       need to be conditioned.           They need to be -- they need
5       to be inspected so that a complete condition of any
6       comps is known.         I would include some variables, like
7       color, that affect the price of the vehicle.
8              Q        So you're --
9              A        -- look further as to whether, you know,
10      only sale prices should be included.                 What the
11      geographic, you know, spread and time -- time limits
12      should be before -- and certainly, I would have the
13      same criteria that is used to evaluate the condition
14      of the comp vehicles as being used for the total loss
15      vehicles.
16             Q        So generally speaking, if you're trying to
17      determine the condition of a total -- or I'm sorry.
18      Let me start that over.
19                      Generally speaking, if you want to determine
20      the value of a total loss vehicle, one way you could
21      do that would be to compare it to comparable vehicles
22      in the market?
23             A        Yes.
24             Q        Okay.   But your opinion is that each of
25      those comparable vehicles has to be individually

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1       inspected to determine the actual value of the total
2       loss vehicle?
3              A        Yes.
4              Q        There's no way to estimate the value of a
5       total loss vehicle without individually inspecting
6       each of those comparable vehicles?
7              A        I mean, correct.       I would qualify by saying,
8       yeah, you can get, you know, a kind of broad estimate,
9       but it may not be very accurate because you don't know
10      the specific condition to which you're comparing the
11      total loss vehicles.
12             Q        Okay.   So you won't be able to determine
13      whether or not the insured was actually paid more or
14      less than the value of their vehicle without
15      performing those inspections?
16             A        Yeah.   I would say that given any individual
17      vehicle, if you don't know the condition and the time
18      period and the color of the comp vehicle to which it's
19      -- or group of comp vehicles to which it's being
20      compared, then you don't know whether, you know, it
21      would be more or less than this other average that
22      you're coming up with.
23             Q        Prior to you working this case, did you know
24      about the company CCC Information Services?
25             A        I think I had heard of it some place, but I

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1       See, I described how I think the process, you know,
2       might work, but I haven't really thought through would
3       -- would it actually -- would it work in the real
4       world to get even more accurate.                  I -- I'd have to
5       think about that.
6       BY MR. ZIMMERMAN:
7              Q        So I guess for purposes of your expert
8       report, you didn't provide any opinions or you're not
9       offering any opinions that Garrison shouldn't have
10      used conditioning standards, right?
11             A        Right.
12             Q        Okay.    You're saying they should have used
13      different conditioning standards?
14             A        Yes.
15             Q        Okay.    And you don't point to any specific
16      conditioning standards they should have used instead
17      though, right?
18             A        Right.
19             Q        Okay.    So looking at page seven of your
20      report, again, we're at the third sentence of the top
21      paragraph.        You say, "The standards are so ambiguous
22      and overlapping that different adjusters will
23      undoubtedly apply them differently to the same
24      components, and it is likely that the same adjuster
25      will apply them differently on different vehicles."

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1       Do you see that?
2              A        Yes.
3              Q        Okay.    So some adjusters using these
4       standards are going to undervalue components, right?
5              A        When you say undervalue --
6              Q        Under condition.
7              A        -- undervalue?
8              Q        Going to assign the condition of the
9       component lower than it's supposed to be, right?
10             A        Yes.
11             Q        And then some adjusters will overvalue
12      components, right?
13             A        Yeah.    Probably so.
14             Q        Okay.    Now just to be clear, you didn't
15      actually review any claim files from class members in
16      this litigation, right?
17             A        Any claim files?        Right.
18             Q        Okay.    And you didn't actually inspect any
19      of the CCC vehicles used as comparables, right?
20             A        Right.
21             Q        So you're not pointing to specific examples
22      of adjusters applying these standards differently,
23      right?
24             A        Right.
25             Q        You're just saying theoretically, it could

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1       testimony did you see that supports that point?
2              A        Well, the description -- I forget the name
3       of the guy who was the CCC 30(b)(6) representative at
4       this moment.
5              Q        Mr. Cervantes [ph]?
6              A        I just don't remember his name.        But his
7       description of what the field representatives do in
8       looking at the manual that's given to the field
9       representatives as to what they're supposed to do,
10      yes, that's my belief from both of those -- from the
11      testimony and from the training manual that cars that
12      are reasonably good and ready to sell should be
13      proofed into the comp database.
14             Q        Okay.     Any other documents or testimony
15      that's the basis of that belief?
16             A        Not that I recall.
17             Q        Okay.     Do you offer any opinions that CCC
18      inspectors are intentionally overvaluing vehicles by
19      assigning better condition ratings than appropriate?
20             A        No.     I don't -- I think it's just part of
21      the methodology.
22             Q        Okay.     Do you offer any opinions that
23      Garrison's inspectors are intentionally undervaluing
24      vehicles based on condition inspections?
25             A        No.

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1               Q       No?     Okay.   So I assume I know the answer to
2       this question.           Are you offering any opinions that
3       Garrison used CCC so as to pay less to the -- to
4       insureds?
5               A       No, I don't have any evidence of that.
6               Q       Okay.     Can we jump ahead to page 15 of your
7       report, please?
8               A       Okay.     Got it.
9               Q       Okay.     So in this top paragraph here, you're
10      describing the work of CCC's field representatives,
11      right?
12              A       Right.
13              Q       And you're talking about the pay they
14      receive?
15              A       Yeah.
16              Q       And four lines down, you say, "They are paid
17      on a piecemeal basis at a very low rate."              Do you see
18      that?
19              A       Yes.
20              Q       Okay.     Why do you say a very low rate?
21              A       Because if you take a reasonable amount of
22      time, I mean, even five minutes a car, you would make
23      something like $9, $10 an hour, which is not a living
24      wage.
25                      And to make $20, which if you have a family

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1       BY MR. ZIMMERMAN:
2              Q        Okay, okay.      So your opinions don't relate
3       to whether CCC's adjustments are too big or too small.
4       You're just saying that they shouldn't be uniform?
5              A        I'm saying they don't have a basis to make a
6       judgment without a different and much more specific
7       comparison of the dealer comp vehicle components in
8       their condition, compared to the loss vehicle
9       component in its condition.
10             Q        Okay, okay.      I think I understand.         You're
11      not offering an opinion on the number.                   You're not
12      saying --
13             A        No.
14             Q        -- CCC's condition adjustment is too high,
15      right?     Or too low?
16             A        No.     Once -- once we're -- once we're
17      assuming that there's -- one's a good condition and
18      one's a very good condition, I -- I'm not making any
19      judgment at all whether they're doing, you know --
20      whether what they're using is too high, too low, just
21      right.     I haven't examined that issue at all.
22             Q        Okay.
23             A        I don't know.
24             Q        No, that makes sense.             You didn't discuss
25      this report -- this Exhibit 8 in your report, did you?

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1                       My opinion is they -- they would have more
2       accuracy if they add a inspection process identical to
3       the total loss inspection process.                     They could have a
4       lot fewer vehicles and be more accurate.
5              Q        So in your view, if they had fewer vehicles,
6       but all of those vehicles were inspected, it would be
7       more accurate?
8              A        Yes.    Inspected to the consistency and
9       equivalency to the total loss vehicles.
10             Q        Okay.    And what's the kind of statistical or
11      econometric reason for that opinion?                     How'd you come
12      to that conclusion?
13             A        I think it's a logical conclusion that if
14      you add equivalent inspection of components, you could
15      make one to one comparisons with some accuracy.                     If
16      you don't have inspections that deliver the same
17      information about each components, then you will have
18      less accuracy in trying to make comparisons.
19             Q        There's a tradeoff there you recognize,
20      right?     So CCC doesn't have the possibility to inspect
21      every vehicle in its database, right?
22                      Let me ask it this way.               Is it logistically
23      possible for CCC to inspect every vehicle in its
24      database?
25             A        No.

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1              Q        Okay.     Because there's millions and millions
2       of vehicles, right?
3              A        Right.
4              Q        So if CCC was going to individually inspect
5       every vehicle in its database, it would have to be a
6       much smaller database, right?
7              A        Yes.
8              Q        And your opinion is that would be a more
9       accurate database, even though they are sacrificing
10      size and quantity?
11             A        Yes.     As I described, if they did the
12      inspection with equivalency to the total loss
13      inspection, it would be much more accurate even if
14      they had fewer cars to choose from.
15             Q        So it'd be more accurate on the conditioning
16      side, but it might be less accurate on the pure
17      valuation side, right?             Because there would be less
18      comparable vehicles to select from?
19             A        Well, I guess to the extent that they're
20      using all these advertised prices, I have some concern
21      about the accuracy of using all those as opposed to
22      dealer actual -- actual sale prices.
23                      So I think it could be, but I'm not certain
24      of that because of some real unknowns to me about what
25      these advertised prices represent and how close they

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1       the -- that's when the vehicle arrives back at the
2       dealership, right?
3              A        Right.
4              Q        That's not what is turned around for sale to
5       resale to a consumer, right?
6              A        Right.
7              Q        So the vehicle may be in a different
8       condition when it's turned around for resale to a
9       consumer, right?
10             A        Yes.
11             Q        And that's because dealers do conduct
12      reconditioning and repairs, right?
13             A        Yes.
14             Q        And they do so because they think it's going
15      to raise the value of the vehicle?
16             A        Yes.
17             Q        I mean, they wouldn't spend the money
18      reconditioning it if they didn't think they could turn
19      a profit off of it, right?
20             A        Right.
21             Q        Okay.    So generally, dealer vehicles that
22      are listed for sale are in better condition than when
23      the dealer received that vehicle, right?
24             A        Yeah.    No, I'd say generally, that's true.
25      I'm not 100 percent, but generally true.

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1       two or $300 for every 100 they spend because these
2       indirect costs, you've got to include in the analysis.
3              Q        Okay.     So some of the vehicle components,
4       when they're reconditioned by the dealer, will put
5       them in like-new condition though, right?
6              A        Yeah.     Maybe.
7              Q        So for example, changing the tires on a car.
8              A        Right.
9              Q        If you replace the tires, you're generally
10      going to put new tires on?
11             A        Right.
12             Q        Okay.     But CCC doesn't account for that in
13      its condition adjustments, right?                      It assumes all the
14      components are very good condition?
15             A        Right.
16             Q        Okay.     So that component there would be a
17      benefit to the insured?
18             A        Yes.     That'd be a good example of that.
19             Q        Okay, okay.        So looking at your expert
20      report, this is the first full paragraph on page 18.
21      You say, "Dealer vehicles aren't necessarily in better
22      condition than total loss vehicles," right?
23             A        Yes.
24             Q        But you agree that generally, they are in
25      better condition, right?

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1                               MR. MALONE:      Objection.
2                               THE WITNESS:       Yeah.       I think if you
3       just took the -- you know, the bell-shape curve of
4       both, the, you know, highest point of dealer vehicles
5       would be higher than, you know, most populate point of
6       the total loss vehicles.
7       BY MR. ZIMMERMAN:
8              Q        Okay.     That makes sense.            Yeah.
9                       Now when CCC is determining the value of a
10      total loss vehicle, if a particular component is in
11      very good condition as determined by Garrison's
12      inspector, CCC gives the loss vehicle credit for that,
13      right?
14             A        Well, in the sense that they don't do a
15      deduction, yes.
16             Q        They actually give a positive adjustment to
17      the lost vehicle, right?
18             A        No.     Not if it's in very good -- comparing
19      to very good.
20             Q        So for a particular -- so compared to good
21      though, it would give a positive adjustment?
22             A        Oh, oh, yes.       I'm sorry.
23             Q        Okay, okay.      And then I think we're on the
24      same page here.           If all the components are listed as
25      very good, it would be equal to the condition

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1       vehicles with the total loss vehicles, you should make
2       some adjustment for whatever amount the dealer spent
3       to recondition that vehicle, right?
4                               MR. MALONE:      Objection.
5                               THE WITNESS:       Some adjustment?        Well, I
6       don't think you just take a reconditioning cost or
7       something and make some adjustment.                      I mean, you
8       should be comparing the actual condition of the total
9       loss vehicle and using the same criteria, the same
10      inspection process, the same effort to get comparable
11      condition -- on the comp vehicle.
12      BY MR. ZIMMERMAN:
13             Q        Okay.
14             A        And yes.     You know, if you've asked -- I
15      think you've asked are many of these or are most of
16      these dealer vehicles going to be in better condition?
17      I said yes because -- get some kind of reconditioning.
18             Q        Okay.     I think we're on the same page, but
19      just to be clear, so these vehicles on dealer lots
20      that are -- the comparable vehicles that are in better
21      condition than the total loss vehicle should receive
22      some kind of condition adjustment, right?                      You're just
23      opining as to whether or not it should be the same
24      condition adjustment for every vehicle.
25             A        Yeah.     I guess -- yeah.             If there's some --

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1       if on average, there are some components of the total
2       loss vehicle that on average don't meet the very good
3       standard, while on average some of the dealer -- most
4       of the dealer vehicles -- do, then you know, on
5       average, you would have an adjustment for that
6       component.
7              Q        Okay.     Okay.    I think I understand.
8                       Okay.     I'm going to have you open tab 10 and
9       11 of the set of documents I provided.                  This is going
10      to be Exhibit 10.           It's going to be North Carolina
11      Statute 20-183.4C.
12                              (Exhibit 10 was marked for
13                              identification.)
14             A        Yeah.
15             Q        And then Exhibit 11 is conveniently going to
16      be tab 11.        It's going to be North Carolina General
17      Statute 20-183.3.           Do you have both those documents?
18                              (Exhibit 11 was marked for
19                              identification.)
20             A        I have them both.          I'm not sure I can have
21      them side by side.           I'm not sure --
22             Q        I can ask about one at a time.            They're --
23             A        I can -- okay.        So I'm looking at the first
24      one.
25             Q        Let's start -- yeah.            Starting with tab 10,

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                                                                  Page 1

1                            UNITED STATES DISTRICT COURT
2                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3                       Civil Action No. 1:19-cv-00294-CCE-JLW
4
         ELIZABETH V. FORTSON,                     )
5                                                  )
                                                   )
6        Plaintiff,                                )
                                                   )
7                                                  )
         v.                                        )
8                                                  )
         GARRISON PROPERTY AND                     )
9        CASUALTY INSURANCE COMPANY, )
                                                   )
10       Defendant.                                )
11
12
13
14                Zoom Video Deposition of DAVID SCHWICKERATH
15                          (Taken by the Defendant)
16                                 Phoenix, Arizona
17                            Thursday, September 9, 2021
18
19
20
21
22       Reported by:            Marisa Munoz-Vourakis -
                                 RMR, CRR and Notary Public
23
24
25

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14                      Columbus, OH 43215

15                      mdrocton@bakerlaw.com

16

17       Also Present:       MICHAEL KIRBY, Videographer

18                                        o0o

19

20                          Zoom Video Deposition of DAVID SCHWICKERATH,

21       taken by the Defendant, at Phoenix, Arizona, on the 9th

22       day of September, 2021 at 10:39 a.m., before Marisa

23       Munoz-Vourakis, Registered Merit Reporter, Certified

24       Realtime Reporter and Notary Public.

25

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1                                      I N D E X
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5              EXAMINATION By Mr. DeStefano . . . . . . 188
6              FURTHER EXAMINATION By Mr. Drocton . . . 191
7                          DEPOSITION EXHIBITS
8        EXHIBIT NUMBER         DESCRIPTION              PAGE
         Exhibit 1   Expert Report of Mr.                14
 9                   Schwickerath
10       Exhibit 2   2020 USAA Annual Report             19
11       Exhibit 3   2019 USAA Annual Report             20
12       Exhibit 4   Intermediate Accounting,            25
                     Chapter 1
13
         Exhibit 5      Intermediate Accounting Chapter               32
14                      2
15       Exhibit 6      Bates number                                  81
                        CCC_Fortson000109694
16
         Exhibit 7      Bates stamp                                   82
17                      CCC_Fortson000109679
18       Exhibit 8      Bates number Garrison PC8045                  84
19       Exhibit 9      Fortson CCC Report                           100
20       Exhibit 10     Insurance Regulation 11                      100
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         Exhibit 11     11 NCAC4.0418 (prior version)                138
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1        any of the opinions in your report?

2                       MR. DeSTEFANO:      Foundation.

3               A.      No, it would not.

4               Q.      Please turn back to PJA275.        The last

5        document listed there is Intermediate Accounting,

6        Chasteen, Flaherty and O'Connor, right?

7               A.      That's correct.

8               Q.      And I take it you relied on that textbook

9        in forming your opinions in the report, is that right?

10              A.      I believe so.     I footnoted it to the

11       discussion of the accounting principles in my report,

12       that's correct.

13              Q.      Why did you rely on this specific textbook?

14              A.      That's the textbook that I've relied on, I

15       think, for most, if not all, of my career.

16              Q.      Understood.     This case doesn't involve

17       financial and accounting principles, does it?

18                      MR. DeSTEFANO:      Form and foundation.

19                      THE WITNESS:     My apologies.

20              A.      I guess, but I was using accounting

21       principles as a basis for that section of the report,

22       for what those terms that I had identified and what

23       those impacts would be from an accounting principle

24       standpoint.

25              Q.      I understand that, Mr. Schwickerath, and

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1        that wasn't the question I was asking.

2                       Is it your understanding that this case is

3        about total loss claims handling processes?

4                       MR. DeSTEFANO:         Form and foundation.

5               A.      That would be the determination of the

6        total loss amount paid to a claimant, yes.

7               Q.      For an insurance claim?

8               A.      That's correct.

9               Q.      And I guess what I'm trying to understand

10       is this textbook is about financial accounting

11       principles, right?

12              A.      I believe that's fair, accounting

13       principles, correct.

14              Q.      Okay.     So why did you use a textbook about

15       accounting principles in creating your report about

16       valuation of automobiles?

17              A.      It was in the context of how things

18       should -- could be or should be presented, and using

19       those accounting principles as a basis so that the end

20       user would have confidence in that calculation

21       determination.

22              Q.      And you would agree, though, that this case

23       though is not about financial accounting, right?

24              A.      No.     The determination is not about

25       financial accounting.         Those principles are an analogy

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1        that I used as a basis for how it should or could be
2        presented so that the end user would be able to rely
3        and verify and test reasonableness of what's being
4        presented.
5               Q.      What portions of your opinion rely on the
6        textbook?
7               A.      I believe it's just toward the very end of
8        the report underneath the conclusions regarding those
9        items.
10              Q.      And your report mentions definitions from
11       that textbook, is that right?
12              A.      That's correct.
13              Q.      And you use those definitions contained in
14       the textbook in your report, right?
15              A.      That's correct.
16              Q.      Did you use the textbook in any other
17       manner to form your opinions?
18              A.      No, I don't believe so.
19              Q.      Does any part of that textbook that you
20       relied upon discuss insurance claims?
21              A.      Not that I recall.            I don't believe so.
22              Q.      Does any part of that textbook discuss
23       valuing automobiles?
24              A.      I don't believe so.
25              Q.      Mr. Schwickerath, I want us to now look at

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1        another document in that folder, it's titled

2        Intermediate Accounting, Chapter 1.                    Please let me know

3        when you have it open.

4               A.        I have it open.

5               Q.        Do you recognize this to be Chapter 1 of

6        the textbook we were just mentioning?

7               A.        I believe that's correct.

8               Q.        Just so it's clear, that's Chapter 1 of the

9        Intermediate Accounting textbook by Chasteen, Flaherty

10       and O'Connor, right?

11              A.        That is correct.

12                        MR. DROCTON:       We'll go ahead and mark

13               this as Exhibit 4.

14                                (The document referred to was marked

15                      Deposition Exhibit Number 4 for

16                      identification.)

17              Q.        I want you to take your time, but my

18       questions will be relatively brief, okay?

19              A.        Okay.

20              Q.        This Chapter 1 relates to financial

21       accounting and reporting, right?

22              A.        I believe so, if memory serves me correct.

23              Q.        And you don't have to rely on your memory.

24       You have the Chapter 1 in front of you.                    You can read

25       through it, if you need to.

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1               A.      Okay.

2               Q.      After taking a look at it, is that your

3        understanding that this chapter is regarding financial

4        accounting and reporting?

5               A.      That's correct.

6               Q.      You mentioned moments ago that you're using

7        financial and accounting to sort of analogize it to the

8        insurance claims handling, sort of area that we're

9        dealing with here, is that right?

10              A.      That's correct.

11              Q.      Why did you seek to or why did you

12       analogize financial accounting to the total loss claims

13       handling process for motor vehicles?

14              A.      Well, I think it's right there, if we look

15       at, I believe it's page two, and it's the second full

16       paragraph, and it says:       The term financial accounting

17       and recording encompasses the dual role of the

18       financial account.     One, measuring and recording an

19       entity's economic activities; and two, communicating

20       the recorded data to external users.

21                      So I thought that's, in essence, the

22       analogy here.     The economic activities, which is the

23       calculation of the total loss claim; and then second,

24       communicating the recorded data, which is, in essence,

25       the calculation and the items that go into providing

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1        that numerical outcome to the external users, which

2        would be the claimants or the policyholders.

3                       So I think that that there sets the reason

4        for the analogy of financial accounting and recording.

5               Q.      Mr. Schwickerath, that sentence doesn't

6        talk about insurance claims handling, does it?

7               A.      It does not.    But, again, as I said in my

8        report, I'm using it on an analogy basis.

9               Q.      I understand that.        And, again, you know,

10       anything in this chapter, Mr. Schwickerath, that leads

11       you to believe that these financial accounting

12       principles are applicable to insurance claims handling

13       practices?

14              A.      Specifically insurance claims practices, I

15       don't believe so.     But, again, I thought it was

16       appropriate, given that you're talking about the

17       measuring and recording an entity's economic

18       activities; and two, communicating that data to

19       external users.

20              Q.      So is it your opinion that any time you're

21       trying to measure economic activities, you would apply

22       these same principles?

23              A.      I think it depends on the situation.

24              Q.      So what about the insurance claims handling

25       sort of process separates it from other processes that

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1        those economic activity that went into determining that

2        outcome.

3               Q.      There's nothing in the regulation, the

4        regulation that you looked at, that discusses applying

5        financial accounting principles to insurance claims

6        handling, correct?

7                       MR. DeSTEFANO:      Form and foundation.

8               A.      The regulations itself, no, there was not.

9               Q.      Thank you.   And there's nothing in this

10       chapter that specifically discusses insurance claims

11       handling, right?

12              A.      Specifically insurance claims handling, no,

13       it does not.

14              Q.      We're on page two of the textbook, which is

15       three of the PDF, right?

16              A.      I believe that's correct.

17              Q.      You were just moments ago talking about

18       sort of the top section.        I want to direct your

19       attention to the bottom where it talks about GAAP,

20       generally accepted accounting principles.

21                      Do you see that?

22              A.      Yes, I do.

23              Q.      Can you please explain what GAAP is?

24              A.      Generally accepted accounting principles

25       are those accounting principles that dictate and are

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1        standards for the reporting of finance performance of

2        companies, predominantly publicly traded companies to

3        the external market.      It's also the basis for audited

4        financial statements, which again are a very key

5        component for publicly traded companies.

6               Q.      Thank you for that.

7                       What role does GAAP have in insurance

8        claims handling?

9                       MR. DeSTEFANO:      Form and foundation.

10              A.      I don't believe that GAAP has any basis in

11       insurance claims for automobiles.

12              Q.      And the North Carolina insurance regulation

13       that we're discussing, you don't believe that discusses

14       applying GAAP to insurance claims handling, right?

15              A.      I don't believe so, no.

16              Q.      You moments ago directed our attention to

17       one sentence on this document.           What in this exhibit

18       did you rely upon in forming the opinions on the case?

19                      MR. DeSTEFANO:      I'm sorry, counsel,

20               which document are we looking at now?         Are

21               we still in the chapter?

22                      MR. DROCTON:     We're still on Exhibit

23               4, Chapter 1, of the intermediate accounting

24               textbook.

25                      MR. DeSTEFANO:      Thank you.

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1                         Okay.   And this may be -- this is also from

2        the edition six of that intermediate accounting

3        textbook.       Do you see that?

4               A.        I do.

5               Q.        Does this appear to be, perhaps not the

6        edition that you used in preparing your report?

7               A.        I don't believe that this is the edition

8        that I've used.

9               Q.        Which edition did you use?

10              A.        I believe it's a second; first or second

11       edition.       This is not the edition that I used.

12              Q.        So first or second edition.

13                        Do you recall when that edition was

14       published?

15              A.        1985, 1986, roughly.

16              Q.        Did you review any of these subsequent

17       editions?

18              A.        Not that I recall.         As I said, I relied on

19       that textbook for most, if not all, of my career.

20              Q.        But you wouldn't know if there was any

21       significant updates in the textbook since the first or

22       second edition?

23              A.        With regards to those principles, I don't

24       believe that there would be any significant or

25       substantial updates or changes.              Those are guiding

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1               Q.      Is it your understanding that this was the

2        regulation that was in effect at the time Ms. Fortson's

3        loss was adjusted?

4               A.      That's my understanding, yes.

5               Q.      The language in this regulation is a little

6        bit different than the language in the current version

7        that we just previously looked at, right?

8               A.      That's correct.

9               Q.      Can you please explain what portions --

10       well, I guess, first, is it your opinion that this

11       regulation requires insurance carriers to itemize

12       portions of a total loss report?

13                      MR. DeSTEFANO:      Foundation.

14              A.      I believe as outlined in the report, that

15       would be under number four, which I believe is very

16       similar language to the 2020 version that when a

17       written statement is requested by a claimant, the total

18       loss payment by insurer shall be accompanied by a

19       written statement listing estimates, valuation, and

20       deductions used in calculating the payment, if any, and

21       the source of these values.

22              Q.      I'm sorry, I missed that.          Where are you

23       reading from, Mr. Schwickerath?

24              A.      Number four.

25              Q.      Number four, got it.

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1                       And if I got that correct, it's your

2        opinion that subpart four requires insurance carriers

3        to itemize total loss valuations?

4                       MR. DeSTEFANO:       Foundation.

5                A.     Within a written statement, that would be

6        correct.

7                Q.     This is the total loss regulation that you

8        relied upon in preparing your report, right?

9                A.     That's correct.

10               Q.     Besides subsection four, is there anything

11       else in this regulation that requires Garrison to

12       itemize their total loss valuations?

13                      MR. DeSTEFANO:       Foundation.

14               A.     I don't believe so, from a layperson.

15               Q.     Okay.   So it's your understanding that only

16       subpart 4 applies and requires itemization?

17                      MR. DeSTEFANO:       Foundation.

18               A.     Again, from a layperson's perspective, I

19       believe that's correct.

20               Q.     And subpart four begins:            If a written

21       statement is requested by the claimant, do you see

22       that?

23               A.     Yes, I do.

24               Q.     And I know we previously talked about how

25       you're not a lawyer, and you're not going to opine on

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1        whether this, at least the prior regulation applies
2        only when a written statement is requested.                Does the
3        same go for this regulation as well?
4                          MR. DeSTEFANO:         Foundation.
5               A.         Yes, it would.
6               Q.         Okay.   So assuming that a court determines
7        that this regulation does not apply, subpart four,
8        unless a written statement is requested by the
9        claimant, do you have any other basis for opining that
10       Garrison must itemize their valuations?
11                         MR. DeSTEFANO:         Foundation.
12              A.         As I mentioned earlier, I would defer to
13       legal counsel.
14              Q.         And I'm not asking you to opine on the
15       legal part of whether this provision actually applies
16       or not.        I understand that.          I'm saying assuming this
17       does not apply, is there anything else, in your
18       opinion, that would require Garrison to itemize
19       valuations?
20                         MR. DeSTEFANO:         Foundation.
21              A.         Again, from a lay perspective, I don't
22       believe so.
23              Q.         So your opinion that Garrison did not
24       properly itemize the condition adjustment for
25       Ms. Fortson's total loss is based solely on subpart

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1        four of this regulation, is that right?

2                       MR. DeSTEFANO:       Foundation.

3               A.      Based on my lay understanding, that's

4        correct.

5               Q.      Okay.   I think you previously stated you're

6        not sure if Ms. Fortson actually made a request under

7        this regulation, are you?

8               A.      No, I'm not.

9               Q.      Based on your understanding, if a written

10       statement is not requested by a claimant, are you aware

11       of any other obligation for Garrison to perform any

12       sort of itemization on the condition adjustment?

13                      MR. DeSTEFANO:       Foundation.

14              A.      As I believe I just mentioned, not as a

15       layperson, in my review.

16              Q.      Mr. Schwickerath, so you're not an expert

17       on insurance practices or policies, are you?

18              A.      No, I'm not.

19              Q.      And you're not an expert on insurance

20       claims handling processes for setting methods, are you?

21              A.      No, I'm not.

22              Q.      And nor are you an expert on total loss

23       valuations, are you?

24              A.      No, I'm not.

25              Q.      You're not an expert on North Carolina

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1        insurance regulations either, right?

2               A.      No, I'm not.

3               Q.      And before this case, you had no experience

4        with the North Carolina's insurance regulations, right?

5               A.      I don't believe so.

6               Q.      So Mr. Schwickerath, if a court should rely

7        on you to provide an opinion as to the meaning of 11

8        NCAC4.0418, right?

9                       MR. DeSTEFANO:       Form and foundation.

10              A.      No, I don't believe so.

11              Q.      Are you aware of anywhere in the North

12       Carolina total loss claims handling laws and

13       regulations that says financial accounting standards

14       and principles apply?

15                      MR. DeSTEFANO:       Foundation.

16              A.      No, I'm not.

17              Q.      On what basis then do you believe that

18       financial accounting principles apply to 11 NCAC4.0418?

19              A.      Well, as I testified earlier this morning,

20       that goes to an analogy of the accounting principles

21       for providing the information to the end users, in this

22       case, the claimants.      That's about as far as the

23       process and how those calculations of the economic

24       outcomes are determined.

25              Q.      Okay.   So you mentioned that you worked on

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1        some insurance claims handling matters in your prior

2        experience as a litigation consultant, right?

3               A.      That's correct.

4               Q.      But you don't have any prior experience in

5        insurance claims handling in North Carolina, right?

6               A.      No, I do not.

7               Q.      There's nothing in your background that

8        would lead you to believe that financial accounting

9        principles specifically apply to North Carolina's

10       insurance claims handling regulations, right?

11              A.      No.     Again, I was using it as an analogy

12       for the presentation information.

13              Q.      Are you aware of any courts supplying

14       financial an accounting principles to insurance claims

15       handling regulations?

16              A.      Not as I sit here.

17              Q.      Mr. Schwickerath, can you please turn back

18       to Exhibit 1, your report, and direct your attention to

19       PJA251?

20              A.      Okay.

21              Q.      Do you see under subheading five there

22       where it says:       CCC's condition adjustment for

23       comparable vehicles relied upon by Garrison does not

24       meet the standards to provide verifiable information,

25       explanations of additions or deductions from the actual

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1               Q.       What standards are you referring to?
2               A.       That would be the standards that we just
3        discussed in the regulations for North Carolina.
4               Q.       Okay.   And there's quotations in that
5        sentence.      Are you quoting to a source?
6               A.       I believe that I was.              There's not a
7        footnote, my apologies.           I certainly was looking at
8        something, but I didn't footnote it, so that's my
9        omission.
10              Q.       No worries.       Do you recall what you were
11       citing to?
12              A.       Not as I sit here.            I'd have to go look.
13              Q.       That's fine.        Mr. Schwickerath, you're not
14       offering any opinions today on whether a condition
15       adjustment may be made to a comparable vehicle, right?
16              A.       No, I'm not.
17              Q.       And you have no opinions on whether the
18       dollar amount of any condition adjustment was
19       appropriate, right?
20              A.       No, I do not.
21              Q.       And you've reviewed 11 NCAC4.0418.                 Is it
22       your understanding that that regulation actually
23       contemplates condition adjustments?
24                       MR. DeSTEFANO:         Form and foundation.
25              A.       Could you repeat that?              I'm not sure I

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1        understanding when we used the NADA, that it was an

2        amount for the base vehicle, and then certain dollar

3        amounts were options and then plus or minus for

4        mileage.       So under your assumption, I'd have to go back

5        and look.

6               Q.        And what you just described, is that not

7        what CCC does?

8                         MR. DeSTEFANO:      Form and foundation.

9               A.        It does, but then it also adds a condition

10       adjustment.       That's the same, for each of the

11       comparable vehicles, based on a calculation that uses

12       either surveys for six different components, multiplies

13       them all together and then applies that outcome to a

14       hypothetical typical vehicle.

15              Q.        Do you understand that NADA has multiple

16       values, such as retail and wholesale?

17              A.        I believe that's correct.

18              Q.        Do you understand that NADA does not

19       disclose how it calculates the difference between

20       retail and wholesale value for an individual vehicle?

21                        MR. DeSTEFANO:      Foundation.

22              A.        I don't recall.      I'd have to look.     I'm

23       sorry, it's been some time.           I just don't recall.

24              Q.        Mr. Schwickerath, is it your understanding

25       that under North Carolina's regulation, insureds are

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1        entitled to the actual cash value of their loss

2        vehicle?

3                       MR. DeSTEFANO:      Foundation.

4               A.      Yes, I believe that's correct.

5               Q.      And is it also your understanding that

6        Ms. Fortson's policy entitles her to actual cash value

7        for loss vehicle?

8                       MR. DeSTEFANO:      Foundation.

9               A.      I believe that's correct.          I don't recall

10       that's specifically her policy, but I believe that's

11       correct.

12              Q.      You're not aware of anything that entitles

13       an insured like Ms. Fortson to some value above actual

14       cash value, right?

15                      MR. DeSTEFANO:      Form and foundation.

16              A.      No, I believe it's actual cash value for

17       the vehicle.

18              Q.      If the comparable vehicle condition

19       adjustment is removed, what effect would that have on

20       the actual cash value of the vehicle?

21              A.      The actual cash value of the vehicle would

22       increase by the removal of said condition adjustment.

23              Q.      And I think, as you previously said, you're

24       not actually taking issue with the dollar amount of the

25       condition adjustment for the comparable vehicles,

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1        right?
2                       MR. DeSTEFANO:         Form and foundation.
3               A.      That's correct.
4               Q.      You have no opinion whether the $722
5        condition adjustment for the comparables for
6        Ms. Fortson's CCC report were too high or too low,
7        right?
8                       MR. DeSTEFANO:         Form and foundation.
9               A.      No, I can't -- there's no information to
10       test accuracy or the reasonableness.
11              Q.      That wasn't my question, Mr. Schwickerath.
12                      I am asking you, you have no opinion on
13       whether the dollar amount, 722, is too high or too low
14       for the comp vehicles in Ms. Fortson's CCC report,
15       right?
16              A.      Correct.
17                      MR. DeSTEFANO:         Form and foundation.
18              A.      I have no opinion.            I can't see how that
19       calculation is determined, so no, I don't have an
20       opinion.
21              Q.      Thank you.      So how can you testify that
22       removing the comparable vehicle condition adjustment
23       positively increases the amount of actual cash value?
24              A.      Because that deduction is not itemized or
25       verifiable to test reasonableness and the accuracy of

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1        that adjustment for the specific total loss vehicle.
2               Q.      Mr. Schwickerath, what kind of car do you
3        drive?
4               A.      I have a Hyundai Equus.
5               Q.      Did you say a Hyundai?
6               A.      Equus.
7               Q.      I'm not familiar with that.
8                       Is that a sedan or an SUV?
9               A.      It's a sedan.
10              Q.      What year is it?
11              A.      2016.
12              Q.      And about how many miles?
13              A.      Under 15,000.
14              Q.      Okay.    Suppose you received a CCC report
15       with a value of $100,000 for your vehicle, okay?
16              A.      Okay.
17              Q.      Would you agree that your vehicle is not
18       worth $100,000?
19              A.      I think it would be unlikely that my
20       vehicle is worth $100,000.
21              Q.      You would be pretty happy if you received
22       $100,000 for your vehicle, right?
23              A.      Yes, I would be happy if I received
24       $100,000 for my vehicle.
25              Q.      And you would be happy to accept $100,000

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1        in exchange for your vehicle?
2               A.        Yes, I would.
3               Q.        Suppose the CCC report had a thousand
4        dollar comparable vehicle condition adjustment, okay?
5               A.        Okay.
6               Q.        So that results in -- scratch that.
7                         Suppose you received a CCC report, like
8        Ms. Fortson's, with a comparable vehicle condition
9        adjustment of $1,000, okay?
10              A.        You said comparable vehicle adjustment?              I
11       just wanted to make sure and clarify.
12              Q.        My apologies, I meant to say comparable
13       vehicle condition adjustment.
14              A.        Okay.
15              Q.        And it is in the same format as presented
16       in Ms. Fortson's CCC report, okay?
17              A.        Okay.
18              Q.        Is it your opinion that that thousand
19       dollar condition adjustment would cause you damages?
20              A.        Yes, I have no way to verify or check the
21       reasonableness or test that amount.                 There's no
22       support.       It's a deduction that is unsupported.
23              Q.        Even though you agree that your vehicle is
24       not actually worth $100,000, you still think you
25       incurred damages?

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1               A.      Well, I'm sorry, are we talking still about

2        the $100,000 value, or are you just talking that I got

3        a report, and there was a condition adjustment of

4        $1,000 on my report?

5               Q.      You received a CCC report with a total

6        value of $100,000 for your Hyundai, and in the CCC

7        report, there's a condition adjustment to the

8        comparable vehicles used to calculate value in the

9        amount of $1,000.      Do you follow?

10              A.      I do now.

11              Q.      And that comparable vehicle condition

12       adjustment is listed in the same format as listed in

13       Ms. Fortson's CCC report, okay?

14              A.      Okay.

15              Q.      Is it your opinion that you would be

16       damaged in the amount of $1,000 by that condition

17       adjustment to the comparable vehicles?

18              A.      I'm not sure.      Given that the valuation of

19       my vehicle was $100,000, which is certainly worth more

20       than my car itself, I don't, I don't know that I'd be

21       damaged, because I'm still receiving $100,000 instead

22       of $101,000.

23              Q.      Okay.   And so I take it that financial

24       accounting principles wouldn't entitle you then to

25       another $1,000, right?

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1        of Mr. Hausman-Cohen's declaration, is that right?

2               A.      That's correct.

3               Q.      Okay.   Besides those two sources, does your

4        knowledge of Garrison's claims handle practices come

5        from anywhere else?

6               A.      I guess it would be the deposition by

7        Mr. Lopez, which is referenced in my report, and to the

8        extent that the CCC is part of that process, then those

9        documents from that presentation and other items that

10       are referenced in my report will also be sources.

11              Q.      Okay.   Mr. Schwickerath, is it your opinion

12       that CCC -- that the CCC report is intended to mislead

13       consumers?

14              A.      I don't have an opinion on that.

15              Q.      Okay.   You testified earlier that you have

16       experience in valuing businesses, right?

17              A.      That's correct.

18              Q.      Is it your belief that you have specialized

19       knowledge and experience in valuing businesses?

20              A.      Well, I believe I do.          I've qualified as an

21       expert on many occasions.

22              Q.      And do your clients sometimes not have that

23       same skill to value a business?

24              A.      Various clients have various skills

25       relating to the value of a business.

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1                            UNITED STATES DISTRICT COURT
2                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3                       Civil Action No. 1:19-cv-00294-CCE-JLW
4
        ELIZABETH V. FORTSON,                       )
5                                                   )
                                                    )
6       Plaintiff,                                  )
                                                    )
7                                                   )
        v.                                          )
8                                                   )
        GARRISON PROPERTY AND                       )
9       CASUALTY INSURANCE COMPANY, )
                                                    )
10      Defendant.                                  )
11
12
13                 Zoom Video Deposition of WILLIAM BERGLUND
14                             (Taken by the Defendant)
15                               Oak Brook, Illinois
16                            Thursday, September 2, 2021
17
18
19
20
21      Reported by:             Marisa Munoz-Vourakis -
                                 RMR, CRR and Notary Public
22
23
24
25

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1       APPEARANCE OF COUNSEL BY ZOOM:

2       For the Plaintiff:

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12                         Baker           Hostetler LLP

13                         200 Civic Center Drive, Suite 2200

14                         Columbus, OH 43215

15                         kzimmerman bakerla .com

16

17      Also Present:                MICHAEL KIRBY, Videographer

18                                                          o0o

19

20                                 Zoom Video Deposition of WILLIAM BERGLUND,

21      taken by the Defendant, at Oak Brook, Illinois, on the 2nd

22      day of September, 2021 at 10:07 a.m. (Eastern Standard

23      Time), before Marisa Munoz-Vourakis, Registered Merit

24      Reporter, Certified Realtime Reporter and Notary Public.

25

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                                                                                                        Page 111

1       Ms. Fortson                as paid more or less than she should have
2       been paid, right
3                                MR. DeSTEFANO:                      Form and foundation.
4                A.              That is correct.
5                  .             Ho         ould         e determine                   hether Ms. Fortson
6        as paid more or less than she should have been paid
7                                MR. DeSTEFANO:                      Form and foundation.
8                A.              Again, I m ans ering the same                                        uestion
9       repeatedly.                If they             ould itemize the condition
10      ad ustment for each of the four vehicles and indicated
11      ho     they applied them, then Ms. Fortson could look and
12      make a determination of                               hether or not she                         ould accept
13      those figures.                    Without that type of break do n, she s
14      got no          ay of kno ing.
15                 .             Okay.          No , in your expert report, you
16      don t mention the options ad ustment as being
17      insufficiently itemized, the options ad ustment                                                             e see
18      on page eight and nine, right
19               A.              I don t believe so.                            Let me take a look at
20      the option ad ustments.
21                 .             Yeah, go ahead.
22                               (Pause.)
23               A.              Yeah, I don t believe I rendered an opinion
24      on the basis for the option ad ustments.
25                 .             Why not

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1                A.              Because there s no specificity as to                                                hat
2       the ad ustments applied to.                                    There           as not.             There       as
3       notice          ith regard to the condition ad ustment.                                                     It s
4        ust a blanket number.
5                  .             So you don t mention the mileage ad ustment
6       as being improperly itemized either, right
7                A.              That is correct.
8                  .             Okay.          And         hy not
9                A.              Same reason.
10                 .             That s            ust a single number that s listed
11      there, right
12               A.              That is correct.
13                 .             And the condition ad ustment is                                           ust a
14      single number, right
15               A.              But the condition ad ustment applies to
16      more than             ust one item.                     It applies to the overall
17      condition of the vehicle.                                 I think there s a
18      significant difference bet een them.
19                 .             So you don t think any additional
20      information                as re uired for the mileage ad ustment
21      though, am I right about that
22               A.              That s correct.
23                               MR. DeSTEFANO:                      Foundation.
24                               BY MR. ZIMMERMAN:
25                 .             Would it have been appropriately itemized

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1       if CCC broke out the condition ad ustment based on the
2       kind of components of each vehicle
3                A.              Again, if it provided a detailed listing of
4       ho     they arrived at the numbers, I think that                                                       ould
5       have been appropriate.
6                  .             Was it appropriate for Garrison and CCC to
7       make an option ad ustment, as they did here
8                A.              Okay.          What do you mean by option
9       ad ustment
10                 .             The options ad ustment                                e re looking at on
11      page eight.                Do you see that, 229 for the comp. one
12      minus 90 for comp. t o.                               Do you see                 here I m looking
13               A.              Oh, okay, yes, I see that.
14                 .             Okay.          Do you have any opinions as to
15       hether or not it                       as appropriate for CCC to make that
16      options ad ustment
17               A.              I have no opinion.
18                 .             Okay.          Was it appropriate for CCC to make
19      the ad ustment for mileage
20               A.              It seems reasonable.
21                 .             Was it appropriate for CCC to make the
22      condition for options -- condition ad ustment for
23      options
24               A.              Okay.          When you say condition ad ustment,
25      it refers to something specific.

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1               .          You re right, yeah, you re right.
2                          Was it appropriate for CCC to make the
3       options ad ustment that                 e re looking at here
4              A.          Yes.
5               .          No , can you look through this CCC One
6       report and identify any portions of it that you think
7       make it represented to be authoritative
8              A.          We ve got a multiple page report here.                      I
9       don t kno         ho     much time you           ant me to spend on this.
10      I don t kno            if the     ord authoritative is used any here
11      on this report or not, but I have to revie                          the entire
12      report to give a response to that.                         Do you   ant me to
13              .          Let me ask you slightly differently.
14                         You did revie            this report        hen putting
15      together your opinions for the expert report, right
16             A.          Yes.
17              .          And is it your opinion that the CCC report
18      self-identifies as or represents itself to be
19      authoritative
20             A.          I don t kno          if the report represents
21      itself.         I think the impression from the Garrison s
22      ad uster standpoint is that it is an authoritative
23      report, and that is ho                 it    as presented to the
24      policyholder.
25              .          Okay.        So the report itself isn t saying

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1                               UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
2                          Civil Action No. 1:19-cv-00294-CCE-JLW
3
         ELIZABETH V. FORTSON,                                                               )
4                                                                                            )
                                 Plaintiff,                                                  )
5                                                                                            )
         vs.                                                                                 )
6                                                                                            )
         GARRISON PROPERTY AND CASUALTY                                                      )
7        INSURANCE COMPANY,                                                                  )
                                                                                             )
8                                Defendant.                                                  )
                                                                                             )
 9
10
11
12                                 Videotaped Remote Deposition of
13                                    DR. LANCE DARSHANA KAUFMAN
14                                       (Taken by Defendant)
15                                         Corvallis, Oregon
16                                     Tuesday, August 24, 2021
17
18
19
20
21
22
23
24                          Reported in Stenotype by
                          Lauren M. McIntee, RPR, CRR
25             Transcript produced by computer-aided transcription

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                             Mathe         Drocton, Es uire (via Zoom)
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10                           Columbus, Ohio 43215
                             (614) 462-5189
11                           Reckelberry bakerla .com
                             Mdrocton bakerla .com
12
13       ALSO PRESENT:
14       Michael Kirby, Videographer (via Zoom)
15
16
17
18
19
20                VIDEOTAPED REMOTE DEPOSITION OF DR. LANCE DARSHANA
21       KAUFMAN, a              itness called on behalf of Defendant, before
22       Lauren M. McIntee, Registered Professional Reporter,
23       Certified Realtime Reporter, and Notary Public, in and
24       for the State of North Carolina, in Corvallis, Oregon,
25       on Tuesday, August 24, 2021, commencing at 7:33 a.m. PST

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5
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                                                                                                           Page 45

1        the mileage deduction is itemized, correct

2                              MS. BEARDSLEY:                   Ob ection, form.                     Outside the

3               scope of the report.

4                 A.           Not in the context that s used in my report.

5        BY MR. ECKELBERRY:

6                   .          Okay.         And        hat context do you use itemized

7                 A.           Well, I           ould use it to refer to a breakdo n

8        of the factors leading to the size of the condition

9        ad ustment.

10                  .          Okay.         So if I understood                        hat you said

11       earlier, there are varying degrees of deductions.                                                          So

12       it s -- is it fair to say that the deductions to the

13       comparable vehicles are itemized, but you feel they

14       should be itemized to a more specific degree

15                A.           Not should.

16                             MS. BEARDSLEY:                   Scope.

17                A.           I don t intend to -- to present or have an

18       opinion about                 hat should have been done.                                I -- in my --

19       my opinion in this case rests on the premise that the --

20       the ad ustment is an illegal ad ustment and -- and that

21       opinion is -- that -- that s an assumption that my

22       understanding is other experts and the counsel in this

23       case       ill be making that argument.                                   I can offer an

24       opinion about                 hat seems reasonable to me as a method --

25       a level of itemization, but it s not necessarily                                                       hat

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                                                                                                           Page 46

1        should have been done because that s outside the scope

2        of -- of my analysis and my expertise.

3                              So -- so            hat seems reasonable, a reasonable

4        level of itemization to me                               ould be to have, for each

5        comparable vehicle, to have a list of the components,

6        the ad ustment for each component, and the basis for

7        classifying that component in the condition that it s

8        classified.               And, you kno , that provides a level of

9        detail that               ould allo              a claimant to revie                        -- revie

10       the comparable vehicles.                             If they            ant to, they could go

11       and confirm the condition of the vehicles and validate

12       the report.               But I don t necessarily have an opinion

13       that s         hat should have been done.                                 That s          ust        hat

14       seems reasonable to me.

15       BY MR. ECKELBERRY:

16                  .          Reasonable to you in your personal opinion,

17       not as an expert                    am I right

18                A.           Both.

19                  .          Okay.         Are you familiar                      ith the industry

20       custom and standard as far as                                  hat level of itemization

21       is used

22                             MS. BEARDSLEY:                   Ob ection.               Outside the scope

23              of the report.

24                A.           For       hich industry

25       BY MR. ECKELBERRY:

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                                                                                                           Page 63

1               9:32 a.m.

2                              (Recess taken 9:32 a.m. to 9:51 a.m. PST)

3                              THE VIDEOGRAPHER:                      We are back on the record

4               at 9:51 a.m.

5        BY MR. ECKELBERRY:

6                   .          Dr. Kaufman, Section 3 of your report begins

7        on Page PJA0476.                    The last sentence states,                               Thus,

8        plaintiff asserts and this report assumes the condition

9        ad ustment is improper and unla ful.

10                A.           Yes.

11                  .          I believe you testified earlier that you

12       profess no legal expertise                               is that correct

13                A.           That s correct.

14                  .          So you have no opinion on the legality or

15       illegality of the condition ad ustments to the

16       comparable vehicles                       is that right

17                A.           That s correct.

18                  .          Do you have any expert opinion on                                       hether the

19       condition ad ustment complies                                  ith the terms of

20       plaintiff s insurance policy

21                A.           No.

22                  .          Do you have any evidence that the comparable

23       vehicle condition ad ustments                                  ere excessive given the

24       condition of the comparable vehicles

25                             MS. BEARDSLEY:                   Ob ection, outside the scope.

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                                                                                                           Page 67

1        testified to, 5 to 10 percent                                  ould be many, correct

2        Or more.            5 to 10 percent or more, correct

3                 A.           Correct.

4                   .          Okay.         If 90 percent of the 90 percent that

5        aren t inspected                    ere in very good condition,                                 hat        ould

6        that percentage be of the total of comparable vehicles

7        I apologize.                I m bad at math.                     What s 90 percent of

8        90 percent

9                 A.           That s .9 times .9, so 81.                                .81 percent.

10                  .          So if -- I m sorry.                        Go ahead.

11                A.           I -- I didn t have anything to add.

12                  .          If 90 percent of the 90 percent that aren t

13       inspected are in very good condition, that                                                ould be, did

14       you say 81 percent of the total

15                A.           Yes.

16                  .          So if 81 percent of the total comparable

17       vehicles            ere in very good condition, your methodology

18       for calculating damages                            ould overstate harm to the

19       class,         ouldn t it

20                A.           No.

21                             MS. BEARDSLEY:                   Ob ection.               Form, foundation.

22       BY MR. ECKELBERRY:

23                  .          Why not

24                A.           Well, the methodology is not -- the

25       methodology is -- is a result of the condition

                                                  9HULWH[W/HJDO6ROXWLRQV
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                                                                                                           Page 68

1        ad ustment being improper and unla ful.                                             And it s not a

2        methodology that -- it s not a methodology that is

3        applying a revaluation after the fact.                                            So -- so             hat

4        the methodology does is it -- it -- it simply takes the

5        condition ad ustment of the -- of the comparable vehicle

6        out of the vehicle valuation.

7                   .          Okay.         So your methodology --

8                              (Phone ringing.)

9                   .          Strike that.

10                             For purposes of your methodology, it doesn t

11       matter if a given insured                              as paid            hat their vehicle

12        as      orth or more, does it

13                             MS. BEARDSLEY:                   Ob ection, form.

14                A.           Well, there s a lot of information kind of

15       loaded in that                  uestion.             So there is a process that the

16       insurer established for valuing vehicles, and that

17       process has several components, one of                                            hich        as

18       illegal.            And my methodology removes the illegal

19       component             hile maintaining the insurer s valuation

20       process.            And that -- that doesn t -- that results in a

21       valuation for the vehicle.

22                             No ,        hat you re asking for is a number of,

23       you kno , is it overvaluing or undervaluing                                                   But it s

24       -- it is valuing.                     I mean, that s -- that s the -- there

25       is no over or undervaluing in that scenario.

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                                                                                                           Page 78

1        could -- they                 ould certainly -- if -- if I                                  ere engaged

2        to distribute damage payments, I                                     ould distribute it

3        proportionately to the actual loss.                                         And in this case,

4        there s no loss, so I                          ouldn t ascribe any -- any

5        payment to the individual.

6                              And finally, again, I defer to Larry,

7        Mr. Hausman-Cohen on specifics, but my understanding is

8        that the hypothetical that you re coming up                                                 ith is a

9        very, very small number.                             I     ould be surprised if it s

10       more than -- more than 10 or 20 class members.

11                  .          You       ould be surprised, but you don t kno

12       for a fact, do you

13                A.           Right.

14                  .          You re not expressing opinion on the

15       propriety of mileage or option ad ustments, are you

16                A.           No.

17                  .          In the -- strike that.

18                             Are you a are that some of the punitive class

19       members received settlement payments based on CCC

20       reports that rely on earlier valuations and not the last

21       valuation

22                A.           Yes.

23                  .          And did you take that into account in your

24       report

25                A.           What do you mean by                        take it into account

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                                                                                                            Page 1

1                                   UNITED STATES DISTRICT COURT
2                     FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3
4       ELIZABETH V. FORTSON,
5                            Plaintiffs,
6                v.                                                                    Civil Action No.
7       GARRISON PROPERTY AND CASUALTY                                                 1:19-cv-00294-
8       INSURANCE COMPANY,                                                             CCE-JLW
9                            Defendant.
10
11                  VIDEOTAPED DEPOSITION OF RANDALL MCCATHREN
12      DATE:                           Tuesday, August 17, 2021
13      TIME:                           10:08 a.m.
14      LOCATION:                       Remote Proceeding
15                                      Greensboro, North Carolina 27420
16      REPORTED BY:                    Joshua Seagondollar, Notary Public
17      JOB No.:                        4765452
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                                                                                                            Page 2

1                                           A P P E A R A N C E S
2       ON BEHALF OF PLAINTIFF, ELIZABETH V. FORTSON:
3                MICHAEL MALONE, ES UIRE (by videoconference)
4                Hendren Red ine                         Malone PLLC
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7                mmalone hendrenmalone.com
8                (919) 420-7867
9
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11      INSURANCE COMPANY:
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23               reckelberry bakerla .com
24               (614) 228-1541
25

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                                                                                                            Page 3

1                                    A P P E A R A N C E S (Cont d)
2       ALSO PRESENT:
3                  DeAndrae Shivers, Videographer
4
5
6
7
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3                By Mr. Zimmerman                                                                                   6
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5                                                  E        H I B I T S
6       NO.                            DESCRIPTION                                                                  PAGE
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11      Exhibit 4                      NADA Guides FA                                                               146
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16      Exhibit 8                      Vehicle Condition Market Value                                               190
17                                     Impact Study
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22
23                                          ( Exhibits attached.)
24
25

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                                                                                                        Page 182

1                A          In my experience, there s a significant
2       number particularly of vehicles more than five years
3       old that may not meet the very good standard on one or
4       more of their components.
5                           No       you mentioned five years old there, but
6       you re using the kind of condition standards for five-
7       year-old vehicles, right
8                A          Yes.          Yeah.
9                           Okay.           So       hy does it matter the age of the
10      vehicle             Don t the standards kind of ad ust for that
11               A          They do.
12                          So it s still your opinion that a
13      significant number of vehicles for sale on used dealer
14      lots are actually in good condition, not very good
15      condition
16               A          I said one or more of the components are in
17      the good versus very good condition.
18                          Okay.           Does CCC ever classify vehicles on
19      dealer lots as exceptional or like-ne
20               A          I -- not that I sa .
21                          But some vehicles on dealer lots actually
22      are in like-ne                    condition, right
23               A          Yes.          Probably so.
24                          And some vehicles on dealer lots -- some
25      used vehicles on dealer lots might have components in

                                                  9HULWH[W/HJDO6ROXWLRQV
     ZZZYHULWH[WFRP                                                                                           

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                                                                                                        Page 183

1       like-ne           condition, right
2                A          Yes.
3                           So that s actually a benefit to the insurer,
4       right
5                A          To the extent they get used as comps, yes.
6                           Okay.           Because they                   ere only being
7       classified as very good,                                hen in reality, they re
8       priced according to their like-ne                                           condition, right
9                A          Yes.          Without kno ing, like, is it t o
10      percent             Five percent                      Ten percent                    You kno , it s
11      going to be a small number.                                    The older the vehicle --
12      you re not going to find a lot of eight, nine, ten,
13      eleven-year-old cars for                                hich any of the components
14      are in pristine or exceptional or                                           hatever the first,
15      you kno , category specification is.                                               The ne er the
16      car, the more likely one or more components might be
17      in there.
18                          Okay.           That makes sense.                          That makes sense.
19      And I m not asking you to -- this time, I m not asking
20      you to offer a percentage of ho                                         many are like-ne .
21               A          Good.
22                          So for these kind of vehicles, the CCC
23      should actually make a larger condition ad ustment
24      than they do, right
25               A          Well, you re probably talking about one of

                                                  9HULWH[W/HJDO6ROXWLRQV
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                                                                                                        Page 184

1       the comps.               There might be three, four, five comps, so
2       you kno , you                  ould end up making an ad ustment                                             ust
3       for that comp, not for all the comps if they all
4       didn t have that component in exceptional condition.
5                           Yeah.           No, that makes sense.                              But for any of
6       the comparable vehicles that are in like-ne
7       condition, CCC should make a larger ad ustment than
8       they do to properly price that, right
9                A          They could.
10                          Okay.           And that              ould be a more accurate
11      valuation
12               A          Yeah.           That -- of that component in overall
13      comparison.                Yeah.           Assuming that they -- they made
14      the proper comparisons on the other ten components.
15                          Okay.
16                                     MR. ZIMMERMAN:                      And I kno                  e haven t
17       uite been going for an hour here, but I actually have
18      to take a             uick break.                   Can        e go off the record
19                                     THE WITNESS:                    Sure.
20                                     VIDEOGRAPHER:                     All right.                 The time is
21      3:22 p.m.             We re off the record.
22                                                 (Off the record.)
23                                     VIDEOGRAPHER:                     The time is 3:35 p.m.
24      We re back on the record.
25

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                                                                                                        Page 201

1       are to meaningful ACV.
2                           So       uickly here, you mention it                                      ould be
3       more accurate of they used actual sale prices, right
4                A          Yes.
5                           But they actually use list prices, right
6                A          Yeah.           I think they use list prices until
7       there s a sale, but they also use                                           real take                or
8        hatever that terminology is, prices.
9                           That s a benefit to the insured, right
10      Because the list price is generally going to be higher
11      than the actual sale price
12               A          Yes.          But if there s a                        ill-take price, they
13      advertise it for 10, but they                                      ill take 9,200 --
14      9,200, you kno , that -- that s a lo er number and it
15      may be that some customer                                 ould pay 96, and they end
16      up selling it for more than the                                         ill-take price.
17                          So there s customers                              ho purchase vehicles
18      for more than the                       ill-take price out there
19               A          Sure.           Because they re starting to negotiate
20      at ten.
21                          Oh, so does CCC use the                                 ill-take price or
22      do they use the list price of the vehicles
23               A          I think they use the                              ill-take price.
24                          Okay.           And        here does that understanding
25      come from

                                                  9HULWH[W/HJDO6ROXWLRQV
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                                                                                                        Page 202

1                A          Some here -- some here in all these
2       documents and or depositions.
3                           Fair enough.                    To the extent that they do use
4       the list price, that provides a benefit to the
5       insured, right                      Because there s a negotiation
6       do n ard
7                A          Yes.
8                           Okay.           Let s turn to page 17 of your expert
9       report, please.
10               A          Got it.
11                          Okay.           In the second sentence of the first
12      full paragraph, you say,                                CCC includes the consumer
13      offered vehicles as                          ell as the dealer offered
14      vehicles in its valuations.                                      Do you see that
15               A          Yes.
16                          Okay.           But        hen a consumer offered vehicle
17      is used as a comparable, CCC doesn t apply a condition
18      ad ustment, right
19               A          Right.            Right.            No, I remember that.                                Yes.
20                          Okay.           So       hat s the problem                         ith using
21      consumer offered vehicles then
22               A          Really            ust that you have no idea                                    hat the
23      condition is.
24                          What do you mean by that
25               A          I mean, the consumer can offer a vehicle

                                                  9HULWH[W/HJDO6ROXWLRQV
     ZZZYHULWH[WFRP                                                                                           

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                                                                                                            Page 1

1                                      UNITED STATES DISTRICT COURT
2                        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
3                          Civil Action No. 1:19-cv-00294-CCE-JLW
4
         ELIZABETH V. FORTSON,                                             )
5                                                                          )
                                                                           )
6        Plaintiff,                                                        )
                                                                           )
7                                                                          )
         v.                                                                )
8                                                                          )
         GARRISON PROPERTY AND                                             )
9        CASUALTY INSURANCE COMPANY, )
                                                                           )
10       Defendant.                                                        )
11
12
13
14                    Zoom Video Deposition of DAVID SCHWICKERATH
15                                   (Taken by the Defendant)
16                                                   Phoenix, Arizona
17                                        Thursday, September 9, 2021
18
19
20
21
22       Reported by:                            Marisa Munoz-Vourakis -
                                                 RMR, CRR and Notary Public
23
24
25

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     ZZZYHULWH[WFRP                                                                                           

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1        APPEARANCE OF COUNSEL BY ZOOM:

2        For the Plaintiff:

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4                            Hagens Berman Sobol Shapiro LLP

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7                            602-840-5900

8                              ohnd hbssla .com

9

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12                           Baker           Hostetler LLP

13                           200 Civic Center Drive, Suite 2200

14                           Columbus, OH 43215

15                           mdrocton bakerla .com

16

17       Also Present:                 MICHAEL KIRBY, Videographer

18                                                            o0o

19

20                                   Zoom Video Deposition of DAVID SCHWICKERATH,

21       taken by the Defendant, at Phoenix, Arizona, on the 9th

22       day of September, 2021 at 10:39 a.m., before Marisa

23       Munoz-Vourakis, Registered Merit Reporter, Certified

24       Realtime Reporter and Notary Public.

25

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                                                                                                         Page 155

1        vehicles has the same, I guess, formula used for the

2        loss vehicle

3                 A.             I m not sure that that s the case.

4                   .            Is it not your understanding if the loss

5        vehicle is in very good condition in each of the

6        categories, the positive condition ad ustment for the

7        loss vehicle                ould cancel out the negative ad ustment

8        for the comp vehicles on dealer lots

9                                MR. DeSTEFANO:                   Form and foundation.

10                A.             I believe that s ho                        the math is intended

11       to     ork, so that if you have a very good condition

12       automobile, that s the total loss                                       and a very good

13       comparable vehicle, there                              ould be no ad ustment

14       necessary.

15                  .            Okay.         So ho          is it that --                  ell, let me

16       ask one more                uestion.             If Ms. Fortson s vehicle                              as in

17       very good condition in each of the categories, is it

18       your understanding that there                                  ould be a positive                          720

19       condition ad ustment

20                               MR. DeSTEFANO:                   Form and foundation.

21                A.             I mean, it s possible.                            I m not exactly

22       sure that it                ould be the 722, since the 722 represents

23       an average of all of those vehicles, all of those

24       comparables.

25                               So you          ould have different amounts through

                                                  9HULWH[W/HJDO6ROXWLRQV
     ZZZYHULWH[WFRP                                                                                           

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                                                                                                         Page 156

1        each of those six -- I m sorry, each of those four

2        comparable vehicles for those six components, you                                                          ould

3        then potentially have differences, and I don t think

4        that that math necessarily                               orks, unless someho                         that

5        722 represents exactly the same as the vehicle for

6        Ms. Fortson, but I m not sure that that s possible,

7        given that you have these six comparable vehicles                                                          ith

8        all different aspects and it s an average.

9                                So I m not sure that that fits.

10                  .            Have you ever seen a CCC report                                     here the

11       loss vehicle is rated very good in each condition

12                A.             No, I have not.

13                  .            All right.               Can you please open in your

14       folder CCC IS027199.

15                A.             Okay.

16                  .            I take it you ve not seen this report

17       before, is that right

18                A.             No, I have not.

19                  .            Okay.         You can see from the bottom left,

20       there s a Fortson vs. Garrison Property and Casualty

21       case title and our case number here.                                          Do you see that

22                A.             I do.

23                  .            And in the bottom right-hand corner

24       CCCIS027199.                Do you see that

25                A.             Yes, I do.

                                                  9HULWH[W/HJDO6ROXWLRQV
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                                                                                                         Page 157

1                                MR. DROCTON:                 We ll mark this one as

2                   Exhibit 13.

3                                          (The document referred to                               as marked

4                            Deposition Exhibit Number 13 for

5                            identification.)

6                   .            And please turn to page CCCIS027204.

7                 A.             Okay.

8                   .            Do you see the vehicle condition table for

9        the loss vehicle

10                A.             I do.

11                  .            And do you see                   here the condition is very

12       good for each of the six condition categories

13                A.             I do.

14                  .            And on the right-hand corner -- or

15       right-hand column, there s a value impact of zero

16       dollars for each of those categories, right

17                A.             That s correct.

18                  .            And if you could please turn ahead to

19       CCCIS027026.

20                A.             Okay.

21                  .            Let me kno                 hen you re there.

22                A.             I am.

23                  .            Please take a look at the, roughly the

24       middle of the page,                       here it sho s ad ustments.                                 You ll

25       see options and mileage.                             Let me kno                 hen you re

                                                  9HULWH[W/HJDO6ROXWLRQV
     ZZZYHULWH[WFRP                                                                                           

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                                                                                                         Page 158

1        there.

2                 A.             I m there.

3                   .            Do you see any ad ustment for condition

4                 A.             No, I do not.

5                   .            Based on your revie                        of the loss vehicles

6        condition and the ad ustments share for the comp

7        vehicles, is it your understanding that there s a zero

8        dollar condition ad ustment                                hen the loss vehicle is in

9        very good condition

10                A.             Yes, I think that                      e had talked about that

11       earlier in my testimony, that if the total loss vehicle

12       is very good, there                       ould be no condition ad ustment.

13                  .            Great.          I must have missed that.                              I thought

14        e     ere talking the same thing, but one of my                                                uestions

15       regarding Ms. Fortson s report, if                                        e can flip back to

16       that.

17                A.             Okay.

18                  .            Are you there

19                A.             Yes.

20                  .            And, again, this is Exhibit 9                                   e re looking

21       at

22                A.             Correct.

23                  .            If Ms. Fortson on Garrison PC211, if her

24       vehicle           as assessed very good condition in each of the

25       condition categories, is it your understanding that

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                                                                                                                        Page 1
 1                                                   ROBERT LOPEZ
 2                       IN THE UNITED STATES DISTRICT COURT
 3               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 4                    Civil Action No. 1:19-cv-00294-CCE-JLW
 5
 6    ELIZABETH V. FORTSON, et al.
 7                              Plaintiff,
 8    vs.
 9    GARRISON PROPERTY AND CASUALTY
10    INSURANCE COMPANY,
11                              Defenant.
12
13                                                   CONFIDENTIAL
14                    Remote ZOOM Deposition of ROBERT LOPEZ
15                                                   May 21, 2021
16                                         9:30 a.m. - 4:47 p.m.
17
18
19
20
21
22
23    REPORTED BY:
24    Steven Poulakos, RPR
25    JOB NO. 194290


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                                                                                                                   Page 2
1                                               ROBERT LOPEZ
2
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9                          The deposition of ROBERT LOPEZ                                            as held via
10   Zoom videoconference on Friday, May 21, 2021,
11   commencing at 9:30 a.m., before Steven Poulakos, Notary
12   Public.
13
14
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                                                                                                                   Page 3
 1                                              ROBERT LOPEZ
 2   APPEARANCES:
 3        ON BEHALF OF THE PLAINTIFFS:
 4        JOHN DeSTEFANO, ES UIRE
 5               Hagens Berman Sobol Shapiro
 6               11 West Jefferson
 7               Phoenix, Arizona                          85003
 8
 9
10
11        ON BEHALF OF THE DEFENDANT:
12        ALBERT LIN, ES UIRE
13               Baker              Hostetler
14               200 Civic Center Drive
15               Columbus, Ohio                        43215
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                                                                                                                       Page 4
 1                                              ROBERT LOPEZ
 2                                                       INDE
 3                             Deposition of ROBERT LOPEZ
 4                                              May 21, 2021
 5   Examination by:                                                                                                Page
 6   Mr. DeStefano                                                                                                     6
 7
 8   Exhibit No.                                                                                                   Marked
 9   Exhibit 1                 Notice of deposition                                                                    19
10   Exhibit 2                 A conditioning matrix                                                                  103
11   Exhibit 3                 A conditioning matrix                                                                  104
12   Exhibit 4                 A conditioning matrix                                                                  107
13   Exhibit 5                 The top of the document says USAA                                                      119
14                             total loss
15   Exhibit 6                 CCC market valuation report                                                            124
16   Exhibit 7                 An orientation packet for ne                                          total           164
17                             loss reps
18   Exhibit 8                 A survey                                                                               175
19   Exhibit 9                 A consistency document                                                                178
20   Exhibit 10                CCC training document                                                                 178
21   Exhibit 11                A re uest for proposal                                                                186
22   Exhibit 12                A CCC printed document dated                                                          188
23                             November 2018 that is analyzing
24                             potentially USAA data and providing
25                             an analysis


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 1                              ROBERT LOPEZ
 2                      Exhibit Index (Continued)
 3   Exhibit No.                                                         Marked
 4   Exhibit 13       A spreadsheet                                          192
 5   Exhibit 14       North Carolina guidance on ho                          206
 6                    insurance companies should value
 7                    total loss claims
 8
 9
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                                                                           Page 126
1                               ROBERT LOPEZ
2     ould say around the 2011 to              12 or   13 timeframe.
3                   Is that a nation ide rule or                ust in North
4    Carolina
5         A         I imagine it       ould be nation ide, but I
 6   don t kno    for certain.
 7                  On the front page underneath the base
 8   vehicle value, do you see          here it says condition
 9   ad ustment
10        A         I do.
11                  What does that reflect
12        A         That reflects that this vehicle received a
13   very good rating on a component.              I don t kno        hich
14   component.     It doesn t have it, but it               ould sho     that
15   this vehicle did receive a very good rating at least on
16   one category sho ing that this vehicle                  as rated in
17   better than good condition in some                ay.
18                  Paging through the document, can you sho
19   me   here that ad ustment is reflected
20         A        Yes, sir.      Page 6 of 18.
21                  Explain to me       hat s sho n on page 6.
22         A        Yes, sir.      On page 6 is the breakdo n of
23   the appraiser s assessment of the condition of this
24   particular car.        So example or I ll talk through it.
25   The mechanical is rated very good because the


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                                                                                                                       Page 127
 1                                                 ROBERT LOPEZ
 2   inspection notes reflect minor seepage.                                                     Belts and
 3   hoses sho             some          ear.          Method -- the classification of
 4   that to be rated very good.                                     So        hen the appraiser
 5   notes that to be very good, CCC s market research and
 6   dealer survey e uates that impact to be a                                                        130
 7   positive.
 8                            The tires                ere rated good and the notes
 9   reflect a six tread average                                     hich e uates to a zero
10   dollar impact because it s the e uivalent to an every
11   day on the road vehicle meaning that the tires do have
12   some      ear.           Ho ever, they re not in fair or very good
13   condition.               They re              ust in good condition.
14                            If you            ant me to keep going, I can break
15   do n each one of these.
16                            Just at a high level.                                Are these
17   ad ustments explained to the consumer in the report
18           A                Absolutely.                   If the consumer                         ould like an
19   explanation,                 e      ould have that explanation.                                         If the
20   customer receives a report and fully understands it,
21   they may not ask for clarification of these.                                                            It       ust
22   depends as to                   hether the customer has                                   uestions or
23   needs to be advised of ho                                   the value                as arrived at.
24                            Does USAA al ays provide the valuation
25   report to consumers in North Carolina                                                   hen there s a


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                                                                                                                      Page 128
1                                                  ROBERT LOPEZ
2    total loss claim
3            A                Yes.
4                             And        here in this report does it explain
5    the nature of these condition ad ustments
6            A                I felt like page 6 does that.                                           I might be
7    missing the                uestion, though.
8                             Any here else                        You can look through it.
9            A                (Revie ing document.)
10                            So page 6 in its entirety.                                       There s a note
11   on the right-hand side                               hich reads USAA uses condition
12   inspection guidelines to determine the condition of key
13   components of the loss vehicle prior to the loss.                                                                The
14   guidelines describe physical characteristics for these
15   key components for the condition selected based upon
16   age.
17                            Inspection notes reflect observations from
18   the appraiser regarding the loss vehicle s condition.
19   CCC makes dollar ad ustments that reflect the impact
20   the reported condition has on the value of the loss
21   vehicle as compared to good condition.                                                    These dollar
22   ad ustments are based upon intervie s                                                   ith dealerships
23   across the United States.                                   Page 6 has notes on this
24   vehicle and explains ho                                those values are reflected.
25                            Stand by as I flip through the rest of the


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                                                                                                                   Page 129
 1                                              ROBERT LOPEZ
 2   document, please.                     Page 1 of 18 under the ad usted
 3   vehicle value subsection reads this is determined by
 4   ad usting the base vehicle value to account for the
 5   actual condition of the loss vehicle and certain other
 6   reported attributes, if any, such as refurbishments and
 7   after factory e uipment.
 8                         So that is directly correlating the base
 9   vehicle value plus the condition ad ustment as the base
10   vehicle value plus condition ad ustment e uates to the
11    6,690 figure.
12                         Page 2 of 18, claim inspection.                                              USAA --
13   stand by one second.                         Page 2 of 18, claim inspection.
14   USAA has provided CCC                          ith the ZIP code                          here the loss
15   vehicle is garaged, loss vehicle VIN, mileage,
16   e uipment, as                ell as loss vehicle condition                                           hich is
17   used to assist in determining the value of the vehicle.
18   So it appears that those three sections.
19                         Looking at the front page, page 1 again,
20   does this page reflect any information about condition
21   ad ustments to the comparable vehicles
22        A                No, sir, not on this page.
23                         Where           ould I find information about the
24   condition ad ustments to the comparable vehicles
25        A                Yes, sir, please stand by.                                       Page 7 of 18.


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                                                                                                                   Page 130
 1                                              ROBERT LOPEZ
 2   Last section on the blue side bar, the condition
 3   ad ustment sets that comparable vehicle to good
 4   condition          hich is loss vehicle is also compared to in
 5   the vehicle condition section.
 6                         What is your understanding of                                           hat that
 7   language represents
 8        A                That language represents that a vehicle
 9   that s available for sale at a dealer facility                                                            ould be
10   rated in very good condition rating as a dealership
11    ould take effort, monetary resources, as                                                     ell as labor
12   to get that vehicle to be more appealing for the next
13   consumer that s looking to purchase that used car.
14   That vehicle is also not an every day use vehicle.
15                         It s sitting at the dealer lot dealer ready
16    ith some refurbishments done to it to make it more
17   appealing for the next consumer.                                         Therefore, a vehicle
18   at a dealer facility is in better than good condition
19    hich     ould then be reflected                                  ith an ad ustment to get
20   it -- to make it comparable to the loss vehicle in
21    uestion.
22                         Beyond            hat you ve already read from this
23   page, is there anything else in the valuation report
24   that explains the nature of the condition ad ustment
25        A                Stand by.                Yes.          So the other reference


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                                                                                                                       Page 131
 1                                                 ROBERT LOPEZ
 2   is -- the precursor to that section is preceded by a
 3   one.        And so that one also is reflected on the
 4   comparable vehicles.                            So example if                      e flip to page 8
 5   of 18 in the middle section of the report right next to
 6   condition also reflects that one.                                             So it s driving the
 7   consumer to see here is the definition of condition
 8   ad ustment.                Here is condition                           ith a one calling it to
 9   the member s attention, that that reflects a minus 722
10   ad ustment.
11                            Is there any here else in the report                                                    here
12   it explains                hat the nature of the condition ad ustment
13   to comparable vehicles
14           A                Based on my revie                           right no ,                  ust those
15   t o sections.
16                            You gave a number of reasons                                          hy USAA vie s
17   the deduction as appropriate based on the                                                        ay that
18   dealers prepare and maintain cars for sale on their
19   lots, right
20           A                Yes.          John, I              ant to add one more thing to
21   your previous                   uestion, please.                          If I can amend my
22   previous statement.
23                            What is it
24           A                Page 2 of 18 also calls that out under
25   calculate base vehicle value and it reads ad ustments


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                                                                                                                   Page 132
 1                                              ROBERT LOPEZ
 2   to the price of the selected comparable vehicle are
 3   made to reflect differences in vehicle attributes e ual
 4   in mileage and options.                             Dollar ad ustments are based
 5   upon market research.
 6                         Finally the base vehicle value is a
 7   straight average of the ad usted values of the
 8   comparable vehicles.                         So that s also giving insight to
 9   the vehicle o ner or consumer that ad ustments are made
10   to make it comparable.
11                         And going back to my previous                                           uestion,
12   though, you agree that you gave a number of reasons                                                            hy
13   USAA vie s the ad ustment as appropriate because of the
14    ay dealers prepare and maintain their vehicles for
15   sale, right
16        A                Yes.
17                         Are any of those reasons explained any here
18   in this report
19                         MR. LIN:               Ob ect to form.
20                         Go ahead.
21                         THE WITNESS:                    Beyond             hat I outlined in my
22   previous ans er
23   BY MR. DeSTEFANO:
24                         Yes.
25        A                Beyond those three sections, no, sir.


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                                                                                                                   Page 135
1                                               ROBERT LOPEZ
2    ad ustment to them, right
3                          MR. LIN:               Ob ect to form.
4                          THE WITNESS:                    I m still a little confused.
5    Can you restate the                        uestion a different                              ay
6    BY MR. DeSTEFANO:
7                          Going do n to the condition ad ustment on
8    page 8, you highlight that negative                                             722.
9         A                Yes, sir.
10                         That s the ad ustment made reflecting the
11   condition of the comparable vehicles, right
12        A                That is the ad ustment made to the loss
13   vehicle because the comparable is in better condition
14   than the loss vehicle.                            Therefore, it s a negative
15   ad ustment.
16                         So the ad ustment reduces the valuation of
17   the loss vehicle, correct
18        A                Not necessarily.                          In this particular
19   example, it does because these vehicles are dealer
20   ready     hereas the loss vehicle is in good condition
21    ith the exception of the mechanical components.
22                         But if this                   722 deduction                      ere removed,
23   then the valuation                      ould be              722 higher, right
24        A                If this section                        as removed,                    e      ould be
25   overpaying the member and not paying them                                                       hat the


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                                                                                                                   Page 136
1                                               ROBERT LOPEZ
2    actual cash value of their loss vehicle is.
3                          That          asn t my               uestion.               My        uestion is:
4    If the      722 is removed from this step of the process,
5    then the ultimate valuation                                  ould be              722 higher,
6    right
7         A                No.
8                          MR. LIN:               Ob ection.
9                          THE WITNESS:                    That s not correct.
10   BY MR. DeSTEFANO:
11                         Why isn t it correct
12        A                I ll refer to page 1.                                On page 1, there                     as
13   a positive condition ad ustment up of 130.                                                      So it         ould
14   be 722 minus 130.
15                         I m not saying anything about the 130.
16   We re talking about the condition ad ustment to the
17   loss vehicle on page 6                            is that correct
18        A                That s correct.
19                         So if the 130 is still included and the 722
20   is removed, the valuation amount                                         ould increase by 722,
21   right
22                         MR. LIN:               Ob ect to form.
23                         THE WITNESS:                    No.
24   BY MR. DeSTEFANO:
25                         Why not


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                                                                                                                     Page 137
 1                                                ROBERT LOPEZ
 2          A                It       ould be approximately 590.
 3                           Are you subtracting 130 from 722
 4          A                Yes.          May I explain                      hy
 5                           No.        That s not my                      uestion.                My       uestion
 6   is:    If the 130 is still added to the base vehicle
 7   value, but the 722 is not subtracted, then the base
 8   vehicle value                  ould be still -- it                              ould be              722 less,
 9   right
10                           MR. LIN:               Ob ect to form.
11   BY MR. DeSTEFANO:
12                           Do you understand ho                               the base vehicle
13   value is calculated
14          A                John, I d like to clarify for you if I can.
15                           I m asking the                       uestion.               Do you understand
16   ho    the base vehicle value is calculated
17          A                Yes.
18                           You said earlier it s a straight average of
19   the values of the comparable vehicles, right
20          A                Yes, sir.
21                           So if the values of the comparable vehicles
22    as increased by                      722, then that                       ould increase the
23   average of them by 722, right
24                           MR. LIN:               Ob ect to form.
25                           THE WITNESS:                    I ans ered that                         uestion.


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                                                                                                                     Page 138
1                                               ROBERT LOPEZ
2    BY MR. DeSTEFANO:
3                          I m sorry.                  What          as your ans er
4                          MR. LIN:               Hold on.               Ob ect to form.
5                          Go ahead, Rob.
6                          Maybe the court reporter can read that
7    back, the          uestion.
8         (Reporter read back the record as re uested.)
9                          THE WITNESS:                    No.
10   BY MR. DeSTEFANO:
11                         Why not
12        A                We gave credit to this member s -- for this
13   member s vehicle of 130.                              So if            e re using this
14   example and             e remove that 722, it                                 ould increase the
15   value by 592.
16                         I m not talking about the ad usted vehicle
17   value.      You re still incorporating 130 into it.                                                           I m
18   talking about the base vehicle value                                              hich is
19   calculated based on the average of the comparables.
20        A                May I explain, John
21                         No.        I m asking the                        uestions.                The base
22   vehicle value is the average of the comparables only.
23   So you calculate the base vehicle value before you look
24   at the loss vehicle condition.                                      Removing that                      722
25   ad ustment            ill increase the base vehicle value by 722,


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                                                                                                                   Page 139
 1                                              ROBERT LOPEZ
 2   right
 3        A                No.
 4                         Do you believe that the                                   722 ad ustment
 5   does not reduce claim payments
 6        A                No.
 7                         No       hat           No, you don t believe that
 8        A                No, I don t believe that because the
 9   ad usted vehicle value that you re referring to could
10   be impacted by the loss vehicle s condition and in this
11   case, it         as impacted by it.                             If the member s vehicle
12   is rated very good do n the line meaning it s in the
13   same condition as the dealers, you may see a                                                         722
14   ad ustment up.                 So it could be net zero.
15                         It could be a net zero, but these are t o
16   different ad ustments, right
17        A                No.
18                         They re the same ad ustment
19        A                They are.
20                         Ho       is that possible
21        A                If this member s vehicle                                    as in very good
22   condition all the                     ay do n the line on page 6, there
23    ould be a positive condition ad ustment up of 722.
24                         Where is that explained
25           A             May I read page 6


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                                                                                                                    Page 140
 1                                               ROBERT LOPEZ
 2                          You can revie                      page 6.
 3         A                May I read it
 4                          Go ahead.
 5         A                USAA uses condition inspection guidelines
 6   to determine the condition of key components of the
 7   loss vehicle prior to the loss.                                         The guidelines
 8   described physical characteristics for these key
 9   components for the conditions selected based upon age.
10   Inspection notes reflect observations from the
11   appraiser regarding the loss vehicle s conditions.                                                             CCC
12   makes dollar ad ustments that reflect the impact that a
13   reported condition has on the value of the loss vehicle
14   as compared to good.                          These dollar ad ustments are
15   based upon intervie s                           ith dealerships across the
16   United States.
17                          I didn t hear you explain anything about
18   ho   the value impacts                          ould add up to                        722.
19         A                The mechanical is rated at very good and
20   received a positive 130 up.                                   If the tires                     ere rated as
21   very good, there                     ould be a positive condition up.                                          If
22   the paint           as rated very good, there                                      ould be a
23   positive ad ustment up.                              If body              as rated very good,
24   positive ad ustment up.                              Glass, positive ad ustment up.
25   Interior, positive ad ustment up.                                           If they              ere already


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                                                                                                                      Page 141
 1                                                 ROBERT LOPEZ
 2   very good, there                        ould be a 722 positive ad ustment
 3    hich        ould e uate to a net zero for that dollar
 4   ad ustment to those comparables.
 5                            That s sufficiently explained in the report
 6   is   hat you understand, right
 7                            MR. LIN:               Ob ect to form, argumentative.
 8                            THE WITNESS:                    Total loss reps                         ould explain
 9   that to members if the member has                                             uestions and allo s
10   for us to explain it to them.
11   BY MR. DeSTEFANO:
12                            So       hat is the amount that                                  ould be added
13   to the tires if there                             as a positive value impact that
14   could add up to                     722           What is the tires component of
15   that
16           A                May I read the description again
17                            No.        I      ant you to give me the amount of
18   the ad ustment that                           ould apply to tires in very good
19   condition.
20                            MR. LIN:               You don t have to ans er that,
21   Rob.        That is             ell outside the scope of all of these
22   topics.           So asking for a specific dollar amount for a
23   specific condition ad ustment for a specific car is not
24   possible to prep any                            itness regarding that level of
25   detail, so --


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                                                                                                                     Page 180
1                                                ROBERT LOPEZ
2    claims.         So I don t kno                       if I can give you a list of
3    scenarios, but either or could invoke it.                                                      If       e      ere
4    at an impasse, invoking it                                  ill help resolve the
5    dispute.
6                           Ho       often           ould you say the appraisal
7    clause is invoked
8                           MR. LIN:               Ob ect to form.
9                           THE WITNESS:                    I don t kno .                      I don t have
10   that.      I don t have context of                                   hat that                ould look
11   like, timeframe, state.                              I don t kno .                      I don t kno .
12   BY MR. DeSTEFANO:
13                          Well, in the last -- since 2015 or so in
14   North Carolina, do you have an understanding of roughly
15   ho   often the appraisal clause is invoked
16         A                No.        I don t have that and I don t kno                                              if
17    e   ould collect that data either.
18                          In your experience handling total loss
19   claims, do you remember if it                                      as more than half the
20   time or less than half the time
21         A                I      ould be surprised if it s more than
22   5 percent of the time.
23                          Does Garrison regard appraisals as an
24   accurate          ay to determine the value of vehicles
25                          MR. LIN:               Ob ect, form.


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                                                                          Page 181
 1                              ROBERT LOPEZ
 2                  THE WITNESS:       I think the use of CCC is an
 3   accurate    ay of determining value.            Ho ever, the member
 4   or USAA could deem it to be an appropriate -- an
 5   accurate    ay of determining value.            It s      ust -- it s a
 6   difficult    uestion.      I don t kno .
 7   BY MR. DeSTEFANO:
 8                  Does Garrison have any studies of ho                 often
 9   appraisals occur
10        A         No, not that I m a are of.
11                  Has Garrison ever conducted a study
12   comparing appraised value to CCC s valuations
13         A        No, not that I m a are of.
14                  Does Garrison maintain a list of the
15   appraisers that it uses for North Carolina total loss
16   claims
17         A        No, I haven t seen one.
18                  Does Garrison keep any kind of list of
19   payments made to appraisers for North Carolina claims
20         A        No, I m not a are of one.
21                  Moving back to the relationship               ith CCC.
22   Ho   does Garrison compensate CCC for its total loss
23   valuation service
24         A        USAA is billed monthly.           We receive a flat
25   rate monthly for services that they provide.                  The flat


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     ³-DFN´  FRQWHQGWKDWWKH*(,&2'HIHQGDQWVXQGHUYDOXHGWKHLUYHKLFOHVZKHQWKH\PDGHFODLPV

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    3DULVK7KH.LDZDVVRVHYHUHO\GDPDJHGWKDWWKHHVWLPDWHVWRUHSDLUWKHYHKLFOHUHQGHUHGLWD

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             SDUW\PRWRUYHKLFOHWRWDOORVVHVRQWKHEDVLVRIDFWXDOFDVKYDOXHRUUHSODFHPHQW
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            PDUNHWDUHDWKHQHDUHVWUHDVRQDEOHPDUNHWFDQEHXVHG

             E 7KHUHWDLOFRVWDVGHWHUPLQHGIURPDJHQHUDOO\UHFRJQL]HGXVHGPRWRUYHKLFOH
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            WZRLQGHSHQGHQWDSSUDLVDOVEDVHGRQPHDVXUDEOHDQGGLVFHUQDEOHIDFWRUV
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            GLVWDQFHVXUURXQGLQJWKHDUHDZKHUHDPRWRUYHKLFOHLVSULQFLSDOO\JDUDJHGRUWKH
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    H[LVWVSURRIPXVWEHLQWURGXFHGVXIILFLHQWWRVXSSRUWDILQGLQJWKDWWKHIDFWGRHVH[LVW7KHFRXUWPD\DGPLWWKH
    SURSRVHGHYLGHQFHRQWKHFRQGLWLRQWKDWWKHSURRIEHLQWURGXFHGODWHU´
                                                             




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            7KH*(,&2'HIHQGDQWVFKDUDFWHUL]HWKHLUDUJXPHQWVDVEHLQJEDVHGRQWKH³IDOVH

    SUHPLVHV´UHOLHGXSRQE\3ODLQWLIIV 

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    FODVVPHPEHUV DUHOHVVWKDQWKH³DFWXDOFDVKYDOXH´GXHXQGHUWKHLU3ROLFLHV  

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    WKDQ³DFWXDOFDVKYDOXH´ 7KHYDOLGLW\RIWKLV³VLQJOHEHQFKPDUN´FRPSDULVRQLVDOVR3ODLQWLIIV¶


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    EXUGHQWRSURYHEHIRUHWKH&RXUWFRQVLGHUV'U+DVVHOO¶VRSLQLRQVRQFODVVFHUWLILFDWLRQ  7KH\

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    DTXHVWLRQRIIDFWWKDWPXVWEHH[DPLQHGRQDFDVHE\FDVHEDVLV´  &ODUNY0F1DEE6RG

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    DUJXHWKDWWKH*(,&2'HIHQGDQWVFKDOOHQJHWKHZHLJKWWREHJLYHQKHURSLQLRQVQRWWKH

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    FRQWHQGLQJWKDW+DVVHOO¶VRSLQLRQVVKRXOGEHH[FOXGHG  7KH\UHLWHUDWHWKDWKHURSLQLRQVDUH

    EDVHGRQIDOVHSUHPLVHV  7KH\DUJXHIXUWKHUKHU³PHWKRGRORJ\´KDGQRWHYHQEHHQ

    LPSOHPHQWHG 


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            +DYLQJKHDUG WKHHYLGHQFHDGGXFHGDWWKHKHDULQJIXUWKHUHOXFLGDWLQJWKHSDUWLHV¶

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            TXHVWLRQVDIIHFWLQJRQO\LQGLYLGXDOPHPEHUVDQGWKDWDFODVVDFWLRQLVVXSHULRUWR
            RWKHUDYDLODEOHPHWKRGVIRUIDLUO\DQGHIILFLHQWO\DGMXGLFDWLQJWKHFRQWURYHUV\
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            $VDUHVXOWLQZHLJKLQJFHUWLILFDWLRQWKHFRXUWZLOORIWHQKDYH³WRSUREHEHKLQG
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            GHWHUPLQDWLRQJHQHUDOO\LQYROYHVFRQVLGHUDWLRQVWKDWDUHHQPHVKHGLQWKHIDFWXDO
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            IDFWVDVWKHSDUW\VHHNLQJWKHFODVVSUHVHQWVWKHPWKHFDVHVHHPVVXLWDEOHIRUFODVV
            WUHDWPHQW´,G HPSKDVLVDGGHG 0XFKPRUHLVQHHGHG

            7KXVWRVDWLVI\WKHULJRUUHTXLUHPHQWDGLVWULFWFRXUWPXVWGHWDLOZLWKVSHFLILFLW\
            LWVUHDVRQVIRUFHUWLI\LQJ9L]HQD)GDW,WPXVWH[SODLQDQGDSSO\WKH
            VXEVWDQWLYHODZJRYHUQLQJWKHSODLQWLIIV FODLPVWRWKHUHOHYDQWIDFWVDQGGHIHQVHV
            DUWLFXODWLQJZK\WKHLVVXHVDUHILWIRUFODVVZLGHUHVROXWLRQ 7KHFRXUWVKRXOG
            UHVSRQGWRWKHGHIHQGDQWV OHJLWLPDWHSURWHVWVRILQGLYLGXDOL]HGLVVXHVWKDWFRXOG
            SUHFOXGHFODVVWUHDWPHQW  $QGLWVDQDO\VLVPXVWVWD\FORVHWRWKHIDFWVDQGODZ
            RIWKHFDVHVSXUQLQJUHOLDQFHRQJHQHUDOL]DWLRQVDERXWZKDWW\SHVRIGLVSXWHVPD\
            EHILWIRUDFODVV 7KHFRXUWPXVWULJRURXVO\FRQVLGHUERWK5XOH D V
            SUHUHTXLVLWHV DQGWKH5XOH E FODVVW\SH 

            7KLV³ULJRURXVDQDO\VLV´PDQGDWHLVQRWVRPHSRLQWOHVVH[HUFLVHWKDWZHIRLVWRQ
            WKLVFLUFXLW VKDUGZRUNLQJDQGFRQVFLHQWLRXVGLVWULFWMXGJHVVXFKDVWKHMXGJHLQ
            WKLVFDVH,WPDWWHUV$³FODVVDFWLRQLVDQH[FHSWLRQWRWKHXVXDOUXOHWKDWOLWLJDWLRQ
            LVFRQGXFWHGE\DQGRQEHKDOIRIWKHLQGLYLGXDOQDPHGSDUWLHVRQO\´%HKUHQG
            86DW6&W TXRWDWLRQPDUNVUHPRYHG DQGFUHDWLYHXVHVDUH
            SHULORXV,WLVQRVHFUHWWKDWFHUWLILFDWLRQ³FDQFRHUFH DGHIHQGDQWLQWRVHWWOLQJRQ
            KLJKO\GLVDGYDQWDJHRXVWHUPVUHJDUGOHVVRIWKHPHULWVRIWKHVXLW´ $QGWKH
            H[LVWHQFHRIDFODVVIXQGDPHQWDOO\DOWHUVWKHULJKWVRISUHVHQWDQGDEVHQW
            PHPEHUVSDUWLFXODUO\IRUPDQGDWRU\FODVVHVVXFKDVWKHRQHKHUH   1ROHVVWKDQ
            GXHSURFHVVLVLPSOLFDWHGVRDFDUHIXOORRNLVQHFHVVDU\6HH8QJHUY$PHGLV\V
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            $QDO\VLV RI D FODVV FHUWLILFDWLRQ PRWLRQ ³EHJLQV RI FRXUVH ZLWK WKH HOHPHQWV RI WKH

    XQGHUO\LQJ FDXVH RI DFWLRQ´  (ULFD3-RKQ)XQG,QFY+DOOLEXUWRQ &R  86 

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    DJDLQVWDQLQVXUHUDEVHQWDYDOLGXQGHUO\LQJLQVXUDQFHFODLP)XUWKHUPRUHEUHDFKRIFRQWUDFW

    LVDFRQGLWLRQSUHFHGHQWWRUHFRYHU\IRUWKHEUHDFKRIGXW\RIJRRGIDLWK  

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    SURYHWKHVHWWOHPHQWDPRXQWZDVOHVVWKDQWKHDFWXDOFDVKYDOXHRIWKHORVVYHKLFOHDIWHUDOO   

    DGMXVWPHQWV 




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            :LWKWKHHOHPHQWVRIWKHVHFODLPVLQPLQGWKH&RXUWZLOOFRQVLGHUHDFKRIWKHIRXU5XOH

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            )LUVWQXPHURVLW\UHTXLUHVWKHH[DPLQDWLRQRIWKHVSHFLILFIDFWVRIHDFKFDVHDQGLPSRVHV

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    ODZFDQEHFLWHGWRVKRZWKDWVPDOOHUFODVVHVKDYHEHHQFHUWLILHGDQGODUJHURQHVGHQLHG

    FHUWLILFDWLRQIRUODFNRIQXPHURVLW\ 6XFKQXPEHUFRPSDULVRQVPLVVWKHSRLQWRIWKH5XOH7KH

    SURSHUIRFXVLVQRWRQQXPEHUVDORQHEXWRQZKHWKHUMRLQGHURIDOOPHPEHUVLVSUDFWLFDEOHLQ

    YLHZRIWKHQXPHURVLW\RIWKHFODVVDQGDOORWKHUUHOHYDQWIDFWRUV´  

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    SURYHWKDWWKHQXPEHURILQVXUHGVLQWKHFODLPVWKDWZHUHDOOHJHGO\KDUPHGXQGHU

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    WKHWLPH  7KH*(,&2'HIHQGDQWVDOVRDUJXHWKDWWKDWWKHQXPEHURIFODLPDQWVFRXOGRQO\EH

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    SRWHQWLDOFODLPVWRPHHWWKHQXPHURVLW\IDFWRU  7KHUHIRUHWKH&RXUWILQGVWKDW3ODLQWLIIVKDYH

    PHWWKHLUEXUGHQDVWRQXPHURVLW\

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    PDLQWDLQHGLIWKHUHDUHTXHVWLRQVRIODZRUIDFWFRPPRQWRWKHFODVV )(' 5 &,9 3 D   

    ³7KHFRPPRQDOLW\WHVWLVPHWZKHQWKHUHLVDWOHDVWRQHLVVXHWKHUHVROXWLRQRIZKLFKZLOODIIHFW

    DOORUDVLJQLILFDQWQXPEHURIWKHSXWDWLYHFODVVPHPEHUV´ /LJKWERXUQY&RXQW\RI(O3DVR

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    ZLGHEDVLVE\FRPSXWLQJWKHGLIIHUHQFHEHWZHHQWKH1$'$OHDQUDWHGYDOXHDQGWKH:&7/

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    DWHDFKLQGLYLGXDOFODLPWRVHHZKLFKFODLPDQWVUHFHLYHGPRUH  'U+DVVHOO¶VGDPDJHPRGHO

    ZRXOGILWPRUHHDVLO\ZLWKWKH3URJUHVVLYHFDVHWKDQLWZRXOGZLWK*(,&2¶VFDVH

             $QRWKHULPSRUWDQWGLIIHUHQFHEHWZHHQ6ODGH DQGWKHSUHVHQWFDVHLVWKDWWKH3URJUHVVLYH

    DGMXVWHUVZHUHDOVRDEOHWRGHWHUPLQHWKHYHKLFOH¶V1$'$YDOXHE\SUHVVLQJDQ³1$'$EXWWRQ´

    RQKLVRUKHUFRPSXWHU  ,QFRQWUDVWWKH*(,&2DGMXVWHUVGRQRWWUDFNWKH1$'$FOHDQUHWDLO

    YDOXHDQGWKDWLQIRUPDWLRQLVQRW QRUPDOO\IRXQGLQ*(,&2¶VFODLPILOHV 

             2QHRWKHULPSRUWDQWGLIIHUHQFHLVWKHYDOXH3URJUHVVLYHZDVFRPSXWLQJYHUVXVWKHYDOXH

    *(,&2LVFRPSXWLQJ  ,Q6ODGHWKH:&7/SURJUDPKDGDFRQGLWLRQUDWLQJRIZKLFK

    FRPSDUHGWRWKHFRQGLWLRQRIDXVHGYHKLFOHRQDGHDOHU¶VORW  ,QFRQWUDVW*(,&2¶V&&&

    SURJUDPDWWHPSWVWRFDOFXODWHWKHDFWXDOFRVWYDOXHRIWKHYHKLFOHLQWKHVWDWHZKHUHLWZDVORFDWHG

    MXVWSULRUWRWKHDFFLGHQWFDXVLQJWKHORVV  7KHUHIRUHLQ6ODGH WKHXVHRI'U+DVVHOO¶VPRGHOLV

    DQ³DSSOHVYHUVXVDSSOHV´FRPSDULVRQ XVHGYHKLFOHRQGHDOHU¶VORWYHUVXVFOHDQUHWDLQYDOXH  

    ,QWKHSUHVHQWFDVHKHUGDPDJHVPRGHOLVDQ³DSSOHVYHUVXVRUDQJHV´ FRPSDULVRQEHFDXVH


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              7KH &RXUWQRWHVWKDWWKHUHLVFXUUHQWO\DQLVVXHLQ6ODGH DVWRZKHWKHUWKHGDPDJHVZHUHDVHDV\WR
    FDOFXODWHDV+DVVHOOKDGSUHYLRXVO\LQGLFDWHG 
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    1$'$FOHDQUHWDLQ UHIOHFWVWKHYDOXHRIDXVHGYHKLFOHIRUVDOHRQDGHDOHU¶VORWYHUVXVWKHDFWXDO

    FRVWRIWKHLQVXUHGYHKLFOHMXVWEHIRUHWKHDFFLGHQW 'U5LFKDUGVRQWHVWLILHGWKDWDYHKLFOHRQWKH

    URDGMXVWSULRUWRDQDFFLGHQWZRXOGDOPRVWDOZD\VEHYDOXHGOHVVWKDQ DXVHGYHKLFOHIRUVDOHRQ

    DGHDOHU¶VORW 

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    DOOSRWHQWLDOFODLPVZRXOGKDYHWREHORRNHGDWLQGLYLGXDOO\WRGHWHUPLQHZKHWKHURUQRW

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    PDQXDOO\              E\&&&DGMXVWHUV  (DFKLQGLYLGXDOFODLPZLOOKDYHWREHORRNHGDWWRILQGRXW

    LQZKLFK FODLPV*(,&2SDLGPRUHDQGRULQZKLFKFODLPVPDQXDOYDOXDWLRQVZHUHXVHGE\&&& 

    8QOLNH 6ODGH 3UXGKRPPH¶V DQG-DFN¶VFODLPVFDQQRWEHUHVROYHGE\UHIHUHQFHWR*(,&2¶VRZQ

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    GLVWULFWFRXUWIDLOHGWRPHHWWKHULJRURXVDQDO\VLVUHTXLUHGIRUFODVVFHUWLILFDWLRQ  6SHFLILFDOO\

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    PHPEHUVWKDWFRXOGSUHYHQWWKHVXLWIURPJHQHUDWLQJFRPPRQDQVZHUV 

            7KHUHDUHLPSRUWDQWGLIIHUHQFHVEHWZHHQWKH*(,&2LQVXUHGV SURSRVHGWREHFODVV

    SODLQWLIIV  $SSDUHQWO\                 ZHUHSDLGPRUHWKDQWKH&&&  $OVRDSSDUHQWO\                 KDG

    PDQXDOHYDOXDWLRQVXVHGUDWKHUWKDQWKH&&&FRPSXWHUV\VWHP  ,WZRXOGEHLPSRVVLEOHWR

    GHWHUPLQHGDPDJHVRQDFODVVZLGHEDVLV ZLWKRXWH[DPLQLQJDOOFODLPV  &RPPRQ

    TXHVWLRQVFRXOGQRWEHDQVZHUHGZLWKRXWIDFWVSHFLILFLQTXLULHVDVWRHDFKFODLP 



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                1$'$&OHDQ5HWDLOUHIOHFWVDXVHGYHKLFOHRQDGHDOHU¶VORWUHDG\IRUVDOH  'U5LFKDUGVRQ¶VWHVWLPRQ\ 
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Case 6:15-cv-00098-TAD-PJH                Document 278 Filed 12/22/20 Page 21 of 25 PageID #: 9060




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    WKHSODLQWLIIVGLGQRWVKRZFRPPRQDOLW\ZKHUHLWZDVDOOHJHGWKDW 3URJUHVVLYH¶VXVHRIWKH

    :&7/V\VWHPWRYDOXHYHKLFOHWRWDOORVVFODLPVYLRODWHG2NODKRPDODZ  ,QGHQ\LQJFODVV

    FHUWLILFDWLRQWKHFRXUWIRXQGWKHUHZRXOGQRWEHDFRPPRQDQVZHUIRUWKHSXUSRUWHGFODVVDVWKH

    FODVVZRXOGUHTXLUHDQLQGHSWKORRNDWVSHFLILFFODLPVZKLFKFRQWUDYHQHVWKHSXUSRVHRIFODVV

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             7\SLFDOLW\LVDUHTXLUHPHQWWKDW³WKHFODLPVRUGHIHQVHVRIWKHUHSUHVHQWDWLYHSDUWLHVDUH

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    VLPLODULW\EHWZHHQWKHQDPHGSODLQWLIIV¶ OHJDODQGUHPHGLDOWKHRULHVDQGWKHOHJDODQGUHPHGLDO

    WKHRULHVRIWKRVHZKRPWKH\ZLVKWRUHSUHVHQW  6HH/LJKWERXUQY&LW\RI(O3DVR)G

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    WKHRU\IDFWXDOGLIIHUHQFHVZLOOQRWGHIHDWW\SLFDOLW\  6HH-DPHV Y&LW\RI'DOODV )G

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             3UXGKRPPH¶V.LD5RQGR/;ZDVLQYROYHGLQDQDXWRPRELOHDFFLGHQWUHVXOWLQJLQD

    WRWDOORVV  3UXGKRPPHPDLQWDLQVKLVYHKLFOH¶V1$'$FOHDQUHWDLQYDOXHZDVZKLOH

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            -DFN¶V)RUG5DQJHU96XSHUFDEWUXFNZDVLQYROYHGLQDQDXWRPRELOHDFFLGHQW

    UHVXOWLQJLQDWRWDOORVV  7KH1$'$FOHDQUHWDLOYDOXHZDVZKLOHKHZDVSDLG

    XQGHU*(,&2¶V&&&2QHYDOXDWLRQ  -DFNEHOLHYHVKLVYHKLFOHZDVZRUWKHYHQPRUH

    WKDQWKH1$'$FOHDQUHWDLOYDOXH

            *(,&2PDLQWDLQVWKHSODLQWLIIVDUHLQFRQIOLFWZLWKHDFKRWKHUDQG-DFNLVVXEMHFWWR

    XQLTXHLQGLYLGXDOGHIHQVHV 'HVSLWHWKDW3UXGKRPPHDQG-DFNVHHNWRUHSUHVHQW*(,&2

    LQVXUHGVZKRVHWRWDOORVVYHKLFOHVZHUHSDLGOHVV WKDQWKH1$'$FOHDQUHWDLOYDOXH  7KHVPDOO

    GLIIHUHQFHVDUHQRWHQRXJKWRGHIHDWW\SLFDOLW\ 

                      $GHTXDWH5HSUHVHQWDWLRQ

            8QGHUWKHDGHTXDF\DUJXPHQW3ODLQWLIIVPXVWVKRZWKDWWKH\WKHLUFRXQVHODQGWKH

    UHODWLRQVKLSEHWZHHQWKHWZRDUHDGHTXDWHWRSURWHFWWKHLQWHUHVWVRIWKHDEVHQWFODVVPHPEHUV 

    8QJHUY$PHGLV\V,QF)G WK &LU 

            7KHUHLVQRDUJXPHQWFKDOOHQJLQJWKHDGHTXDF\RI3ODLQWLIIV¶FRXQVHO  $IILGDYLWVZHUH

    ILOHG>([K@E\FODVVFRXQVHO.HQQHWK6W3H.HQQHWK'H-HDQDQG-5:KDOH\  0U'H-HDQ

    WHVWLILHGOLYHDWWULDO  &RXQVHODUHKLJKO\TXDOLILHGWRUHSUHVHQWWKHLQWHUHVWRIDEVHQWFODVV

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            *(,&2DUJXHVWKDW3UXGKRPPHDQG-DFNKDYHDFRQIOLFWRILQWHUHVWGXHWR'U

    5LFKDUGVRQ¶VFRQFOXVLRQWKDWPRUHWKDQRQHILIWKRIWKHSXWDWLYHFODVVEHQHILWHGIURP*(,&2

    XVLQJWKH&&&YDOXHLQVWHDGRI1$'$&OHDQ5HWDLOYDOXH  ,QRWKHUZRUGV3UXGKRPPHDQG

    -DFNKDYHDFRQIOLFWRILQWHUHVWLQWKDWWKHPHWKRGWKH\FRQWHQGVKRXOGKDYHEHHQXVHGZRXOGEH

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            ,QWUDFODVVFRQIOLFWVPD\QHJDWHDGHTXDF\XQGHU5XOH D   /DQJEHFNHUY(OHF'DWD

    6\V&RUS )G WK&LU   ,Q3LFNHWWY,RZD%HHI3URFHVVRUV

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    WKHFODVVLQFOXGHVWKRVH³ZKRFODLPKDUPIURPWKHYHU\DFWVIURPZKLFKWKHRWKHUFODVVPHPEHUV

    EHQHILWWHG´  7KDWLVWKHFDVHKHUH  $FFRUGLQJWR'U5LFKDUGVRQ¶VFDVHVWXG\DSSUR[LPDWHO\

    RIWKHSURSRVHGFODVVPHPEHUVZRXOGUHFHLYHOHVVXVLQJWKH1$'$&OHDQ5HWDLOYDOXHWKDQ

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             &         WKHGHVLUDELOLW\RUXQGHVLUDELOLW\RIFRQFHQWUDWLQJWKHOLWLJDWLRQRIWKH
                       FODLPVLQWKHSDUWLFXODUIRUXPDQG

             '        WKHOLNHO\GLIILFXOWLHVLQPDQDJLQJDFODVVDFWLRQ

            3UHGRPLQDQFHDOWKRXJKUHPLQLVFHQWRIWKHFRPPRQDOLW\UHTXLUHPHQWRI5XOH D LV

    PRUHGHPDQGLQJ³EHFDXVHLWWHVWVZKHWKHUWKHSURSRVHGFODVVHVDUHVXIILFLHQWO\FRKHVLYHWR

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    XVHGIRUWKHHQWLUHFODVVZLWKRXWH[DPLQLQJHDFKLQGLYLGXDOFODLPILOH  'DPDJHVVLPSO\FDQQRW

    GHWHUPLQHGRQDFODVVZLGHEDVLV 

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            $OWKRXJKWKLVFDVHLVVLPLODUWR6ODGHY3URJUHVVLYHD³ULJRURXVDQDO\VLV´RIWKHIDFWV

    VKRZWKDWWKHUHDUHYDVWGLIIHUHQFHVZKLFKPDNHLWLPSRVVLEOHWRGHWHUPLQHOLDELOLW\RUGDPDJHV

    RQDFODVVZLGHEDVLV  7KHUHIRUH3ODLQWLIIV¶$PHQGHG0RWLRQIRU&ODVV&HUWLILFDWLRQLV

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                EXHIBIT 1




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            D &OLFNKHUHWRYLHZWKH.%%FRP3ULYDF\3ROLF\<RXXQGHUVWDQGDQGDJUHHWKDW
               ZKHQ\RXYLVLW.%%FRP\RXDUHFRQVHQWLQJWRWKHFROOHFWLRQDQGXVHRI
               LQIRUPDWLRQSURYLGHGE\\RXDQGDERXW\RXUXVHRI.%%FRPDQGWKH6HUYLFHV
               LQDFFRUGDQFHZLWKWKH3ULYDF\3ROLF\




 3HUVRQDO8VH2QO\


            D <RXPD\PDNHSHUVRQDOXVHRIDOORIWKHLQIRUPDWLRQ\RXDFFHVVRQ.%%FRP
               ³,QIRUPDWLRQ´ EXW\RXPD\QRWWDNHDQ\RIWKH,QIRUPDWLRQDQGUHIRUPDWDQG
               GLVSOD\LWRUFRS\LWRQ\RXU:HEVLWHRULQDQ\RWKHUIRUPDWDQG\RXPD\QRW
               VWRUHRUPLJUDWHDQ\RIWKH,QIRUPDWLRQRURWKHUGDWDIURP.%%FRPZLWKRXW
               .HOOH\%OXH%RRN¶VZULWWHQSHUPLVVLRQ%\XVLQJWKH6HUYLFH\RXDJUHHQRWWR
               VHOOVWRUHGLVWULEXWHWUDQVPLWGLVSOD\UHSURGXFHPRGLI\PLJUDWHFUHDWH
               GHULYDWLYHZRUNVIURPRURWKHUZLVHH[SORLWDQ\RIWKH,QIRUPDWLRQFRQWHQWRU
               GDWDUHODWHGWRDQ\SRUWLRQRIWKH6HUYLFH<RXPD\SULQWDFRS\RISDUWLFXODU
               YHKLFOHYDOXHVDQGSULFHVDQGXVHWKH,QIRUPDWLRQIRU\RXUSHUVRQDOQRQ
               FRPPHUFLDOXVHEXW\RXPD\QRWRWKHUZLVHUHSURGXFHDQ\PDWHULDODSSHDULQJ
               RQ.%%FRP,I\RXZDQWWRPDNHFRPPHUFLDOXVHRIWKH.HOOH\%OXH%RRN
               ,QIRUPDWLRQRU6HUYLFHV\RXPXVWHQWHULQWRDQDJUHHPHQWZLWKXVWRGRVRLQ
               DGYDQFHDQGZHZRXOGORYHWRWDONWR\RXDERXWWKDW




 &RQWULEXWLRQVWR.%%FRP




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            D %\VXEPLWWLQJUDWLQJVUHYLHZVFRQWHQWLGHDVVXUYH\UHVSRQVHVVXJJHVWLRQV
               GRFXPHQWVFRPPHQWVDQGRUSURSRVDOV ³&RQWULEXWLRQV´ WR.%%FRPWKURXJK
               LWVVXUYH\V³FRQWDFWXV´RUVXJJHVWLRQRUIHHGEDFN:HESDJHV\RX
               DFNQRZOHGJHDQGDJUHHWKDW D \RXU&RQWULEXWLRQVGRQRWFRQWDLQFRQILGHQWLDO
               RUSURSULHWDU\LQIRUPDWLRQ E .HOOH\%OXH%RRNLVQRWXQGHUDQ\REOLJDWLRQRI
               FRQILGHQWLDOLW\H[SUHVVRULPSOLHGZLWKUHVSHFWWRWKH&RQWULEXWLRQV F \RXU
               &RQWULEXWLRQVDXWRPDWLFDOO\EHFRPHWKHSURSHUW\RI.HOOH\%OXH%RRNZLWKRXW
               DQ\REOLJDWLRQRI.HOOH\%OXH%RRNWR\RXDQG.HOOH\%OXH%RRNVKDOOEH
               HQWLWOHGWRXVHFRS\PRGLI\RUGLVFORVH RUFKRRVHQRWWRXVHRUGLVFORVH 
               GHOHWHLQLWVHQWLUHW\DGDSWSXEOLVKWUDQVODWHFUHDWHGHULYDWLYHZRUNVIURP
               DQGRUVHOODQGRUGLVWULEXWHVXFK&RQWULEXWLRQVIRUDQ\SXUSRVHLQDQ\ZD\LQ
               DQ\PHGLDZRUOGZLGH G .HOOH\%OXH%RRNPD\KDYHVRPHWKLQJVLPLODUWRWKH
               &RQWULEXWLRQVDOUHDG\XQGHUFRQVLGHUDWLRQRULQGHYHORSPHQWDQG H \RXDUH
               QRWHQWLWOHGWRDQ\FRPSHQVDWLRQRUUHLPEXUVHPHQWRIDQ\NLQGIURP.HOOH\
               %OXH%RRNXQGHUDQ\FLUFXPVWDQFHVIRU\RXU&RQWULEXWLRQV


           E <RXDVVXPHWRWDOUHVSRQVLELOLW\DQGULVNIRU\RXUXVHRIDQ\LQWHUDFWLYHDUHDVRI
               .%%FRP<RXDFNQRZOHGJHWKDWDQ\RIWKH&RQWULEXWLRQVSRVWHGRUWUDQVPLWWHG
               WKURXJK.%%FRPUHSUHVHQWVWKHYLHZVRIWKHDXWKRUDQGQRWRI.HOOH\%OXH
               %RRN<RXDOVRDFNQRZOHGJHWKDW\RXUXVHRIRUUHOLDQFHRQVXFKFRQWHQWLVDW
               \RXURZQULVN




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            F :KHQSXEOLVKLQJDQ\WKLQJWR.%%FRPRUXVLQJDQ\VRFLDOPHGLDWRROVRU
               LQWHUDFWLYHIHDWXUHV\RXDJUHHWKDW\RXZLOOQRWSRVWRUWUDQVPLW




                     L DQ\FRS\ULJKWHGPDWHULDOXQOHVV\RXRZQRUFRQWUROWKHFRS\ULJKWLQ
                       DQGWRVXFKPDWHULDO


                    LL PDWHULDOWKDWLVNQRZLQJO\IDOVHDQGRUGHIDPDWRU\LQDFFXUDWH
                       OLEHORXVWRUWXRXVDEXVLYHYXOJDUKDWHIXOUDFLVWELJRWHGVH[LVW
                       KDUDVVLQJWKUHDWHQLQJLQIODPPDWRU\REVFHQHSURIDQHVH[XDOO\
                       RULHQWHGLQYDVLYHRIDSHUVRQ¶VSULYDF\RULVRWKHUZLVHREMHFWLRQDEOH
                       RULQYLRODWLRQRIDQ\DSSOLFDEOHODZUXOHRUUHJXODWLRQ


                   LLL PDWHULDOWKDWYLRODWHVRULQIULQJHVWKHULJKWVRIDQ\RWKHUSDUW\
                       LQFOXGLQJZLWKRXWOLPLWDWLRQULJKWVRISULYDF\ULJKWVRISXEOLFLW\
                       FRS\ULJKWWUDGHPDUNRURWKHULQWHOOHFWXDOSURSHUW\ULJKWV


                   LY SURIDQLW\LQVXEMHFWOLQHVPHVVDJHVRUVLJQDWXUHV


                    Y DQ\PDWHULDOFRQWDLQLQJYLUXVHV7URMDQKRUVHVZRUPVRUDQ\RWKHU
                       GLVUXSWLYHRUKDUPIXOFRPSRQHQW


                   YL PDWHULDOWKDWEUHDFKHVDQRWKHU¶VSULYDF\LHFRQWDLQLQJSKRQH
                       QXPEHUVDGGUHVVHVRURWKHUSHUVRQDOLQIRUPDWLRQ


                  YLL VSDPLQFOXGLQJEXWQRWOLPLWHGWRMXQNPDLOFKDLQOHWWHUV
                       XQVROLFLWHGEXONHPDLORUGXSOLFDWLYHPHVVDJHVH[FHVVLYHFURVV
                       SRVWLQJVDQGPDWHULDOWKDWLVXQUHODWHGWRWKHIRUXPLQZKLFKLWLV
                       SRVWHG


                 YLLLPDWHULDOWKDWFRQWDLQVDGYHUWLVHPHQWVRUFRPPHUFLDOVROLFLWDWLRQVRU


                   L[ PDWHULDOGLVFXVVLQJLOOHJDODFWLYLWLHVRUOLQNLQJWRZHEVLWHVWKDWGHDO
                       ZLWKVXFKDFWLYLWLHV




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           G <RXIXUWKHUDJUHHWKDW\RXZLOOQRWDWWHPSWRUGRDQ\RIWKHIROORZLQJ



                     L LQWHUIHUHZLWKRUGLVUXSW.%%FRPRURXUFRPSXWHUV\VWHPVVHUYHUV
                       RUQHWZRUNV


                    LL DWWHPSWWRJDLQXQDXWKRUL]HGDFFHVVWRDQ\SDUWRI.%%FRPWR
                       DFFRXQWVWKDWEHORQJWRRWKHUXVHUVRUWRFRPSXWHUV\VWHPVRU
                       QHWZRUNVFRQQHFWHGWR.%%FRP


                   LLL HQJDJHLQDQ\V\VWHPDWLFH[WUDFWLRQRIGDWDRUGDWDILHOGVLQFOXGLQJ
                       ZLWKRXWOLPLWDWLRQHPDLODGGUHVVHVE\XVHRIDQ\DXWRPDWHG
                       PHFKDQLVPVXFKZHEURERWVFUDZOHUVRUVSLGHUVRURWKHUZLVH


                   LY FROOHFWLQIRUPDWLRQDERXWRWKHUVZLWKRXWWKHLUFRQVHQW


                    Y LQWHUIHUHZLWKWKHXVHRI.%%FRPE\DQ\RWKHULQGLYLGXDORUSDUW\


                   YL LPSHUVRQDWHDQ\SHUVRQRURWKHUZLVHDWWHPSWWRPLVOHDGRWKHUV
                       DERXW\RXULGHQWLW\RUSRVWPDWHULDOXQGHUVHFRQGDU\XVHUQDPHVRU
                       RWKHUDOLDVHVRU


                  YLL VKDUHDQ\XVHUQDPHDQGRUSDVVZRUG\RXKDYHRQ.%%FRPZLWK
                       DQ\RWKHUSHUVRQV




            H :LWKRXWOLPLWLQJDQ\RI.HOOH\%OXH%RRN¶VRWKHUULJKWVRUUHPHGLHVDYLRODWLRQ
               RIDQ\RIWKHDERYHPD\UHVXOWLQWKHUHPRYDORIDQ\FRQWHQW\RXKDYH
               WUDQVPLWWHGRUSRVWHGUHYRFDWLRQRIDQ\DFFRXQWV\RXKDYHRQ.%%FRPRURQ
               RXUDIILOLDWHGZHEVLWHVDQGVHUYLFHVDQGRUDEDQIURPFUHDWLQJQHZDFFRXQWV




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            I $OWKRXJK.HOOH\%OXH%RRNFDQQRWPRQLWRUDOORIWKHOLVWLQJVDQGFRQWHQW
               SRVWHGWR.%%FRPZHUHVHUYHWKHULJKW EXWDVVXPHQRREOLJDWLRQ WRGHOHWH
               PRYHFRQGHQVHRUHGLWDQ\DGVUDWLQJVUHYLHZVFRQWHQWRURWKHUSRVWLQJVWKDW
               FRPHWRRXUDWWHQWLRQWKDWZHFRQVLGHUXQDFFHSWDEOHRULQDSSURSULDWHZKHWKHU
               IRUOHJDORURWKHUUHDVRQV:HUHWDLQWKHULJKWWRGHQ\DFFHVVWRDQ\RQHZKRZH
               EHOLHYHKDVYLRODWHGWKHVHWHUPVRUDQ\RWKHUWHUPRIWKHVH7HUPV:HZLOOQRW
               LQWKHRUGLQDU\FRXUVHRIEXVLQHVVUHYLHZWKHFRQWHQWRISULYDWHHOHFWURQLF
               PHVVDJHVWKDWDUHQRWDGGUHVVHGWRXV+RZHYHUZHPD\RFFDVLRQDOO\PRQLWRU
               VXFKFRPPXQLFDWLRQVDVZHEHOLHYHLVDSSURSULDWHWRFRPSO\ZLWKDSSOLFDEOH
               ODZVUHVSRQGWROHJDOSURFHVVRUDODZHQIRUFHPHQWUHTXHVWWRHQIRUFHWKHVH
               7HUPVRUWRSURWHFWWKHULJKWVSURSHUW\RUVDIHW\RIYLVLWRUVWR.%%FRPRXU
               DGYHUWLVHUVWKHSXEOLFXVRURXUDIILOLDWHV1RWZLWKVWDQGLQJWKHIRUHJRLQJ
               .HOOH\%OXH%RRNWDNHVQRUHVSRQVLELOLW\DQGDVVXPHVQROLDELOLW\IRUDQ\
               FRQWHQWSRVWHGWR.%%FRPE\\RXRUE\WKLUGSDUWLHV




 .HOOH\%OXH%RRN,QVWDQW&DVK2IIHU3URJUDP7HUPVD




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            D 3URJUDP2YHUYLHZ:LWKWKH.HOOH\%OXH%RRN,QVWDQW&DVK2IIHU3URJUDP
               ³,QVWDQW&DVK2IIHU3URJUDP´ \RXFDQFRPSOHWHDTXHVWLRQQDLUHRQOLQHRUDWD
               GHDOHUVKLSDQGJHWDVSHFLILFRIIHUWREX\\RXUFDUIRUFDVKWRGD\ ³,QVWDQW&DVK
               2IIHU´RU³2IIHU´ <RXFDQUHGHHP\RXU,QVWDQW&DVK2IIHUIRUFDVKRUSXWWKH
               YDOXHRI\RXU2IIHUWRZDUGWKHSXUFKDVHRIDQRWKHUYHKLFOHVXEMHFWWRWKHVH
               ,QVWDQW&DVK2IIHU3URJUDP7HUPVDQG&RQGLWLRQVWKH.%%FRP7HUPVRI
               6HUYLFHLQFOXGLQJEXWQRWOLPLWHGWRWKH$UELWUDWLRQDQG&ODVV$FWLRQ:DLYHU
               SURYLVLRQVDOORIZKLFKDUHLQFRUSRUDWHGKHUHLQE\UHIHUHQFHDQGRWKHUWHUPV
               DQGFRQGLWLRQVSURYLGHGWKURXJKWKH,QVWDQW&DVK2IIHU3URJUDP.HOOH\%OXH
               %RRNDQG$XWRWUDGHUGRQRWUHGHHP,QVWDQW&DVK2IIHUVRUSXUFKDVHYHKLFOHV
               UDWKHUWKH,QVWDQW&DVK2IIHULVUHGHHPDEOHDWGHDOHUVZKRKDYHSDLG.HOOH\
               %OXH%RRNRUDQDIILOLDWHWRSDUWLFLSDWHLQWKH,QVWDQW&DVK2IIHU3URJUDP
               ³3DUWLFLSDWLQJ'HDOHUV´ 7KH,QVWDQW&DVK2IIHULVYDOLGDWDQ\3DUWLFLSDWLQJ
               'HDOHUIRUVHYHQ  GD\VDIWHULWZDVLVVXHG,WLVLPSRUWDQWWRQRWHWKDWWKH
               ,QVWDQW&DVK2IIHULVEDVHGRQVSHFLILFLQIRUPDWLRQDERXW\RXUYHKLFOHZKLFK
               PD\UHVXOWLQYDULDWLRQVIURPWKHLQIRUPDWLRQFROOHFWHGLQFRQQHFWLRQZLWKD
               .HOOH\%OXH%RRN9DOXH7KH2IIHUPD\EHOHVVWKDQWKH.HOOH\%OXH%RRN
               7UDGH,Q9DOXHDQGPD\EHORZHUWKDQWKH7UDGH,Q5DQJHIRUDVLPLODUYHKLFOH


               <RXU9HKLFOHPXVWSDVVDPDQGDWRU\YHKLFOHLQVSHFWLRQE\D3DUWLFLSDWLQJ
               'HDOHU,IWKHLQVSHFWLRQUHSRUWGLIIHUVIURP\RXUGHVFULSWLRQRURQOLQH
               DVVHVVPHQWRI\RXUYHKLFOH¶VFRQGLWLRQWKH3DUWLFLSDWLQJ'HDOHUPD\DGMXVWWKH
               2IIHUDPRXQWZKLFKPD\PHDQGHFUHDVLQJWKH2IIHUDPRXQW3DUWLFLSDWLQJ
               GHDOHUVDUHQRWRZQHGRURSHUDWHGE\QRUDUHWKH\DIILOLDWHGZLWKRUDFWLQJRQ
               EHKDOIRIHLWKHU.HOOH\%OXH%RRNRU$XWRWUDGHU.HOOH\%OXH%RRN$XWRWUDGHU
               DQGWKHLUDIILOLDWHVH[SUHVVO\GLVFODLPDQ\OLDELOLW\UHVXOWLQJIURPDQDGMXVWPHQW
               RIWKH2IIHURUUHIXVDOWRDFFHSWWKHYHKLFOHE\3DUWLFLSDWLQJ'HDOHU V 




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           E 3URJUDP5HTXLUHPHQWV,QDGGLWLRQWRWKHRWKHU.%%FRP7HUPVRI6HUYLFH
               DQGRWKHUWHUPVWRUHGHHPDQ,QVWDQW&DVK2IIHUWKDW\RXKDYHUHFHLYHGWKURXJK
               WKH,QVWDQW&DVK2IIHU3URJUDP  \RXUYHKLFOHPXVWEHORFDWHGLQDPDUNHWLQ
               ZKLFKWKH,QVWDQW&DVK2IIHU3URJUDPLVRIIHUHG  \RXPXVWEHWKHUHJLVWHUHG
               RZQHURIWKHYHKLFOHLQTXHVWLRQ  \RXPXVWSRVVHVVDYDOLGGULYHU¶VOLFHQVHRU
               RWKHUIRUPRIYDOLGJRYHUQPHQWLVVXHGSKRWR,'  \RXPXVWQRWEHDQ
               DXWRPRELOHGHDOHURUDQHPSOR\HHRUDJHQWRIDQDXWRPRELOHGHDOHU  WKH
               SHUVRQDOFRQWDFWLQIRUPDWLRQDQGWKHLQIRUPDWLRQDERXW\RXUYHKLFOHWKDW\RX
               SURYLGHLQUHVSRQVHWRRXURQOLQHTXHVWLRQQDLUHPXVWEHDFFXUDWHFRPSOHWHDQG
               WUXWKIXODQG  ZLWKLQVHYHQ  GD\VRIWKHLVVXDQFHRI\RXU,QVWDQW&DVK
               2IIHU\RXPXVWGHOLYHU\RXUYHKLFOHZLWKDYDOLGUHJLVWUDWLRQDQGHLWKHUFOHDU
               DQGXQHQFXPEHUHGWLWOHLQ\RXUQDPHRUFRPSOHWHGRFXPHQWDWLRQUHJDUGLQJDQ\
               OHDVHREOLJDWLRQVRUOLHQVRQ\RXUYHKLFOH LQFOXGLQJIRUH[DPSOHFRQWDFW
               LQIRUPDWLRQIRU\RXUOHQGHURUOHDVLQJFRPSDQ\UHOHYDQWDFFRXQWLQIRUPDWLRQ
               DQGWKHFXUUHQWORDQSD\RIIDPRXQWRUOHDVHHDUO\WHUPLQDWLRQIHHIRU\RXU
               YHKLFOH WRD3DUWLFLSDWLQJ'HDOHU7KH3DUWLFLSDWLQJ'HDOHUZLOOLQVSHFW\RXU
               YHKLFOHWRFRQILUPLWVFRQGLWLRQDQGYHULI\WKHDFFXUDF\RIWKHRWKHULQIRUPDWLRQ
               DERXW\RXUYHKLFOHWKDW\RXVXEPLWWHGRQOLQH%DVHGRQWKHUHVXOWVRIWKLV
               YHULILFDWLRQLQVSHFWLRQ PRUHLQIRUPDWLRQEHORZ UHSRUWHGE\WKH3DUWLFLSDWLQJ
               'HDOHUWKHGROODUDPRXQWRI\RXU,QVWDQW&DVK2IIHUPD\EHDGMXVWHGXSRU
               GRZQSULRUWRUHGHPSWLRQ




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            F 5HVWULFWLRQV7KH,QVWDQW&DVK2IIHU3URJUDPLVQRWDYDLODEOHLQDOODUHDVDQG
               QRWDOOYHKLFOHVDUHHOLJLEOHIRU2IIHUV7KH,QVWDQW&DVK2IIHU3URJUDPPD\QRW
               EHXVHGWRVHOORUWRWUDGHLQFHUWDLQFDWHJRULHVRIYHKLFOHVDW.HOOH\%OXH%RRN¶V
               GLVFUHWLRQLQFOXGLQJZLWKRXWOLPLWDWLRQFXUUHQWPRGHO\HDU RUQHZHU YHKLFOHV
               H[RWLFYHKLFOHVFRPPHUFLDOYHKLFOHVYHKLFOHVVXEMHFWWRUHFDOORULQYHVWLJDWLRQ
               E\DJRYHUQPHQWDJHQF\YHKLFOHVZLWKDSROLFHILUHOLYHU\WD[LRUUHQWDO
               KLVWRU\UHFRQVWUXFWHGRUVDOYDJHYHKLFOHVYHKLFOHVZLWKRXWDYDOLG9HKLFOH
               ,GHQWLILFDWLRQ1XPEHU 9,1 YHKLFOHVQRWRULJLQDOO\EXLOWIRUWKH8QLWHG6WDWHV
               PDUNHWRUWKDWZHUHLPSRUWHGLOOHJDOO\RURXWVLGHRIRIILFLDOPDQXIDFWXUHU
               FKDQQHOV LH³JUD\PDUNHW´YHKLFOHV YHKLFOHVROGHUWKDQPRGHO\HDUV
               YHKLFOHVWKDWKDYHRYHUPLOHVRQWKHRGRPHWHUYHKLFOHVZLWKDOWHUHG
               GULYHOLQHVRUERGLHVRULOOHJDORUQRQIXQFWLRQLQJHPLVVLRQVHTXLSPHQWYHKLFOHV
               UHJLVWHUHGDWDQDXWRDXFWLRQRURIIHUHGIRUVDOHWKURXJKDQ\ZKROHVDOHFKDQQHO
               ZLWKLQGD\VDQGYHKLFOHVWKDWZHZRXOGYDOXHDWOHVVWKDQ<RXPD\
               XVHWKH,QVWDQW&DVK2IIHU3URJUDPWRVHOORUWUDGHLQDPD[LPXPRIWKUHH
               YHKLFOHVLQDQ\VL[PRQWKSHULRG9HKLFOHVZLWKDQ2IIHUYDOXHJUHDWHUWKDQ
               PD\QRWEHDFFHSWHGE\HYHU\3DUWLFLSDWLQJ'HDOHUDQGPD\UHTXLUHDQ
               DGGLWLRQDOLQVSHFWLRQ


           G 6RPH2IIHUV5HTXLUH5HYLHZ$OWKRXJKWKHPDMRULW\RI,QVWDQW&DVK2IIHUV
               JHQHUDWHGE\WKH,QVWDQW&DVK2IIHU3URJUDPZLOOEHGHOLYHUHGZLWKLQPRPHQWV
               RIVXEPLWWLQJDYDOLGUHTXHVWVRPHUHTXHVWVUHTXLUHPDQXDOUHYLHZ7KLVPDQXDO
               UHYLHZSURFHVVXVXDOO\ZLOOEHFRPSOHWHGZLWKLQPLQXWHVRIVXEPLWWLQJDUHTXHVW
               EXWRFFDVLRQDOO\PD\WDNHXQWLOWKHQH[WEXVLQHVVGD\




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            H 7KH,QIRUPDWLRQ<RX3URYLGHLQ&RQQHFWLRQZLWK<RXU2IIHU%\UHTXHVWLQJ
               DQ2IIHU\RXUHSUHVHQWDQGZDUUDQWWKDWWKHLQIRUPDWLRQ\RXSURYLGHLVDFFXUDWH
               DQGQRWIDOVHRUPLVOHDGLQJDQGWKDW\RXDUHWKHVROHRZQHURUDQ\LPDJHV\RX
               VXEPLWLQFRQQHFWLRQZLWKWKH2IIHUDQGWKDWWKHLPDJHVZLOOQRWYLRODWHWKH
               LQWHOOHFWXDOSURSHUW\ULJKWVRIDQ\WKLUGSDUW\LQFOXGLQJFRS\ULJKWRURWKHU
               LQWHOOHFWXDORUSURSULHWDU\ULJKWV<RXIXUWKHUDJUHHWKDWE\VXEPLWWLQJDQ\
               LQIRUPDWLRQRULPDJHVLQFRQQHFWLRQZLWKDQ2IIHU\RXJUDQWWR.%%DQGLWV
               DIILOLDWHVDQRQH[FOXVLYHUR\DOW\IUHHSHUSHWXDOWUDQVIHUDEOHLUUHYRFDEOHDQG
               IXOO\VXEOLFHQVDEOHULJKWWRXVHUHSURGXFHPRGLI\DGDSWWUDQVODWHGLVWULEXWH
               SXEOLVKFUHDWHGHULYDWLYHZRUNVIURPDQGSXEOLFO\GLVSOD\DQGSHUIRUPVXFK
               LQIRUPDWLRQDQGLPDJHVWKURXJKRXWWKHZRUOGLQDQ\PHGLDQRZNQRZQRU
               KHUHDIWHUGHYLVHG<RXDFNQRZOHGJHWKDWLI\RXSURYLGHXVZLWKDQ\IDOVH
               LQFRPSOHWHRULQDFFXUDWHLQIRUPDWLRQLQFOXGLQJZLWKRXWOLPLWDWLRQYHKLFOH
               LQIRUPDWLRQRUSHUVRQDOFRQWDFWLQIRUPDWLRQ\RXU,QVWDQW&DVK2IIHUPD\EH
               LPPHGLDWHO\LQYDOLGDWHG<RXIXUWKHUDFNQRZOHGJHWKDWLIYHKLFOHLPDJHVDUH
               LQFRQVLVWHQWZLWKRWKHULQIRUPDWLRQ\RXSURYLGHWKLVPD\DIIHFWWKHDFFXUDF\RI
               \RXU2IIHU%\UHTXHVWLQJDQ2IIHU\RXDJUHHWKDWZHRXUVHUYLFHSURYLGHUV
               DQG3DUWLFLSDWLQJ'HDOHUVPD\FRQWDFW\RXE\DQ\PHWKRGWKDW\RXVXSSOLHGIRU
               \RXUFRQWDFWLQIRUPDWLRQDERXWYHKLFOHVRURWKHUSURGXFWVDQGVHUYLFHVWKDWPD\
               EHRILQWHUHVWWR\RX<RXZLOOKDYHWRVXSSO\DSKRQHQXPEHUEXWLWGRHVQ¶W
               KDYHWREHDPRELOHQXPEHU,I\RXGRVXSSO\DPRELOHQXPEHU\RXFRQVHQWWR
               UHFHLYHFDOOVRUWH[WVDWWKDWQXPEHUZKHWKHUPDQXDOO\RUDXWRPDWLFDOO\GLDOHG
               IURPXVDQGIURP3DUWLFLSDWLQJ'HDOHUV




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            I 3DUWLFLSDWLQJ'HDOHUV



                     L 3DUWLFLSDWLQJ'HDOHUVSD\DPRQWKO\VXEVFULSWLRQWRSDUWLFLSDWHLQ
                       DQGUHFHLYHOHDGVWKURXJKWKH,QVWDQW&DVK2IIHU3URJUDP2IIHUV
                       SURYLGHGWKURXJKWKH,QVWDQW&DVK2IIHU3URJUDPDUHFDOFXODWHGDQG
                       JHQHUDWHGE\DSURSULHWDU\DSSUDLVDOWRROLQWHQGHGWRJHQHUDWHDSULFH
                       UHIOHFWLQJDOLTXLGFDVKRIIHUWREHKRQRUHGE\D3DUWLFLSDWLQJ'HDOHU
                       LUUHVSHFWLYHRIZKHWKHU\RXDUHSXUFKDVLQJDQRWKHUYHKLFOHIURPWKDW
                       3DUWLFLSDWLQJ'HDOHU,QVWDQW&DVK2IIHU3URJUDPJXDUDQWHHVWR
                       3DUWLFLSDWLQJ'HDOHUVWKDW\RXUYHKLFOHZLOOEHZRUWKDWOHDVWWKH
                       DPRXQWRIWKH2IIHU3DUWLFLSDWLQJ'HDOHUVDUHQRWRZQHGRURSHUDWHG
                       E\QRUDUHWKH\DFWLQJRQEHKDOIRI.HOOH\%OXH%RRNDQGH[FHSW
                       DVGHVFULEHGKHUHLQDUHQRWRWKHUZLVHDIILOLDWHGZLWK.HOOH\%OXH
                       %RRN,I\RXUHGHHP\RXU,QVWDQW&DVK2IIHUDWD3DUWLFLSDWLQJ
                       'HDOHU\RXZLOOKDYHWKHRSWLRQRIHLWKHUXVLQJ\RXU,QVWDQW&DVK
                       2IIHUWRWUDGHLQ\RXUYHKLFOHRUWRVHOO\RXUFDUIRUDFKHFN,I\RXU
                       ,QVWDQW&DVK2IIHUGRHVQRWLGHQWLI\D3DUWLFLSDWLQJ'HDOHUQHDU\RX
                       SOHDVHFDOORXUFXVWRPHUVHUYLFHGHSDUWPHQWDWRU
                       VHQGXVDQHPDLOWRUHTXHVWWKLVLQIRUPDWLRQ


                    LL $OWKRXJK3DUWLFLSDWLQJ'HDOHUVDUHQRWREOLJDWHGWRSXUFKDVH\RXU
                       YHKLFOHRUDFFHSW\RXUYHKLFOHIRUWUDGHIRUDQ\SULFHRWKHUWKDQWKH
                       DPRXQWRI\RXU,QVWDQW&DVK2IIHU\RXDUHZHOFRPHWRWU\WR
                       QHJRWLDWHDPRUHIDYRUDEOHSULFHRUWUDGHLQDPRXQWIRU\RXUYHKLFOH
                       DQGRIFRXUVH\RXDUHDOZD\VIUHHWRVHOORUWUDGHLQ\RXUYHKLFOH
                       RXWVLGHRIWKH,QVWDQW&DVK2IIHU3URJUDP7KRXJKZHWKLQNWKH
                       2IIHUDOORZVIRUDFRQYHQLHQWDQGHDV\ZD\WRVHOO\RXUYHKLFOHLW
                       PD\QRWEHWKHKLJKHVWVDOHSULFHRUWUDGHLQDPRXQWWKDW\RXFRXOG
                       UHFHLYHIRU\RXUYHKLFOHRXWVLGHRIWKH,QVWDQW&DVK2IIHU3URJUDP




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           J 9HULILFDWLRQ,QVSHFWLRQV



                     L 3DUWLFLSDWLQJ'HDOHUVZLOOFRQGXFWDPDQGDWRU\YHKLFOHLQVSHFWLRQ
                       IUHHRIFKDUJHWRYHULI\WKHDFFXUDF\RIWKHYHKLFOHGHVFULSWLRQDQG
                       FRQGLWLRQLQIRUPDWLRQWKDW\RXSURYLGHGWRXVRQOLQH7KLV
                       YHULILFDWLRQLQVSHFWLRQPD\LQFOXGHIRUH[DPSOHSDLQWWKLFNQHVV
                       PHDVXUHPHQWVDURDGWHVWDPHFKDQLFDOLQVSHFWLRQDQGDUHYLHZRI
                       YHKLFOHKLVWRU\UHSRUWVDQGGLVFORVXUHVWDWHPHQWVUHJDUGLQJIORRG
                       VDOYDJHRURGRPHWHUGLVFUHSDQFLHV LQFOXGLQJUROOEDFNV DQGWKH
                       OLNH7KH3DUWLFLSDWLQJ'HDOHUZLOOVXEPLWWKHUHVXOWVRIWKH
                       YHULILFDWLRQLQVSHFWLRQWRWKH,QVWDQW&DVK2IIHU3URJUDPXVLQJWKH
                       VDPHRQOLQHWRROWKDW\RXXVHGWRUHTXHVW\RXU,QVWDQW&DVK2IIHU
                       DQGZHPD\UDLVHRUORZHUWKHGROODUDPRXQWRI\RXU,QVWDQW&DVK
                       2IIHUSULRUWRUHGHPSWLRQEDVHGRQWKHLQIRUPDWLRQUHYHDOHGE\WKH
                       LQVSHFWLRQ$OOGHFLVLRQVRIWKH3DUWLFLSDWLQJ'HDOHUUHJDUGLQJWKH
                       FRQGLWLRQRI\RXUYHKLFOHZLOOEHILQDO


                    LL $WWKHFRQFOXVLRQRI\RXUYHKLFOHYHULILFDWLRQLQVSHFWLRQ\RXFDQ
                       UHGHHP\RXU,QVWDQW&DVK2IIHUVXEMHFWWRDQ\DSSOLFDEOH
                       DGMXVWPHQWVDIWHUWKHLQVSHFWLRQE\GHOLYHULQJ\RXUYHKLFOHRQWKH
                       VSRWRUE\UHWXUQLQJ\RXUYHKLFOHWR\RXU3DUWLFLSDWLQJ'HDOHU¶V
                       ORFDWLRQE\WKHHQGRIWKHQH[WEXVLQHVVGD\LQWKHVDPHFRQGLWLRQ
                       DQGZLWKQRPRUHWKDQDGGLWLRQDOPLOHVRQWKHRGRPHWHU




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           K 5HGHHPLQJ<RXU,QVWDQW&DVK2IIHU




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                     L 6HOOLQJ<RXU9HKLFOHWRD3DUWLFLSDWLQJ'HDOHU,I\RXGHFLGHWR
                       UHGHHP\RXU,QVWDQW&DVK2IIHUE\VHOOLQJ\RXUYHKLFOHWKH
                       3DUWLFLSDWLQJ'HDOHUZLOOLVVXH\RXDFKHFNIROORZLQJWKHUHOHDVHRI
                       DOODSSOLFDEOHOLHQVDQGOHDVHREOLJDWLRQVDQGWKH3DUWLFLSDWLQJ
                       'HDOHU¶VUHFHLSWRIDFOHDUDQGXQHQFXPEHUHGYHKLFOHWLWOHVXEMHFWWR
                       6HFWLRQKLLL$OOFKHFNVZLOOEHPDGHSD\DEOHWRWKHYHKLFOH
                       RZQHU V QDPHGRQWKHYHKLFOHWLWOH


                    LL 5HGHHPLQJ<RXU2IIHU7RZDUGVWKH3XUFKDVHRI$QRWKHU
                       9HKLFOH,I\RXHOHFWWRDSSO\\RXU,QVWDQW&DVK2IIHUWRWKHSXUFKDVH
                       RIDQRWKHUYHKLFOH\RXU3DUWLFLSDWLQJ'HDOHUZLOOLVVXH\RXDFUHGLW
                       WRZDUGWKHSULFHRIDQ\YHKLFOHDYDLODEOHLQLWVLQYHQWRU\LQH[FKDQJH
                       IRU\RXUYHKLFOH7KH2IIHUFUHGLWZLOOEHJLYHQDIWHUWKHUHOHDVHRI
                       DOODSSOLFDEOHOLHQVDQGOHDVHREOLJDWLRQVDQGWKHUHFHLSWRIDFOHDU
                       DQGXQHQFXPEHUHGYHKLFOHWLWOH VHH6HFWLRQ KLLL 




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                   LLL (TXLW\LQ<RXU9HKLFOH,IWKHUHDUHRXWVWDQGLQJOLHQRUOHDVH
                       REOLJDWLRQVRQ\RXUYHKLFOHWKHIROORZLQJZLOODSSO\


                       1HJDWLYH(TXLW\,I\RXKDYHQHJDWLYHHTXLW\LQ\RXUYHKLFOH LH
                       \RXURXWVWDQGLQJORDQEDODQFHRUOHDVHSD\PHQWREOLJDWLRQH[FHHGV
                       WKHDPRXQWRI\RXU,QVWDQW&DVK2IIHU \RXZLOOEHUHVSRQVLEOHIRU
                       SD\LQJWKHGLIIHUHQFHEHWZHHQWKH,QVWDQW&DVK2IIHUDQGWKHDPRXQW
                       QHHGHGWRFOHDUWKHWLWOHWR\RXUYHKLFOHE\FHUWLILHGFKHFNRURWKHU
                       IRUPRISD\PHQWDFFHSWDEOHWRWKH3DUWLFLSDWLQJ'HDOHUEHIRUH\RXU
                       WUDQVDFWLRQFDQEHFRPSOHWHG


                       3RVLWLYH(TXLW\,I\RXKDYHSRVLWLYHHTXLW\LQ\RXUYHKLFOHWKH
                       3DUWLFLSDWLQJ'HDOHUZLOOLVVXH\RXDFKHFNRUDWUDGHLQFUHGLWDV
                       DSSOLFDEOHIRUWKHGLIIHUHQFHEHWZHHQWKHDPRXQWQHHGHGWRFOHDUWKH
                       WLWOH LQFOXGLQJDQ\UHODWHGIHHV WR\RXUYHKLFOHDQGWKH,QVWDQW&DVK
                       2IIHU<RXU3DUWLFLSDWLQJ'HDOHUZLOODVVLVW\RXZLWKWKHSURFHVVLQJ
                       RIWKHSDSHUZRUNDQGSD\PHQWVQHFHVVDU\WRVHWWOH\RXUORDQRUOHDVH
                       REOLJDWLRQVDQGWRREWDLQDFOHDUWLWOHWR\RXUYHKLFOH7KLVSURFHVV
                       W\SLFDOO\WDNHVWREXVLQHVVGD\VIROORZLQJGHOLYHU\RIDYHKLFOH
                       WRD3DUWLFLSDWLQJ'HDOHUEXWLWFRXOGWDNHORQJHULQVRPH
                       FLUFXPVWDQFHV




            L 5HOHDVH%<68%0,77,1*<285,1)250$7,21725(&(,9($1
               2))(5<28$*5((1277268(.(//(<%/8(%22.,76
               $)),/,$7(6,766(59,&(3529,'(5625,76257+(,5
               5(63(&7,9(2)),&(56',5(&7256(03/2<((6$1'$*(176
               &2//(&7,9(/<7+(³5(/($6('3$57,(6´ )25$1'$*5((72
               5(/($6($1'+2/'+$50/(667+(5(/($6('3$57,(6)520
               $1'$*$,167$1<$1'$//&/$,065(/$7,1*7225$5,6,1*
               2872)$1<9(+,&/(6$/(25,167$17&$6+2))(5
               75$16$&7,217+$7<28(17(5,172:,7+$'($/(5,1
               &211(&7,21:,7+7+(,167$17&$6+2))(5352*5$0,17+(
               (9(177+$7$1<&/$,0625',6387(6$5,6(2872)68&+$
               75$16$&7,21<28$*5((72/22.62/(/<72<285
               3$57,&,3$7,1*'($/(5)25<2855(0('<$1'127727+(
               5(/($6('3$57,(6



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 5HJLVWUDWLRQ


            D 7RREWDLQDFFHVVWRFHUWDLQVHUYLFHVIURP.%%FRP\RXPD\EHUHTXLUHGWR
               UHJLVWHURQ.%%FRP$VSDUWRIWKHUHJLVWUDWLRQSURFHVV\RXZLOOEHUHTXLUHGWR
               VHOHFWDXVHUQDPHDQGDSDVVZRUG<RXDJUHHWKDWWKHLQIRUPDWLRQ\RXVXSSO\
               GXULQJWKDWUHJLVWUDWLRQSURFHVVZLOOEHDFFXUDWHDQGFRPSOHWHDQGWKDW\RXZLOO
               QRWUHJLVWHUXQGHUWKHQDPHRIDQRWKHUSHUVRQ)DLOXUHWRSURYLGHDFFXUDWHDQG
               WLPHO\LQIRUPDWLRQPD\UHVXOWLQ\RXUDFFRXQWEHLQJFORVHGDQGRU\RXUDFFHVV
               WRFRQWHQWSURYLGHGWKURXJK\RXUDFFRXQWEHLQJVXVSHQGHGGLVFRQWLQXHGRU
               UHPRYHG:HUHVHUYHWKHULJKWWRGLVDOORZXVHRIDXVHUQDPHWKDWZHGHHP
               RIIHQVLYHRULQDSSURSULDWH<RXZLOOEHUHVSRQVLEOHIRUSUHVHUYLQJWKH
               FRQILGHQWLDOLW\RI\RXUSDVVZRUGDQGIRUDOODFWLRQVRISHUVRQVDFFHVVLQJ
               .%%FRPWKURXJKDQ\XVHUQDPHSDVVZRUGDVVLJQHGWR\RX<RXZLOOQRWLI\
               .HOOH\%OXH%RRN¶V&XVWRPHU6HUYLFH'HSDUWPHQWRIDQ\NQRZQRUVXVSHFWHG
               XQDXWKRUL]HGXVHRI\RXUDFFRXQWYLDHPDLO


           E .HOOH\%OXH%RRNUHVHUYHVWKHULJKWWRGLVFORVHDQ\LQIRUPDWLRQZHFROOHFW
               WKURXJKXVHUDFFRXQWVDQGUHJLVWUDWLRQVLQDFFRUGDQFHZLWKRXU3ULYDF\3ROLF\




 %X\LQJDQG6HOOLQJ9HKLFOHV




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            D .%%FRPRIIHUVDYHKLFOHOLVWLQJDQGLQIRUPDWLRQVHUYLFHWKDWEULQJVWRJHWKHU
               EX\HUVDQGVHOOHUV.HOOH\%OXH%RRNLVQRWDSDUW\WRDQ\WUDQVDFWLRQEHWZHHQ
               YHKLFOHEX\HUVDQGVHOOHUVWKDWRULJLQDWHVRQRUWKURXJK.%%FRP,QIRUPDWLRQ
               DERXWDSDUWLFXODUYHKLFOHLVVXSSOLHGE\WKHVHOOHUDQGPD\LQFOXGHGDWDIURP
               WKLUGSDUWLHVDQGRUPDFKLQHOHDUQLQJ7KHSULFHDQGRWKHUWHUPVRIDQ\VDOH
               UHPDLQVXEMHFWWRGLUHFWQHJRWLDWLRQEHWZHHQWKHEX\HUDQGWKHVHOOHU


           E 7KRXJKZHKRSHWKDWDOOZKRFRPHWR.%%FRPZLOODFWKRQRUDEO\DQGWUHDW
               HDFKRWKHUIDLUO\ZHFDQQRWYHULI\WKHLQIRUPDWLRQDERXWYHKLFOHVWKDWVHOOHUV
               VXSSO\RUJXDUDQWHHWKHYHKLFOHVRIIHUHGE\VHOOHUV1RUFDQZHDVVXUHWKHVHOOHU
               RIDYHKLFOHWKDWWKHSD\PHQWKHRUVKHUHFHLYHVIURPWKHEX\HULVOHJLWLPDWH
               :KHQXVLQJ.%%FRPWRILQGDEX\HUIRU\RXUYHKLFOHRUDYHKLFOHWRSXUFKDVH
               ZHXUJH\RXWRXVHWKHVDPHFRPPRQVHQVHDQGJRRGMXGJPHQW\RXZRXOGXVH
               LQVHOOLQJDYHKLFOHWKURXJKRUUHVSRQGLQJWRDFODVVLILHGDGLQWKHQHZVSDSHU
               7KHUHLVQRVXEVWLWXWHIRUKHDOWK\VNHSWLFLVPDQG\RXURZQJRRGMXGJPHQW




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            F %X\LQJD9HKLFOH




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                     L 7KHSULFHVOLVWHGE\VHOOHUVRQ.%%FRPRIWHQH[FOXGHVDOHVWD[
                       ILQDQFHFKDUJHVWLWOHOLFHQVHUHJXODWRU\GHDOHUGRFXPHQWDU\
                       HPLVVLRQWHVWLQJDQGFRPSOLDQFHIHHVDQ\RUDOORIZKLFKPD\EH
                       DGGHGWRWKHOLVWHGSULFHWRDUULYHDWWKHILQDOVDOHSULFHRIDSDUWLFXODU
                       YHKLFOH%HIRUHSXUFKDVLQJDYHKLFOHRUDQ\RWKHUJRRGRUVHUYLFH
                       \RXKDYHUHDGDERXWRQ.%%FRP\RXVKRXOGFRQILUPZLWKWKH
                       VHOOHUDQ\LQIRUPDWLRQLQFOXGLQJWKHSULFHWKDWLVLPSRUWDQWWR\RXU
                       SXUFKDVLQJGHFLVLRQ.HOOH\%OXH%RRNLVQRWUHVSRQVLEOHIRUDQG
                       GRHVQRWJXDUDQWHHWKHSHUIRUPDQFHRIDQ\VXFKYHKLFOHVJRRGVRU
                       VHUYLFHVOLVWHGRUUHVHDUFKHGRQ.%%FRP:HPD\UHPRYHRUKLGH
                       SDUWVRUDOORIDYHKLFOHDGYHUWLVHPHQWRQ.%%FRPLIZHGHWHUPLQH
                       LQRXUVROHGLVFUHWLRQWKDWWKHYHKLFOHDGYHUWLVHPHQWRUSULFHYLRODWH
                       WKH9HKLFOH$GYHUWLVHPHQWVDQG3ULFLQJ*XLGHOLQHVIRU'HDOHUV


                    LL :HPD\VFUHHQVRPHHPDLOPHVVDJHVVHQWWKURXJK.%%FRPWR
                       VHOOHUVDERXWYHKLFOHVOLVWHGRQ.%%FRP,ILWDSSHDUVWKDW\RXU
                       HPDLOPHVVDJHKDVQRWUHDFKHGWKHVHOOHURIWKHYHKLFOH\RXDUH
                       LQTXLULQJDERXW\RXPLJKWWU\LQTXLULQJE\WHOHSKRQHLIWKHVHOOHU
                       KDVSURYLGHGDWHOHSKRQHQXPEHU


                   LLL 2XUXVHGFDUOLVWLQJVLQFOXGHYHKLFOHVWKDWKDYHEHHQ³FHUWLILHG´DV
                       PHHWLQJFHUWDLQVWDQGDUGVHVWDEOLVKHGE\PDQXIDFWXUHUVDQGRU
                       GHDOHUVLQFRQQHFWLRQZLWKWKHLUSUHRZQHGYHKLFOHSURJUDPV7KH
                       GHFLVLRQWRFHUWLI\DQ\SDUWLFXODUYHKLFOHLVPDGHE\WKHFHUWLI\LQJ
                       PDQXIDFWXUHURUGHDOHUDQGWKHYHKLFOHLQIRUPDWLRQLQFOXGHGLQ
                       .%%FRP¶FHUWLILHGYHKLFOHOLVWLQJLVSURYLGHGE\WKHOLVWLQJGHDOHU
                       1HLWKHU.HOOH\%OXH%RRNQRUWKHPDQXIDFWXUHULVUHVSRQVLEOHIRU
                       WKHDFFXUDF\RIDQ\LQIRUPDWLRQFRQWDLQHGLQDFHUWLILHGYHKLFOH
                       OLVWLQJ2QO\WKHSDUW\WKDWFHUWLILHVDYHKLFOHLVUHVSRQVLEOHIRUWKH
                       GHFLVLRQWRFHUWLI\WKDWYHKLFOH<RXVKRXOGIDPLOLDUL]H\RXUVHOIZLWK
                       WKHWHUPVRIWKHDSSOLFDEOHFHUWLILFDWLRQSURJUDPEHIRUHEX\LQJD
                       FHUWLILHGYHKLFOH$GVSXUFKDVHGE\SULYDWHVHOOHUVWKURXJKRXU6HOO
                       <RXU&DUVHUYLFHZLOOQRWDSSHDULQDQ\³FHUWLILHG´DUHDRI
                       .%%FRP$GVIRUFHUWLILHGYHKLFOHVDSSO\RQO\WRYHKLFOHVFHUWLILHG
                       E\GHDOHUVLQDFFRUGDQFHZLWKWKHFHUWLILFDWLRQSURJUDPVRIWKH
                       DXWRPRELOHPDQXIDFWXUHUVZLWKZKLFKZHKDYHSDUWQHUVKLSV



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                   LY &HUWDLQGHDOHUVZKRSDUWLFLSDWHLQDQDQRQ\PRXVFKDWRUDQRQ\PRXV
                       WH[WLQJVHUYLFHSURYLGHGE\.HOOH\%OXH%RRNRULWVDIILOLDWHVPD\
                       RIIHU\RXDQRSWLRQWRLQTXLUHDERXWDOLVWHGYHKLFOHZLWKRXW
                       GLVFORVLQJ\RXUSHUVRQDOLQIRUPDWLRQ VXFKDV\RXUQDPHHPDLO
                       DGGUHVVRUWHOHSKRQHQXPEHU ,I\RXFRQWDFWDGHDOHUYLDDQ
                       DQRQ\PRXVWH[WWKHGHDOHUZLOOEHDEOHWRUHVSRQGWRWKDWWH[WDQG
                       FRQWDFW\RXZLWKRXWKDYLQJDFFHVVWR\RXUPRELOHQXPEHU%RWK\RX
                       DQGWKHGHDOHUKDYHWKHRSWLRQWRHQGVXFKFKDWRUWH[WFRQYHUVDWLRQ
                       DWDQ\WLPH,ILQWKHFRXUVHRIVXFKFKDWRUWH[WFRQYHUVDWLRQ\RX
                       VXSSO\WRWKHGHDOHU\RXUHPDLODGGUHVVDQGRUWHOHSKRQHQXPEHU
                       \RXFRQVHQWWRUHFHLYHHPDLOFRPPXQLFDWLRQVWRVXFKHPDLO
                       DGGUHVVDQGFDOOVDQGWH[WVDWWKDWQXPEHUZKHWKHUPDQXDOO\RU
                       DXWRPDWLFDOO\JHQHUDWHG<RXDUHXQGHUQRREOLJDWLRQWRSURYLGH\RXU
                       QDPHRUFRQWDFWLQIRUPDWLRQRYHUWKHFRXUVHRIVXFKFKDWRUWH[W
                       FRQYHUVDWLRQ


                    Y $QRQ\PRXVFKDWDQGWH[WVHUYLFHUHO\RQLQIUDVWUXFWXUHDQGVHUYLFHV
                       IXUQLVKHGE\WKLUGSDUW\SURYLGHUV1HLWKHU.HOOH\%OXH%RRNQRULWV
                       DIILOLDWHVQRUSDUWLFLSDWLQJGHDOHUVZDUUDQWWKHFRQWLQXRXV
                       DYDLODELOLW\RUHUURUIUHHRSHUDWLRQRIWKHDQRQ\PRXVFKDWDQGWH[W
                       VHUYLFHV




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           G /LVWLQJ<RXU9HKLFOH




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                     L .%%FRPRIIHUVDYDULHW\RIDGSDFNDJHVWRSULYDWHVHOOHUVZLWK
                       FRPELQDWLRQVRIIHDWXUHVWKDWPD\YDU\E\PDUNHWDUHD)RU
                       LQIRUPDWLRQDERXWWKHDGSDFNDJHVDYDLODEOHWRSULYDWHVHOOHUVLQ\RXU
                       DUHDFOLFNWKH³6HOO<RXU&DU´WDERUEXWWRQRQRXUKRPHSDJH2Q
                       WKHQH[WSDJHHQWHU\RXU=,3FRGHWRYLHZRXUSURGXFWRIIHULQJV)RU
                       LQIRUPDWLRQDERXWDGSDFNDJHVDYDLODEOHWRGHDOHUV DQGSULYDWH
                       VHOOHUVZLVKLQJWROLVWPRUHWKDQILYHYHKLFOHVIRUVDOHDWDJLYHQ
                       WLPH SOHDVHYLVLW%%.%%FRP


                    LL %\RIIHULQJDYHKLFOHIRUVDOHWKURXJKRXU6HOO<RXU&DUVHUYLFHIRU
                       SULYDWHVHOOHUV\RXPXVWDJUHHWRRXU7HUPVRI6DOH7KH7HUPVRI
                       6DOHUHTXLUHDPRQJRWKHUWKLQJVWKDW\RXEHSUHSDUHGWRVHOO\RXU
                       YHKLFOHDWWKHSULFHDWZKLFKDQGRQWKHWHUPVRQZKLFK\RXKDYH
                       OLVWHGLW<RXPXVWKDYHSRVVHVVLRQRIWKHDFWXDOYHKLFOHOLVWHGDQG
                       WKHDELOLW\WRWUDQVIHUWLWOH7ROLVWDYHKLFOHIRUVDOHRQ.%%FRP
                       VHOOHUVDOVRDUHUHTXLUHGWRSURYLGHFHUWDLQLGHQWLI\LQJDQGFRQWDFW
                       LQIRUPDWLRQ7KHLQIRUPDWLRQPXVWDFFXUDWHO\LGHQWLI\WKHVHOOHUDQG
                       WKHPHWKRGRIFRQWDFWPXVWSHUPLWEX\HUVWRFRPPXQLFDWHGLUHFWO\
                       ZLWKWKHVHOOHU<RXPD\QRWFKDUJHDQ\SRWHQWLDOEX\HUIRU
                       LQIRUPDWLRQDERXWDQ\YHKLFOHOLVWHGIRUVDOHRQ.%%FRPQRUPD\
                       \RXXVH.%%FRPWRSURPRWHZLWKRXWRXUSULRUZULWWHQSHUPLVVLRQ
                       DQ\RWKHUZHEVLWHSURGXFWRUVHUYLFH


                   LLL %\XVLQJ.%%FRPWRVHOO\RXUYHKLFOHDVDSULYDWHVHOOHU\RX
                       UHSUHVHQWWKDW\RXDUHDWOHDVW\HDUVRIDJHWKDW\RXDUHQRWD
                       PRWRUYHKLFOHGHDOHUWKDW\RXDUHQRWOLVWLQJDYHKLFOHIRUVDOHLQ
                       \RXUFDSDFLW\DVDQRZQHUHPSOR\HHRUUHSUHVHQWDWLYHRIDGHDOHU
                       DQGWKDWQHLWKHU\RXQRUDQ\RQHDFWLQJRQ\RXUEHKDOIZLOOOLVWPRUH
                       WKDQILYHYHKLFOHVIRUVDOHVLPXOWDQHRXVO\$SULYDWHVHOOHUZKR
                       ZLVKHVWROLVWPRUHWKDQILYHYHKLFOHVVLPXOWDQHRXVO\DQGDQ\
                       FRPPHUFLDOGHDOHUZLVKLQJWROLVWDQ\YHKLFOHPXVWPDNH
                       DUUDQJHPHQWVZLWKXVEHIRUHGRLQJVR3OHDVHYLVLW%%.%%FRP
                       IRULQIRUPDWLRQ




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                   LY :KHQ\RXOLVWDYHKLFOHIRUVDOHWKURXJKRXU6HOO<RXU&DUVHUYLFH
                          ZHPD\REWDLQDGGLWLRQDOGLVWULEXWLRQIRU\RXUOLVWLQJWKURXJKRXU
                          UHODWLRQVKLSVZLWKRWKHUZHEVLWHV:HDOVRPD\SURPRWH\RXUOLVWLQJ
                          RQRUWKURXJKWKLUGSDUW\ZHEVLWHVRUVHUYLFHVDVDQDGGHGYDOXH
                          7KRVHSURYLGHUVPD\FRQWDFW\RXDERXW\RXUDGRQWKHLUZHEVLWHDQG
                          PD\WU\WRVHOODGGLWLRQDOVHUYLFHVWR\RXEXW\RXDUHQRWREOLJDWHG
                          RUUHTXLUHGWRSXUFKDVHDQ\DGGLWLRQDOVHUYLFHVDQGPD\EHDEOHWR
                          RSWRXWRIGLVSOD\LQJ\RXUDGRQWKHLUZHEVLWH,IRWKHUWKLUGSDUWLHV
                          FRQWDFW\RXZLWKRXW\RXUSHUPLVVLRQRIIHULQJWRVHOO\RXVHUYLFHV
                          WKH\KDYHOLNHO\PLVXVHG.%%FRPDQGYLRODWHGWKHVH7HUPVWR
                          H[SORLW\RXUOLVWLQJLQIRUPDWLRQ,I\RXUHFHLYHDQ\VXFKVROLFLWDWLRQV
                          WKDW\RXGLGQRWDXWKRUL]HSOHDVHEULQJWKHPWRRXUDWWHQWLRQE\
                          XVLQJRXUFRQWDFWXVIRUP


                    Y

                   YL /LVWLQJVDUHQRWWREHXVHGWRDGYHUWLVHPRUHWKDQRQHYHKLFOH
                          UHJDUGOHVVRIDOLVWLQJ¶VGXUDWLRQ)RUWKLVUHDVRQ\RXFDQQRWHGLW
                          \RXUYHKLFOH¶V\HDUPDNHPRGHORU9,1RQFH\RXKDYHSXUFKDVHGD
                          OLVWLQJ$OZD\VGRXEOHFKHFNWKLVLQIRUPDWLRQEHIRUHSXUFKDVLQJD
                          OLVWLQJ/LVWLQJIHHVDUHJHQHUDOO\QRWUHIXQGDEOHVRLI\RXHQWHU
                          LQFRUUHFWLQIRUPDWLRQLQWKH\HDUPDNHPRGHORU9,1ILHOGV\RX
                          ZLOOKDYHWRGHOHWHWKHOLVWLQJDQGSXUFKDVHDQHZRQHWRFUHDWHDQ
                          DFFXUDWHOLVWLQJ%\XVLQJ.%%FRPWRVHOO\RXUYHKLFOH\RXDJUHH
                          WRSD\WKHSULFHRIWKHSDFNDJH\RXVHOHFWDQGWKHSULFHVRIDQ\
                          DGYHUWLVLQJXSJUDGHVUHJDUGOHVVRIZKHWKHU\RXUYHKLFOHVHOOVDVD
                          UHVXOWRIWKHOLVWLQJ<RXDOVRDJUHHWRSD\DQ\DSSOLFDEOHWD[HV
                          UHODWLQJWR\RXUXVHRIWKH6HOO<RXU&DUVHUYLFH6HHVHFWLRQRI
                          WKH7HUPVRI6DOHIRULQIRUPDWLRQRQUHIXQGV




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                  YLL 5HVSRQVLELOLW\IRUWKHLQIRUPDWLRQFRQWDLQHGLQHDFKOLVWLQJOLHVZLWK
                       HDFKVHOOHU<RXDORQHDUHUHVSRQVLEOHIRUWKHPDWHULDO\RXSRVW
                       LQFOXGLQJOLVWLQJLQIRUPDWLRQDQGSKRWRVRI\RXUYHKLFOHDQGIRUWKH
                       FRQWHQWRIDOOHPDLOPHVVDJHV\RXWUDQVPLWWKURXJK.%%FRP
                       1RWKLQJZLOOXQGHUPLQHDXVHU¶VFRQILGHQFHLQWKHYHKLFOH\RXDUH
                       ORRNLQJWRVHOOIDVWHUWKDQLQDFFXUDWHVWDWHPHQWVRUPLVOHDGLQJ
                       UHSUHVHQWDWLRQVDERXWWKHYHKLFOH$QGVLQFHDQ\HURVLRQRIXVHU
                       FRQILGHQFHLQ\RXLVOLNHO\WREHDFFRPSDQLHGE\HURVLRQRIXVHU
                       FRQILGHQFHLQXVZHFDUHGHHSO\DERXWPDNLQJVXUHWKDWWKH
                       LQIRUPDWLRQ\RXVXSSO\LVDFFXUDWHDQGWKDWLQDOOUHVSHFWV\RXWUHDW
                       RWKHUXVHUVRI.%%FRPIDLUO\DQGKRQRUDEO\


                 YLLL,QFRQQHFWLRQZLWKRXUHIIRUWVWRFRPEDW,QWHUQHWIUDXGVRPHOLVWLQJV
                       PD\EHVFUHHQHGEHIRUHEHLQJSRVWHGSXEOLFO\7KLVSURFHVVPD\
                       GHOD\WKHSXEOLFDWLRQRI\RXUOLVWLQJ7KRXJKZHFDQQRWPRQLWRU
                       HYHU\WUDQVDFWLRQWKDWRULJLQDWHVWKURXJKDOLVWLQJRQ.%%FRPZH
                       PD\IURPWLPHWRWLPHSHUIRUPUDQGRPTXDOLW\DVVXUDQFHWHVWVWR
                       FRQILUPWKDWWKRVHZKRRIIHUYHKLFOHVIRUVDOHRYHU.%%FRPDUH
                       SUHSDUHGWRVHOOWKRVHYHKLFOHVDWWKHSULFHVDQGRQWKHWHUPVZKLFK
                       VXFKYHKLFOHVDUHDGYHUWLVHG%\XVLQJ.%%FRP\RXDJUHHWR
                       FRRSHUDWHLQWKHVHTXDOLW\DVVXUDQFHWHVWV,IRXUWHVWVUHYHDORUZH
                       RWKHUZLVHOHDUQWKDWDVHOOHUPD\EHYLRODWLQJWKHVH7HUPVZH
                       UHVHUYHWKHULJKWWRGHQ\WKDWVHOOHUXVHRIVHUYLFHVRIIHUHGRQ
                       .%%FRPDQGDQ\DIILOLDWHGZHEVLWHVDQGUHPRYHWKDWVHOOHU¶V
                       OLVWLQJVIURPHDFKVLWH


                   L[ %\OLVWLQJDYHKLFOHIRUVDOHRQ.%%FRP\RXDJUHHWRXVHWKHHPDLO
                       DGGUHVVHVRIWKRVHUHVSRQGLQJWR\RXUOLVWLQJRQO\WRFRPPXQLFDWH
                       ZLWKWKHPDERXWWKHSRWHQWLDOVDOHRIWKDWYHKLFOH




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                    [ %\OLVWLQJDYHKLFOHIRUVDOHRQWKH.%%FRP\RXUHSUHVHQWDQG
                       ZDUUDQWWKDW\RXDUHWKHVROHDXWKRUDQGRZQHURIWKHLQWHOOHFWXDO
                       SURSHUW\ULJKWVLQDQ\GDWDLQIRUPDWLRQWH[WLPDJHRURWKHU
                       PDWHULDO ³&RQWHQW´ WKDW\RXVXEPLWWR.%%\RXYROXQWDULO\ZDLYH
                       DOO³PRUDOULJKWV´WKDW\RXPD\KDYHLQVXFK&RQWHQWWKH&RQWHQW
                       \RXVXEPLWLVDFFXUDWHDQGQRWIDOVHRUPLVOHDGLQJQRUGRHVLW
                       LQIULQJHDQ\WKLUGSDUW\¶VFRS\ULJKWSDWHQWWUDGHPDUNWUDGHVHFUHW
                       RURWKHULQWHOOHFWXDORUSURSULHWDU\ULJKWVRUULJKWVRISXEOLFLW\RU
                       SULYDF\<RXIXUWKHUDJUHHWKDW\RXVKDOOQRWVXEPLWDQ\&RQWHQW
                       WKDWLVRUPD\UHDVRQDEO\EHFRQVLGHUHGWREHGHIDPDWRU\OLEHORXV
                       REVFHQHSRUQRJUDSKLFLQGHFHQWOHZGVXJJHVWLYHWKUHDWHQLQJ
                       DEXVLYHLQIODPPDWRU\KDWHIXOUDFLDOO\RUUHOLJLRXVO\ELDVHGRU
                       RIIHQVLYHKDUDVVLQJIUDXGXOHQWRURWKHUZLVHREMHFWLRQDEOHWRDQ\
                       LQGLYLGXDOSDUWQHUVKLSRUFRUSRUDWLRQRULPSHUVRQDWHDQ\SHUVRQRU
                       HQWLW\RURWKHUZLVHPLVUHSUHVHQW\RXUDIILOLDWLRQZLWKDSHUVRQRU
                       HQWLW\


                   [L%\OLVWLQJDYHKLFOHIRUVDOHRQWKH.%%FRP\RXJUDQWWR
                       .%%DQGLWVDIILOLDWHVDQRQH[FOXVLYHUR\DOW\IUHHSHUSHWXDO
                       WUDQVIHUDEOHLUUHYRFDEOHDQGIXOO\VXEOLFHQVDEOHULJKWWRXVH
                       UHSURGXFHPRGLI\DGDSWWUDQVODWHGLVWULEXWHSXEOLVKFUHDWH
                       GHULYDWLYHZRUNVIURPDQGSXEOLFO\GLVSOD\DQGSHUIRUPVXFK
                       &RQWHQWWKURXJKRXWWKHZRUOGLQDQ\PHGLDQRZNQRZQRU
                       KHUHDIWHUGHYLVHG




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            D .HOOH\%OXH%RRNUHVHUYHVWKHULJKWDWDQ\WLPHDQGIURPWLPHWRWLPHWR
               PRGLI\XSGDWHVXVSHQGRUGLVFRQWLQXHDOORUSDUWRIWKH6HUYLFHIRUDQ\UHDVRQ
               ZLWKRUZLWKRXWQRWLFHWR\RX<RXDJUHHWKDWZHPD\XQGHUVRPH
               FLUFXPVWDQFHVDQGZLWKRXWSULRUQRWLFHWR\RXWHUPLQDWH\RXUXVHRIDQGDFFHVV
               WRDQ\RIWKHSDUWVRI.%%FRPWRZKLFKZHUHVWULFWDFFHVVIRUH[DPSOHE\
               UHTXLULQJUHJLVWUDWLRQ6RPHRIWKHUHDVRQVIRUVXFKWHUPLQDWLRQPD\LQFOXGH
               EXWDUHQRWOLPLWHGWR D DEUHDFKRUYLRODWLRQRUVXVSHFWHGEUHDFKRUYLRODWLRQ
               RIWKHVH7HUPVRURWKHULQFRUSRUDWHGWHUPVRUJXLGHOLQHV E DUHTXHVWE\ODZ
               HQIRUFHPHQWRUDQRWKHUJRYHUQPHQWDJHQF\ F RXUGHFLVLRQWRGLVFRQWLQXHRU
               FKDQJHDOORUSDUWRI.%%FRP G WHFKQLFDORUVHFXULW\LVVXHVDQG H
               IUDXGXOHQWRULOOHJDODFWLYLWLHV$OOWHUPLQDWLRQVZLOOEHPDGHLQ.HOOH\%OXH
               %RRN¶VVROHGLVFUHWLRQDQG\RXDJUHHWKDW.HOOH\%OXH%RRNZLOOQRWEHOLDEOH
               IRUDQ\WHUPLQDWLRQRI\RXUXVHRIRUDFFHVVWRWKH6HUYLFH.%%FRPRUDQ\
               SDUWRI.%%FRP




 <RXU'HDOLQJVZLWK.%%FRP$GYHUWLVHUV


            D <RXUFRUUHVSRQGHQFHRUEXVLQHVVGHDOLQJVZLWKRUSDUWLFLSDWLRQLQSURPRWLRQV
               RIDGYHUWLVHUVIRXQGRQRUWKURXJKWKH6HUYLFHLQFOXGLQJSD\PHQWDQGGHOLYHU\
               RIUHODWHGJRRGVRUVHUYLFHVDQGDQ\RWKHUWHUPVFRQGLWLRQVZDUUDQWLHVRU
               UHSUHVHQWDWLRQVDVVRFLDWHGZLWKVXFKGHDOLQJVDUHVROHO\EHWZHHQ\RXDQGVXFK
               DGYHUWLVHU<RXDFNQRZOHGJHDQGDJUHHWKDW.HOOH\%OXH%RRNZLOOQRWEH
               UHVSRQVLEOHRUOLDEOHIRUDQ\ORVVRUGDPDJHRIDQ\VRUWLQFXUUHGDVWKHUHVXOWRI
               DQ\VXFKGHDOLQJVRUDVWKHUHVXOWRIWKHSUHVHQFHRIVXFKDGYHUWLVHUVRQWKH
               6HUYLFH




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            D .%%FRPSURYLGHVOLQNVWRRWKHU:HEVLWHV<RXDFNQRZOHGJHDQGDJUHHWKDW
               EHFDXVH.HOOH\%OXH%RRNKDVQRFRQWURORYHUVXFKVLWHVZHDUHQRWUHVSRQVLEOH
               IRUWKHPRUWKHUHVRXUFHVDQGLQIRUPDWLRQWKH\FRQWDLQ,QSDUWLFXODUZHDUHQRW
               UHVSRQVLEOHIRUWKHDYDLODELOLW\RIVHUYLFHVUHODWHGWRDQRWKHU:HEVLWHWKDWKDVD
               OLQNRQ.%%FRPZHGRQRWQHFHVVDULO\HQGRUVHVXFKVLWHVDQGZHDUHQRW
               UHVSRQVLEOHRUOLDEOHIRUDQ\FRQWHQWDGYHUWLVLQJSURGXFWVRURWKHUPDWHULDOVRQ
               RUDYDLODEOHIURPVXFKVLWHV<RXIXUWKHUDFNQRZOHGJHDQGDJUHHWKDW.HOOH\
               %OXH%RRNZLOOQRWEHOLDEOHIRUDQ\ORVVZKDWVRHYHUIRUDQ\GDPDJHVFDXVHGE\
               RULQFXUUHGLQFRQQHFWLRQZLWKWKHXVHRIRUUHOLDQFHRQWKHLQIRUPDWLRQJRRGV
               RUVHUYLFHVDYDLODEOHWKURXJKDQ\VXFKVLWH




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            D <RXDFNQRZOHGJHDQGDJUHHWKDWWKH6HUYLFHDQGDOOPDWHULDOVRQ.%%FRP
               FRQWDLQSURSULHWDU\LQIRUPDWLRQDQGGDWDWKDWLVSURWHFWHGE\DSSOLFDEOH
               FRS\ULJKWWUDGHPDUNDQGRWKHULQWHOOHFWXDOSURSHUW\ODZV .HOOH\%OXH%RRN¶V
               ³3URSULHWDU\,QIRUPDWLRQ´ $OOPDWHULDOVRQ.%%FRPLQFOXGLQJVXFK
               3URSULHWDU\,QIRUPDWLRQPD\RQO\EHXVHGIRUSHUVRQDOQRQFRPPHUFLDO
               SXUSRVHVDQG\RXDJUHHQRWWRVHOOWUDQVIHUUHSURGXFHGXSOLFDWHGLVWULEXWH
               SXEOLVKPRGLI\PLJUDWHVWRUHFRS\RUWUDQVPLWDQ\PDWHULDOIURP.%%FRP
               XQOHVVDQGXQWLO\RXKDYHREWDLQHGRXUSULRUZULWWHQFRQVHQW7KH3URSULHWDU\
               ,QIRUPDWLRQFRYHUHGE\WKLVSURKLELWLRQLQFOXGHVZLWKRXWOLPLWDWLRQWKH
               VRIWZDUHSURJUDPPLQJDQGKWPODQGRWKHUFRGHFRQWDLQHGLQWKH:HEVLWH
               .HOOH\%OXH%RRN9HKLFOH9DOXHV.HOOH\%OXH%RRN1HZ&DU3ULFLQJ
               LQIRUPDWLRQFRPSLODWLRQVRIYHKLFOHVSHFLILFDWLRQVDQ\UHYLHZVUDWLQJVXVHU
               JHQHUDWHGFRQWHQWWH[WJUDSKLFVORJRVSKRWRJUDSKVDXGLRRUYLGHRPDWHULDORU
               VWLOOVIURPDXGLRYLVXDOPDWHULDODYDLODEOHRQ.%%FRP


           E <RXDUHIUHHWRHVWDEOLVKDK\SHUWH[WOLQNWR.%%FRPSXUVXDQWWRWKH
               .%%FRP/LQNLQJ3ROLF\+RZHYHUZLWKRXWRXUSULRUZULWWHQSHUPLVVLRQ\RX
               PD\QRWIUDPHDQ\RIWKHFRQWHQWRI.%%FRPQRULQFRUSRUDWHLQWRDQRWKHU
               ZHEVLWHRUVHUYLFHDQ\LQWHOOHFWXDOSURSHUW\RI.HOOH\%OXH%RRNRULWVOLFHQVRUV
               5HTXHVWVIRUSHUPLVVLRQWRIUDPHRXUFRQWHQWRUXVHRXUFRQWHQWLQDQ\ZD\WKDW
               LVQRWH[SUHVVO\GHVFULEHGLQWKHVH7HUPVVKRXOGEHVHQWWRRXU&XVWRPHU
               6HUYLFH0DQDJHU


            F .HOOH\%OXH%RRN.%%FRPDQGWKH.HOOH\%OXH%RRNORJRDUHDOOWUDGHPDUNV
               RZQHGE\XV7KHQDPHVRIRWKHUSURGXFWVDQGVHUYLFHVUHIHUUHGWRRQ.%%FRP
               PD\EHWKHWUDGHPDUNVRIWKHLUUHVSHFWLYHRZQHUV<RXPD\QRWXVHDQ\
               WUDGHPDUNRUVHUYLFHPDUNDSSHDULQJRQ.%%FRPZLWKRXWWKHSULRUZULWWHQ
               FRQVHQWRIWKHRZQHURIWKHPDUN




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           G <RXDFNQRZOHGJHWKDWE\WUDQVPLWWLQJRUSRVWLQJDQ\PDWHULDORQRUWKURXJK
               .%%FRP\RXJUDQWXVRUDQ\RQHDXWKRUL]HGE\XVDQXQUHVWULFWHGQRQ
               H[FOXVLYHZRUOGZLGHUR\DOW\IUHHSHUSHWXDOLUUHYRFDEOHOLFHQVHWRXVH
               PRGLI\SHUIRUPGLVSOD\EURDGFDVWUHSURGXFHFUHDWHGHULYDWLYHZRUNVIURP
               WUDQVPLWVHOORURWKHUZLVHXVHH[SORLWRUGLVWULEXWHDWQRFRVWZKDWVRHYHUDOO
               VXFKPDWHULDO LQFOXGLQJZLWKRXWOLPLWDWLRQDOOLQWHOOHFWXDOSURSHUW\ULJKWV
               HPERGLHGWKHUHLQ LQZKROHRULQSDUWLQDQ\PDQQHURUPHGLXP ZKHWKHUQRZ
               NQRZQRUKHUHDIWHUGHYHORSHG IRUDQ\SXUSRVH7KHIRUHJRLQJOLFHQVHLQFOXGHV
               WKHULJKWWRH[SORLWDQ\SURSULHWDU\ULJKWVLQVXFKPDWHULDOLQFOXGLQJEXWQRW
               OLPLWHGWRULJKWVXQGHUFRS\ULJKWWUDGHPDUNRUSDWHQWODZVWKDWH[LVWLQDQ\
               DSSOLFDEOHMXULVGLFWLRQ$OVRLQFRQQHFWLRQZLWKWKHH[HUFLVHRIWKHVHULJKWV\RX
               JUDQWXVDQGDQ\RQHDXWKRUL]HGE\XVWKHULJKWWRLGHQWLI\\RXDVWKHDXWKRURI
               VXFKPDWHULDOE\QDPHHPDLODGGUHVVRUXVHUQDPHDQGWRXVH\RXULPDJHDQG
               OLNHQHVVLISURYLGHGLQFRQQHFWLRQZLWKVXFKPDWHULDO<RXZLOOQRWUHFHLYHDQ\
               FRPSHQVDWLRQRIDQ\NLQGIRUWKHXVHRIDQ\PDWHULDO\RXWUDQVPLWRUSRVWYLD
               .%%FRP




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            D &OLFNKHUHWRYLHZWKH.HOOH\%OXH%RRNORJRV ³.HOOH\%OXH%RRN0DUNV´ 
               DQGWKHWHUPVRIXVHJRYHUQLQJGRZQORDGVRIWKH.HOOH\%OXH%RRN0DUNV<RX
               DJUHHWKDWDOORIWKH.HOOH\%OXH%RRN0DUNVDUHWKHSURSHUW\RI.HOOH\%OXH
               %RRNDQGDJUHHWKDW\RXZLOOQRWXVHWKH.HOOH\%OXH%RRN0DUNVZLWKRXW
               .HOOH\%OXH%RRN¶VSULRUZULWWHQSHUPLVVLRQ




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            D $VDFRQGLWLRQRI\RXUXVHRIDQGDFFHVVWR.%%FRP\RXDJUHHQRWWRXVHWKH
               6HUYLFHVIRUDQ\XQODZIXOSXUSRVHRULQDQ\ZD\WKDWYLRODWHVWKHVH7HUPV<RX
               DOVRDJUHHQRWWRXVHWKH6HUYLFHVLQDQ\ZD\WKDWFRXOGGDPDJHGLVDEOH
               RYHUEXUGHQRULPSDLU.%%FRPRUDQ\.HOOH\%OXH%RRNVHUYHURUWKH
               DVVRFLDWHGQHWZRUNVRULQWHUIHUHZLWKDQ\RWKHUSDUW\¶VXVHDQGHQMR\PHQWRI
               DQ\6HUYLFHV




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            D $UELWUDWLRQ$JUHHPHQW<28$1'.(//(<%/8(%22.$*5((7+$7
               $1<&/$,0625',6387(6 ³&ODLPV´ 7+$7$5,6(2872)25
               5(/$7(,1$1<:$<727+(6(7(506.%%&20257+(
               6(59,&(6 ,1&/8',1*%87127/,0,7('72%,//,1*',6387(6
               6+$//%(5(62/9('%<),1$/$1'%,1',1*$5%,75$7,2125,1
               60$//&/$,06&2857,QDUELWUDWLRQWKHUHLVQRMXGJHDQGQRMXU\,QVWHDG
               &ODLPVDUHGHFLGHGE\DQDUELWUDWRUZKRVHDXWKRULW\LVFUHDWHGE\DQGJRYHUQHG
               E\WKLVDUELWUDWLRQDJUHHPHQW5HYLHZRIDUELWUDWLRQDZDUGVLQWKHFRXUWVLVYHU\
               OLPLWHG


           E &ODVV$FWLRQ:DLYHU<28$1'.(//(<%/8(%22.$*5((7+$7
               $//&/$,06%(7:((186:,//%(5(62/9(',1$1,1',9,'8$/
               $5%,75$7,21:(%27+$*5((7+$77+(5(:,//%(12&/$66
               5(35(6(17$7,9(25&2162/,'$7('$&7,216,1$5%,75$7,21
               ,QDGGLWLRQQHLWKHU\RXQRU.HOOH\%OXH%RRNPD\SDUWLFLSDWHLQDFODVVRU
               UHSUHVHQWDWLYHDFWLRQLQFRXUWDVDFODVVPHPEHULIWKH&ODLPVDVVHUWHGLQWKH
               OLWLJDWLRQZRXOGIDOOZLWKLQWKHVFRSHRIWKLVDUELWUDWLRQDJUHHPHQWLIDVVHUWHG
               GLUHFWO\E\\RXRU.HOOH\%OXH%RRN7REHFOHDU\RXDQG.HOOH\%OXH%RRN
               ERWKZDLYHDQ\ULJKWWRSDUWLFLSDWHLQDQ\FODVVDFWLRQLQYROYLQJGLVSXWHV
               EHWZHHQXV


            F 7KLVFODVVDFWLRQZDLYHULVDQHVVHQWLDOSDUWRIRXUDUELWUDWLRQDJUHHPHQWDQG
               PD\QRWEHVHYHUHG,IIRUDQ\UHDVRQWKLVFODVVDFWLRQZDLYHULVIRXQG
               XQHQIRUFHDEOHWKHQWKHHQWLUHDUELWUDWLRQDJUHHPHQWZLOOQRWDSSO\+RZHYHU
               WKH-XU\7ULDO:DLYHUVHWIRUWKLQ6HFWLRQRIWKHVH7HUPVZLOOUHPDLQLQIXOO
               IRUFHDQGHIIHFW


           G $UELWUDWRU$XWKRULW\7KHDUELWUDWRU¶VDXWKRULW\LVJRYHUQHGE\WKLVDUELWUDWLRQ
               DJUHHPHQW<RXDQG.HOOH\%OXH%RRNDJUHHWKDWWKHDUELWUDWRUPD\DZDUGWKH
               VDPHUHOLHIWKDWDFRXUWRIFRPSHWHQWMXULVGLFWLRQFRXOGDZDUG±FRQVLVWHQWZLWK
               DQGOLPLWHGE\WKHVH7HUPV LQFOXGLQJWKHOLPLWDWLRQVRIOLDELOLW\VHWIRUWKLQ
               6HFWLRQ EXWWKHDUELWUDWRUPD\QRWDZDUGGHFODUDWRU\RULQMXQFWLYHUHOLHIWKDW
               H[WHQGVEH\RQG\RXDQG\RXUGHDOLQJVZLWK.HOOH\%OXH%RRN$QDUELWUDWRU
               PD\DZDUGDWWRUQH\V¶IHHVDQGFRVWVWRWKHSUHYDLOLQJSDUW\LIDFRXUWZRXOGEH
               DXWKRUL]HGWRGRVRXQGHUWKHDSSOLFDEOHODZ




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              H $UELWUDWLRQ3URFHGXUHV<RXDQG.HOOH\%OXH%RRNDJUHHWKDW\RXUDJUHHPHQW
                 DIIHFWVLQWHUVWDWHFRPPHUFHDQGWKH)HGHUDO$UELWUDWLRQ$FWDSSOLHV$OO
                 DUELWUDWLRQVVKDOOEHFRQGXFWHGE\-$06(QGLVSXWHXQGHULWV6WUHDPOLQHG
                 $UELWUDWLRQ5XOHVDQG3URFHGXUHV ³-$06´ 7KHVH5XOHVDUHDYDLODEOHRQWKH
                 -$06ZHEVLWHDWKWWSZZZMDPVDGUFRPRUE\FDOOLQJ,IWKHUH
                 LVDFRQIOLFWEHWZHHQWKH-$065XOHVDQGWKLVDUELWUDWLRQDJUHHPHQWWKHQWKLV
                 DUELWUDWLRQDJUHHPHQWVKDOOFRQWURO.HOOH\%OXH%RRNZLOOSD\DOOILOLQJIHHVDQG
                 FRVWVDVVRFLDWHGZLWKFRPPHQFLQJDQDUELWUDWLRQEXW\RXZLOOEHUHVSRQVLEOHIRU
                 SD\LQJ\RXURZQDWWRUQH\V¶IHHV LI\RXFKRVHWRXVHDQDWWRUQH\LQDUELWUDWLRQ
                 XQOHVV\RXSUHYDLOLQWKHDUELWUDWLRQDQGWKHDUELWUDWRUILQGVWKDW\RXDUHHQWLWOHG
                 WRUHFRYHU\RXUIHHVXQGHUWKHODZ([FHSWIRUFODLPVGHWHUPLQHGWREHIULYRORXV
                 .HOOH\%OXH%RRNDJUHHVQRWWRVHHNDQDZDUGRIDWWRUQH\V¶IHHVLQDUELWUDWLRQ
                 HYHQLIDQDZDUGLVRWKHUZLVHDYDLODEOHXQGHUDSSOLFDEOHODZ,I\RXEULQJDQ
                 DUELWUDWLRQDJDLQVW.HOOH\%OXH%RRNWKHDUELWUDWLRQKHDULQJZLOOEHKHOGLQ\RXU
                 KRPHWRZQDUHDXQOHVVZHERWKDJUHHRQDGLIIHUHQWORFDWLRQ


              I 6XUYLYDO7KLVDUELWUDWLRQDJUHHPHQWVXUYLYHVWKHWHUPLQDWLRQRIWKHVH7HUPV
                 EHWZHHQ\RXDQG.HOOH\%OXH%RRN




 -XU\7ULDO:DLYHU


              D <RXDQG.HOOH\%OXH%RRNH[SUHVVO\DQGNQRZLQJO\:$,9(7+(5,*+7
                 7275,$/%<-85<7KLVPHDQVWKDWLIIRUDQ\UHDVRQWKHDUELWUDWLRQ
                 DJUHHPHQWFRQWDLQHGLQ6HFWLRQLVQRWHQIRUFHGRULVIRXQGLQDSSOLFDEOHRXU
                 FODLPVDJDLQVWHDFKRWKHUZLOOEHUHVROYHGE\DMXGJHUDWKHUWKDQDMXU\




 'LVFODLPHURI:DUUDQWLHV
 <RX([SUHVVO\8QGHUVWDQGDQG$JUHH7KDW




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            D <RXUXVHRIWKH6HUYLFHLVDW\RXUVROHULVN.HOOH\%OXH%RRNSURYLGHVWKH
               6HUYLFHWR\RXRQDQ³DVLV´DQG³DVDYDLODEOH´EDVLV.HOOH\%OXH%RRNDQGLWV
               RZQHUVVKDUHKROGHUVVXEVLGLDULHVDIILOLDWHVRIILFHUVHPSOR\HHVDJHQWV
               SDUWQHUVDQGOLFHQVRUVH[SUHVVO\GLVFODLPDOOZDUUDQWLHVRIDQ\NLQGZKHWKHU
               H[SUHVVRULPSOLHGLQFOXGLQJEXWQRWOLPLWHGWRWKHLPSOLHGZDUUDQWLHVRI
               PHUFKDQWDELOLW\ILWQHVVIRUDSDUWLFXODUSXUSRVHDQGQRQLQIULQJHPHQW


           E .HOOH\%OXH%RRNDQGLWVRZQHUVVKDUHKROGHUVVXEVLGLDULHVDIILOLDWHVRIILFHUV
               HPSOR\HHVDJHQWVSDUWQHUVDQGOLFHQVRUVPDNHQRZDUUDQW\WKDW L WKH6HUYLFH
               ZLOOPHHW\RXUUHTXLUHPHQWV LL WKH6HUYLFHZLOOEHXQLQWHUUXSWHGWLPHO\
               VHFXUHRUHUURUIUHH LLL WKHUHVXOWVWKDWPD\EHREWDLQHGIURPWKHXVHRIWKH
               6HUYLFHZLOOEHDFFXUDWHRUUHOLDEOH LY WKHTXDOLW\RIDQ\SURGXFWVVHUYLFHV
               LQIRUPDWLRQRURWKHUPDWHULDODFFHVVHGSXUFKDVHGRUREWDLQHGE\\RXWKURXJK
               WKH6HUYLFHZLOOPHHW\RXUH[SHFWDWLRQVDQG Y DQ\HUURUVZLOOEHFRUUHFWHG


            F $OOPDWHULDODQGLQIRUPDWLRQREWDLQHGWKURXJKWKHXVHRIWKH6HUYLFHLVDFFHVVHG
               DW\RXURZQGLVFUHWLRQDQGULVNDQG\RXZLOOEHVROHO\UHVSRQVLEOHIRUDQ\
               GDPDJHWR\RXUFRPSXWHUV\VWHPRUORVVRIGDWDWKDWUHVXOWVIURPWKHDFFHVVLQJ
               RIDQ\VXFKPDWHULDO


           G 1RDGYLFHRULQIRUPDWLRQZKHWKHURUDORUZULWWHQREWDLQHGE\\RXIURP
               .%%FRPRULWVDIILOLDWHVRUSDUWQHUVWKURXJKRUIURPWKH6HUYLFHVKDOOFUHDWH
               DQ\ZDUUDQW\ZKDWVRHYHU



            H 9HKLFOHYDOXDWLRQVDUHRSLQLRQVDQGPD\YDU\IURPYHKLFOHWRYHKLFOH

               $FWXDOYDOXDWLRQVDUHEDVHGXSRQFXUUHQWDYDLODEOHLQIRUPDWLRQDQG

               DQDO\VLVRIPDUNHWFRQGLWLRQVDQGZLOOYDU\GHSHQGLQJRQVSHFLILFDWLRQV

               YHKLFOHFRQGLWLRQRURWKHUSDUWLFXODUFLUFXPVWDQFHVSHUWLQHQWWRD

               SDUWLFXODUYHKLFOHRUWKHWUDQVDFWLRQRUWKHSDUWLHVWRWKHWUDQVDFWLRQ

               .HOOH\%OXH%RRNDVVXPHVQRUHVSRQVLELOLW\IRUWKHDFFXUDF\RIYHKLFOH

               YDOXHVDQGQRUHVSRQVLELOLW\IRUHUURUVRURPLVVLRQV

               /LPLWDWLRQRI/LDELOLW\



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            D <RXH[SUHVVO\XQGHUVWDQGDQGDJUHHWKDW.HOOH\%OXH%RRNDQGLWVRZQHUV
               VKDUHKROGHUVVXEVLGLDULHVDIILOLDWHVRIILFHUVHPSOR\HHVDJHQWVSDUWQHUVDQG
               OLFHQVRUVVKDOOQRWEHOLDEOHWR\RXIRUDQ\GLUHFWLQGLUHFWLQFLGHQWDOVSHFLDO
               FRQVHTXHQWLDORUH[HPSODU\GDPDJHVLQFOXGLQJEXWQRWOLPLWHGWRGDPDJHVIRU
               ORVVRISURILWVJRRGZLOOXVHGDWDRURWKHULQWDQJLEOHORVVHV HYHQLI.HOOH\%OXH
               %RRNKDVEHHQDGYLVHGRIWKHSRVVLELOLW\RIVXFKGDPDJHV UHVXOWLQJIURP L
               WKHXVHRUWKHLQDELOLW\WRXVHWKH6HUYLFH LL WKHFRVWRISURFXUHPHQWRI
               VXEVWLWXWHJRRGVRUVHUYLFHVUHVXOWLQJIURPDQ\JRRGVGDWDLQIRUPDWLRQRU
               VHUYLFHVREWDLQHGRUUHFHLYHGRUWUDQVDFWLRQVHQWHUHGLQWRDVDUHVXOWRI\RXUXVH
               RIWKH6HUYLFH LLL VWDWHPHQWVRUFRQGXFWRIDQ\WKLUGSDUW\UHODWHGWRWKH
               6HUYLFHRU LY DQ\RWKHUPDWWHUUHODWLQJWRWKH6HUYLFH


           E ,)<285(/<21.%%&2025$1<,1)250$7,21352'8&725
               6(59,&($9$,/$%/(7+528*+.%%&20<28'262$7<285
               2:15,6.<2881'(567$1'7+$77+(5(0$<%('(/$<6
               20,66,216,17(55837,216,1$&&85$&,(6$1'2527+(5
               352%/(06:,7+7+(,1)250$7,21352'8&76$1'6(59,&(6
               38%/,6+('2125352027('7+528*+.%%&20.%%&20$1'
               7+(6(59,&(6$5(3529,'('72<28³$6,6´.(//(<%/8(
               %22.$1',76$)),/,$7(6$*(176$1'/,&(16256&$1127
               $1''2127:$55$177+($&&85$&<&203/(7(1(66
               &855(171(66121,1)5,1*(0(170(5&+$17$%,/,7<25
               ),71(66)25$3$57,&8/$5385326(2)7+(,1)250$7,2125
               6(59,&(6$9$,/$%/(7+528*+.%%&20 25$1<,1)250$7,21
               *22'6256(59,&(67+$7$5(5()(55('72$'9(57,6('25
               352027('212562/'7+528*+.%%&20 125'2:(25
               7+(<*8$5$17((7+$7.%%&20257+(6(59,&(6:,//%(
               (5525)5((25&217,18286/<$9$,/$%/(257+$7.%%&20
               257+(6(59,&(6:,//%()5((2)9,586(62527+(5+$50)8/
               &20321(176.(//(<%/8(%22.$1',76$)),/,$7(6$*(176
               $1'/,&(16256:,//127%(/,$%/()25$1<&/$,06$&7,216
               25-8'*0(176$5,6,1*2872)255(/$7('72$1<&217(17
               3267('72.%%&20%<<2825$1<7+,5'3$57<




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            F 81'(512&,5&8067$1&(6:,//.(//(<%/8(%22.25,76
               $)),/,$7(6$*(17625/,&(16256%(/,$%/(72<2825
               $1<21((/6()25$1<'$0$*(6$5,6,1*2872)<28586(2)
               .%%&207+(6(59,&(625$1<352'8&7256(59,&(/,1.('
               7225)52025$'9(57,6('25352027('21.%%&20
               ,1&/8',1*:,7+287/,0,7$7,21&216(48(17,$/63(&,$/
               ,1&,'(17$/,1',5(&7381,7,9((;(03/$5<2527+(5
               '$0$*(62)$1<.,1' ,1&/8',1*/2675(9(18(625352),76
               /2662)%86,1(66$1'/2662)'$7$ (9(1,):($5($'9,6('
               %()25(+$1'2)7+(3266,%,/,7<2)68&+'$0$*(6<28
               $*5((7+$77+(/,$%,/,7<2).(//(<%/8(%22.$1',76
               $)),/,$7(6$*(176$1'/,&(16256,)$1<$5,6,1*2872)
               $1<.,1'2)/(*$/&/$,0$5,6,1*2872)2527+(5:,6(
               5(/$7,1*.%%&20257+(6(59,&(6:,//127(;&(('7+(
               $02817<283$,',)$1<)257+(86(2).%%&20257+(
               6(59,&(62872):+,&+68&+/,$%,/,7<$//(*('/<$5,6(6
               :,7+287/,0,7,1*7+(*(1(5$/,7<2)7+(35(&(',1*
               6(17(1&(<28$*5((7+$7:($5(1275(63216,%/(25
               /,$%/(72<2825$1<21((/6()25$1<7+5($7(1,1*
               '()$0$725<2%6&(1(2))(16,9(7257,28625,//(*$/
               &21'8&7%<<2825$1<27+(53$57<25$1<,1)5,1*(0(17
               2)<28525$127+(5¶65,*+76$5,6,1*)52025,1
               &211(&7,21:,7+.%%&20


           G 620(-85,6',&7,216'2127$//2:7+((;&/86,212)
               &(57$,1:$55$17,(6257+(/,0,7$7,2125(;&/86,212)
               /,$%,/,7<)25,1&,'(17$/25&216(48(17,$/'$0$*(6
               $&&25',1*/<620(2)7+($%29(',6&/$,0(56$1'
               /,0,7$7,2162)/,$%,/,7<0$<127$33/<




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            D :KHQ\RXXVH.%%FRP\RXDUHDJUHHLQJWRLQGHPQLI\.HOOH\
               %OXH%RRNLWVRZQHUVVKDUHKROGHUVVXEVLGLDULHVDIILOLDWHV
               RIILFHUVHPSOR\HHVSDUWQHUVDQGOLFHQVRUVDQGKROGWKHP
               KDUPOHVVIURPDQ\DQGDOOFODLPVDQGH[SHQVHVLQFOXGLQJ
               DWWRUQH\¶VIHHVDULVLQJIURP\RXUXVHRIWKH.%%FRP:HEVLWH
               \RXUXVHRIWKH6HUYLFHRU\RXUVXEPLVVLRQRI&RQWULEXWLRQVDVVHW
               IRUWKLQ6HFWLRQDERYH%\XVLQJ.%%FRP\RXDUHDJUHHLQJWR
               UHOHDVH.HOOH\%OXH%RRNDQGLWVRZQHUVVKDUHKROGHUV
               VXEVLGLDULHVDIILOLDWHVRIILFHUVHPSOR\HHVSDUWQHUVDQGOLFHQVRUV
               IURPDQ\DQGDOOFODLPVIHHVFRVWVGDPDJHVDQGREOLJDWLRQVRI
               DQ\NLQGZKDWVRHYHUWKDW\RXPD\KDYHDJDLQVWWKHPDULVLQJRXWRI
               RULQDQ\ZD\UHODWHGWRVXFKFODLPVRUREOLJDWLRQVDQGWRDQ\
               GLVSXWHVUHJDUGLQJXVHRILGHDVDQGRUUHODWHGPDWHULDOVVXEPLWWHG
               WR.%%FRP<RXKHUHE\DJUHHWRZDLYHDOOODZVWKDWPD\OLPLW
               VXFKUHOHDVHV)RUH[DPSOH\RXVSHFLILFDOO\DJUHHWRZDLYHWKH
               SURYLVLRQVRI&DOLIRUQLDFLYLOFRGHVHFWLRQZKLFK
               SURYLGHV


               ³$JHQHUDOUHOHDVHGRHVQRWH[WHQGWRFODLPVZKLFKWKHFUHGLWRU
               GRHVQRWNQRZRUVXVSHFWWRH[LVWLQKLVIDYRUDWWKHWLPHRI
               H[HFXWLQJWKHUHOHDVHZKLFKLVNQRZQE\KLPPXVWKDYH
               PDWHULDOO\DIIHFWHGKLVVHWWOHPHQWZLWKWKHGHEWRU´




 &KDQJHVDQG8SGDWHVWR7KHVH7HUPVRI6HUYLFH


            D .HOOH\%OXH%RRNPD\RFFDVLRQDOO\XSGDWHRUFKDQJHWKHVH7HUPV
               VRZHHQFRXUDJH\RXWRYLHZWKHPRIWHQ<RXUFRQWLQXHGXVHRI
               WKH6HUYLFHFRQVWLWXWHV\RXUDJUHHPHQWWRWKHVH7HUPVDQGDQ\
               XSGDWHV




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 *HQHUDO,QIRUPDWLRQ


            D &KRLFHRI/DZ7KH7HUPVDQGWKHUHODWLRQVKLSEHWZHHQ\RXDQG
               .HOOH\%OXH%RRNVKDOOEHJRYHUQHGE\WKHODZVRIWKH6WDWHRI
               &DOLIRUQLDZLWKRXWUHJDUGWRLWVFRQIOLFWRIODZSURYLVLRQV


           E :DLYHUDQG6HYHUDELOLW\RI7HUPV7KHIDLOXUHRI.HOOH\%OXH
               %RRNWRH[HUFLVHRUHQIRUFHDQ\ULJKWRUSURYLVLRQRIWKH7HUPV
               VKDOOQRWFRQVWLWXWHDZDLYHURIVXFKULJKWRUSURYLVLRQ,IDQ\
               SURYLVLRQRIWKH7HUPVLVIRXQGE\DFRXUWRIFRPSHWHQW
               MXULVGLFWLRQWREHLQYDOLGWKHSDUWLHVQHYHUWKHOHVVDJUHHWKDWWKH
               FRXUWVKRXOGHQGHDYRUWRJLYHHIIHFWWRWKHSDUWLHV¶LQWHQWLRQVDV
               UHIOHFWHGLQWKHSURYLVLRQDQGWKHRWKHUSURYLVLRQVRIWKH7HUPV
               UHPDLQLQIXOOIRUFHDQGHIIHFW


            F (QWLUH$JUHHPHQW7KH7HUPVFRQVWLWXWHVWKHHQWLUHDJUHHPHQW
               EHWZHHQ\RXDQG.HOOH\%OXH%RRNDQGJRYHUQV\RXUXVHRIWKH
               6HUYLFHVXSHUVHGLQJDQ\SULRU7HUPVZLWKUHVSHFWWRWKH6HUYLFH
               <RXDOVRPD\EHVXEMHFWWRDGGLWLRQDOWHUPVDQGFRQGLWLRQVWKDW
               PD\DSSO\ZKHQ\RXXVHRUSXUFKDVHFHUWDLQRWKHU.HOOH\%OXH
               %RRNVHUYLFHVDIILOLDWHRUWKLUGSDUW\VHUYLFHV


           G 6WDWXWHRI/LPLWDWLRQV<RXDJUHHWKDWDQ\FODLPGHPDQGRUFDXVH
               RIDFWLRQDULVLQJRXWRIRUUHODWHGWRWKH6HUYLFHRU\RXUDFFHVVRU
               YLVLWWR.%%FRPRUWKHVH7HUPVPXVWEHILOHGE\\RXZLWKLQRQH
                 \HDUDIWHUVXFKFODLPGHPDQGRUFDXVHRIDFWLRQDURVHRULWLV
               IRUHYHUEDUUHG




 5HSRUWLQJ9LRODWLRQVWRWKH7HUPV




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                EXHIBIT 3




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                EXHIBIT 4




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                EXHIBIT 5




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                EXHIBIT 6




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